                                                            Neuropathic pain
                                                        Table 1 - Table of Citations
Study Number              Publication code                Type of report                    Citation (Report)
945-210

                          945-210.RR                      Research report                    Research report number RR 720-03908.


                          Backonja 1997                   Conference abstract                Backonja M, Hes MS, LaMoreaux LK, Garofalo EA, Koto EM, and the US
                                                                                             Gabapentin Study Group 210. Gabapentin reduces pain in diabetics with painful
                                                                                             peripheral neuropathy: results of a double-blind, placebo-controlled trial (945-
                                                                                             210). [Abstract]. In: Proceedings of the 16th annual meeting of the American
                                                                                             Pain Society. Glenview, IL: APS, 1997: 108.

                          Backonja 1998                   Full-paper                         Backonja M, Beydoun A, Edwards KR, Schwartz SL, Fonseca V, Hes M,
                                                                                             LaMoreaux L, Garofalo E, for the Gabapentin Diabetic Neuropathy Study Group.
                                                                                             Gabapentin for the symptomatic treatment of painful neuropathy in patients with
                                                                                             diabetes mellitus. A randomized controlled trial. JAMA. 1998; 280 (21): 1831-
                                                                                             1836.

945-224

                          945-224. RR                     Research report                    Research report number RR 720-04130.

                          945-224.Reckless.Diabetic       Submission to journal              J Reckless on behalf of the Gabapentin Diabetic Neuropathic Pain Study Group,
                          Medicine                                                           B Roder, P Maisonobe. Gabapentin in painful diabetic neuropathy: a randomised,
                                                                                             double-blind, placebo-controlled study. Submitted to Diabetic Medicine. March
                                                                                             11, 2002.

                          945-224.Reckless.Diabetologia   Submission to journal              J Reckless on behalf of the Gabapentin Diabetic Neuropathic Pain Study Group,
                                                                                             B Roder, P Maisonobe. Gabapentin in painful diabetic neuropathy: a randomised,
                                                                                             double-blind, placebo-controlled study. Submission to Diabetologia. October 21,
                                                                                             2002.

                          Backonja 2002.EFNS.Abs.945-     Conference abstract                Backonja M-M, Mutisya EM. Gabapentin demonstrates a nonlinear dose-
                          224                                                                response across five multicenter trials for neuropathic pain. Presented at EFNS.
                                                                                             2002.
                                                                                                                                                                                  Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 1 of 195




Sunday, August 10, 2008                                                Neuropathic pain - Table 1                                                                   Page 1 of 3
Study Number              Publication code               Type of report                    Citation (Report)
                          Backonja 2003 Review of 945-   Other                              Backonja M, Glanzman RL. Gabapentin dosing for neuropathic pain: evidence
                          224                                                               from randomized, placebo-controlled clinical trials. Clinical Therapeutics. 2003;
                                                                                            25 (1): 81-104.

945-271

                          945-271. RR                    Research report                    Research report 945-271.

                          945-271.Addndm-B.RR            Research report                    Research report 945-271 Sub-Study.


                          Gordh 2002                     Conference abstract                "Gordh T, et al. Poster presentation at IASP, August 2002, Abstract p 406-07"
                                                                                            [per research report. I could not obtain this abstract.]

945-276

                          945-276.RR                     Research report                    Research report for Protocol 945-276.

                          Caraceni 2004                  Full-paper                         Caraceni A, Zecca E, Bonezzi C, Arcuri E, Yaya Tur R, Maltoni M, Visentin M,
                                                                                            Gorni G, Martini C, Tirelli W, Barbieri M, De Conno F. Gabapentin for neuropathic
                                                                                            cancer pain: a randomised controlled trial from the Gabapentin Cancer Pain
                                                                                            Study Group. Journal of Clinical Oncology. 2004; 22(14): 2909-2917.

945-306

                          945-306.RR                     Research report                    Research report number RR 430-00125.

                          Serpell 2002                   Full-paper                         Serpell MG, Neuropathic Pain Study Group. Gabapentin in neuropathic pain
                                                                                            syndromes: a randomised, double-blind, placebo-controlled trial. Pain. 2002; 99:
                                                                                            557-566.

                          Serpell 2002.Conf. Abs         Conference abstract                Serpell MG and the Neuropathic Pain Study Group. Gabapentin in neuropathic
                                                                                            pain syndromes: a randomised, double-blind, placebo-controlled trial. Presented
                                                                                            at ICMTNP Annual Meeting. 2002.

945-411

                          945-411.RR                     Research report                    Research report number RR 720-30154.
                                                                                                                                                                                  Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 2 of 195




Sunday, August 10, 2008                                               Neuropathic pain - Table 1                                                                    Page 2 of 3
Study Number              Publication code                Type of report                    Citation (Report)
                          Gomez-Perez 2002.Conf. Abs      Conference abstract                Fichtner K, for the Latin American Diabetic Neuropathy Study Group. Gabapentin
                                                                                             for the treatment of pain associated with diabetic peripheral neuropathy: titration
                                                                                             to effect is superior to a commonly used fixed dose. Presented at ICMTNP
                                                                                             Annual Meeting. 2002.

                          Gomez-Perez 2004                Full-paper                         Gomez-Perez FJ, Perez-Monteverde A, Nascimento O, Aschner P, Tagle M,
                                                                                             Fichtner K, Subbiah P, Mutisya EM, Parsons B for the Latin American Diabetic
                                                                                             Neuropathy Study Group. Gabapentin for the treatment of painful diabetic
                                                                                             neuropathy: dosing to achieve optimal clinical response. The British Journal of
                                                                                             Diabetes and Vascular Disease. 2004; 4(3): 173-178.

A945-1008

                          A945-1008.Final Study Report    Research report                    Final Study Report: Gabapentin protocol A945-1008.


Unavailable-Dallocchio

                          Dallocchio 2000                 Full-paper                         Dallochhio C, Buffa C, Mazzarello P, Chiroli S. Gabapentin vs. amitryptiline in
                                                                                             painful diabetic neuropathy: an open-label pilot study. Journal of Pain and
                                                                                             Symptom Management. 2000; 20(4): 280-285.

Unavailable-Gorson

                          Draft Gorson to Magistro 1997   Internal letter/draft              Gorson KC, Schott C, Rand WM, Herman R, Ropper AH. Low-dose gabapentin
                                                                                             in the treatment of painful diabetic neuropathy: a placebo-controlled, double-
                                                                                             blind, crossover trial. Unpublished draft attached to email from Kenneth Gorson
                                                                                             to Phil Magistro. Dated August 23, 1997.

                          Draft Magistro Internal 1998    Internal letter/draft              Title and list of authors not available from email or attached draft. Unpublished
                                                                                             draft attached to email from Phil Magistro. Dated January 7, 1998.

                          Gorson 1998                     Conference abstract                Gorson KC, Schott C, Rand WM, Herman R, Ropper AH.Gabapentin in the
                                                                                             treatment of painful diabetic neuropathy: a placebo-controlled, double-blind,
                                                                                             crossover trial. Neurology. 1998; 50 (Suppl 4): A103.

                          Gorson 1999                     Letter to Editor                   Gorson KC, Schott C, Herman R, Ropper AH, Rand WM. Gabapentin in the
                                                                                             treatment of painful diabetic neuropathy: a placebo controlled, double blind,
                                                                                             crossover trial. Journal of Neurology, Neurosurgery, and Psychiatry. 1999; 66:
                                                                                             251-252.
                                                                                                                                                                                    Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 3 of 195




Sunday, August 10, 2008                                                Neuropathic pain - Table 1                                                                     Page 3 of 3
                                                                         Neuropathic Pain
                                                              Table 2 - Summary of Reporting Biases
Study Publica-           Protocol Date of           Date of last  Type of           Location      Results of   Secondary     Reported      Publication     Conclusions of      Conclusions of
number tion code         avail-   research          enrollment or results           of            primary      outcome       analyses on    bias           efficacy            safety
                         able     report            end date for                    publica-      analysis     (protocol)    selective     (negative       consistent with     consistent with
                                  (internal)        "Period(s)                      tion          per          reported as   populations   results and     primary             analysis of
                                                    covered" per                                  research     primary       as primary    no              analysis result     adverse events
                                                    research                                      report       outcome       analysis      publication     (Conclusions        (Conclusions
                                                    report                                                     (report)                    final result)   section - report)   section - report)

945-210    Backonja                   December      March 20, 1997.   Preliminary Conference      "Positive"        No         Unclear²                           Yes                 Yes
           1997                        30, 1998.                        results    abstract



945-210    Backonja                   December      March 20, 1997.      Final       Journal      "Positive"        No           No                               Yes                 Yes
           1998                        30, 1998.                        results       article



945-224    Backonja                  February 7,     September 7,        Final      Conference    "Negative"        No         Unclear²                           Yes                 Yes
           2002.EFNS.                   2000.            1999.          results      abstract
           ABS.945-224

945-224    Backonja                  February 7,     September 7,        Final        Other       "Negative"        No           No                               Yes                 Yes
           2003 Review                  2000.            1999.          results
           of 945-224

945-271    Gordh 2002                 March 7,       November 30,        NA³        Conference    "Negative"       NA³           NA³                              NA³                 NA³
                                       2003.            2001.                        abstract



945-271    No                         March 7,       November 30,        No            No         "Negative"       NA¹           NA¹                              NA¹                 NA¹
           publication                 2003.            2001.         publication   publication



945-276    Caraceni                     Not            May 2002.         Final       Journal      "Positive"     Unclear²      Unclear²                           Yes                 Yes
           2004                       available.                        results       article
                                                                                                                                                                                                    Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 4 of 195




1 NA = Not Applicable                                                                       Neuropathic pain - Table 2                                                   Sunday, August 10, 2008
2 Unclear: Analysis population not mentioned or was unclear
                                                                                                                                                                                      Page 1 of 2
3 Could not obtain publication
Study Publica-            Protocol Date of          Date of last  Type of       Location      Results of   Secondary     Reported      Publication     Conclusions of      Conclusions of
number tion code          avail-   research         enrollment or results       of            primary      outcome       analyses on    bias           efficacy            safety
                          able     report           end date for                publica-      analysis     (protocol)    selective     (negative       consistent with     consistent with
                                   (internal)       "Period(s)                  tion          per          reported as   populations   results and     primary             analysis of
                                                    covered" per                              research     primary       as primary    no              analysis result     adverse events
                                                    research                                  report       outcome       analysis      publication     (Conclusions        (Conclusions
                                                    report                                                 (report)                    final result)   section - report)   section - report)

945-306    Serpell 2002                May 5,       February 2000.     Final     Journal      "Negative"       Yes           No                               Yes                 Yes
                                       2000.                          results     article



945-306    Serpell                     May 5,       February 2000.     Final    Conference    "Negative"       Yes           No                               Yes                 Yes
           2002.Conf.A                 2000.                          results    abstract
           bs

945-411    Gomez-                     November       December 4,       Final     Journal      "Positive"        No           No                               Yes                 Yes
           Perez 2004                  5, 2002.         2001.         results     article



945-411    Gomez-                     November       December 4,       Final    Conference    "Positive"        No           No                               Yes                 Yes
           Perez                       5, 2002.         2001.         results    abstract
           2004.Conf.A
           bs
A945-1008 No                          March 24,      November 11,      Final       No         "Positive"        No           No                               Yes                 Yes
          publication                   2005.           2003.         results   publication



Unavailabl Dallocchio                   Not          Not available.    Final     Journal      "Positive"       NA¹          NA¹                               Yes                 Yes
e-         2000                       available.                      results     article
Dallocchio

Unavailabl Gorson 1998                  Not          Not available.    Final    Conference    "Negative"       Yes           No                               No                  No
e-Gorson                              available.                      results    abstract



Unavailabl Gorson 1999                  Not          Not available.    Final     Letter to    "Negative"       Yes           No                               Yes                 No
e-Gorson                              available.                      results     Editor
                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 5 of 195




1 NA = Not Applicable                                                                   Neuropathic pain - Table 2                                                   Sunday, August 10, 2008
2 Unclear: Analysis population not mentioned or was unclear
                                                                                                                                                                                  Page 2 of 2
3 Could not obtain publication
                                     Neuropathic Pain
           Table 3 - Comparison of Study Reports by Authors and Funding Source
  Study Publication              Year    Type of            Citation                 Authors/                Authors/            Authors/ investigators           Funding source
 number    code                           report                                   investigators           investigators           locations (Report)                (Report)
                                                                                     (Protocol)              (Report)
945-210     945-210.RR       December    Research   Research report number      Parke-Davis Clinical      PD Author(s):       4. University of Wisconsin          Not applicable.
                             30, 1998.   report     RR 720-03908.               Monitors:                 1. Hes M            Hospital & Clinics, Madison, WI     Research report.
                                                                                Lee Hayes                 2. Koto E           5. University of Alabama at
                                                                                Marykay Hes               3. LaMoreaux LK     Birmingham, Birmingham, AL
                                                                                Elizabeth A. Garofalo                         6. University Hospital, Ann
                                                                                Serge Dugas               Investigator(s):    Arbor, MI
                                                                                                          4. Miroslav         7. Joslin Diabetes Clinic, Miami,
                                                                                Parke-Davis               Backonja            FL
                                                                                Biometrician:             5. David S. H. Bell 8. Neurological Consultants,
                                                                                Linda LaMoreaux           6. Ahmad Beydoun PC, Bennington, VT
                                                                                                          7. Enrique J.       9. John L. McClellan Veterans'
                                                                                                          Carrazana           Hospital, Little Rock, AR
                                                                                                          8. Keith R. Edwards 10. Ochsner Clinic, New
                                                                                                          9. Vivian Fonseca   Orleans, LA
                                                                                                          10. Richard D.      11. International Diabetes
                                                                                                          Guthrie             Center, Kansas City, MO
                                                                                                          11. Bruce E.        12. Tulane University Medical
                                                                                                          Henson              Center, New Orleans, LA
                                                                                                          12. Johnathon B.    13. University of North Carolina
                                                                                                          Jaspan              at Chapel Hill, Chapel Hill, NC
                                                                                                          13. J. Douglas      14. Loyola University Medical
                                                                                                          Mann                Center, Maywood, IL
                                                                                                          14. Michael P.      15. Southern Illinois University
                                                                                                          Merchut             School of Medicine, Springfield,
                                                                                                          15. Michael A.      IL
                                                                                                          Pfeifer             16. MS 793-Health Sciences
                                                                                                          16. Neelan Pillay   Centre, Winnipeg, Canada.
                                                                                                          17. Daniel Porte Jr 17. VA medical Center,
                                                                                                          18. Julio           Research (151), Seattle, WA
                                                                                                          Rosenstock          18. Dallas Diabetes and
                                                                                                          19. Sherwyn L.      Endocrine Research Center,
                                                                                                          Schwartz            Dallas, TX
                                                                                                          20. Melvin J.       19. Diabetes and Glandular
                                                                                                          Stjernholm          Disease Clinic, PA, San
                                                                                                          21. Donald Studney Antonio, TX
                                                                                                          22. Albert J.       20. Boulder Endocrinology
                                                                                                          Tahmoush            Associates, Boulder, CO
                                                                                                          23. Aaron I. Vinik  21. Vancouver Hospital &
                                                                                                                                                                                         Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 6 of 195




NA = Not Applicable                                                                                                                             Sunday, August 10, 2008
                                                                             Neuropathic Pain - Table 3
3 Could not obtain publication
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  Study Publication              Year   Type of               Citation                   Authors/              Authors/           Authors/ investigators           Funding source
 number    code                          report                                        investigators         investigators          locations (Report)                (Report)
                                                                                         (Protocol)            (Report)
                                                                                                            24. Vera Bril       Health Sciences Centre,
                                                                                                                                University of British Columbia,
                                                                                                                                Vancouver, Canada
                                                                                                                                22. Thomas Jefferson
                                                                                                                                University, Philadelphia, PA
                                                                                                                                23. Diabetes Research Institute,
                                                                                                                                Eastern Virginia Medical
                                                                                                                                School, Norfolk, VA
                                                                                                                                24. The Toronto Hospital,
                                                                                                                                Toronto, Canada.



945-210     Backonja 1997 1997          Conference Backonja M, Hes MS,              Parke-Davis Clinical    1. Miroslav         1. Department of Neurology,        "Supported by Parke-
                                        abstract   LaMoreaux LK, Garofalo           Monitors:               Backonja            University of Wisconsin,           Davis
                                                   EA, Koto EM, and the US          Lee Hayes               2. Marykay S. Hes   Madison, WI                        Pharmaceutical
                                                   Gabapentin Study Group           Marykay Hes             3. Linda K.         2, 3, 4 & 5. Parke-Davis           Research"
                                                   210. Gabapentin reduces          Elizabeth A. Garofalo   LaMoreaux           Pharmaceutical Research,
                                                   pain in diabetics with painful   Serge Dugas             4. Elizabeth A.     Division of Warner-Lambert
                                                   peripheral neuropathy:                                   Garofalo            Company, Ann Arbor, MI.
                                                   results of a double-blind,       Parke-Davis             5. Edwina M. Koto
                                                   placebo-controlled trial (945-   Biometrician:           6. US Gabapentin
                                                   210). [Abstract]. In:            Linda LaMoreaux         Study Group 210.
                                                   Proceedings of the 16th
                                                   annual meeting of the
                                                   American Pain Society.
                                                   Glenview, IL: APS, 1997:
                                                   108.
                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 7 of 195




NA = Not Applicable                                                                                                                             Sunday, August 10, 2008
                                                                               Neuropathic Pain - Table 3
3 Could not obtain publication
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  Study Publication              Year   Type of               Citation                    Authors/              Authors/             Authors/ investigators         Funding source
 number    code                          report                                         investigators         investigators            locations (Report)              (Report)
                                                                                          (Protocol)            (Report)
945-210     Backonja 1998 1998          Full-paper   Backonja M, Beydoun A,          Parke-Davis Clinical    1. Miroslav           1. Department of Neurology,      "Drugs and
                                                     Edwards KR, Schwartz SL,        Monitors:               Backonja              University of Wisconsin,         compensation for
                                                     Fonseca V, Hes M,               Lee Hayes               2. Ahmad Beydoun      Madison.                         study expenses were
                                                     LaMoreaux L, Garofalo E,        Marykay Hes             3. Keith R. Edwards   2. Department of Neurology,      supplied by Parke-
                                                     for the Gabapentin Diabetic     Elizabeth A. Garofalo   4. Sherwyn L.         University of Michigan.          Davis, the study
                                                     Neuropathy Study Group.         Serge Dugas             Schwartz              3. Neurological Consultants,     sponsor."
                                                     Gabapentin for the                                      5. Vivian Fonseca     PC, Bennington, VT.
                                                     symptomatic treatment of        Parke-Davis             6. Marykay Hes        4. Diabetes and Glandular
                                                     painful neuropathy in           Biometrician:           7. Linda LaMoreaux    Disease Clinic, San Antonio,
                                                     patients with diabetes          Linda LaMoreaux         8. Elizabeth          Tex.
                                                     mellitus. A randomized                                  Garofalo              5. University of Arkansas for
                                                     controlled trial. JAMA. 1998;                           9. Gabapentin         Medical Sciences, Little Rock.
                                                     280 (21): 1831-1836.                                    Diabetic              6, 7 & 8. Parke-Davis
                                                                                                             Neuropathy Study      Pharmaceutical Research,
                                                                                                             Group.                Division of Warner-Lamber Co,
                                                                                                             "We acknolwedge       Ann Arbor.
                                                                                                             the additional
                                                                                                             members of the
                                                                                                             Gabapentin
                                                                                                             Diabetic
                                                                                                             Neuropathy Study
                                                                                                             Group: David Bell,
                                                                                                             MD; Vera Bril MD;
                                                                                                             Enrique J.
                                                                                                             Carrazana, MD;
                                                                                                             Richard Guthrie,
                                                                                                             MD; Bruce Henson,
                                                                                                             MD; Jonathan
                                                                                                             Jaspan, MD
                                                                                                             (deceased);
                                                                                                             Michael P.
                                                                                                             Merchut, MD;
                                                                                                             Michael Pfeifer,
                                                                                                             MD; Neelan Pillay,
                                                                                                             MD; Dianel Porte,
                                                                                                             Jr, MD; Julio
                                                                                                             Rosenstock, MD;
                                                                                                             Melvin Stjernholm,
                                                                                                             MD; Donald
                                                                                                             Studney, MD;
                                                                                                             A bert Tahmoush,
                                                                                                             MD; Aaron I. Vinik,
                                                                                                             MD; and Peter
                                                                                                             Weissman, MD."
                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 8 of 195




NA = Not Applicable                                                                                                                                Sunday, August 10, 2008
                                                                                Neuropathic Pain - Table 3
3 Could not obtain publication
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  Study Publication              Year   Type of            Citation                 Authors/                 Authors/              Authors/ investigators             Funding source
 number    code                          report                                   investigators            investigators             locations (Report)                  (Report)
                                                                                    (Protocol)               (Report)
945-224     945-224. RR      February   Research   Research report number      Parke-Davis               PD Author(s):           3. Centre Hospitalier de Lyon,       Not applicable.
                             7, 2000    report     RR 720-04130.               Clinical/Medical          1. Roder B              Hopital Neurologique, Lyon,          Research report.
                                                                               Colleagues:               2. Maisonobe P          France.
                                                                               Dr Beate Lichte                                   4. Hopital Mignot, Le Chesnay,
                                                                               Dr Guta Murray            Investigator(s):        France.
                                                                                                         3. Guy Chazot           5. Hopital Saint-Eloi, Montpellier
                                                                               Parke-Davis Statistician: 4. Pierre Tajfel        Cedex 05, France.
                                                                               Pascal Maisonobe          5. Didier Kong-A-       6. Centre Hospitalier Saint-
                                                                                                         Siou                    Joseph & Saint Luc, Hopital
                                                                                                         6. Jacques. Latarjet    Saint-Joseph, Lyon Cedex 07,
                                                                                                         7. Michel Lantieri-     France.
                                                                                                         Minet                   7. Hopital Pasteur de Nice, Nice
                                                                                                         8. Nadine Attal         Cedex 01, France.
                                                                                                         9. Francois Boureau     8. Hopital Ambroise Pare,
                                                                                                         10. Christian Minello   France.
                                                                                                         11. Pierre Denise       9. Hopital Saint-Antoine, Paris
                                                                                                         12. Bernard Laurent     Cedex 12, France.
                                                                                                         13. Gerard Mick         10. Centre Georges-Francois-
                                                                                                         14. Olivier Blin        Leclerc, Dijon, France.
                                                                                                         15. Gerard Said         11. CH Regional, Caen Cedex,
                                                                                                         16. Loic Rambaud        France.
                                                                                                         17. Frank Best          12. Centre Hospitalier de Saint-
                                                                                                         18. Ingo A. Rohrig      Etienne, Saint-Etienne Cedex
                                                                                                         19. Jurgen Beyer        02, France.
                                                                                                         20. Michael Huptas      13. Rue des Usines, Voiron,
                                                                                                         21. Cornelia            France.
                                                                                                         Jarusch-Hancke          14. Hopital la Timone, Marseille
                                                                                                         22. Christoph           Cedex 05, France.
                                                                                                         Metzger                 15. Hopital de Bicetre, Le
                                                                                                         23. Martin Anders       Kremlin Bicetre, France.
                                                                                                         24. Volker-             16. Hopital Lyon Sud, Pierre
                                                                                                         Friedhelm Lindner       Benite Cedex, France.
                                                                                                         25. Theo Scholten       17. Girardestrabe 2, Essen,
                                                                                                         26. Uwe. Bockmann       Germany.
                                                                                                         27. Wolfgang            18. St Josef-Krankenhaus und
                                                                                                         Huning                  Diabeteszentrum, Haan,
                                                                                                         28. Roland Worz         Germany.
                                                                                                         29. Manfred Plum        19. Universitatsklinikum Mainz,
                                                                                                         30. Elke Austenat       Mainz, Germany.
                                                                                                         31. Fabrizio Rasi       20. Krayer Strasse 238, Essen,
                                                                                                         32. Mariella Trovati    Germany.
                                                                                                         33. Piergiuseppe        21.Stiftung Deutsche Klinik fur
                                                                                                         Zagnoni                 Diagnost k, Wiesbaden,
                                                                                                         34. Silvana Caronna     Germany.
                                                                                                         35. Giulio Masotti      22. Elisabeth-Krankenhaus
                                                                                                                                                                                             Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 9 of 195




NA = Not Applicable                                                                                                                               Sunday, August 10, 2008
                                                                            Neuropathic Pain - Table 3
3 Could not obtain publication
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 Study Publication               Year   Type of   Citation           Authors/                Authors/             Authors/ investigators             Funding source
number    code                           report                    investigators           investigators            locations (Report)                  (Report)
                                                                     (Protocol)              (Report)
                                                                                          36. Corrada           GmbH, Gelsenkirchen,
                                                                                          Messina               Germany.
                                                                                          37. Marcello          23. Stadtbezirksstelle fur
                                                                                          Farinelli             Diabetes, Berlin, Germany.
                                                                                          38. Ricardo           24. Universitatsklinik Kiel, Kiel,
                                                                                          Girogino              Germany.
                                                                                          39. Lawrence A.       25. Allgemeines Krankenhaus
                                                                                          Distiller             Hagen, Hagen, Germany.
                                                                                          40. Leslie I.         26. Friedrich-Ebert
                                                                                          Robertson             Krankenhaus, Neumunster,
                                                                                          41. Jordi Serra i .   Germany.
                                                                                          Catafau               27. Friedrich-Ebert-Str. 176,
                                                                                          42. Mª Victoria       Duisburg, Germany.
                                                                                          Ribera Canudas        28. Friedrichstr. 73, Bad
                                                                                          43. Gisela Roca       Schonborn, Germany.
                                                                                          Amatria               29. Hauptstra!e 191, Herne,
                                                                                          44. Jose Luis         Germany.
                                                                                          Madrid                30. Diabetes Inst. Berlin GmbH,
                                                                                          45. Mª Angeles        Berlin, Germany.
                                                                                          Quesada Garcia        31. Ospedale Pierantoni
                                                                                          46. Mª Luisa          Vecchiazzano, Forli, Italy.
                                                                                          Franco Gay            32. Divisione Universitaria di
                                                                                          47. Jose de Andres    Diabetologia, Orbassano, Italy.
                                                                                          Ibánez                33. Ambulatorio die Neurologia,
                                                                                          48. Joseph P.         Cuneo, Italy.
                                                                                          O'Hare                34. Servizio Malattie del
                                                                                          49. John P.D.         Ricambioe Diabetologia, Parma,
                                                                                          Reckless              Italy.
                                                                                          50. Derek D.          35. Cattedra Gerontologia
                                                                                          Sandeman              Geriatria, Firenze, Italy.
                                                                                          51. Vinod Patel       36. Clinical Neurologia II,
                                                                                          52. Robert W.         Universita di Messina, Messina,
                                                                                          Johnson               Italy.
                                                                                          53. David Kerr        37. Dipartimento Di Medicina,
                                                                                          54. Mun S. Chong      Arenzano (GE), Italy.
                                                                                          55. Hugh C.R.         38. Clinica Medica II,
                                                                                          Simpson               Endocrinologia e Malattie
                                                                                          56. Roland J.C. Guy   Metaboliche, Bari, Italy.
                                                                                          57. Andrew B.         39. Centre for Diabetes,
                                                                                          Johnson               Johannesburg, South Africa.
                                                                                                                40. Parklands Medical Centre,
                                                                                          [The following are    Durban, South Africa.
                                                                                          listed as             41. Neurology Service, Hospital
                                                                                          investigators only in "Princeps d'Espanya" Feixa
                                                                                          the synopsis and      Llarga s/n, Barcelona, Spain.
                                                                                                                                                                           Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 10 of 195




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                                                             Neuropathic Pain - Table 3
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 Study Publication               Year   Type of   Citation           Authors/                Authors/               Authors/ investigators             Funding source
number    code                           report                    investigators           investigators              locations (Report)                  (Report)
                                                                     (Protocol)              (Report)
                                                                                          Appendix A.1 but        42. Pain Clinic, Hospital Vall
                                                                                          not the title page of   d'Hebron, Barcelona, Spain.
                                                                                          research report]:       43. Pain Clinic, Hospital
                                                                                          58. Andre P. Muller     Universitari de Badalona,
                                                                                          59. Claus-Peter         Badalona, Spain.
                                                                                          Billing                 44. Pain Clinic, Ctra. De
                                                                                          60. G. Hempelmann       Andalucia, Madrid, Spain.
                                                                                          61. Jorg Gloyer         45. Neurology Service, Hospital
                                                                                          62. Giuseppe Erle       "Virgen de la Macarena",
                                                                                                                  Sevilla, Spain.
                                                                                          Kendle Authors:         46. Hospital de Cruces, Unidad
                                                                                          63. Beate Wieseler      del Dolor, Vizcaya, Spain.
                                                                                          64. Eva Stiepel.        47. Pain Unit, Hospital General
                                                                                                                  del Valencia, Valencia, Spain.
                                                                                          "Also the study         48. Diabetes Centre, Hospital of
                                                                                          report was written      St. Cross, Warwickshire,
                                                                                          by Kendle (Munich,      Kingdom.
                                                                                          Germany)."              49. Royal United Hospital, Bath,
                                                                                                                  United Kingdom.
                                                                                                                  50. Royal South Hants Hospital,
                                                                                                                  Hampshire, United Kingdom.
                                                                                                                  51. Diabetes and Asthma
                                                                                                                  Centre, George Eliot Hospital,
                                                                                                                  Warwickshire, United Kingdom.
                                                                                                                  52. Pain Clinic, Bristol Royal
                                                                                                                  Infirmary, Bristol, United
                                                                                                                  Kingdom.
                                                                                                                  53. Clinical Investigations Unit -
                                                                                                                  BDEC, Royal Bournemouth
                                                                                                                  Hospital, Dorset, United
                                                                                                                  Kingdom.
                                                                                                                  54. St. Bartholomew's Hospital,
                                                                                                                  Kent, United Kingdom.
                                                                                                                  55. Diabetes Centre, Royal
                                                                                                                  Berkshire Hospital, Reading,
                                                                                                                  United Kingdom.
                                                                                                                  56. Basingstoke District
                                                                                                                  Hospital, Basingstoke
                                                                                                                  Hampshire, United Kingdom.
                                                                                                                  57. Diabetes Centre,
                                                                                                                  Southmead Hospital, Bristol,
                                                                                                                  United Kingdom.
                                                                                                                  58. Hopital Civil de Strasbourg,
                                                                                                                  Strasbourg, France.
                                                                                                                  59. Kaiser-Otto-Platz, Essen,
                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 11 of 195




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 Study Publication               Year   Type of   Citation           Authors/               Authors/        Authors/ investigators            Funding source
number    code                           report                    investigators          investigators       locations (Report)                 (Report)
                                                                     (Protocol)             (Report)
                                                                                                          Germany.
                                                                                                          60. Klin k der Justus-Liebig-
                                                                                                          Universitat, Gießen, Germany.
                                                                                                          61. Marktplatz 7, Ludwigsburg,
                                                                                                          Germany.
                                                                                                          62. Divisione e Servizio Malattie
                                                                                                          del Ricambio e Centro
                                                                                                          Antidiabetico, Vicenza, Italy.
                                                                                                                                                                    Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 12 of 195




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  Study Publication              Year    Type of              Citation                  Authors/                Authors/             Authors/ investigators          Funding source
 number    code                           report                                      investigators           investigators            locations (Report)               (Report)
                                                                                        (Protocol)              (Report)
945-224     945-             March 11,   Submission J Reckless on behalf of the    Parke-Davis               1. J. Reckless        1. Royal United Hospital, Bath,   Not mentioned.
            224.Reckless.    2002        to journal Gabapentin Diabetic            Clinical/Medical          2. Gabapentin         UK.
            Diabetic                                Neuropathic Pain Study         Colleagues:               Diabetic              2-1 to 2-14. France.
            Medicine                                Group, B Roder, P              Dr Beate Lichte           Neuropathic Pain      2-15 to 2-28. Germany.
                                                    Maisonobe. Gabapentin in       Dr Guta Murray            Study Group           2-29 to 2-36. Italy.
                                                    painful diabetic neuropathy:                             2-1. N. Attal         2-37 & 2-38. South Africa.
                                                    a randomised, double-blind,    Parke-Davis Statistician: 2-2. O. Blin          2-39 to 2-45. Spain.
                                                    placebo-controlled study.      Pascal Maisonobe          2-3. F. Boureau       2-46 to 2-55. United Kingdom.
                                                    Submitted to Diabetic                                    2-4. G. Chazot        3. Pfizer GmbH, Freiburg,
                                                    Medicine. March 11, 2002.                                2-5. P. Denise        Germany.
                                                                                                             2-6. D. Kong-A-Siou   4. Pfizer GRD, Fresnes Cedex,
                                                                                                             2-7. M. Lanteri-      France.
                                                                                                             Minet
                                                                                                             2-8. J. Latarjet
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                                                                                                             Hancke
                                                                                                             2-23. V-F. Lindner
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 Study Publication               Year   Type of   Citation           Authors/                Authors/          Authors/ investigators     Funding source
number    code                           report                    investigators           investigators         locations (Report)          (Report)
                                                                     (Protocol)              (Report)
                                                                                          2-39. J de Andres
                                                                                          Ibanez
                                                                                          2-40. ML Franco
                                                                                          Gay
                                                                                          2-41. JL Madrid
                                                                                          2-42. Quesada
                                                                                          Garcia
                                                                                          2-43. MV R bera
                                                                                          Canudas
                                                                                          2-44. G Roca
                                                                                          Amatria
                                                                                          2-45. J Serra I
                                                                                          Catafau
                                                                                          2-46. MS Chong
                                                                                          2-47. RJC Guy
                                                                                          2-48. AB Johnson
                                                                                          2-49. RW Johnson
                                                                                          2-50. D Kerr
                                                                                          2-51. JP O'Hare
                                                                                          2-52. V Patel
                                                                                          2-53. JPD Reckless
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                                                                                          Sanderman
                                                                                          2-55. HCR Simpson

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 number    code                          report                                      investigators           investigators            locations (Report)               (Report)
                                                                                       (Protocol)              (Report)
945-224     945-             October    Submission J Reckless on behalf of the    Parke-Davis               1. J. Reckless        1. Royal United Hospital, Bath,   Not mentioned.
            224.Reckless.    21, 2002   to journal Gabapentin Diabetic            Clinical/Medical          2. Gabapentin         UK.
            Diabetologia                           Neuropathic Pain Study         Colleagues:               Diabetic              2-1 to 2-14. France.
                                                   Group, B Roder, P              Dr Beate Lichte           Neuropathic Pain      2-15 to 2-28. Germany.
                                                   Maisonobe. Gabapentin in       Dr Guta Murray            Study Group:          2-29 to 2-36. Italy.
                                                   painful diabetic neuropathy:                             2-1. N. Attal         2-37 & 2-38. South Africa.
                                                   a randomised, double-blind,    Parke-Davis Statistician: 2-2. O. Blin          2-39 to 2-45. Spain.
                                                   placebo-controlled study.      Pascal Maisonobe          2-3. F. Boureau       2-46 to 2-55. United Kingdom.
                                                   Submission to Diabetologia.                              2-4. G. Chazot        3. Pfizer GmbH, Freiburg,
                                                   October 21, 2002.                                        2-5. P. Denise        Germany.
                                                                                                            2-6. D. Kong-A-Siou   4. Pfizer GRD, Fresnes Cedex,
                                                                                                            2-7. M. Lanteri-      France.
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 number    code                          report                                        investigators             investigators           locations (Report)              (Report)
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                                                                                                                2-39. J de Andres
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945-224     Backonja     2002.          Conference Backonja M-M, Mutisya EM.        Parke-Davis                 1. Backonja M-M      1. University of Wisconsin       "This work was
            2002.EFNS.Ab                abstract   Gabapentin demonstrates a        Clinical/Medical            2. Mutisya EM        Hospital and Clinics, Madison,   supported by Pfizer
            s.945-224                              nonlinear dose-response          Colleagues:                                      WI, USA.                         Inc."
                                                   across five multicenter trials   Dr Beate Lichte                                  2. Pfizer Inc., New York, NY,
                                                   for neuropathic pain.            Dr Guta Murray                                   USA.
                                                   Presented at EFNS. 2002.
                                                                                    Parke-Davis Statistician:
                                                                                    Pascal Maisonobe
                                                                                                                                                                                             Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 16 of 195




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  Study Publication              Year   Type of            Citation                    Authors/                 Authors/              Authors/ investigators          Funding source
 number    code                          report                                      investigators            investigators             locations (Report)               (Report)
                                                                                       (Protocol)               (Report)
945-224     Backonja         2003       Other     Backonja M, Glanzman RL.       Parke-Davis                 "Reckless et al         Not mentioned.                  Not mentioned.
            2003 Review                           Gabapentin dosing for          Clinical/Medical            (data on file, Study                                    However, state that
            of 945-224                            neuropathic pain: evidence     Colleagues:                 945-224, February                                       data is on file with
                                                  from randomized, placebo-      Dr Beate Lichte             7, 2000, Pfizer Inc)"                                   Pfizer Inc.
                                                  controlled clinical trials.    Dr Guta Murray
                                                  Clinical Therapeutics. 2003;
                                                  25 (1): 81-104.                Parke-Davis Statistician:
                                                                                 Pascal Maisonobe
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  Study Publication              Year   Type of            Citation                   Authors/                 Authors/          Authors/ investigators            Funding source
 number    code                          report                                     investigators            investigators         locations (Report)                 (Report)
                                                                                      (Protocol)               (Report)
945-271     945-271. RR      March 7,   Research   Research report 945-271.      Principal Investigators:   Co-ordinating      1. Department of                    Not applicable.
                             2003.      report                                   1. Docent Staffan Arner    investigator:      Anesthesiology, University          Research report.
                                                                                 2. Docent Jorgen Boivie    1. Assoc. Prof.    Hospital, Uppsala, Sweden.
                                                                                 3. Docent Torsten          Torsten Gordh      2. Quintiles Services,
                                                                                 Gordh                                         Stockholm, Sweden.
                                                                                 4. Docent Clas             Study Authors:     3. Parke-Davis AB/Pfizer AB.
                                                                                 Manheimer                  2. Gunilla Borg    4. University of Lund, Lund,
                                                                                 5. Docent Bengt Sjolund    3. Sirkku Larson   Sweden.
                                                                                 6. Professor Bjorn Biber                      5. Pfizer AB, Taby, Sweden.
                                                                                 7. Professor Troels        Statistician:      6. Karolinska Hospita, Solna.
                                                                                 Staehelin Jensen           4. Jan Lanke       7. Linkoping University Hospital,
                                                                                 8. Bitr. Professor Eija                       Linkoping.
                                                                                 Kalso                      Market Company     8. Sahlgrenska University
                                                                                 9. Professor Harald        Medical Director   Hospital, Goteborg.
                                                                                 Breiv k                    5. Viveka Aberg    9. Lund University Hospital,
                                                                                                                               Lund.
                                                                                 Consultants:               "PRINCPAL          10. University Hospital, Umea.
                                                                                 Statistics:                INVESTIGATORS"     11. Arhus University Hospital,
                                                                                 10. Jan Lanke              6. Assoc. Prof.    Arhus.
                                                                                                            Staffan Arner      12. Helsinki University Hospital,
                                                                                 Data Management:           7. Assoc. Prof.    Helsinki.
                                                                                 11. Christina Slaug        Jorgen Boivie      13. Rikshospitalet, Oslo.
                                                                                                            8. Assoc. Prof.
                                                                                                            Clas Maneheimer
                                                                                                            9. Assoc. Prof.
                                                                                                            Bengt Sjolund
                                                                                                            10. Assoc. Prof.
                                                                                                            Bjorn Biber
                                                                                                            11. Assoc. Prof.
                                                                                                            Troels Staehlin
                                                                                                            Jensen
                                                                                                            12. Assoc. Prof.
                                                                                                            E ja Kalso
                                                                                                            13. Assoc. Prof.
                                                                                                            Harald Breivik
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  Study Publication              Year   Type of           Citation                  Authors/                 Authors/             Authors/ investigators          Funding source
 number    code                          report                                   investigators            investigators            locations (Report)               (Report)
                                                                                    (Protocol)               (Report)
945-271     945-             September Research   Research report 945-271      Principal Investigators:   Author:               2. Department of                  Not applicable.
            271.Addndm-      18, 2003. report     Sub-Study.                   1. Docent Staffan Arner    1. Gunilla Borg       Anesthesiology, Uppsala           Research report.
            B.RR                                                               2. Docent Jorgen Boivie                          University Hospital, Sweden.
                                                                               3. Docent Torsten          Co-ordinating         3. Neurologkliniken,
                                                                               Gordh                      Investigator:         Universitetssjukhuset, Linkoping.
                                                                               4. Docent Clas             2. Assoc. Prof.       4.Arhus Universitetshospital,
                                                                               Manheimer                  Torsten Gordh         Arhus.
                                                                               5. Docent Bengt Sjolund                          5.HYKS/kipuklinikka, Meilahden
                                                                               6. Professor Bjorn Biber   Principal             sariaala, Helsinki, Finland.
                                                                               7. Professor Troels        Investigators:        6. Riskhospitalet, Oslo, Norge.
                                                                               Staehelin Jensen           3. Assoc. Prof.
                                                                               8. Bitr. Professor Eija    Jorgen Boivie
                                                                               Kalso                      4. Prof. Toresl
                                                                               9. Professor Harald        Staehlin Jensen
                                                                               Breiv k                    5. Prof. E ja Kalso
                                                                                                          6. Prof. Harald
                                                                               Consultants:               Breivik
                                                                               Statistics:
                                                                               10. Jan Lanke

                                                                               Data Management:
                                                                               11. Christina Slaug
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  Study Publication              Year   Type of               Citation                  Authors/               Authors/       Authors/ investigators     Funding source
 number    code                          report                                       investigators          investigators      locations (Report)          (Report)
                                                                                        (Protocol)             (Report)
945-271     Gordh 2002                  Conference "Gordh T, et al. Poster         Principal Investigators: NA³              NA³                        NA³
                                        abstract   presentation at IASP,           1. Docent Staffan Arner
                                                   August 2002, Abstract p         2. Docent Jorgen Boivie
                                                   406-07" [per research           3. Docent Torsten
                                                   report. I could not obtain      Gordh
                                                   this abstract.]                 4. Docent Clas
                                                                                   Manheimer
                                                                                   5. Docent Bengt Sjolund
                                                                                   6. Professor Bjorn Biber
                                                                                   7. Professor Troels
                                                                                   Staehelin Jensen
                                                                                   8. Bitr. Professor Eija
                                                                                   Kalso
                                                                                   9. Professor Harald
                                                                                   Breiv k

                                                                                   Consultants:
                                                                                   Statistics:
                                                                                   10. Jan Lanke

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 number    code                          report                                 investigators          investigators           locations (Report)                (Report)
                                                                                  (Protocol)             (Report)
945-276     945-276.RR       May 14,    Research   Research report for      Protocol not available.   "Author of the      1. Medical Director, OPIS s.r.l.,   Not applicable.
                             2003.      report     Protocol 945-276.                                  report and          Desio, Milan, Italy.                Research report.
                                                                                                      affiliation:"       2 & 10. Dipartimento di
                                                                                                      1. Laura Ambrosoli  Anestesia e Terapia del Dolore,
                                                                                                                          Pavia.
                                                                                                      "Principal          3, 11 & 12. Terapia Antalgica,
                                                                                                      Investigator"       Vicenza.
                                                                                                      2. Cesare Bonezzi   4, 13 & 14. Terapia del Dolore e
                                                                                                      3. Marco Visentin   Cure Pallative, Instituto
                                                                                                      4. Augusto Caraceni Nazionale per lo Studio e la
                                                                                                      5. Marco Maltoni    Cura dei Tumori, Milano.
                                                                                                      6. Luigi Stella     5, 15, 16 & 17. Terpia del
                                                                                                      7. Edoardo Arcuri   Dolore, Ospedale Pierantoni,
                                                                                                      8. Alfredo Foliardi Forli'.
                                                                                                      9. Furio Zucco      6. Servizio di terapia del Dolore
                                                                                                                          e Cure Palliative, Ospedale "S.
                                                                                                      "Other              Leopoldo Mandic", Merate.
                                                                                                      Investigators"      7 & 18. Servizio di Terapia del
                                                                                                      10. Massimo         Dolore e Rianimazione, Istituto
                                                                                                      Barbieri            Regina Elena per i Tumori,
                                                                                                      11. Leonardo        Roma.
                                                                                                      Trentin             8. U. O. di Terapia Antalgica e
                                                                                                      12. Giuseppe        Cure Palliative, Dipartimento di
                                                                                                      Iannacci            Emergenza, Fano.
                                                                                                      13. Ernesto Zecca   9 & 19. Unita di Cure Palliative
                                                                                                      14. ssa Giovanna    e Terapia del Dolore, Azienda
                                                                                                      Gorni               Ospedaliera "G. Salvini",
                                                                                                      15. ssa Patrizia    Garbagnate Milanese.
                                                                                                      Serra
                                                                                                      16. ssa Laura
                                                                                                      Fabbri
                                                                                                      17. ssa Nanni
                                                                                                      18. Walter Tirelli
                                                                                                      19 Michele Sofia
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  Study Publication              Year   Type of                Citation                     Authors/               Authors/               Authors/ investigators              Funding source
 number    code                          report                                           investigators          investigators              locations (Report)                   (Report)
                                                                                            (Protocol)             (Report)
945-276     Caraceni 2004    July 15,   Full-paper   Caraceni A, Zecca E,             Protocol not available.   1. Augusto Caraceni     - Rehabilitation and Palliative       "This study was
                             2004.                   Bonezzi C, Arcuri E, Yaya                                  2. Ernesto Zecca        Care Unit, National Cancer            funded by Pfizer Italy
                                                     Tur R, Maltoni M, Visentin                                 3. Cesare Bonezzi       Institute of Milan, Milan.            and Pfizer Spain as
                                                     M, Gorni G, Martini C, Tirelli                             4. Edoardo Arcuri       - Pain Therapy and Palliative         study sponsors."
                                                     W, Barbieri M, De Conno F.                                 5. Ricardo Yaya Tur     Care Unit, Salvatore Maugeri
                                                     Gabapentin for neuropathic                                 6. Marco Maltoni        Foundation, Pavia.
                                                     cancer pain: a randomised                                  7. Marco Visentin       - Pain Therapy and Palliative
                                                     controlled trial from the                                  8. Giovanna Gorni       Care Unit, Oncological Center,
                                                     Gabapentin Cancer Pain                                     9. Cinzia Martini       Regina Elena Institute IFO,
                                                     Study Group. Journal of                                    10. Walter Tirelli      Rome.
                                                     Clinical Oncology. 2004;                                   11. Massimo             - Palliative Care Unit and
                                                     22(14): 2909-2917.                                         Barbieri                Oncology Unit, Forli.
                                                                                                                12. Franco De           - Pain Therapy and Palliative
                                                                                                                Conno                   Care Unit, S. Bortolo Hospital,
                                                                                                                13. Gabapentin          Vicenza, Italy.
                                                                                                                Cancer Pain Study       - Foundation Instituto
                                                                                                                Group:                  Valenciano de Oncologia,
                                                                                                                13-1. Cinzia Brunelli   Valencia, Spain.
                                                                                                                13-2. Rosana
                                                                                                                Escriba                 [Affiliations of individual authors
                                                                                                                13-3. Laura Fabbri      1 to 12 not clearly mentioned.]
                                                                                                                13-4. Lenoardo
                                                                                                                Trentin                 13-1. Rehabilitation and
                                                                                                                13-5. Furio Zucco       Palliative Care Unit, National
                                                                                                                13-6. Mauro             Cancer Institute of Milan, Italy.
                                                                                                                Marinari                13-2. Foundation Instituto
                                                                                                                13-7. Alfredo           Valenciano de Oncologia,
                                                                                                                Fogliardi               Valencia, Spain.
                                                                                                                13-8. Alicia Lozano     13-3. Palliative Care and
                                                                                                                Borbalas                Oncology Unit, Forli', Italy.
                                                                                                                13-9. Antonio           13-4. Pain Therapy and
                                                                                                                Casado Herraez          Palliative Care Unit, S. Bortolo
                                                                                                                                        Hospital, Vicenza, Italy.
                                                                                                                                        13-5. Pain Therapy and
                                                                                                                                        Palliative Care Unit, AOG
                                                                                                                                        Salvini PO Garbagnate, Italy.
                                                                                                                                        13-6. Palliative Care Unit
                                                                                                                                        Leopoldo Mandic Hospital and
                                                                                                                                        Hospice "Il Nespolo" ASL,
                                                                                                                                        Merate, Italy.
                                                                                                                                        13-7. Palliative Care and Pain
                                                                                                                                        Therapy Unit, Ospedale S.
                                                                                                                                        Croce, Fano, Italy.
                                                                                                                                        13-8. Instituto Catalakn de
                                                                                                                                        Oncologia, Hospital Duran I
                                                                                                                                                                                                       Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 22 of 195




NA = Not Applicable                                                                                                                                       Sunday, August 10, 2008
                                                                                  Neuropathic Pain - Table 3
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                                                                                                                                                                                      Page 17 of 28
 Study Publication               Year   Type of   Citation           Authors/               Authors/        Authors/ investigators          Funding source
number    code                           report                    investigators          investigators       locations (Report)               (Report)
                                                                     (Protocol)             (Report)
                                                                                                          Reynals, L'Hospitalet Lobregat,
                                                                                                          Spain.
                                                                                                          139. Servicio Oncologia Medica,
                                                                                                          Hospital Clinico S. Carlos,
                                                                                                          Madrid, Spain.
                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 23 of 195




NA = Not Applicable                                                                                                       Sunday, August 10, 2008
                                                             Neuropathic Pain - Table 3
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  Study Publication              Year   Type of            Citation                 Authors/                Authors/             Authors/ investigators            Funding source
 number    code                          report                                   investigators           investigators            locations (Report)                 (Report)
                                                                                    (Protocol)              (Report)
945-306     945-306.RR       May 5,     Research   Research report number      Parke-Davis               PD Authors:           4-1. Manor Hospital, West           Not applicable.
                             2000.      report     RR 430-00125.               Clinical/Medical          1. Bibby S-J          Midlands.                           Research report.
                                                                               Colleagues:               2. Maton S            4-2. Pilgrim Hospital NHS Trust,
                                                                               Sarah-Jane Bibby          3. Wensley S          Lincolnshire.
                                                                               Zina Eminton                                    4-3. Leicester General Hospital,
                                                                               Donna McVey               Investigators:        Leicester.
                                                                                                         4. Multicentre UK &   4-4. Kettering General,
                                                                               Parke-Davis Statistician: Ireland (Study        Northants.
                                                                               Stephen Maton             Advisor: Dr M         4-5. University Hospital,
                                                                                                         Serpell):             Nottingham.
                                                                                                         4-1. Babatola         4-6. Wonsbect Hospital,
                                                                                                         4-2. Batchelor        Northumberland.
                                                                                                         4-3. Bone             4-7. Mater Hospital, Dublin.
                                                                                                         4-4. Burnell          4-8. Frenchay Hospital, Bristol.
                                                                                                         4-5. Campbell         4-9. East Glamorgan General
                                                                                                         4-6. Cavill           Hospital, Mid Glamorgan.
                                                                                                         4-7. Chambers         4-10. Arrowe Park Hospital,
                                                                                                         4-8. Conian           Merseyside.
                                                                                                         4-9. Davies           4-11. Royal Cornwall Hospital,
                                                                                                         4-10. Eastwood        Cornwall.
                                                                                                         4-11. Griffiths       4-12. Hull Royal Infirmary, Hull.
                                                                                                         4-12. Haines          4-13. Chesterfield & North
                                                                                                         4-13. Harley          Derbyshire, Derbyshire.
                                                                                                         4-14. Kapur           4-14. Royal Victoria Infirmary,
                                                                                                         4-15. MacLeod         Newcastle.
                                                                                                         4-16. Markham         4-15. Birmingham City Hospital,
                                                                                                         4-17. Mathew          Birmingham.
                                                                                                         4-18. O'Sullivan      4-16. Frimley Park Hospital,
                                                                                                         4-19. Power           Surrey.
                                                                                                         4-20. Rogers          4-17. Queen Elizabeth Hospital,
                                                                                                         4-21. Serpell         Tyne & Wear.
                                                                                                         4-22. Skinner         4-18. Stepping Hill Hospital,
                                                                                                         4-23. Summerfield     Cheshire.
                                                                                                         4-24. Taylor          4-19. Tallaght Hospital, Dublin.
                                                                                                         4-25. Toomey          4-20. Queen Alexandra
                                                                                                         4-26. Ventham         Hospital, Portsmouth.
                                                                                                         4-27. Vickers         4-21. Gartnavel General
                                                                                                         4-28. Webb            Hospital, Glasgow.
                                                                                                         4-29. Padfield        4-22. Ipswich District General
                                                                                                         4-30. Houlton         Hospital, Suffolk.
                                                                                                         4-31. Collins         4-23. Royal Hampshire Hospital,
                                                                                                         4-32. Hoggart         Hampshire.
                                                                                                         4-33. Tordoff         4-24. Derriford Hospital,
                                                                                                         4-34. Gallagher       Plymouth.
                                                                                                                               4-25. York District Hospital,
                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 24 of 195




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 Study Publication               Year   Type of   Citation           Authors/               Authors/        Authors/ investigators            Funding source
number    code                           report                    investigators          investigators       locations (Report)                 (Report)
                                                                     (Protocol)             (Report)
                                                                                                          York.
                                                                                                          4-26. Poole General Hospital,
                                                                                                          Dorset.
                                                                                                          4-27. Lancaster Acute Hospitals
                                                                                                          NHS, Lancaster.
                                                                                                          4-28. Glan Clwyd District
                                                                                                          General Clwyd.
                                                                                                          4-29. St Thomas' Hospital,
                                                                                                          London.
                                                                                                          4-30. St Peters Hospital, Surrey.
                                                                                                          4-31. Musgrove Park Hospital,
                                                                                                          Somerset.
                                                                                                          4-32. Solihull Hospital, West
                                                                                                          Midlands.
                                                                                                          4-33. Northampton District
                                                                                                          General, Northampton.
                                                                                                          4-34. St Bartholomew's
                                                                                                          Hospital, London.
                                                                                                                                                                   Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 25 of 195




NA = Not Applicable                                                                                                        Sunday, August 10, 2008
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  Study Publication              Year   Type of              Citation                    Authors/                Authors/               Authors/ investigators           Funding source
 number    code                          report                                        investigators           investigators              locations (Report)                (Report)
                                                                                         (Protocol)              (Report)
945-306     Serpell 2002     2002       Full-paper   Serpell MG, Neuropathic        Parke-Davis               1. Serpell MG           1 & 2-21. Gartnavel General        "This muticentre
                                                     Pain Study Group.              Clinical/Medical          2. Neuropathic Pain     Hospital, Scotland, UK.            research project was
                                                     Gabapentin in neuropathic      Colleagues:               Study Group             2-1. Manor Hospital.               fully funded by Parke-
                                                     pain syndromes: a              Sarah-Jane Bibby          2-1. F.D.O.             2-2. Pilgrim Hospital NHS Trust.   Davis and monitored
                                                     randomised, double-blind,      Zina Eminton              Babatola                2-3. Leicester General Hospital.   by a contract
                                                     placebo-controlled trial.      Donna McVey               2-2. G. Batchelor       2-4. Kettering General.            research
                                                     Pain. 2002; 99: 557-566.                                 2-3. M. Bone            2-5. University Hospital           organisation, Imro
                                                                                    Parke-Davis Statistician: 2-4. J.C. Burnell       Nottingham.                        Tramarko Ltd, as
                                                                                    Stephen Maton             2-5. F. Campbell        2-6. Wonsbeck Hospital.            well as by Parke-
                                                                                                              2-6. G. Cavill          2-7. Mater Hospital.               Davis personnel."
                                                                                                              2-7. F. Chambers        2-8. Frenchay Hospital.
                                                                                                              2-8. S.W. Conian        2-9. East Glamorgan General        "M.G.S. received a
                                                                                                              2-9. R. Davies          Hospital.                          consultancy fee from
                                                                                                              2-10. D. Eastwood       2-10. Arrowe Park Hospital.        Parke-Davis for his
                                                                                                              2-11. P. Griffiths      2-11. Royal Cornwall Hospital.     independent help
                                                                                                              2-12. D.R. Haines       2-12. Hull Royal Infirmary.        and advice on this
                                                                                                              2-13. D. Harley         2-13. Chesterfield Royal           project. Research
                                                                                                              2-14. D. Kapur          Hospital.                          personnel involved in
                                                                                                              2-15. J. MacLeod        2-14. Royal Victorial Infirmary.   this project were also
                                                                                                              2-16. K. Markham        2-15. Birmingham City Hospital.    compensated by
                                                                                                              2-17. P. Mathew         2-16. Frimley Park Hospital.       Parke-Davis,
                                                                                                              2-18. E. O'Sullivan     2-17. Queen Elizabeth Hospital.    receiving fees
                                                                                                              2-19. C. Power          2-18. Stepping Hill Hospital.      commensurate with
                                                                                                              2-20. P. Rogers         2-19. Tallaght hospital.           the amount of time
                                                                                                              2-21. M. Serpell        2-20. Queen Alexandra Hospital.    spent conducting the
                                                                                                              [same as 1 above]       2-22. Ipswich District General     study."
                                                                                                              2-22. J. Skinner        Hospital.
                                                                                                              2-23. R.                2-23. Royal Hampshire Hospital.
                                                                                                              Summerfield             2-24. Derriford Hospital.
                                                                                                              2-24. M. Taylor         2-25. York District Hospital.
                                                                                                              2-25. P. Toomey         2-26. Poole General Hospital.
                                                                                                              2-26. P. Ventham        2-27. Lancaster Acute Hospitals
                                                                                                              2-27. A.P. Vickers      NHS Trust.
                                                                                                              2-28. T. Webb           2-28. Glan Clwyd District
                                                                                                              2-29. N. Padfield       General Hospital.
                                                                                                              2-30. P. Houlton        2-29. St. Thomas' Hospital.
                                                                                                              2-31. P. Collins        2-30. St. Peters Hospital.
                                                                                                              2-32. B. Hoggart        2-31. Musgrove Park Hospital.
                                                                                                              2-33. S. Tordoff        2-32. Solihull Hospital.
                                                                                                              2-34. J. Gallagher      2-33. Northampton District
                                                                                                                                      General.
                                                                                                              "The authors thank      2-34. St. Bartholomew's
                                                                                                              S.-J. Bibby (clinical   Hospital.
                                                                                                              trials coordinator,
                                                                                                              Parke-Davis) and
                                                                                                                                                                                                  Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 26 of 195




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                                                                                 Neuropathic Pain - Table 3
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  Study Publication              Year   Type of               Citation                    Authors/                 Authors/            Authors/ investigators          Funding source
 number    code                          report                                         investigators            investigators           locations (Report)               (Report)
                                                                                          (Protocol)               (Report)
                                                                                                                S. Maton
                                                                                                                (biometrics
                                                                                                                manager, Parke-
                                                                                                                Davis) for their
                                                                                                                assistance in study
                                                                                                                design, execution,
                                                                                                                and analysis."

945-306     Serpell          2002       Conference Serpell MG and the               Parke-Davis                 1. Serpell MG       1. Gartnavel General Hospital,     "This study was
            2002.Conf.                  abstract   Neuropathic Pain Study           Clinical/Medical            2. Neuropathic Pain Scotland, UK.                      supported by Pfizer
            Abs                                    Group. Gabapentin in             Colleagues:                 Study Group         2. UK and Republic of Ireland      Inc."
                                                   neuropathic pain                 Sarah-Jane Bibby                                participating investigators, UK.
                                                   syndromes: a randomised,         Zina Eminton
                                                   double-blind, placebo-           Donna McVey
                                                   controlled trial. Presented at
                                                   ICMTNP Annual Meeting.           Parke-Davis Statistician:
                                                   2002.                            Stephen Maton
                                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 27 of 195




NA = Not Applicable                                                                                                                                   Sunday, August 10, 2008
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  Study Publication              Year   Type of            Citation                 Authors/                Authors/            Authors/ investigators          Funding source
 number    code                          report                                   investigators           investigators           locations (Report)               (Report)
                                                                                    (Protocol)              (Report)
945-411     945-411.RR       November   Research   Research report number      Parke-Davis               PGRD Reviewer(s):    4. Instituto Nacional de la       Not applicable.
                             5, 2002.   report     RR 720-30154.               Clinical/Medical          1. Abdulnabi R       Nutricion Salvador Zubiran,       Research report.
                                                                               Colleagues:               2. Knapp L           Mexico.
                                                                               Dr. Klaus Fichtner        3. Purcell TJ        5. Hospital General de Mexico,
                                                                               Dr. Blake M. Paterson                          Mexico.
                                                                                                         Investigator(s):     6. Av. Ruiz Cortinez # 2903,
                                                                               Parke-Davis Statistician: 4. Francisco J.      Mexico.
                                                                               Dr. Noel Mohberg          Gomez-Perez          7. Edificio DAROX, Mexico.
                                                                                                         5. Guillermo         8. Juan Palomar y Arias,
                                                                                                         Fanghanel            "Yanquis", Mexico.
                                                                                                         6. Roberto Gomez     9. Av. Venustiano Carranza
                                                                                                         7. Sergio Zuniga     2395, San Luis Potosi, Mexico.
                                                                                                         8. Maria del         10. Clinica de Diagnostico,
                                                                                                         Carmen Ramos         Guanajuato, Mexico.
                                                                                                         9. Guillermo         11. Hospital Juarez de Mexico,
                                                                                                         Rodriguez            Mexico.
                                                                                                         10. Ernesto Gomez 12. Centro Medico Docente La
                                                                                                         Vargas               Trinidad, Caraca, Venezuela.
                                                                                                         11. Concepion        13. Hospital Militar Carlos
                                                                                                         Aguilera             Arvelo, Caracas, Venezuela.
                                                                                                         12. Armando Perez 14. Asociacion Colombiana de
                                                                                                         13. Oswaldo          Diabetes, Colombia.
                                                                                                         Obregon              15. Programa de Diabetes,
                                                                                                         14. Pablo Aschner    Medellin, Colombia.
                                                                                                         15. Alberto Villegas 16. Hosp. Guillermo Almenara
                                                                                                         16. Luis Deza        I., Lima, Peru.
                                                                                                         17. Dra. Pilar       17. Complejo Hospitalario San
                                                                                                         Mazzetti             Pablo, Lima, Peru.
                                                                                                         18. Dr. Jaime        18. Hospital Nacional Cayetano
                                                                                                         Villena              Heredia, Lima, Peru.
                                                                                                         19. Mario Campero 19. Jose M. Infante 553,
                                                                                                         20. Luis Pedraza     Santiago, Chile.
                                                                                                         21. Dr. Arturo       20. Reina Victoria 6655 casa I,
                                                                                                         Jaramillo            Santiago, Chile.
                                                                                                         22. Dra. Maritza     21. Hospital Naval Almirante
                                                                                                         Velasco              Nef, Vina del Mar, Chile.
                                                                                                         23. Antonio Chacra 22. Hospital Militar, Unidad de,
                                                                                                         24. Adriana Forti    Tratamiento del Dolor-Of.,
                                                                                                         25. Daniel Gianella Santiago, Chile.
                                                                                                         26. Jorge Gross      23. R. Maoel de Nobrega 1626-
                                                                                                         27. Emilio Moriguchi Jd., Brazil.
                                                                                                         28. Osvaldo          24. Av. Pontes Vieria, Brazil.
                                                                                                         Nascimento           25. Faculdade de Medicina-
                                                                                                         29. Hermelinda       USP, Sao Paulo, Brazil.
                                                                                                         Pedrosa              26. R. Ramiro Barcelos, Porto
                                                                                                                                                                                       Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 28 of 195




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                                                                            Neuropathic Pain - Table 3
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  Study Publication              Year   Type of                Citation                   Authors/               Authors/            Authors/ investigators            Funding source
 number    code                          report                                         investigators          investigators           locations (Report)                 (Report)
                                                                                          (Protocol)             (Report)
                                                                                                             30. Leao Zagury       Alegre, Brazil.
                                                                                                             31. Maria Regina      27. Av. Ipiranga 6690, Porto
                                                                                                             Calsolari             Alegre, Brazil.
                                                                                                             32. Miguel Pascual    28. Rua Siqueria Campos,
                                                                                                             33. Marino Tagle      Brazil.
                                                                                                             34. Rosangela Rea     29. SHLS 716-Sul-Centro
                                                                                                             35. Geisa Macedo      Clinico Sul-torre 2-sala 315-Asa
                                                                                                             36. Garcia Alcala     sul-Brasilia, Brazil.
                                                                                                             Hector                30. R. Visconde de Viraja, Rio
                                                                                                             37. Garcia Soto       de Janeiro, Brazil.
                                                                                                             Norma                 31. Hosp. Santa Casa de Belo
                                                                                                                                   Horizonte - CEPECEM - 5
                                                                                                                                   andar, Brazil.
                                                                                                                                   32. Instituto Medico Vida, Quito,
                                                                                                                                   Ecuador.
                                                                                                                                   33. Hospital IESS, Guayaquil,
                                                                                                                                   Ecuador.
                                                                                                                                   34. Dep. De Clinical medica,
                                                                                                                                   Hospital da Clinicas, Brazil.
                                                                                                                                   35. R. Santo Elias, Brazil.
                                                                                                                                   36. 5 Poniente # 715 Col.
                                                                                                                                   Centro, Puebla, Mexico.
                                                                                                                                   37. Centro Medico Adolfo Ruiz
                                                                                                                                   Cortines, Veracruz, Mexico.



945-411     Gomez-Perez      2002       Conference Fichtner K, for the Latin         Parke-Davis               1. Gomez-Perez FJ   1. Instituto Nacional de Ciencias   "This study was
            2002.Conf.                  abstract   American Diabetic                 Clinical/Medical          2. Perez-           Medicas y Nutricion Salvador        supported by Pfizer
            Abs                                    Neuropathy Study Group.           Colleagues:               Monteverde A        Zubiran, Mexico City, Mexico.       Inc."
                                                   Gabapentin for the                Dr. Klaus Fichtner        3. Nascimento O     2. Centro Medico Docente La
                                                   treatment of pain                 Dr. Blake M. Paterson     4. Aschner P        Trinidad, Caracas, Venezuela.
                                                   associated with diabetic                                    5. Tagle M          3. Fluminese Federal University,
                                                   peripheral neuropathy:            Parke-Davis Statistician: 6. Fichtner K       Rio de Janeiro, Brazil.
                                                   titration to effect is superior   Dr. Noel Mohberg          7. Latin American   4. Asociacion Colombiana de
                                                   to a commonly used fixed                                    Diabetic            Diabetes, Bogota, Colombia.
                                                   dose. Presented at ICMTNP                                   Neuropathy Study    5. Teodoro Maldonado Hospital,
                                                   Annual Meeting. 2002.                                       Group               Guayaquil, Ecuador.
                                                                                                                                   6. Latin American CRO
                                                                                                                                   Mmatiss, Mexico City, Mexico.
                                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 29 of 195




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  Study Publication              Year   Type of               Citation                    Authors/                Authors/              Authors/ investigators            Funding source
 number    code                          report                                         investigators           investigators             locations (Report)                 (Report)
                                                                                          (Protocol)              (Report)
945-411     Gomez-Perez      May/June   Full-paper   Gomez-Perez FJ, Perez-          Parke-Davis               1. Francisco J.        1. Instituto Nacional de Ciencias   "The study was fully
            2004             2004                    Monteverde A, Nascimento        Clinical/Medical          Gómez-Pérez            Medicas y Nutricion Salvador        funded by Pfizer Inc.
                                                     O, Aschner P, Tagle M,          Colleagues:               2. Armando Perez-      Zubiran, Mexico City, Mexico.       The clinical trial was
                                                     Fichtner K, Subbiah P,          Dr. Klaus Fichtner        Monteverde             2. Centro Medico Docente La         monitored by Quasy,
                                                     Mutisya EM, Parsons B for       Dr. Blake M. Paterson     3. Osvaldo             Trinidad, Caracas, Venezuela.       a contract research
                                                     the Latin American Diabetic                               Nascimento             3. Fluminense Federal               organisation, and
                                                     Neuropathy Study Group.         Parke-Davis Statistician: 4. Pablo Aschner       University, Rio de Janeiro,         Parke-Davis."
                                                     Gabapentin for the              Dr. Noel Mohberg          5. Marino Tagle        Brazil.                             "Data analysis was
                                                     treatment of painful diabetic                             6. Klaus Fichtner      4. Colombian Diabetes               conducted by Quasy
                                                     neuropathy: dosing to                                     7. Ponni Subbiah       Association, Bogotá, Colombia.      and Pfizer."
                                                     achieve optimal clinical                                  8. Elizabeth M.        5. Teodoro Maldonado Hospital,
                                                     response. The British                                     Mutisya                Guayaquil, Ecuador.
                                                     Journal of Diabetes and                                   9. Bruce Parsons       6. Latin American CRO
                                                     Vascular Disease. 2004;                                   10. for the Latin      Mmatiss, Mexico City, Mexico.
                                                     4(3): 173-178.                                            American Diabetic      7, 8, & 9. Pfizer Inc., New York,
                                                                                                               Neuropathy Study       NY, USA.
                                                                                                               Group:                 10.
                                                                                                               10-1. Guillermo        10-1I to 10-9. Mexico.
                                                                                                               Fanghänel              10-10. Venezuela.
                                                                                                               10-2. Roberto          10-11. Colombia.
                                                                                                               Gómez                  10-12 to 10-14. Peru.
                                                                                                               10-3. Sergio Zúñiga    10-15 to 10-18. Chile.
                                                                                                               10-4. Maria del        10-19 to 10-25. Brazil.
                                                                                                               Carmen Ramos           10-26 & 10-27. Ecuador.
                                                                                                               10-5. Guillermo
                                                                                                               Rodríguez-Rivera
                                                                                                               10-6. Ernesto
                                                                                                               Gómez Vargas
                                                                                                               10-7. Concepión
                                                                                                               Aguilera
                                                                                                               10-8. Hector García
                                                                                                               Alcala
                                                                                                               10-9. Norma
                                                                                                               García Soto
                                                                                                               10-10. Oswaldo
                                                                                                               Obregón
                                                                                                               10-11. Alberto
                                                                                                               Villegas
                                                                                                               10-12. Luis Deza
                                                                                                               10-13. Pilar
                                                                                                               Mazzettii
                                                                                                               10-14. Jaime Villena
                                                                                                               10-15. Mario
                                                                                                               Campero
                                                                                                               10-16. Luis Pedraza
                                                                                                                                                                                                   Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 30 of 195




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  Study Publication              Year    Type of            Citation                    Authors/                Authors/              Authors/ investigators        Funding source
 number    code                           report                                      investigators           investigators             locations (Report)             (Report)
                                                                                        (Protocol)              (Report)
                                                                                                             10-17. Arturo
                                                                                                             Jaramillo
                                                                                                             10-18. Maritza
                                                                                                             Velasco
                                                                                                             10-19. Antonio
                                                                                                             Chacra
                                                                                                             10-20. Adriana Forti
                                                                                                             10-21. Daniel
                                                                                                             Pedrosa
                                                                                                             10-22. Leao Zagury
                                                                                                             10-23. Maria
                                                                                                             Regina Calsolari
                                                                                                             10-24. Rosângela
                                                                                                             Réa
                                                                                                             10-25. Geísa
                                                                                                             Macedo
                                                                                                             10-26. Miguel
                                                                                                             Pasquel
                                                                                                             10-27. Marino Tagle
                                                                                                             [Also includes
                                                                                                             Francisco Gómez-
                                                                                                             Pérez, Armando
                                                                                                             Perez and Pablo
                                                                                                             Aschner who are
                                                                                                             already listed
                                                                                                             above on the
                                                                                                             author byline].

A945-1008   A945-            March 24,   Research   Final Study Report:            Pfizer Clinician:         "Investigators are     Appendix A4.1 not available.   Not applicable.
            1008.Final       2005.       report     Gabapentin protocol A945-      Robert L. Glanzman        listed in Appendix                                    Research report.
            Study Report                            1008.                                                    A4.1" [Appendix
                                                                                   Investigators:            A4.1 not available]
                                                                                   "A complete list of
                                                                                   Investigators and
                                                                                   Institutions will be
                                                                                   maintained in the
                                                                                   master study file, at
                                                                                   Ingenix Pharmaceutical
                                                                                   Services."

                                                                                   [per Working Protocol
                                                                                   Incorporating
                                                                                   Amendment 2, dated
                                                                                   August 7, 2002.]
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NA = Not Applicable                                                                                                                                 Sunday, August 10, 2008
                                                                                Neuropathic Pain - Table 3
3 Could not obtain publication
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  Study Publication              Year     Type of                Citation                     Authors/               Authors/             Authors/ investigators           Funding source
 number    code                            report                                           investigators          investigators            locations (Report)                (Report)
                                                                                              (Protocol)             (Report)
Unavailable Dallocchio       2000.       Full-paper     Dallochhio C, Buffa C,          Protocol not available.   1. Carlo Dallochhio   1 & 2. Department of Neurology     Not mentioned.
-Dallocchio 2000                                        Mazzarello P, Chiroli S.                                  2. Carlo Buffa        and Rehabilitative Medicine, S.
                                                        Gabapentin vs. amitryptiline                              3. Paolo Mazzarello   Giacomo Hospital, Novi Ligore.
                                                        in painful diabetic                                       4. Silvia Chiroli     3. Biochemical and Evolutionist
                                                        neuropathy: an open-label                                                       Genetic Institute, National
                                                        pilot study. Journal of Pain                                                    Research Council, Pavia.
                                                        and Symptom                                                                     4. Medical Division, Parke-Davis
                                                        Management. 2000; 20(4):                                                        SpA, Milan, Italy.
                                                        280-285.


Unavailable Draft Gorson     August      Internal       Gorson KC, Schott C, Rand       Principal Investigator(s): 1. Kenneth C.        "Neurology Service, St.            "This study was
-Gorson     to Magistro      23, 1997    letter/draft   WM, Herman R, Ropper            Kenneth C. Gorson          Gorson               Elizabeth's Medical Center,        financially supported
            1997             [email].                   AH. Low-dose gabapentin in                                 2. Cecilia Shortt    Tufts University School of         by an unrestricted
                                                        the treatment of painful        Co-investigator(s):        3. William M. Rand   Medicine, Boston, MA"              educational grant
                                                        diabetic neuropathy: a          Allan H. Ropper            4. Robert Herman                                        from Warner Lambert
                                                        placebo-controlled, double-                                5. Allan H. Ropper                                      Co. (Parke-Davis
                                                        blind, crossover trial.         Parke-Davis (CBU)                                                                  Pharmaceuticals);
                                                        Unpublished draft attached      Contact:                                                                           Parke-Davis supplied
                                                        to email from Kenneth           Philip J. Magitro                                                                  gabapentin for the
                                                        Gorson to Phil Magistro.                                                                                           purposes of this
                                                        Dated August 23, 1997.                                                                                             study."

Unavailable Draft Magistro   January 7, Internal        Title and list of authors not   Principal Investigator(s): Not mentioned in     Not mentioned in available         Unclear with
-Gorson     Internal 1998    1998       letter/draft    available from email or         Kenneth C. Gorson          available            documents.                         available documents.
                             [email].                   attached draft. Unpublished                                documents.
                                                        draft attached to email from    Co-investigator(s):
                                                        Phil Magistro. Dated            Allan H. Ropper
                                                        January 7, 1998.
                                                                                        Parke-Davis (CBU)
                                                                                        Contact:
                                                                                        Philip J. Magitro

Unavailable Gorson 1998      1998        Conference Gorson KC, Schott C, Rand           Principal Investigator(s): 1. Kenneth C.        Not mentioned.                     "Supported by: Parke
-Gorson                                  abstract   WM, Herman R, Ropper                Kenneth C. Gorson          Gorson                                                  Davis
                                                    AH.Gabapentin in the                                           2. Cecilia Schott                                       Pharmaceuticals"
                                                    treatment of painful diabetic       Co-investigator(s):        3. William M. Rand
                                                    neuropathy: a placebo-              Allan H. Ropper            4. Robert Herman
                                                    controlled, double-blind,                                      5. Allan H. Ropper
                                                    crossover trial. Neurology.         Parke-Davis (CBU)
                                                    1998; 50 (Suppl 4): A103.           Contact:
                                                                                        Philip J. Magitro
                                                                                                                                                                                                   Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 32 of 195




NA = Not Applicable                                                                                                                                      Sunday, August 10, 2008
                                                                                    Neuropathic Pain - Table 3
3 Could not obtain publication
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  Study Publication              Year   Type of              Citation                    Authors/                Authors/             Authors/ investigators           Funding source
 number    code                          report                                        investigators           investigators            locations (Report)                (Report)
                                                                                         (Protocol)              (Report)
Unavailable Gorson 1999      1999       Letter to   Gorson KC, Schott C,            Principal Investigator(s): 1. Kenneth C.        1, 2, 3, & 4. Neurology Service,   "This study was
-Gorson                                 Editor      Herman R, Ropper AH,            Kenneth C. Gorson          Gorson               St. Elizabeth's Medical Center.    financially supported
                                                    Rand WM. Gabapentin in                                     2. Cecilia Schott    5. Department of Family            by Warner Lambert
                                                    the treatment of painful        Co-investigator(s):        3. Robert Herman     Medicine and Community             (Parke-Davis
                                                    diabetic neuropathy: a          Allan H. Ropper            4. Allan H. Ropper   Health, New England Medical        Pharmaceuticals)."
                                                    placebo controlled, double                                 5. William M. Rand   Cente, Tufts University School
                                                    blind, crossover trial.         Parke-Davis (CBU)                               of Medicine, Boston.
                                                    Journal of Neurology,           Contact:
                                                    Neurosurgery, and               Philip J. Magitro
                                                    Psychiatry. 1999; 66: 251-
                                                    252.
                                                                                                                                                                                               Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 33 of 195




NA = Not Applicable                                                                                                                                  Sunday, August 10, 2008
                                                                                 Neuropathic Pain - Table 3
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                                                         Neuropathic Pain
                                        Table 4 - Comparison of Study Reports by Participant
                                                    Inclusion/Exclusion Criteria
  Study       Publication Type of report               Participant inclusion criteria (Protocol)                      Participant inclusion criteria                Enrollment Enrollment           Number of
 number          code                                                                                                           (Report)                             start date end date              sites

945-210      945-210.RR          Research report   "Patients must meet the following criteria to be elig ble to   "- Were of any race, and at least 18 years of     July 2, 1996.   March 20,      "17 centers in
                                                   participate in the study:                                      age (Amendment 1 of the protocol eliminated                       1997.          the US and 3
                                                   - Male or female, any race, 18 to 65 years;                    the upper age limit);"                                                           centers in
                                                   - Men; or nonpregnant, nonlactating women who are                                                                                               Canada"
                                                   postmenopausal or surgically sterilized; women who are at      "- Had a diagnosis of diabetes mellitus (type I
                                                   risk of pregnancy should be counseled on appropriate           or II) with hemoglobin A1c levels of !11%
                                                   methods of contraception (including barrier or hormonal        (increased from !10% in Amendment 1) and
                                                   method) and have a confirmed negative pregnancy test;          symptoms of diabetic neuropathy for 1 to 5
                                                   - Diagnosis of diabetes mellitus (type I or II) with           years;"
                                                   hemoglobin A1C levels of !10% and symptoms of diabetic
                                                   neuropathy for 1 to 5 years;
                                                   - At screening and randomization, a score of "40 mm on
                                                   the visual analogue scale of SF-MPQ;
                                                   - At randomization, an average score of "4 over the past 7
                                                   days on the daily pain diary;
                                                   - Must complete at least 4 daily pain diaries during the 7
                                                   days prior to randomization;
                                                   - Able to understand and cooperate with study
                                                   procedures; and
                                                   - Have signed a written informed consent prior to entering
                                                   the study."
                                                                                                                                                                                                                    Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 34 of 195




NA = Not Applicable                                                                Neuropathic Pain - Table 4                                                                              Sunday, August 10, 2008
3 Could not obtain publication
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  Study       Publication Type of report       Participant inclusion criteria (Protocol)                      Participant inclusion criteria           Enrollment Enrollment          Number of
 number          code                                                                                                   (Report)                        start date end date             sites

945-210      Backonja 1997 Conference      "Patients must meet the following criteria to be elig ble to   "Following screening, 165 patients with      Not mentioned. Not mentioned. Not mentioned.
                           abstract        participate in the study:                                      symptoms of diabetic neuropathy for 1 to 5
                                           - Male or female, any race, 18 to 65 years;                    years and a hemoglobin A1c !11% were
                                           - Men; or nonpregnant, nonlactating women who are              randomized to placebo (N = 81) or
                                           postmenopausal or surgically sterilized; women who are at      gabapentin (N = 84)."
                                           risk of pregnancy should be counseled on appropriate
                                           methods of contraception (including barrier or hormonal
                                           method) and have a confirmed negative pregnancy test;
                                           - Diagnosis of diabetes mellitus (type I or II) with
                                           hemoglobin A1C levels of !10% and symptoms of diabetic
                                           neuropathy for 1 to 5 years;
                                           - At screening and randomization, a score of "40 mm on
                                           the visual analogue scale of SF-MPQ;
                                           - At randomization, an average score of "4 over the past 7
                                           days on the daily pain diary;
                                           - Must complete at least 4 daily pain diaries during the 7
                                           days prior to randomization;
                                           - Able to understand and cooperate with study
                                           procedures; and
                                           - Have signed a written informed consent prior to entering
                                           the study."
                                                                                                                                                                                                      Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 35 of 195




NA = Not Applicable                                                        Neuropathic Pain - Table 4                                                                        Sunday, August 10, 2008
3 Could not obtain publication
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  Study       Publication Type of report       Participant inclusion criteria (Protocol)                      Participant inclusion criteria   Enrollment Enrollment            Number of
 number          code                                                                                                   (Report)                start date end date               sites

945-210      Backonja 1998 Full-paper      "Patients must meet the following criteria to be elig ble to   No differences from protocol.        July 1996       March 1997      "Outpatient
                                           participate in the study:                                                                           [Mentioned in   [Mentioned in   clinics at 20
                                           - Male or female, any race, 18 to 65 years;                                                         abstract of     abstract of     sites" [Abstract].
                                           - Men; or nonpregnant, nonlactating women who are                                                   report].        report].
                                           postmenopausal or surgically sterilized; women who are at
                                           risk of pregnancy should be counseled on appropriate
                                           methods of contraception (including barrier or hormonal
                                           method) and have a confirmed negative pregnancy test;
                                           - Diagnosis of diabetes mellitus (type I or II) with
                                           hemoglobin A1C levels of !10% and symptoms of diabetic
                                           neuropathy for 1 to 5 years;
                                           - At screening and randomization, a score of "40 mm on
                                           the visual analogue scale of SF-MPQ;
                                           - At randomization, an average score of "4 over the past 7
                                           days on the daily pain diary;
                                           - Must complete at least 4 daily pain diaries during the 7
                                           days prior to randomization;
                                           - Able to understand and cooperate with study
                                           procedures; and
                                           - Have signed a written informed consent prior to entering
                                           the study."
                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 36 of 195




NA = Not Applicable                                                        Neuropathic Pain - Table 4                                                                 Sunday, August 10, 2008
3 Could not obtain publication
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  Study       Publication Type of report               Participant inclusion criteria (Protocol)                      Participant inclusion criteria   Enrollment Enrollment           Number of
 number          code                                                                                                           (Report)                start date end date              sites

945-224      945-224. RR         Research report   "These criteria are mandatory and must be met to provide       No differences from protocol.        May 29, 1998.   September 7,   59 centers in
                                                   evaluable data. Patients must meet the following criteria to                                                        1999.          Europe and 2
                                                   be elig ble to participate in the study:                                                                                           centers in Africa.
                                                   - [per Addendum A]: Male or female, any race, at least 18
                                                   years and a maximum of 65 years. Patients older than 65
                                                   years may only be included if a measurement of their
                                                   endogenous creatinine clearance has shown that their
                                                   creatinine clearance is greater than 60 ml/min;
                                                   - Men; or nonpregnant, nonlactating women who are
                                                   postmenopausal or surgically sterilized, women who are at
                                                   risk of pregnancy should be counseled on appropriate
                                                   methods of contraception (including barrier or hormonal
                                                   method) and have a confirmed negative pregnancy test;
                                                   - Diagnosis of diabetes mellitus (type I or II); hemoglobin
                                                   A1c levels of !10%; diabetes medication should be
                                                   optimized and stable; symptoms of diabetic distal,
                                                   symmetrical, sensorimotor polyneuropathy for 1 to 5 years
                                                   (must meet San Antonio criteria);
                                                   - At screening and randomization, a score of "40 mm on
                                                   the visual analogue scale of SF-MPQ;
                                                   - At randomization, patients must have completed at least
                                                   4 daily pain and sleep interference diaries during the 7
                                                   days prior to randomization, and have an average score of
                                                   "4 over the past 7 days on the daily pain diary;
                                                   - Patients receiving a stable bedtime dose of
                                                   benzodiazepines (with no dosage changes within the last
                                                   30 days or during the study) must have an average score
                                                   of "2 on the daily sleep interference diary during the 7
                                                   days prior to randomization.
                                                   - Able to understand and cooperate with study
                                                   procedures; and
                                                   - Have signed a written informed consent prior to entering
                                                   the study."

                                                   [per Addendum B]: "After completing the double-blind
                                                   phase, patients can enter a 4-month open-label extension
                                                   phase."
                                                                                                                                                                                                       Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 37 of 195




NA = Not Applicable                                                                Neuropathic Pain - Table 4                                                                Sunday, August 10, 2008
3 Could not obtain publication
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  Study       Publication Type of report             Participant inclusion criteria (Protocol)                      Participant inclusion criteria   Enrollment Enrollment          Number of
 number          code                                                                                                         (Report)                start date end date             sites

945-224      945-                Submission to   "These criteria are mandatory and must be met to provide       No differences from protocol.        Not mentioned. Not mentioned. Not mentioned.
             224.Reckless.       journal         evaluable data. Patients must meet the following criteria to
             Diabetic                            be elig ble to participate in the study:
             Medicine                            - [per Addendum A]: Male or female, any race, at least 18
                                                 years and a maximum of 65 years. Patients older than 65
                                                 years may only be included if a measurement of their
                                                 endogenous creatinine clearance has shown that their
                                                 creatinine clearance is greater than 60 ml/min;
                                                 - Men; or nonpregnant, nonlactating women who are
                                                 postmenopausal or surgically sterilized, women who are at
                                                 risk of pregnancy should be counseled on appropriate
                                                 methods of contraception (including barrier or hormonal
                                                 method) and have a confirmed negative pregnancy test;
                                                 - Diagnosis of diabetes mellitus (type I or II); hemoglobin
                                                 A1c levels of !10%; diabetes medication should be
                                                 optimized and stable; symptoms of diabetic distal,
                                                 symmetrical, sensorimotor polyneuropathy for 1 to 5 years
                                                 (must meet San Antonio criteria);
                                                 - At screening and randomization, a score of "40 mm on
                                                 the visual analogue scale of SF-MPQ;
                                                 - At randomization, patients must have completed at least
                                                 4 daily pain and sleep interference diaries during the 7
                                                 days prior to randomization, and have an average score of
                                                 "4 over the past 7 days on the daily pain diary;
                                                 - Patients receiving a stable bedtime dose of
                                                 benzodiazepines (with no dosage changes within the last
                                                 30 days or during the study) must have an average score
                                                 of "2 on the daily sleep interference diary during the 7
                                                 days prior to randomization.
                                                 - Able to understand and cooperate with study
                                                 procedures; and
                                                 - Have signed a written informed consent prior to entering
                                                 the study."

                                                 [per Addendum B]: "After completing the double-blind
                                                 phase, patients can enter a 4-month open-label extension
                                                 phase."
                                                                                                                                                                                                    Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 38 of 195




NA = Not Applicable                                                              Neuropathic Pain - Table 4                                                                Sunday, August 10, 2008
3 Could not obtain publication
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  Study       Publication Type of report             Participant inclusion criteria (Protocol)                      Participant inclusion criteria   Enrollment Enrollment          Number of
 number          code                                                                                                         (Report)                start date end date             sites

945-224      945-                Submission to   "These criteria are mandatory and must be met to provide       No differences from protocol.        Not mentioned. Not mentioned. Not mentioned.
             224.Reckless.       journal         evaluable data. Patients must meet the following criteria to
             Diabetologia                        be elig ble to participate in the study:
                                                 - [per Addendum A]: Male or female, any race, at least 18
                                                 years and a maximum of 65 years. Patients older than 65
                                                 years may only be included if a measurement of their
                                                 endogenous creatinine clearance has shown that their
                                                 creatinine clearance is greater than 60 ml/min;
                                                 - Men; or nonpregnant, nonlactating women who are
                                                 postmenopausal or surgically sterilized, women who are at
                                                 risk of pregnancy should be counseled on appropriate
                                                 methods of contraception (including barrier or hormonal
                                                 method) and have a confirmed negative pregnancy test;
                                                 - Diagnosis of diabetes mellitus (type I or II); hemoglobin
                                                 A1c levels of !10%; diabetes medication should be
                                                 optimized and stable; symptoms of diabetic distal,
                                                 symmetrical, sensorimotor polyneuropathy for 1 to 5 years
                                                 (must meet San Antonio criteria);
                                                 - At screening and randomization, a score of "40 mm on
                                                 the visual analogue scale of SF-MPQ;
                                                 - At randomization, patients must have completed at least
                                                 4 daily pain and sleep interference diaries during the 7
                                                 days prior to randomization, and have an average score of
                                                 "4 over the past 7 days on the daily pain diary;
                                                 - Patients receiving a stable bedtime dose of
                                                 benzodiazepines (with no dosage changes within the last
                                                 30 days or during the study) must have an average score
                                                 of "2 on the daily sleep interference diary during the 7
                                                 days prior to randomization.
                                                 - Able to understand and cooperate with study
                                                 procedures; and
                                                 - Have signed a written informed consent prior to entering
                                                 the study."

                                                 [per Addendum B]: "After completing the double-blind
                                                 phase, patients can enter a 4-month open-label extension
                                                 phase."
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NA = Not Applicable                                                              Neuropathic Pain - Table 4                                                                Sunday, August 10, 2008
3 Could not obtain publication
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  Study       Publication Type of report       Participant inclusion criteria (Protocol)                      Participant inclusion criteria                Enrollment Enrollment          Number of
 number          code                                                                                                   (Report)                             start date end date             sites

945-224      Backonja     Conference       "These criteria are mandatory and must be met to provide       [Did not report inclusion criteria for 945-224    Not mentioned. Not mentioned. Not mentioned.
             2002.EFNS.Ab abstract         evaluable data. Patients must meet the following criteria to   specifically.]                                                                  "Europe, South
             s.945-224                     be elig ble to participate in the study:                                                                                                       Africa"
                                           - [per Addendum A]: Male or female, any race, at least 18      "- The overall sample size was 1357 and
                                           years and a maximum of 65 years. Patients older than 65        represented a spectrum of neuropathic pain
                                           years may only be included if a measurement of their           populations:
                                           endogenous creatinine clearance has shown that their              - Male and female, aged 20-94 years
                                           creatinine clearance is greater than 60 ml/min;                   - Multiple etiologies
                                           - Men; or nonpregnant, nonlactating women who are                    - Diabetic peripheral neuropathy (DPN)
                                           postmenopausal or surgically sterilized, women who are at            - Postherpetic neuralgia (PHN)
                                           risk of pregnancy should be counseled on appropriate                 - Mixed neuropathic pain syndromes
                                           methods of contraception (including barrier or hormonal        (mixed NeP syndromes)
                                           method) and have a confirmed negative pregnancy test;             - Multiple symptoms
                                           - Diagnosis of diabetes mellitus (type I or II); hemoglobin          - Allodynia, burning pain, shooting pain,
                                           A1c levels of !10%; diabetes medication should be              hyperalgesia
                                           optimized and stable; symptoms of diabetic distal,                - Chronic, moderate to severe neuropathic
                                           symmetrical, sensorimotor polyneuropathy for 1 to 5 years      pain, generally refractory to other
                                           (must meet San Antonio criteria);                              medications."
                                           - At screening and randomization, a score of "40 mm on
                                           the visual analogue scale of SF-MPQ;
                                           - At randomization, patients must have completed at least
                                           4 daily pain and sleep interference diaries during the 7
                                           days prior to randomization, and have an average score of
                                           "4 over the past 7 days on the daily pain diary;
                                           - Patients receiving a stable bedtime dose of
                                           benzodiazepines (with no dosage changes within the last
                                           30 days or during the study) must have an average score
                                           of "2 on the daily sleep interference diary during the 7
                                           days prior to randomization.
                                           - Able to understand and cooperate with study
                                           procedures; and
                                           - Have signed a written informed consent prior to entering
                                           the study."

                                           [per Addendum B]: "After completing the double-blind
                                           phase, patients can enter a 4-month open-label extension
                                           phase."
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NA = Not Applicable                                                        Neuropathic Pain - Table 4                                                                             Sunday, August 10, 2008
3 Could not obtain publication
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  Study       Publication Type of report       Participant inclusion criteria (Protocol)                      Participant inclusion criteria                 Enrollment Enrollment          Number of
 number          code                                                                                                   (Report)                              start date end date             sites

945-224      Backonja            Other     "These criteria are mandatory and must be met to provide       "The unpublished clinical trial of gabapentin in   Not mentioned. Not mentioned. Not mentioned.
             2003 Review                   evaluable data. Patients must meet the following criteria to   PDN by Reckless et al (data on file, Study
             of 945-224                    be elig ble to participate in the study:                       945-224, February 7, 2000, Pfizer Inc)
                                           - [per Addendum A]: Male or female, any race, at least 18      included 325 patients aged "18 years from
                                           years and a maximum of 65 years. Patients older than 65        the United Kingdom, Europe, and South
                                           years may only be included if a measurement of their           Africa who had a history of PDN and a score
                                           endogenous creatinine clearance has shown that their           "40 on the 100-mm VAS of the SF-MPQ.
                                           creatinine clearance is greater than 60 ml/min;                Patients were required to have an HbA1c
                                           - Men; or nonpregnant, nonlactating women who are              value !10% and a mean pain score "4 on the
                                           postmenopausal or surgically sterilized, women who are at      11-point Likert scale."
                                           risk of pregnancy should be counseled on appropriate
                                           methods of contraception (including barrier or hormonal
                                           method) and have a confirmed negative pregnancy test;
                                           - Diagnosis of diabetes mellitus (type I or II); hemoglobin
                                           A1c levels of !10%; diabetes medication should be
                                           optimized and stable; symptoms of diabetic distal,
                                           symmetrical, sensorimotor polyneuropathy for 1 to 5 years
                                           (must meet San Antonio criteria);
                                           - At screening and randomization, a score of "40 mm on
                                           the visual analogue scale of SF-MPQ;
                                           - At randomization, patients must have completed at least
                                           4 daily pain and sleep interference diaries during the 7
                                           days prior to randomization, and have an average score of
                                           "4 over the past 7 days on the daily pain diary;
                                           - Patients receiving a stable bedtime dose of
                                           benzodiazepines (with no dosage changes within the last
                                           30 days or during the study) must have an average score
                                           of "2 on the daily sleep interference diary during the 7
                                           days prior to randomization.
                                           - Able to understand and cooperate with study
                                           procedures; and
                                           - Have signed a written informed consent prior to entering
                                           the study."

                                           [per Addendum B]: "After completing the double-blind
                                           phase, patients can enter a 4-month open-label extension
                                           phase."
                                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 41 of 195




NA = Not Applicable                                                        Neuropathic Pain - Table 4                                                                              Sunday, August 10, 2008
3 Could not obtain publication
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  Study       Publication Type of report               Participant inclusion criteria (Protocol)                        Participant inclusion criteria   Enrollment Enrollment          Number of
 number          code                                                                                                             (Report)                start date end date             sites

945-271      945-271. RR         Research report   "All the following must be fulfilled for the patient to be       No differences from protocol.        November 13,   November 30,   9.
                                                   included in the screening period.                                                                     1998.          2001.
                                                   - Male or female, at least 18 years of age
                                                   - Patients with a peripheral nerve injury who have
                                                   experienced this form of pain for " 6 months
                                                   - The diagnosis according to ICD-10 will include
                                                       a) post-traumatic neuralgia
                                                       b) postoperative neuralgia
                                                   - Patients who is judged by the investigator to fulfill a pain
                                                   score of " 30 on a VAS (0 - 100) at randomisation
                                                   - Must show presence of hyper- or hypo-phenomen in
                                                   sensibility tests within a neuroanatomical distribution area
                                                   - Able to understand and cooperate with study procedures
                                                   - Capable of completing the study
                                                   - Written informed consent given

                                                   At randomisation, also the following criteria must be
                                                   fulfilled
                                                   - An average of 14 measurements of pain score " 30 on a
                                                   VAS (0 - 100), during the last week of screening"
                                                                                                                                                                                                      Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 42 of 195




NA = Not Applicable                                                                 Neuropathic Pain - Table 4                                                                Sunday, August 10, 2008
3 Could not obtain publication
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  Study       Publication Type of report               Participant inclusion criteria (Protocol)                        Participant inclusion criteria               Enrollment Enrollment          Number of
 number          code                                                                                                             (Report)                            start date end date             sites

945-271      945-                Research report   "All the following must be fulfilled for the patient to be       "Inclusion and Exclusion Criteria for the Sub-   November 13,   November 30,   "4 centers in the
             271.Addndm-                           included in the screening period.                                study were the same as for the main study."      1998.          2001.          Nordic Area, 1
             B.RR                                  - Male or female, at least 18 years of age                                                                                                      center each in
                                                   - Patients with a peripheral nerve injury who have               No differences from protocol 945-217.                                          Sweden,
                                                   experienced this form of pain for " 6 months                     [Addendum-B not available].                                                    Denmark,
                                                   - The diagnosis according to ICD-10 will include                                                                                                Finland, and
                                                       a) post-traumatic neuralgia                                                                                                                 Norway."
                                                       b) postoperative neuralgia
                                                   - Patients who is judged by the investigator to fulfill a pain
                                                   score of " 30 on a VAS (0 - 100) at randomisation
                                                   - Must show presence of hyper- or hypo-phenomen in
                                                   sensibility tests within a neuroanatomical distribution area
                                                   - Able to understand and cooperate with study procedures
                                                   - Capable of completing the study
                                                   - Written informed consent given

                                                   At randomisation, also the following criteria must be
                                                   fulfilled
                                                   - An average of 14 measurements of pain score " 30 on a
                                                   VAS (0 - 100), during the last week of screening"
                                                                                                                                                                                                                   Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 43 of 195




NA = Not Applicable                                                                 Neuropathic Pain - Table 4                                                                            Sunday, August 10, 2008
3 Could not obtain publication
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  Study       Publication Type of report          Participant inclusion criteria (Protocol)                          Participant inclusion criteria   Enrollment Enrollment     Number of
 number          code                                                                                                          (Report)                start date end date        sites

945-271      Gordh 2002          Conference   "All the following must be fulfilled for the patient to be       NA³                                    NA³        NA³           NA³
                                 abstract     included in the screening period.
                                              - Male or female, at least 18 years of age
                                              - Patients with a peripheral nerve injury who have
                                              experienced this form of pain for " 6 months
                                              - The diagnosis according to ICD-10 will include
                                                  a) post-traumatic neuralgia
                                                  b) postoperative neuralgia
                                              - Patients who is judged by the investigator to fulfill a pain
                                              score of " 30 on a VAS (0 - 100) at randomisation
                                              - Must show presence of hyper- or hypo-phenomen in
                                              sensibility tests within a neuroanatomical distribution area
                                              - Able to understand and cooperate with study procedures
                                              - Capable of completing the study
                                              - Written informed consent given

                                              At randomisation, also the following criteria must be
                                              fulfilled
                                              - An average of 14 measurements of pain score " 30 on a
                                              VAS (0 - 100), during the last week of screening"
                                                                                                                                                                                             Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 44 of 195




NA = Not Applicable                                                            Neuropathic Pain - Table 4                                                              Sunday, August 10, 2008
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  Study       Publication Type of report               Participant inclusion criteria (Protocol)              Participant inclusion criteria                Enrollment Enrollment      Number of
 number          code                                                                                                   (Report)                             start date end date         sites

945-276      945-276.RR          Research report   Protocol not available.                                "Patients with neoplastic diseases with           May 1999.   June 2002.    "11 centres"
                                                                                                          neuropathic pain not adequately controlled by
                                                                                                          opioids had to be included."

                                                                                                          "- Adult males or females, age "18 years
                                                                                                          - Patients with active neoplastic disease
                                                                                                          causing pain due to documented infiltration or
                                                                                                          compression of nervous structures
                                                                                                          - Pain associated with presence of at least
                                                                                                          one of the following features:
                                                                                                             - burning
                                                                                                             - shooting/lancinating
                                                                                                             - dysestesia
                                                                                                             - allodynia
                                                                                                          - At randomization, pain rating scale score " 5
                                                                                                          - Patients on current systemic (not spina)
                                                                                                          opioid therapy at the adequate therapeutic
                                                                                                          dose. This means an increase in opioid would
                                                                                                          cause no further benefit and/or intolerable
                                                                                                          adverse effects
                                                                                                          - Patients treated with other adjuvant
                                                                                                          analgesic therapies (i.e. steroids,
                                                                                                          anticonvulsants other than gabapentin,
                                                                                                          tricyclic antidepressants) at a dose
                                                                                                          unchanged from day -2 throughout the study
                                                                                                          - Life expectancy " 30 days
                                                                                                          - Karnofsky performance status " 40."
                                                                                                                                                                                                     Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 45 of 195




NA = Not Applicable                                                          Neuropathic Pain - Table 4                                                                       Sunday, August 10, 2008
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  Study       Publication Type of report          Participant inclusion criteria (Protocol)              Participant inclusion criteria               Enrollment Enrollment         Number of
 number          code                                                                                              (Report)                            start date end date            sites

945-276      Caraceni 2004       Full-paper   Protocol not available.                                "Patients with cancer pain were enrolled if      August 1999.   May 2002.     11 palliative care
                                                                                                     they had an active cancer lesion causing pain                                 and oncology
                                                                                                     by infiltration or compression of nervous                                     units (8 Italian, 3
                                                                                                     structure, and at least one of the following                                  Spanish).
                                                                                                     symptoms or signs referred to the pain area:
                                                                                                     burning pain, shooting/lancinating pain
                                                                                                     episodes, dysesthesias, or allodynia."

                                                                                                     "Imaging studies (computed tomography,
                                                                                                     magnetic resonance imaging, ultrasound, or
                                                                                                     others as judged appropriate by the
                                                                                                     investigator) documenting a neoplastic lesion
                                                                                                     compatible with the neurological pain
                                                                                                     syndrome were required for all patients."

                                                                                                     "Inclusion criteria were: age " 18 years; pain
                                                                                                     intensity " 5 on a numerical rating scale from
                                                                                                     0 to 10, in the 24-hour period preceding the
                                                                                                     screening visit, referred to the neuropathic
                                                                                                     pain syndrome as defined above; regularly
                                                                                                     scheduled systemic opioid therapy without
                                                                                                     sufficient analgesia with significant opioid-
                                                                                                     related side effects; stable dose of opioid
                                                                                                     medication for at least 24 hours; life
                                                                                                     expectancy " 30 days; and Karnofsky
                                                                                                     performance status (KPS) " 40."
                                                                                                                                                                                                    Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 46 of 195




NA = Not Applicable                                                     Neuropathic Pain - Table 4                                                                         Sunday, August 10, 2008
3 Could not obtain publication
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  Study       Publication Type of report               Participant inclusion criteria (Protocol)                      Participant inclusion criteria   Enrollment Enrollment          Number of
 number          code                                                                                                           (Report)                start date end date             sites

945-306      945-306.RR          Research report   "Patients must meet the following criteria to be elig ble to   No differences from protocol.        June 17, 1999. February 8,    34 hospital sites
                                                   participate in the study:                                                                                          2000.

                                                   1. Male or female, any race, aged at least 18 years
                                                   2. Female patients must be nonpregnant, nonlactating,
                                                   postmenopausal, or surgically sterilized. Women who are
                                                   at risk of pregnancy must be using an appropriate method
                                                   of contraception (including barrier or hormonal method)
                                                   3. Patients with a definite diagnosis of neuropathic pain,
                                                   who must exhibit at least two of the following symptoms:
                                                     - Allodynia
                                                     - Burning pain
                                                     - Shooting pain
                                                     - Hyperaesthesia

                                                   These may be associated with the following neuropathic
                                                   pain syndromes:
                                                     - Complex regional pain syndrome
                                                     - Phantom limb
                                                     - Post-mastectomy - patients must have completed
                                                   radiation therapy before entering the study.
                                                     - Post-laminectomy
                                                     - Post inguinal hernia repair
                                                     - Thoracotomy
                                                     - Trigeminal neuralgia

                                                   4. At randomisation, patients must have completed at
                                                   least 4 daily diaries during the 7 days prior to
                                                   randomisation, and have an average overall pain score of
                                                   " 4 over the past 7 days on the daily pain diary.
                                                   5. Able to understand and cooperate with study
                                                   procedures.
                                                   6. Have signed a written informed consent prior to
                                                   entering the study.

                                                   These criteria are mandatory and must be met to provide
                                                   evaluable data."
                                                                                                                                                                                                     Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 47 of 195




NA = Not Applicable                                                                 Neuropathic Pain - Table 4                                                               Sunday, August 10, 2008
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  Study       Publication Type of report          Participant inclusion criteria (Protocol)                      Participant inclusion criteria                Enrollment Enrollment          Number of
 number          code                                                                                                      (Report)                             start date end date             sites

945-306      Serpell 2002        Full-paper   "Patients must meet the following criteria to be elig ble to   "All investigators utilised the definitions of    June 1999.   February 2000. 35 hospital
                                              participate in the study:                                      diagnostic criteria documented in the                                         outpatient clinics
                                                                                                             International Association for the Study of Pain
                                              1. Male or female, any race, aged at least 18 years            (IASP) Classification of Chronic Pain to
                                              2. Female patients must be nonpregnant, nonlactating,          support their clinical judgement." [Omitted
                                              postmenopausal, or surgically sterilized. Women who are        citation to reference in original text].
                                              at risk of pregnancy must be using an appropriate method
                                              of contraception (including barrier or hormonal method)
                                              3. Patients with a definite diagnosis of neuropathic pain,
                                              who must exhibit at least two of the following symptoms:
                                                - Allodynia
                                                - Burning pain
                                                - Shooting pain
                                                - Hyperaesthesia

                                              These may be associated with the following neuropathic
                                              pain syndromes:
                                                - Complex regional pain syndrome
                                                - Phantom limb
                                                - Post-mastectomy - patients must have completed
                                              radiation therapy before entering the study.
                                                - Post-laminectomy
                                                - Post inguinal hernia repair
                                                - Thoracotomy
                                                - Trigeminal neuralgia

                                              4. At randomisation, patients must have completed at
                                              least 4 daily diaries during the 7 days prior to
                                              randomisation, and have an average overall pain score of
                                              " 4 over the past 7 days on the daily pain diary.
                                              5. Able to understand and cooperate with study
                                              procedures.
                                              6. Have signed a written informed consent prior to
                                              entering the study.

                                              These criteria are mandatory and must be met to provide
                                              evaluable data."
                                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 48 of 195




NA = Not Applicable                                                            Neuropathic Pain - Table 4                                                                          Sunday, August 10, 2008
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  Study       Publication Type of report          Participant inclusion criteria (Protocol)                      Participant inclusion criteria                Enrollment Enrollment          Number of
 number          code                                                                                                      (Report)                             start date end date             sites

945-306      Serpell             Conference   "Patients must meet the following criteria to be elig ble to   "Patients were males or females, aged " 18        Not mentioned. Not mentioned. Not mentioned.
             2002.Conf.          abstract     participate in the study:                                      years, who were diagnosed with neuropathic
             Abs                                                                                             pain based on clinical evaluation utilising the
                                              1. Male or female, any race, aged at least 18 years            International Association for the Study of Pain
                                              2. Female patients must be nonpregnant, nonlactating,          (IASP) Classification of Chronic Pain. They
                                              postmenopausal, or surgically sterilized. Women who are        were required to have at least two of the
                                              at risk of pregnancy must be using an appropriate method       following symptoms: allodynia, burning pain,
                                              of contraception (including barrier or hormonal method)        shooting pain, or hyperalgesia. Their average
                                              3. Patients with a definite diagnosis of neuropathic pain,     pain score during the 7 days prior to
                                              who must exhibit at least two of the following symptoms:       randomisation had to be "4 on an 11-point
                                                - Allodynia                                                  scale."
                                                - Burning pain
                                                - Shooting pain
                                                - Hyperaesthesia

                                              These may be associated with the following neuropathic
                                              pain syndromes:
                                                - Complex regional pain syndrome
                                                - Phantom limb
                                                - Post-mastectomy - patients must have completed
                                              radiation therapy before entering the study.
                                                - Post-laminectomy
                                                - Post inguinal hernia repair
                                                - Thoracotomy
                                                - Trigeminal neuralgia

                                              4. At randomisation, patients must have completed at
                                              least 4 daily diaries during the 7 days prior to
                                              randomisation, and have an average overall pain score of
                                              " 4 over the past 7 days on the daily pain diary.
                                              5. Able to understand and cooperate with study
                                              procedures.
                                              6. Have signed a written informed consent prior to
                                              entering the study.

                                              These criteria are mandatory and must be met to provide
                                              evaluable data."
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NA = Not Applicable                                                            Neuropathic Pain - Table 4                                                                            Sunday, August 10, 2008
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  Study       Publication Type of report               Participant inclusion criteria (Protocol)                       Participant inclusion criteria   Enrollment Enrollment         Number of
 number          code                                                                                                            (Report)                start date end date            sites

945-411      945-411.RR          Research report   "These criteria are mandatory and must be met to provide        No differences from protocol.        February 16,   December 4,   '33 centers in:
                                                   evaluable data. Patients must meet the following criteria to                                         2000.          2001.         Mexico (9),
                                                   be elig ble to participate in the study:                                                                                          Venezuela (2),
                                                   - Male or female, any race, at least 18 years;                                                                                    Colombia (2),
                                                   - Men; or nonpregnant, nonlactating women who are                                                                                 Peru (3), Chile
                                                   postmenopausal or surgically sterilized; women who are at                                                                         (4), and Brazil
                                                   risk of pregnancy should be counseled on appropriate                                                                              (13)" [per
                                                   methods of contraception (including barrier or hormonal                                                                           synopsis]
                                                   method) and have a confirmed negative pregnancy test;
                                                   - Diagnosis of diabetes mellitus (type 1 or 2); hemoglobin
                                                   A1c levels of !11%; diabetes medication should be
                                                   optimized and stable; symptoms of diabetic distal,
                                                   symmetrical, sensorimotor polyneuropathy for 1 to 5 years
                                                   (must meet San Antonio criteria);
                                                   - At Screening and Visit 2 (V2; initiation of treatment), a
                                                   score of "40 mm on the VAS of SF-MPQ;
                                                   - At initiation of treatment, patients must have completed
                                                   at least 4 daily pain and sleep interference diaries during
                                                   the 7 days prior to treatment phase, and have an average
                                                   score of "4 over the past 7 days on the daily pain diary;
                                                   - Patients receiving a stable bedtime dose of
                                                   benzodiazepines (with no dosage changes within the last
                                                   30 days or during the study) must have an average score
                                                   of "2 on the daily sleep interference diary during the 7
                                                   days prior to treatment initiation.
                                                   - Able to understand and cooperate with study
                                                   procedures; and
                                                   - Have signed a written informed consent prior to entering
                                                   the study." [Omitted citation to reference to original text].
                                                                                                                                                                                                       Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 50 of 195




NA = Not Applicable                                                                Neuropathic Pain - Table 4                                                                Sunday, August 10, 2008
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  Study       Publication Type of report          Participant inclusion criteria (Protocol)                       Participant inclusion criteria               Enrollment Enrollment           Number of
 number          code                                                                                                       (Report)                            start date end date              sites

945-411      Gomez-Perez         Conference   "These criteria are mandatory and must be met to provide        "Adults ("18 years of age) with diabetes (type   Not mentioned. Not mentioned. '33 centers in
             2002.Conf.          abstract     evaluable data. Patients must meet the following criteria to    1 or 2); DPN symptoms for 1 to 5 years;                                        Latin America"
             Abs                              be elig ble to participate in the study:                        hemoglobn A1c levels of !11%; and pain
                                              - Male or female, any race, at least 18 years;                  rating "40 mm on the 100-mm visual analog
                                              - Men; or nonpregnant, nonlactating women who are               scale (VAS) of the Short-Form McGill Pain
                                              postmenopausal or surgically sterilized; women who are at       Questionnaire (SF-MPQ) at both screening
                                              risk of pregnancy should be counseled on appropriate            and randomization."
                                              methods of contraception (including barrier or hormonal
                                              method) and have a confirmed negative pregnancy test;
                                              - Diagnosis of diabetes mellitus (type 1 or 2); hemoglobin
                                              A1c levels of !11%; diabetes medication should be
                                              optimized and stable; symptoms of diabetic distal,
                                              symmetrical, sensorimotor polyneuropathy for 1 to 5 years
                                              (must meet San Antonio criteria);
                                              - At Screening and Visit 2 (V2; initiation of treatment), a
                                              score of "40 mm on the VAS of SF-MPQ;
                                              - At initiation of treatment, patients must have completed
                                              at least 4 daily pain and sleep interference diaries during
                                              the 7 days prior to treatment phase, and have an average
                                              score of "4 over the past 7 days on the daily pain diary;
                                              - Patients receiving a stable bedtime dose of
                                              benzodiazepines (with no dosage changes within the last
                                              30 days or during the study) must have an average score
                                              of "2 on the daily sleep interference diary during the 7
                                              days prior to treatment initiation.
                                              - Able to understand and cooperate with study
                                              procedures; and
                                              - Have signed a written informed consent prior to entering
                                              the study." [Omitted citation to reference to original text].
                                                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 51 of 195




NA = Not Applicable                                                           Neuropathic Pain - Table 4                                                                             Sunday, August 10, 2008
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  Study       Publication Type of report          Participant inclusion criteria (Protocol)                       Participant inclusion criteria   Enrollment Enrollment          Number of
 number          code                                                                                                       (Report)                start date end date             sites

945-411      Gomez-Perez         Full-paper   "These criteria are mandatory and must be met to provide        No differeces from protocol.         Not mentioned. Not mentioned. 33
             2004                             evaluable data. Patients must meet the following criteria to
                                              be elig ble to participate in the study:
                                              - Male or female, any race, at least 18 years;
                                              - Men; or nonpregnant, nonlactating women who are
                                              postmenopausal or surgically sterilized; women who are at
                                              risk of pregnancy should be counseled on appropriate
                                              methods of contraception (including barrier or hormonal
                                              method) and have a confirmed negative pregnancy test;
                                              - Diagnosis of diabetes mellitus (type 1 or 2); hemoglobin
                                              A1c levels of !11%; diabetes medication should be
                                              optimized and stable; symptoms of diabetic distal,
                                              symmetrical, sensorimotor polyneuropathy for 1 to 5 years
                                              (must meet San Antonio criteria);
                                              - At Screening and Visit 2 (V2; initiation of treatment), a
                                              score of "40 mm on the VAS of SF-MPQ;
                                              - At initiation of treatment, patients must have completed
                                              at least 4 daily pain and sleep interference diaries during
                                              the 7 days prior to treatment phase, and have an average
                                              score of "4 over the past 7 days on the daily pain diary;
                                              - Patients receiving a stable bedtime dose of
                                              benzodiazepines (with no dosage changes within the last
                                              30 days or during the study) must have an average score
                                              of "2 on the daily sleep interference diary during the 7
                                              days prior to treatment initiation.
                                              - Able to understand and cooperate with study
                                              procedures; and
                                              - Have signed a written informed consent prior to entering
                                              the study." [Omitted citation to reference to original text].
                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 52 of 195




NA = Not Applicable                                                           Neuropathic Pain - Table 4                                                                Sunday, August 10, 2008
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  Study       Publication Type of report               Participant inclusion criteria (Protocol)                      Participant inclusion criteria   Enrollment Enrollment            Number of
 number          code                                                                                                           (Report)                start date end date               sites

A945-1008    A945-               Research report   "- Males or non-pregnant, non-lactating females who are        No differences from protocol.        April 4, 2002.   November 11,   43 centers.
             1008.Final                            not of childbearing potential; women of childbearing                                                                 2003.
             Study Report                          potential must use an acceptable method of contraception
                                                   (including barrier or hormonal method) and have a
                                                   negative serum pregnancy test prior to study entry;
                                                   - At least 18 years of age of any ethnic origin;
                                                   - A diagnosis of diabetes mellitus (Type 1 or 2) on a stable
                                                   dose of oral medication for at least 30 days prior to
                                                   screening; HgbA1c levels of ! 11%;
                                                   - Diagnosis of painful, distally predominant, symmetrical
                                                   sensory or sensorimotor polyneuropathy, which is due to
                                                   diabetes, for at least 3 months (Appendix B 'Diagnostic
                                                   Worksheet for Diabetic Peripheral Neuropathy');
                                                   - Pain score of at least 40mm on the 100mm visual analog
                                                   scale (VAS) of the Short-Form McGill Pain Questionnaire
                                                   (SF-MPQ) at screening (visit 1) and at randomization (visit
                                                   2);
                                                   - Have an average score " 4 on the daily pain diary over
                                                   the 7 days prior to randomization;
                                                   - Patients must be in generally good health based on
                                                   physical examination and medical history except for minor
                                                   deviations determined to be clinically insignificant by the
                                                   investigator or Pfizer clinician or study manager;
                                                   - Have completed at least 4 daily pain diaries during the 7
                                                   days prior to randomization;
                                                   - Provide written informed consent;
                                                   - Patients deemed to comply with study schedule,
                                                   procedures and medications."
                                                                                                                                                                                                     Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 53 of 195




NA = Not Applicable                                                                Neuropathic Pain - Table 4                                                                 Sunday, August 10, 2008
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  Study       Publication Type of report          Participant inclusion criteria (Protocol)              Participant inclusion criteria                 Enrollment Enrollment          Number of
 number          code                                                                                              (Report)                              start date end date             sites

Unavailable Dallocchio           Full-paper   Protocol not available.                                "Patients eligible for inclusion were male or      Not mentioned. Not mentioned. Not mentioned.
-Dallocchio 2000                                                                                     female, aged "60 years, with type-II diabetes
                                                                                                     (stabilized glycemic values) and clinically
                                                                                                     relevant lower limb polyneuropathy with
                                                                                                     significant pain and paresthesias lasting at
                                                                                                     least 6 months."

                                                                                                     "On examination, patients had to exhibity
                                                                                                     either absence of Achilles reflexes or
                                                                                                     reduction of v bration sensitivity."

                                                                                                     "Eligible patients also had to obtain a pain
                                                                                                     intensity score of at least 2 on a 4-point (0-4)
                                                                                                     categorical scale (0, no pain; 1, mild pain; 2,
                                                                                                     moderate pain; 3, severe pain; 4, excruciating
                                                                                                     pain)."
                                                                                                                                                                                                       Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 54 of 195




NA = Not Applicable                                                     Neuropathic Pain - Table 4                                                                            Sunday, August 10, 2008
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  Study       Publication Type of report                     Participant inclusion criteria (Protocol)                     Participant inclusion criteria   Enrollment Enrollment          Number of
 number          code                                                                                                                (Report)                start date end date             sites

Unavailable Draft Gorson         Internal letter/draft   "1. Any diabetic man or nonpregnant and non lactating         No differences from protocol.        Not mentioned. Not mentioned. Not mentioned.
-Gorson     to Magistro                                  woman between the ages of 18 and 85 with a painful
            1997                                         neuropathy for a duration of at least 3 months. These
                                                         subjects must have stable glycemic control as assessed
                                                         by stable insulin or oral hypoglycemic medication doses
                                                         and nonfluctuating glycosylated hemoglobin levels. Pain
                                                         must be of at least moderate severity, interfere with daily
                                                         activities or sleep, and attributed to diabetic peripheral
                                                         neuropathy.
                                                         2. Each subject must have a verified diagnosis of diabetic
                                                         neuropathy established by neurological history and
                                                         examination, conventional electrophysical studies (EMG
                                                         and nerve conduction studies),
                                                         3. All subjects must provide written informed consent and
                                                         the protocol must be approved by the Institutional Review
                                                         Board at St. Elizabeth's Medical Center. The informed
                                                         consent will include all potential risks of Neurontin,
                                                         including dizziness, somnolence, fatigue, ataxia, and
                                                         nausea."
                                                                                                                                                                                                           Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 55 of 195




NA = Not Applicable                                                                      Neuropathic Pain - Table 4                                                               Sunday, August 10, 2008
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  Study       Publication Type of report                     Participant inclusion criteria (Protocol)                     Participant inclusion criteria   Enrollment Enrollment          Number of
 number          code                                                                                                                (Report)                start date end date             sites

Unavailable Draft Magistro       Internal letter/draft   "1. Any diabetic man or nonpregnant and non lactating         No differences from protocol.        Not mentioned. Not mentioned. Not mentioned.
-Gorson     Internal 1998                                woman between the ages of 18 and 85 with a painful
                                                         neuropathy for a duration of at least 3 months. These
                                                         subjects must have stable glycemic control as assessed
                                                         by stable insulin or oral hypoglycemic medication doses
                                                         and nonfluctuating glycosylated hemoglobin levels. Pain
                                                         must be of at least moderate severity, interfere with daily
                                                         activities or sleep, and attributed to diabetic peripheral
                                                         neuropathy.
                                                         2. Each subject must have a verified diagnosis of diabetic
                                                         neuropathy established by neurological history and
                                                         examination, conventional electrophysical studies (EMG
                                                         and nerve conduction studies),
                                                         3. All subjects must provide written informed consent and
                                                         the protocol must be approved by the Institutional Review
                                                         Board at St. Elizabeth's Medical Center. The informed
                                                         consent will include all potential risks of Neurontin,
                                                         including dizziness, somnolence, fatigue, ataxia, and
                                                         nausea."
                                                                                                                                                                                                           Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 56 of 195




NA = Not Applicable                                                                      Neuropathic Pain - Table 4                                                               Sunday, August 10, 2008
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  Study       Publication Type of report          Participant inclusion criteria (Protocol)                     Participant inclusion criteria   Enrollment Enrollment          Number of
 number          code                                                                                                     (Report)                start date end date             sites

Unavailable Gorson 1998          Conference   "1. Any diabetic man or nonpregnant and non lactating         Not mentioned.                       Not mentioned. Not mentioned. Not mentioned.
-Gorson                          abstract     woman between the ages of 18 and 85 with a painful
                                              neuropathy for a duration of at least 3 months. These
                                              subjects must have stable glycemic control as assessed
                                              by stable insulin or oral hypoglycemic medication doses
                                              and nonfluctuating glycosylated hemoglobin levels. Pain
                                              must be of at least moderate severity, interfere with daily
                                              activities or sleep, and attributed to diabetic peripheral
                                              neuropathy.
                                              2. Each subject must have a verified diagnosis of diabetic
                                              neuropathy established by neurological history and
                                              examination, conventional electrophysical studies (EMG
                                              and nerve conduction studies),
                                              3. All subjects must provide written informed consent and
                                              the protocol must be approved by the Institutional Review
                                              Board at St. Elizabeth's Medical Center. The informed
                                              consent will include all potential risks of Neurontin,
                                              including dizziness, somnolence, fatigue, ataxia, and
                                              nausea."
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NA = Not Applicable                                                           Neuropathic Pain - Table 4                                                               Sunday, August 10, 2008
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  Study       Publication Type of report                Participant inclusion criteria (Protocol)                     Participant inclusion criteria                 Enrollment Enrollment          Number of
 number          code                                                                                                           (Report)                              start date end date             sites

Unavailable Gorson 1999          Letter to Editor   "1. Any diabetic man or nonpregnant and non lactating         "We recruited 40 patients with painful diabetic    Not mentioned. Not mentioned. Not mentioned.
-Gorson                                             woman between the ages of 18 and 85 with a painful            neuropathy who had (1) diabetes for at least
                                                    neuropathy for a duration of at least 3 months. These         6 months on a stable dosage of insulin or oral
                                                    subjects must have stable glycemic control as assessed        hypoglycaemic agent, (2) distal symmetric
                                                    by stable insulin or oral hypoglycemic medication doses       sensorimotor neuropathy as shown by
                                                    and nonfluctuating glycosylated hemoglobin levels. Pain       impaired pin prick, temperature, or vibration
                                                    must be of at least moderate severity, interfere with daily   sensation in both feet and absent or reduced
                                                    activities or sleep, and attributed to diabetic peripheral    ankle reflexes, and (3) daily neuropathic pain
                                                    neuropathy.                                                   in the acral extremities, of at least moderate
                                                    2. Each subject must have a verified diagnosis of diabetic    severity, for over 3 months that interfered with
                                                    neuropathy established by neurological history and            daily activity or sleep."
                                                    examination, conventional electrophysical studies (EMG
                                                    and nerve conduction studies),
                                                    3. All subjects must provide written informed consent and
                                                    the protocol must be approved by the Institutional Review
                                                    Board at St. Elizabeth's Medical Center. The informed
                                                    consent will include all potential risks of Neurontin,
                                                    including dizziness, somnolence, fatigue, ataxia, and
                                                    nausea."
                                                                                                                                                                                                                    Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 58 of 195




NA = Not Applicable                                                                 Neuropathic Pain - Table 4                                                                             Sunday, August 10, 2008
3 Could not obtain publication
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                                                                   Neuropathic Pain
                                                       Table 5 - Interventions and Run-in Phase
 Study Publication               Run-in phase (Protocol)                 Run-in phase (Report)              Trial design       Total length of         Description of intervention                 Treatment
number    code                                                                                                                   follow-up                                                        (gabapentin
                                                                                                                                                                                                 dose, duration,
                                                                                                                                                                                                   frequency)
                                                                                                                                                                                                 different from
                                                                                                                                                                                                     protocol
945-210     945-210.RR       "This is a randomized, double-blind,   "This was a randomized, double-         Parallel-groups   9 weeks. [Figure 1      "Elig ble patients were randomized to
                             placebo-controlled, parallel-group,    blind, parallel-group, multicenter                        indicates duration of   treatment with either gabapentin or
                             multicenter study to determine the     study comprising 2 phases:                                screening phase is      placebo. Study medication doses were
                             efficacy and safety of gabapentin in   screening and double-blind (Figure                        1 week.] "The 8-        increased to a maximum target dose of
                             150 patients (75 per treatment         1)."                                                      week double-blind       3600 mg (12 capsules) according to the
                             group) with painful diabetic                                                                     phase consisted of      schedule detailed in Appendix A.3 of
                             peripheral neuropathy."                "The screening phase was used to                          a 4-week titration      the protocol (Appendix A.2)."
                                                                    determine the patient's eligibility                       period followed by a    "If intolerable adverse events occurred,
                                                                    according to entry criteria described                     4-week fixed-dose       the dosage was decreased one dosage
                                                                    in Section 4.3 and to obtain baseline                     period."                level to 900, 1200, 1800, or 2400
                                                                    values for efficacy parameters."                                                  mg/day."
                                                                                                                                                      "After the maximum tolerated dose was
                                                                    [Figure 1 indicates duration of                                                   established in the 4-week titration
                                                                    screening phase is 1 week.]                                                       period, patients remained on that
                                                                                                                                                      dosage for the subsequent 4-week
                                                                                                                                                      fixed-dose period."

                                                                                                                                                      "Matching capsules containing placebo
                                                                                                                                                      or 300 mg gabapentin were supplied by
                                                                                                                                                      Warner-Lambert/Parke-Davis
                                                                                                                                                      Research, Clinical Pharmacy
                                                                                                                                                      Operations (Table 2)."
945-210     Backonja 1997 "This is a randomized, double-blind,      "Following screening, 165 patients      Parallel-groups   Unclear.                "During the first 4 weeks of treatment,
                          placebo-controlled, parallel-group,       with symptoms of diabetic                                 Duration of             patients were titrated to 3600 mg/day or
                          multicenter study to determine the        neuropathy for 1 to 5 years and a                         screening phase not     gabapentin or matching placebo."
                          efficacy and safety of gabapentin in      hemoglobin A1c !11% were                                  mentioned.
                          150 patients (75 per treatment            randomized to placebo (N = 81) or                                                 "During the last 4 weeks of the study,
                          group) with painful diabetic              gabapentin (N = 84)."                                                             dosages were to remain fixed."
                          peripheral neuropathy."
                                                                                                                                                                                                                     Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 59 of 195




NA = Not Applicable                                                                         Neuropathic Pain - Table 5                                                                  Sunday, August 10, 2008
3 Could not obtain publication
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 Study Publication               Run-in phase (Protocol)             Run-in phase (Report)             Trial design       Total length of         Description of intervention                 Treatment
number    code                                                                                                              follow-up                                                        (gabapentin
                                                                                                                                                                                            dose, duration,
                                                                                                                                                                                              frequency)
                                                                                                                                                                                            different from
                                                                                                                                                                                                protocol
945-210     Backonja 1998 "This is a randomized, double-blind,    "This was a randomized, double-      Parallel-groups   9 weeks.               "During the first 4 weeks of the study,
                          placebo-controlled, parallel-group,    blind, placebo-controlled parallel-                     "This was a            patients received gradually titrated
                          multicenter study to determine the     group, multicenter study composed                       randomized, double-    dosages of gabapentin (week 1, 900
                          efficacy and safety of gabapentin in   of 2 phases, a 7-day screening                          blind, placebo-        mg/d; week 2, 1800 mg/d; week 3,
                          150 patients (75 per treatment         phase and an 8-week double-blind                        controlled parallel-   2400 mg/d; and week 4, 3600 mg/d) or
                          group) with painful diabetic           phase."                                                 group, multicenter     placebo."
                          peripheral neuropathy."                                                                        study composed of
                                                                                                                         2 phases, a 7-day      "Gabapentin (300 mg per capsule) and
                                                                                                                         screening phase        placebo were supplied to investigational
                                                                                                                         and an 8-week          sites in identical gray-gray capsules in
                                                                                                                         double-blind phase."   blinded fashion. All patients were
                                                                                                                                                provided an equal number of capsules
                                                                                                                                                and instructed to follow a dosing
                                                                                                                                                schedule of 3 times per day."

                                                                                                                                                "Because this was the first trial to
                                                                                                                                                evaluate gabapentin's efficacy in this
                                                                                                                                                patient population, all patients' dosages
                                                                                                                                                were titrated to tolerability up to 3600
                                                                                                                                                mg/d regardless of any efficacy
                                                                                                                                                achieved at lower dosages. If
                                                                                                                                                intolerable adverse reactions occurred,
                                                                                                                                                the dosage was decreased 1 dose step
                                                                                                                                                to 900, 1200, 1800, or 2400 mg/dy."

                                                                                                                                                "During the second 4 weeks of the
                                                                                                                                                double-blind treatment phase, patients'
                                                                                                                                                treatment remained at their maximum
                                                                                                                                                tolerated dosage and daily diaries were
                                                                                                                                                continued."
                                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 60 of 195




NA = Not Applicable                                                                     Neuropathic Pain - Table 5                                                                 Sunday, August 10, 2008
3 Could not obtain publication
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 Study Publication               Run-in phase (Protocol)                    Run-in phase (Report)              Trial design       Total length of          Description of intervention                 Treatment
number    code                                                                                                                      follow-up                                                         (gabapentin
                                                                                                                                                                                                     dose, duration,
                                                                                                                                                                                                       frequency)
                                                                                                                                                                                                     different from
                                                                                                                                                                                                         protocol
945-224     945-224. RR      "The study will consist of a 1-week       "After a screening phase of 1 weelk     Parallel-groups   8 weeks plus 4          "The 7-week double blind treatment
                             screening phase and a 7-week              (start at Week - 1, Visit 1) the                          months.                 phase consisted of a 3-week titration
                             double-blind treatment phase."            patients were randomized to double-                       "After a screening      period (Week 0 to Week 3, Visit 2 to
                                                                       blind treatment (Week 0, Visit 2, for                     phase of 1 week         Visit 4) in which the patients were
                             "Patients who meet all                    randomization codes see Appendix                          (start at Week - 1,     titrated to their maximum dose (600,
                             inclusion/exclusion criteria will enter   A.4)."                                                    Visit 1) the patients   1200, or 2400 mg/day or placebo) and
                             the screening phase and be given                                                                    were randomized to      a 4-week fixed-dose period (Week 3 to
                             daily diaries and instructions for                                                                  double-blind            Week 7, Visit 4 and Visit 5). Study
                             proper completion of the diaries."                                                                  treatment"              medication was administered as a total
                                                                                                                                 "The 7-week double-     of 6 capsules per day, which had to be
                             [per Addendum B]: "After                                                                            blind treatment         taken orally 3 times a day (TID dosing).
                             completing the double-blind phase,                                                                  phase consisted of      The detailed titration schedule for the
                             patients can enter a 4-month open-                                                                  a 3-week titration      double-blind phase may be found in the
                             label extension phase."                                                                             period"                 protocol in Appendix A.2."
                                                                                                                                 "For the open label
                             "This open-label phase will consist                                                                 phase all patients      "For the open label phase all patients
                             of a 4-week titration phase and a                                                                   began at the            began at the termination visit of the
                             12-week stable treatment phase."                                                                    termination visit of    double-blind treatment phase (Visit 5)
                                                                                                                                 the double-blind        with 600 mg/day gabapentin. Study
                                                                                                                                 treatment phase         medication could then be increased
                                                                                                                                 (Visit 5) with 600      during 4 weeks to a maximum dose of
                                                                                                                                 mg/day gabapentin.      2400 mg/day gabapentin. The titration
                                                                                                                                 Study medication        schedule was at the discretion of the
                                                                                                                                 could then be           investigator. The dosage obtained at
                                                                                                                                 increased during 4      the end of the titration phase (Visit 8)
                                                                                                                                 weeks to a              had to provide at least the same pain
                                                                                                                                 maximum dose of         relief that was reached at the end of the
                                                                                                                                 2400 mg/day             double-blind phase (Visit 5), as
                                                                                                                                 gabapentin."            measured by VAS of the SF-MPQ (a
                                                                                                                                 "The gabapentin         deviation of 20% was acceptable). The
                                                                                                                                 dose which the          gabapentin dose which the patients
                                                                                                                                 patients obtained at    obtained at the end of the titration
                                                                                                                                 the end of the          phase at Visit 8 remained unchanged
                                                                                                                                 titration phase at      for the next 3 months."
                                                                                                                                 Visit 8 remained
                                                                                                                                 unchanged for the
                                                                                                                                 next 3 months."
                                                                                                                                                                                                                         Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 61 of 195




NA = Not Applicable                                                                           Neuropathic Pain - Table 5                                                                    Sunday, August 10, 2008
3 Could not obtain publication
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 Study Publication               Run-in phase (Protocol)                    Run-in phase (Report)                   Trial design       Total length of            Description of intervention                  Treatment
number    code                                                                                                                           follow-up                                                            (gabapentin
                                                                                                                                                                                                             dose, duration,
                                                                                                                                                                                                               frequency)
                                                                                                                                                                                                             different from
                                                                                                                                                                                                                 protocol
945-224     945-             "The study will consist of a 1-week       "After a 1-week screening phase,             Parallel-groups   8 weeks plus 4            "After a 1-week screening phase,
            224.Reckless.    screening phase and a 7-week              patients fulfilling the inclusion criteria                     months.                   patients fulfilling the inclusion criteria
            Diabetic         double-blind treatment phase."            were randomised to gabapentin 600                              "After a 1-week           were randomised to gabapentin 600 (n
            Medicine                                                   (n = 82), 1200 (n = 82), or 2400 (n =                          screening phase,          = 82), 1200 (n = 82), or 2400 (n = 84)
                             "Patients who meet all                    84) mg/day, or placebo (n = 77)                                patients fulfilling the   mg/day, or placebo (n = 77) (Table 2)."
                             inclusion/exclusion criteria will enter   (Table 2)."                                                    inclusion criteria
                             the screening phase and be given                                                                         were randomised to        "Study medication was administered as
                             daily diaries and instructions for                                                                       gabapentin 600 (n =       2 capsules three times daily."
                             proper completion of the diaries."                                                                       82), 1200 (n = 82),
                                                                                                                                      or 2400 (n = 84)          "The 7-week, double-blind treatment
                             [per Addendum B]: "After                                                                                 mg/day, or placebo        phase consisted of a 3-week titration
                             completing the double-blind phase,                                                                       (n = 77) (Table 2)."      period followed by a 4-week, fixed-dose
                             patients can enter a 4-month open-                                                                       "The 7-week, double-      priod: Patients receiving 600 mg
                             label extension phase."                                                                                  blind treatment           gabapentin started on the full dose on
                                                                                                                                      phase consisted of        Day 1; the 1200-mg dose was titrated
                             "This open-label phase will consist                                                                      a 3-week titration        over 1 week; and the 2400-mg dose
                             of a 4-week titration phase and a                                                                        period followed by a      was titrated over 3 weeks."
                             12-week stable treatment phase."                                                                         4-week, fixed-dose
                                                                                                                                      priod:"                   "A subset of 67 patients entered a 4-
                                                                                                                                      "A subset of 67           month, open-label phase at the
                                                                                                                                      patients entered a 4-     conclusion of the initial 7 weeks.
                                                                                                                                      month, open-label         Patients - regardless of which group
                                                                                                                                      phase at the              they had been assigned to during the
                                                                                                                                      conclusion of the         double-blind phase of the trial - were
                                                                                                                                      initial 7 weeks. "        started with 600 mg/day gabapentin at
                                                                                                                                                                the crossover visit of the 2 phases (Visit
                                                                                                                                                                5) and study medication was then
                                                                                                                                                                increased to a maximum of 2400
                                                                                                                                                                mg/day during the next 4 weeks."

                                                                                                                                                                "(Patients' doses were titrated until they
                                                                                                                                                                obtained at least the same pain relief
                                                                                                                                                                that they had perceived at the end of
                                                                                                                                                                the double-blind treatment phase). The
                                                                                                                                                                dosage reached at the end of the
                                                                                                                                                                titration phase (Visit 8) remained
                                                                                                                                                                unchanged for the following 3 months."
                                                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 62 of 195




NA = Not Applicable                                                                              Neuropathic Pain - Table 5                                                                         Sunday, August 10, 2008
3 Could not obtain publication
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 Study Publication               Run-in phase (Protocol)                    Run-in phase (Report)                   Trial design       Total length of            Description of intervention                  Treatment
number    code                                                                                                                           follow-up                                                            (gabapentin
                                                                                                                                                                                                             dose, duration,
                                                                                                                                                                                                               frequency)
                                                                                                                                                                                                             different from
                                                                                                                                                                                                                 protocol
945-224     945-             "The study will consist of a 1-week       "After a 1-week screening phase,             Parallel-groups   8 weeks plus 4            "After a 1-week screening phase,
            224.Reckless.    screening phase and a 7-week              patients fulfilling the inclusion criteria                     months.                   patients fulfilling the inclusion criteria
            Diabetologia     double-blind treatment phase."            were randomised to gabapentin 600                              "After a 1-week           were randomised to gabapentin 600 (n
                                                                       (n = 82), 1200 (n = 82), or 2400 (n =                          screening phase,          = 82), 1200 (n = 82), or 2400 (n = 84)
                             "Patients who meet all                    84) mg/day, or placebo (n = 77)                                patients fulfilling the   mg/day, or placebo (n = 77) (Table 2)."
                             inclusion/exclusion criteria will enter   (Table 2)."                                                    inclusion criteria
                             the screening phase and be given                                                                         were randomised to        "Study medication was administered as
                             daily diaries and instructions for                                                                       gabapentin 600 (n =       2 capsules three times daily."
                             proper completion of the diaries."                                                                       82), 1200 (n = 82),
                                                                                                                                      or 2400 (n = 84)          "The 7-week, double-blind treatment
                             [per Addendum B]: "After                                                                                 mg/day, or placebo        phase consisted of a 3-week titration
                             completing the double-blind phase,                                                                       (n = 77) (Table 2)."      period followed by a 4-week, fixed-dose
                             patients can enter a 4-month open-                                                                       "The 7-week, double-      priod: Patients receiving 600 mg
                             label extension phase."                                                                                  blind treatment           gabapentin started on the full dose on
                                                                                                                                      phase consisted of        Day 1; the 1200-mg dose was titrated
                             "This open-label phase will consist                                                                      a 3-week titration        over 1 week; and the 2400-mg dose
                             of a 4-week titration phase and a                                                                        period followed by a      was titrated over 3 weeks."
                             12-week stable treatment phase."                                                                         4-week, fixed-dose
                                                                                                                                      priod:"                   "A subset of 67 patients entered a 4-
                                                                                                                                      "A subset of 67           month, open-label phase at the
                                                                                                                                      patients entered a 4-     conclusion of the initial 7 weeks.
                                                                                                                                      month, open-label         Patients - regardless of which group
                                                                                                                                      phase at the              they had been assigned to during the
                                                                                                                                      conclusion of the         double-blind phase of the trial - were
                                                                                                                                      initial 7 weeks. "        started with 600 mg/day gabapentin at
                                                                                                                                                                the crossover visit of the 2 phases (Visit
                                                                                                                                                                5) and study medication was then
                                                                                                                                                                increased to a maximum of 2400
                                                                                                                                                                mg/day during the next 4 weeks."

                                                                                                                                                                "(Patients' doses were titrated until they
                                                                                                                                                                obtained at least the same pain relief
                                                                                                                                                                that they had perceived at the end of
                                                                                                                                                                the double-blind treatment phase). The
                                                                                                                                                                dosage reached at the end of the
                                                                                                                                                                titration phase (Visit 8) remained
                                                                                                                                                                unchanged for the following 3 months."
                                                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 63 of 195




NA = Not Applicable                                                                              Neuropathic Pain - Table 5                                                                         Sunday, August 10, 2008
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 Study Publication               Run-in phase (Protocol)                   Run-in phase (Report)       Trial design       Total length of     Description of intervention                  Treatment
number    code                                                                                                              follow-up                                                     (gabapentin
                                                                                                                                                                                         dose, duration,
                                                                                                                                                                                           frequency)
                                                                                                                                                                                         different from
                                                                                                                                                                                             protocol
945-224     Backonja     "The study will consist of a 1-week           Not mentioned.                  Parallel-groups   Not mentioned.     "In all five studies, gabapentin was
            2002.EFNS.Ab screening phase and a 7-week                                                                                       initiated over a 3-day period, starting at
            s.945-224    double-blind treatment phase."                                                                                     200 to 300 mg once daily on day 1 and
                                                                                                                                            increasing to 900 mg (divided tid) on
                             "Patients who meet all                                                                                         day 3 (Table 2). Doses were then
                             inclusion/exclusion criteria will enter                                                                        titrated in 600- to 1200-mg/d
                             the screening phase and be given                                                                               increments at 3- and 7-day intervals to
                             daily diaries and instructions for                                                                             achieve target doses. The maximum
                             proper completion of the diaries."                                                                             dose of gabapentin achieved in these
                                                                                                                                            studies was 3600 mg/day. Dosing was
                             [per Addendum B]: "After                                                                                       on a tid schedule."
                             completing the double-blind phase,
                             patients can enter a 4-month open-
                             label extension phase."

                             "This open-label phase will consist
                             of a 4-week titration phase and a
                             12-week stable treatment phase."
                                                                                                                                                                                                             Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 64 of 195




NA = Not Applicable                                                                     Neuropathic Pain - Table 5                                                              Sunday, August 10, 2008
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 Study Publication               Run-in phase (Protocol)                   Run-in phase (Report)       Trial design       Total length of       Description of intervention                  Treatment
number    code                                                                                                              follow-up                                                       (gabapentin
                                                                                                                                                                                           dose, duration,
                                                                                                                                                                                             frequency)
                                                                                                                                                                                           different from
                                                                                                                                                                                               protocol
945-224     Backonja         "The study will consist of a 1-week       Not mentioned.                  Parallel-groups   7 weeks [per Table   "Patients were randomized to receive
            2003 Review      screening phase and a 7-week                                                                1].                  gabapentin 600, 1200, or 2400 mg/d, or
            of 945-224       double-blind treatment phase."                                                                                   placebo."

                             "Patients who meet all                                                                                           "In the group assigned to gabapentin
                             inclusion/exclusion criteria will enter                                                                          600 mg/d, dosing was begun at 600
                             the screening phase and be given                                                                                 mg/d on day 1. In the groups assigned
                             daily diaries and instructions for                                                                               to 1200 or 2400 mg/d, the dose was
                             proper completion of the diaries."                                                                               increased gradually over 1 and 3
                                                                                                                                              weeks, respectively."
                             [per Addendum B]: "After
                             completing the double-blind phase,                                                                               "Once the target doses had been
                             patients can enter a 4-month open-                                                                               reached, they were continued for the
                             label extension phase."                                                                                          remainder of the 7-week study."

                             "This open-label phase will consist                                                                              "After completion of the trial, a subset
                             of a 4-week titration phase and a                                                                                of patients across treatment arms of the
                             12-week stable treatment phase."                                                                                 double-blind study entered a 4-month
                                                                                                                                              open-label phase. Patients received
                                                                                                                                              gabapentin 600 mg/d at the beginning
                                                                                                                                              of the crossover; this was titrated over 4
                                                                                                                                              weeks to a maximum of 2400 mg/d until
                                                                                                                                              patients felt they had achieved the
                                                                                                                                              same level of pain relief they had
                                                                                                                                              achieved at the end of double-blind
                                                                                                                                              treatment."
                                                                                                                                                                                                               Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 65 of 195




NA = Not Applicable                                                                     Neuropathic Pain - Table 5                                                               Sunday, August 10, 2008
3 Could not obtain publication
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 Study Publication               Run-in phase (Protocol)               Run-in phase (Report)              Trial design    Total length of          Description of intervention                  Treatment
number    code                                                                                                              follow-up                                                          (gabapentin
                                                                                                                                                                                              dose, duration,
                                                                                                                                                                                                frequency)
                                                                                                                                                                                              different from
                                                                                                                                                                                                  protocol
945-271     945-271. RR      "The study will consist of a 2-week   "The study comprised a run-in period   Crossover      15 weeks.               "Capsules containing 300 mg
                             screening period and a 5-week         of 2 weeks, two treatment periods of                  "The study period       gabapentin or placebo for gabapentin."
                             double-blind treatment period of      5 weeks, separated by a washout                       included a total of 7
                             which the first 2-weeks is the        period of 3 weeks duration see                        visits over a total     "The initial dose was 300 mg in the
                             titration period."                    Figure 1."                                            period of 15 weeks."    evening of the first day, and increased
                                                                                                                                                 in a step-up manner (see Table 2) until
                                                                                                                                                 total pain relief was achieved, or the
                                                                                                                                                 maximum dose of 2400 mg daily had
                                                                                                                                                 been reached."

                                                                                                                                                 "Each titration period started with a
                                                                                                                                                 dose of 300 mg the first day and
                                                                                                                                                 increased until total pain relief was
                                                                                                                                                 achieved, or the maximum dose of
                                                                                                                                                 could be decreased at any time during
                                                                                                                                                 the titration periods.
                                                                                                                                                 The recommended titration schedule is
                                                                                                                                                 given in Table 2."

                                                                                                                                                 "During each of the fixed dose
                                                                                                                                                 treatment periods, patients were to be
                                                                                                                                                 treated with the dose selected during
                                                                                                                                                 the preceding titration period. No dose
                                                                                                                                                 adjustments were allowed."

                                                                                                                                                 "Each treatment period comprised a
                                                                                                                                                 titration phase lasting for 2 weeks and a
                                                                                                                                                 fixed treatment phase lasting for 3
                                                                                                                                                 weeks. The titration started with a dose
                                                                                                                                                 of 300 mg the first day and could be
                                                                                                                                                 increased to a maximum dose of 2400
                                                                                                                                                 mg daily."
                                                                                                                                                 "The goal was to achieve total pain
                                                                                                                                                 relief before the maximum dose level
                                                                                                                                                 was reached. If needed, the dose could
                                                                                                                                                 be decreased at any time during the
                                                                                                                                                 titration period. After titration the dose
                                                                                                                                                 was fixed for 3 weeks and no dose
                                                                                                                                                 adjustments were allowed."
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NA = Not Applicable                                                                      Neuropathic Pain - Table 5                                                                 Sunday, August 10, 2008
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 Study Publication               Run-in phase (Protocol)                 Run-in phase (Report)          Trial design    Total length of        Description of intervention               Treatment
number    code                                                                                                            follow-up                                                     (gabapentin
                                                                                                                                                                                       dose, duration,
                                                                                                                                                                                         frequency)
                                                                                                                                                                                       different from
                                                                                                                                                                                           protocol
945-271     945-             "The study will consist of a 2-week   "In summary, the study comprised a   Crossover      15 weeks.              "Capsules containing 300 mg
            271.Addndm-      screening period and a 5-week         run-in period of 2 weeks, two                       "In summary, the       gabapentin or placebo for gabapentin."
            B.RR             double-blind treatment period of      treatment periods of 5 weeks each,                  study comprised a
                             which the first 2-weeks is the        separated by a washout period of 3                  run-in period of 2     "Each treatment period started with a
                             titration period."                    weeks duration, see Figure 1."                      weeks, two             titration phase lasting for 2 weeks
                                                                                                                       treatment periods of   followed by a fixed dose treatment
                                                                                                                       5 weeks each,          phase lasting for 3 weeks."
                                                                                                                       separated by a
                                                                                                                       washout period of 3
                                                                                                                       weeks duration, see
                                                                                                                       Figure 1."
945-271     Gordh 2002       "The study will consist of a 2-week   NA³                                  NA³            NA³                    NA³
                             screening period and a 5-week
                             double-blind treatment period of
                             which the first 2-weeks is the
                             titration period."
                                                                                                                                                                                                           Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 67 of 195




NA = Not Applicable                                                                     Neuropathic Pain - Table 5                                                              Sunday, August 10, 2008
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 Study Publication               Run-in phase (Protocol)       Run-in phase (Report)       Trial design       Total length of       Description of intervention                 Treatment
number    code                                                                                                  follow-up                                                      (gabapentin
                                                                                                                                                                              dose, duration,
                                                                                                                                                                                frequency)
                                                                                                                                                                              different from
                                                                                                                                                                                  protocol
945-276     945-276.RR       Protocol not available.       Not mentioned.                  Parallel-groups   10 days.             "Capsules containing 300 mg of
                                                                                                             "The study is made   gabapentin or matching placebo have
                                                                                                             up of a 10-day       been supplied by Parke-Davis
                                                                                                             double-blind         Pharmaceutical Research, Division of
                                                                                                             treatment phase."    Warner-Lambert Company (Clinical
                                                                                                                                  Pharmacy Operations [CPO])."

                                                                                                                                  "Study medication begins immediately
                                                                                                                                  after the end of the visit 1/day 1."

                                                                                                                                  "The first dose was 1 capsule of 300
                                                                                                                                  mg gabapentin or matching placebo. At
                                                                                                                                  10.00 p.m. of the first treatment day the
                                                                                                                                  patient had to take 1 capsule and then
                                                                                                                                  he has been contacted by the
                                                                                                                                  Investigator."

                                                                                                                                  "The decision to titrate the dose has
                                                                                                                                  been taken if 24-hour global pain score
                                                                                                                                  was " 3. If 24-hour pain score was < 3,
                                                                                                                                  there was no increase of the dose and
                                                                                                                                  the corresponding dayly dose was
                                                                                                                                  maintained until the 10th day of
                                                                                                                                  treatment. The dose could be increased
                                                                                                                                  at any time during the whole study if the
                                                                                                                                  24-hour global pain score was " 3."
                                                                                                                                                                                                  Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 68 of 195




NA = Not Applicable                                                         Neuropathic Pain - Table 5                                                               Sunday, August 10, 2008
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 Study Publication               Run-in phase (Protocol)                 Run-in phase (Report)                Trial design       Total length of           Description of intervention                 Treatment
number    code                                                                                                                     follow-up                                                          (gabapentin
                                                                                                                                                                                                     dose, duration,
                                                                                                                                                                                                       frequency)
                                                                                                                                                                                                     different from
                                                                                                                                                                                                         protocol
945-276     Caraceni 2004    Protocol not available.                "The study consisted of a 10-day          Parallel-groups   10 days.                 "Patients were randomly assigned to
                                                                    screening and treatment phase with                          "The study               placebo or gabapentin with a 1:2 ratio."
                                                                    a double-blind, placebo-controlled,                         consisted of a 10-
                                                                    randomized parallel-group design."                          day screening and        "Study medication was administered
                                                                                                                                treatment phase          orally starting with two capsules per day
                                                                    "During the study, the patients were                        with a double-blind,     (300 mg gabapentin every 12 hours or
                                                                    seen on two scheduled                                       placebo-controlled,      placebo)."
                                                                    appointments: a screening and                               randomized parallel-
                                                                    randomization visit (visit 1) and after                     group design."           "If the 24-hour global pain score was "
                                                                    10 days, or at any time during the                                                   3, and if the patient had no significant
                                                                    double-blind treatment phase if the                                                  side effects, the dose could be
                                                                    patient had to discontinue study                                                     increased to four capsules per day (300
                                                                    treatment (visit 2)."                                                                mg + 300 mg + 600 mg gabapentin or
                                                                                                                                                         placebo), and subsequently to six
                                                                    "The treatment phase started on the                                                  capsules per day (600 mg gabapentin
                                                                    day of the screening visit; therefore,                                               every 8 hours or placebo). The dose
                                                                    the 10-day treatment phase                                                           could be increased on any study day."
                                                                    overlapped with the screening on day
                                                                    1."
945-306     945-306.RR       "Patients will return one week after   "A schematic chart of the study           Parallel-groups   9 weeks.                 "Study medication was taken three
                             the Screening Visit, having            design is given in figure 1."                               "A schematic chart       times a day in the form of capsules
                             completed the daily pain diaries for   [Figure 1 indicates screening phase                         of the study design      taken orally."
                             one week."                             of 1 week duration and 8 weeks of                           is given in figure 1."
                                                                    treatment after randomisation.]                             [Figure 1 indicates      "Table 1 descr bes the dosage
                                                                                                                                screening phase of       schedule."
                                                                    "At randomisation, patients must                            1 week duration and
                                                                    have completed at least 4 daily                             8 weeks of               "Patients' randomised to placebo
                                                                    diaries during the 7 days prior to                          treatment after          treatment group took the same number
                                                                    randomisation, an dhave an aveage                           randomisation.]          of capsules as described above for the
                                                                    overall pain score of " 4 over the                                                   active treatment groups."
                                                                    past 7 days on the daily pain diary."
                                                                                                                                                         "The study was designed to provide
                                                                                                                                                         further information about the efficacy of
                                                                                                                                                         gabapentin at 900, 1800 and 2400mg
                                                                                                                                                         compared to placebo to reflect the UK
                                                                                                                                                         licensed dose range for Neurontin for
                                                                                                                                                         the treatment of refractory epilepsy, at
                                                                                                                                                         that time."
                                                                                                                                                                                                                         Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 69 of 195




NA = Not Applicable                                                                         Neuropathic Pain - Table 5                                                                      Sunday, August 10, 2008
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 Study Publication               Run-in phase (Protocol)                 Run-in phase (Report)              Trial design       Total length of           Description of intervention                 Treatment
number    code                                                                                                                   follow-up                                                          (gabapentin
                                                                                                                                                                                                   dose, duration,
                                                                                                                                                                                                     frequency)
                                                                                                                                                                                                   different from
                                                                                                                                                                                                       protocol
945-306     Serpell 2002     "Patients will return one week after   "The study included a 1-week            Parallel-groups   9 weeks.                 "The study included a 1-week baseline
                             the Screening Visit, having            baseline period, after which patients                     "The study included      period, after which patients randomised
                             completed the daily pain diaries for   randomised to gabapentin entered a                        a 1-week baseline        to gabapentin entered a 5-week titration
                             one week."                             5-week titration period, in which the                     period, after which      period, in which the initial dose for all
                                                                    initial dose for all patients was 900                     patients randomised      patients was 900 mg/day (titrated up
                                                                    mg/day (titrated up over 3 days)."                        to gabapentin            over 3 days)."
                                                                                                                              entered a 5-week
                                                                                                                              titration period, in     "Patients who did not show at least
                                                                                                                              which the initial        50% reduction in overall pain were
                                                                                                                              dose for all patients    increased to 1800 mg/day, and again,
                                                                                                                              was 900 mg/day           where necessary, to 2400 mg/day
                                                                                                                              (titrated up over 3      (dose level changes were made at two
                                                                                                                              days)."                  weekly intervals)."
                                                                                                                              "Patients received
                                                                                                                              therapy for a total of   "Patients received therapy for a total of
                                                                                                                              8 weeks."                8 weeks."

                                                                                                                                                       "Gabapentin and placebo were provided
                                                                                                                                                       in the form of identical capsules."
                                                                                                                                                                                                                       Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 70 of 195




NA = Not Applicable                                                                        Neuropathic Pain - Table 5                                                                      Sunday, August 10, 2008
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 Study Publication               Run-in phase (Protocol)                Run-in phase (Report)             Trial design       Total length of          Description of intervention                Treatment
number    code                                                                                                                 follow-up                                                        (gabapentin
                                                                                                                                                                                               dose, duration,
                                                                                                                                                                                                 frequency)
                                                                                                                                                                                               different from
                                                                                                                                                                                                   protocol
945-306     Serpell          "Patients will return one week after   "After completing a 1-week baseline   Parallel-groups   9 weeks.                 "After completing a 1-week baseline
            2002.Conf.       the Screening Visit, having            assessment period, patients who                                                  assessment period, patients who were
            Abs              completed the daily pain diaries for   were randomised to GBP                                  "After completing a      randomised to GBP [gabapentin] were
                             one week."                             [gabapentin] were titrated to 900                       1-week baseline          titrated to 900 mg/day over 3 days. The
                                                                    mg/day over 3 days."                                    assessment period,       dose was increased at 2-week intervals
                                                                                                                            patients who were        to 1800 mg/day and then to 2400
                                                                                                                            randomised to GBP        mg/day if a 50% reduction in pain was
                                                                                                                            [gabapentin] were        not achieved. Titration was completed
                                                                                                                            titrated to 900          by week 5."
                                                                                                                            mg/day over 3 days."

                                                                                                                            "In this double-blind,
                                                                                                                            parallel-group,
                                                                                                                            multicentre study,
                                                                                                                            patients were
                                                                                                                            randomised to
                                                                                                                            receive GBP
                                                                                                                            [gabapentin] or
                                                                                                                            placebo (PBO) in a
                                                                                                                            1:1 ratio to treat
                                                                                                                            neuropathic pain for
                                                                                                                            a total of 8 weeks."
                                                                                                                                                                                                                   Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 71 of 195




NA = Not Applicable                                                                       Neuropathic Pain - Table 5                                                                  Sunday, August 10, 2008
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 Study Publication               Run-in phase (Protocol)               Run-in phase (Report)             Trial design      Total length of        Description of intervention                  Treatment
number    code                                                                                                               follow-up                                                        (gabapentin
                                                                                                                                                                                             dose, duration,
                                                                                                                                                                                               frequency)
                                                                                                                                                                                             different from
                                                                                                                                                                                                 protocol
945-411     945-411.RR       "The study will consist of a 1-week   "The study will consist of a 1-week  Parallel-groups   8 weeks.              "In the first (control) arm, patients will
                             screening phase and a randomized      screening phase and a randomized 7-                    "The study will       receive a fixed dose of gabapentin 300
                             7-week treatment phase consisting     week treatment phase consisting of 2                   consist of a 1-week   mg TID (900 mg/day) for a total of 7
                             of 2 arms."                           arms."                                                 screening phase       weeks, beginning Day 1.
                                                                                                                          and a randomized 7-
                                                                                                                          week treatment        "In the second arm, gabapentin will be
                                                                                                                          phase consisting of   titrated upward, to effect, for 4 weeks.
                                                                                                                          2 arms."              Titration will begin on Day 1 (=evening
                                                                                                                                                of Visit 2) from a base dose of 300 mg
                                                                                                                                                TID (900 mg/day up), to the minimum
                                                                                                                                                dose required to achieve a Likert score
                                                                                                                                                which is !50% of the weekly mean
                                                                                                                                                score collected from the patient's daily
                                                                                                                                                pain diary during the week prior to
                                                                                                                                                randomization. Once this level of
                                                                                                                                                analgesia is achieved, the patient is
                                                                                                                                                labeled a responder."

                                                                                                                                                "The titration phase will end at Visit 4,
                                                                                                                                                after which medication must then
                                                                                                                                                remain stable during the final 3 weeks
                                                                                                                                                of the study (Weeks 4-7), but may be
                                                                                                                                                adjusted downwards only to reduce side
                                                                                                                                                effects. In no event will gabapentin
                                                                                                                                                dosing be allowed to surpass 3600
                                                                                                                                                mg/day in any patient."

                                                                                                                                                "Medication will be administered in TID
                                                                                                                                                dosing."
                                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 72 of 195




NA = Not Applicable                                                                     Neuropathic Pain - Table 5                                                                  Sunday, August 10, 2008
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 Study Publication               Run-in phase (Protocol)               Run-in phase (Report)               Trial design       Total length of         Description of intervention                   Treatment
number    code                                                                                                                  follow-up                                                          (gabapentin
                                                                                                                                                                                                  dose, duration,
                                                                                                                                                                                                    frequency)
                                                                                                                                                                                                  different from
                                                                                                                                                                                                      protocol
945-411     Gomez-Perez      "The study will consist of a 1-week   "This randomized, open-label,           Open-label,       8 weeks.               "At visit 2 (week 0), patients were
            2002.Conf.       screening phase and a randomized      multicenter (33 centers in Latin        parallel-groups   "This randomized,      randomized to one of two groups:
            Abs              7-week treatment phase consisting     America) trial of gabapentin involved                     open-label,            - Fixed-dose group: Patients in this
                             of 2 arms."                           a 1-week screening (baseline) phase                       multicenter (33        group received gabapentin 300 mg tid
                                                                   (week 1), followed by a randomized,                       centers in Latin       (900 mg/day) for 7 weeks.
                                                                   7-week (weeks 0 to 7), multiple-dose,                     America) trial of      - Titration-to-clinical-effect group: These
                                                                   parallel-group treatment phase."                          gabapentin involved    patients received gabapentin titrated to
                                                                                                                             a 1-week screening     clinical effect ("50% reduction in pain
                                                                                                                             (baseline) phase       from baseline), up to a maximum of
                                                                                                                             (week 1), followed     3600 mg/day over 4 weeks, followed by
                                                                                                                             by a randomized, 7-    3 weeks of gabapentin three times daily
                                                                                                                             week (weeks 0 to 7),   at the clinically effective dose."
                                                                                                                             multiple-dose,
                                                                                                                             parallel-group
                                                                                                                             treatment phase."
                                                                                                                                                                                                                      Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 73 of 195




NA = Not Applicable                                                                      Neuropathic Pain - Table 5                                                                     Sunday, August 10, 2008
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 Study Publication               Run-in phase (Protocol)               Run-in phase (Report)              Trial design       Total length of          Description of intervention                    Treatment
number    code                                                                                                                 follow-up                                                            (gabapentin
                                                                                                                                                                                                   dose, duration,
                                                                                                                                                                                                     frequency)
                                                                                                                                                                                                   different from
                                                                                                                                                                                                       protocol
945-411     Gomez-Perez      "The study will consist of a 1-week   "This was a randomised, open-label     Open-label,       8 weeks.                "At visit 2 (week 0), a total of 339
            2004             screening phase and a randomized      phase IV trial in 33 Latin American    parallel-groups   "This was a             eligible subjects entered the treatment
                             7-week treatment phase consisting     centres consisting of a one-week                         randomised, open-       phase and were randomised into two
                             of 2 arms."                           screening phase (week -1)                                label phase IV trial    treatment groups."
                                                                   immediately followed by a                                in 33 Latin American
                                                                   randomised seven-week multiple                           centres consisting of   "In the fixed-dose group, subjects
                                                                   dose, parallel group treatment phase                     a one-week              (n=170) received a fixed-dose of
                                                                   (week 0 to week 7)."                                     screening phase         gabapentin 300 mg TID (900 mg/day)
                                                                                                                            (week -1)               for seven weeks."
                                                                                                                            immediately
                                                                                                                            followed by a           "In the titration-to-clinical-effect group,
                                                                                                                            randomised seven-       subjects (n=169) received gabapentin
                                                                                                                            week multiple dose,     (TID) titrated to clinical effect (i.e.,
                                                                                                                            parallel group          'response', defined as " 50% reduction
                                                                                                                            treatment phase         in weekly mean pain score from
                                                                                                                            (week 0 to week 7)."    baseline), dose not to exceed 3,600
                                                                                                                                                    mg/day, over four weeks followed by
                                                                                                                                                    three weeks of gabapentin TID at a
                                                                                                                                                    stable dose."

                                                                                                                                                    "The initial starting dose of gabapentin
                                                                                                                                                    in the titration-to-clinical-effect group
                                                                                                                                                    was 900 mg/day. During the four-week
                                                                                                                                                    titration period (weeks 0-3), titration
                                                                                                                                                    ceased when subjects achieved a
                                                                                                                                                    response ('responders'), but continued
                                                                                                                                                    in stepwise fashion (up to five titration
                                                                                                                                                    increments with target doses of 1,200,
                                                                                                                                                    1,800, 2,400, 2,700, and 3,600 mg/day)
                                                                                                                                                    for non-responders until there was a
                                                                                                                                                    response or 3,600 mg/day was
                                                                                                                                                    reached."

                                                                                                                                                    "If the subject had intolerable side
                                                                                                                                                    effects, gabapentin could be adjusted
                                                                                                                                                    downward during the titration period to
                                                                                                                                                    reduce side effects. For subjects in the
                                                                                                                                                    titration group, the dose achieved
                                                                                                                                                    during the titration period (i.e., up to the
                                                                                                                                                                                                                       Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 74 of 195




NA = Not Applicable                                                                      Neuropathic Pain - Table 5                                                                       Sunday, August 10, 2008
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 Study Publication               Run-in phase (Protocol)                   Run-in phase (Report)              Trial design       Total length of         Description of intervention                Treatment
number    code                                                                                                                     follow-up                                                       (gabapentin
                                                                                                                                                                                                  dose, duration,
                                                                                                                                                                                                    frequency)
                                                                                                                                                                                                  different from
                                                                                                                                                                                                      protocol
                                                                                                                                                        end of week 3) was maintained for the
                                                                                                                                                        stable dose phase (i.e., weeks 4-7)."
A945-1008   A945-            "All patients who meet elig bility        "All subjects had a screening visit,   Parallel-groups   15 weeks.               "Subjects randomly assigned to
            1008.Final       criteria during Visit 1 will enter into   followed by a 1-week single-blind,                       "All subjects had a     gabapentin were titrated in a stepwise
            Study Report     a 1-week, single-blind, placebo           placebo lead-in phase for eligible                       screening visit,        fashion to the target dose of 3600
                             lead-in. During the placebo lead-in       subjects. During the 1-week, single-                     followed by a 1-        mg/day. No dose adjustments were
                             period, patients will complete a          blind, placebo lead-in phase,                            week single-blind,      allowed during the titration phase;
                             daily pain and sleep diary in order       subjects completed a daily pain and                      placebo lead-in         subjects who could not tolerate study
                             to establish a baseline."                 sleep diary in order to establish a                      phase for eligible      medication during titration were
                                                                       baseline."                                               subjects."              withdrawn from the study. Titration
                                                                                                                                "Double-blind           schedule was as follows:
                                                                                                                                treatment consisted     - Day 1 - 300 mg/day (300 mg orally
                                                                                                                                of a 2-week titration   [PO] every night at bedtime [QHS]),
                                                                                                                                phase, followed by a    - Day 2 - 600 mg/day (300 mg PO
                                                                                                                                12-week treatment       afternoon [PM] & at bedtime [HS]),
                                                                                                                                phase at the target     - Day 3 - 900 mg/day (300 mg PO 3
                                                                                                                                dose of 3600            times a day [TID]),
                                                                                                                                mg/day or the           - Day 7 - 1800 mg/day (600 mg PO
                                                                                                                                subject's maximum       TID),
                                                                                                                                tolerated dose, not     - Visit 3, End of Week 2, - 3600 mg/day
                                                                                                                                to exceed 3600          (1200 mg PO TID)."
                                                                                                                                mg/day."
                                                                                                                                                        "Subjects who experienced intolerable
                                                                                                                                                        side effects during the double-blind
                                                                                                                                                        treatment phase visited an investigator
                                                                                                                                                        for evaluation within 2 days of
                                                                                                                                                        notification. At that visit, and at the
                                                                                                                                                        discretion of the investigator, the
                                                                                                                                                        subject could have decreased their
                                                                                                                                                        medication dose to 1800 mg/day. Once
                                                                                                                                                        the subject had experienced intolerable
                                                                                                                                                        side effects and decreased their
                                                                                                                                                        dosage level, no further adjustments in
                                                                                                                                                        dose were allowed through the end of
                                                                                                                                                        the study. If the subject could not
                                                                                                                                                        tolerate the reduced dose, they were to
                                                                                                                                                        be withdrawn from the study."
                                                                                                                                                                                                                      Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 75 of 195




NA = Not Applicable                                                                           Neuropathic Pain - Table 5                                                                 Sunday, August 10, 2008
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 Study Publication               Run-in phase (Protocol)               Run-in phase (Report)       Trial design       Total length of           Description of intervention                 Treatment
number    code                                                                                                          follow-up                                                          (gabapentin
                                                                                                                                                                                          dose, duration,
                                                                                                                                                                                            frequency)
                                                                                                                                                                                          different from
                                                                                                                                                                                              protocol
Unavailable Dallocchio       Not mentioned.                        Not mentioned.                  Parallel-groups   12 weeks.                "GBP [gabapentin] and AMI
-Dallocchio 2000                                                                                                     "This was an open-       [amitryptiline] were administered as
                                                                                                                     label pilot study with   monotherapy, with a three-time daily
                                                                                                                     a 12-week duration."     dosing schedule. GBP was started at
                                                                                                                                              400 mg/day and AMI was started at 10
                                                                                                                                              mg/day."

                                                                                                                                              "During the first week of study, the
                                                                                                                                              dosage was titrated in all patients up to
                                                                                                                                              1,200 mg/day GBP or 30 mg/day AMI."

                                                                                                                                              "Over the followng 3 weeks, doses were
                                                                                                                                              further increased in an effort to reduce
                                                                                                                                              pain scores to 1 or less. Titration up to
                                                                                                                                              a maximum of 2,400 mg/day GBP or 90
                                                                                                                                              mg/day AMI was performed by weekly
                                                                                                                                              increments of 400 mg/day for GBP or
                                                                                                                                              20 mg/day for AMI."

                                                                                                                                              "However, in case of intolerable side
                                                                                                                                              effects, doses were increased up to the
                                                                                                                                              maximum tolerated dosage. Therefore,
                                                                                                                                              through the last 8 weeks of study,
                                                                                                                                              doses were kept constant."
Unavailable Draft Gorson     "Subjects will complete a 3 week      Not mentioned.                  Crossover         Unclear.                 "Patients were randomly assigned
-Gorson     to Magistro      drug-free baseline, followed by two                                                     Duration of "Phase       using a random numbers table to
            1997             6 week drug treatment periods                                                           II" not mentioned.       gabapentin (300 mg capsules initially)
                             using a double-blind, placebo-                                                                                   or placebo for six weeks (Phase I)
                             controlled, randomized crossover                                                                                 followed by a three week washout
                             design."                                                                                                         period and then crossover (Phase II)."

                             "There will be a 3 week interval                                                                                 "The dose of gabapentin or placebo
                             washout period before crossover."                                                                                was increased by one capsule every
                                                                                                                                              three days to a stable dosage of one
                                                                                                                                              capsule three times per day (900
                                                                                                                                              mg/day) that was maintained
                                                                                                                                              throughout the remainder of the
                                                                                                                                              treatment period."
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NA = Not Applicable                                                                 Neuropathic Pain - Table 5                                                                   Sunday, August 10, 2008
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  Study Publication              Run-in phase (Protocol)               Run-in phase (Report)       Trial design    Total length of        Description of intervention               Treatment
 number    code                                                                                                      follow-up                                                     (gabapentin
                                                                                                                                                                                  dose, duration,
                                                                                                                                                                                    frequency)
                                                                                                                                                                                  different from
                                                                                                                                                                                      protocol
Unavailable Draft Magistro   "Subjects will complete a 3 week      Not mentioned.                  Crossover      18 weeks.              "Patients were randomly assigned
-Gorson     Internal 1998    drug-free baseline, followed by two                                                  See run-in & details   using a random numbers table to
                             6 week drug treatment periods                                                        column on the left.    gabapentin (300 mg capsules initially)
                             using a double-blind, placebo-                                                                              or placebo for six weeks (Phase I)
                             controlled, randomized crossover                                                                            followed by a three week washout
                             design."                                                                                                    period and then crossover (Phase II)."

                             "There will be a 3 week interval                                                                            "The dose of gabapentin or placebo
                             washout period before crossover."                                                                           was increased by one capsule every
                                                                                                                                         three days to a stable dosage of one
                                                                                                                                         capsule three times per day (900
                                                                                                                                         mg/day) that was maintained
                                                                                                                                         throughout the remainder of the
                                                                                                                                         treatment period."
Unavailable Gorson 1998      "Subjects will complete a 3 week      Not mentioned.                  Crossover      18 weeks.              "Patients were randomly assigned to
-Gorson                      drug-free baseline, followed by two                                                  See run-in & details   gabapentin (900 mg/day) or placebo for
                             6 week drug treatment periods                                                        column on the left.    6 weeks (Phase I), followed by a 3
                             using a double-blind, placebo-                                                                              week washout period and then
                             controlled, randomized crossover                                                                            crossover (Phase II)."
                             design."

                             "There will be a 3 week interval
                             washout period before crossover."
                                                                                                                                                                                                      Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 77 of 195




NA = Not Applicable                                                                 Neuropathic Pain - Table 5                                                             Sunday, August 10, 2008
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 Study Publication               Run-in phase (Protocol)               Run-in phase (Report)       Trial design    Total length of        Description of intervention                Treatment
number    code                                                                                                       follow-up                                                      (gabapentin
                                                                                                                                                                                   dose, duration,
                                                                                                                                                                                     frequency)
                                                                                                                                                                                   different from
                                                                                                                                                                                       protocol
Unavailable Gorson 1999      "Subjects will complete a 3 week      Not mentioned.                  Crossover      18 weeks.              "Patients were randomly assigned to
-Gorson                      drug-free baseline, followed by two                                                  See run-in & details   gabapentin (300 mg capsules) or
                             6 week drug treatment periods                                                        column on the left.    placebo for 6 weeks (Phase I) followed
                             using a double-blind, placebo-                                                                              by a 3 week washout period and then
                             controlled, randomized crossover                                                                            crossover (Phase II)."
                             design."
                                                                                                                                         "The dose of gabapentin was increased
                             "There will be a 3 week interval                                                                            by one capsule every 3 days to a stable
                             washout period before crossover."                                                                           dosage of one capsule three times daily
                                                                                                                                         (900 mg/day) that was maintained
                                                                                                                                         throughout the remainder of the
                                                                                                                                         treatment period."

                                                                                                                                         "The low dosage of gabapentin was
                                                                                                                                         chosen to minimise adverse effects that
                                                                                                                                         might compromise blinidng."
                                                                                                                                                                                                       Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 78 of 195




NA = Not Applicable                                                                 Neuropathic Pain - Table 5                                                            Sunday, August 10, 2008
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                                                              Neuropathic Pain
                                                             Table 6 - Risk of Bias
Study Publica- Random Random Method of                  Method of                Conceal-     Conceal-     Method of             Double-    Double- Blinding:         Blinding:
number tion code allocation allocation allocation       allocation               ment of      ment of      allocation            blind      blind    Notes            Notes (Report)
                 (Protocol) (Report) (Protocol)         (Report)                 allocation   allocation   concealment           (Protocol) (Report) (Protocol)
                                                                                 (Protocol)    (Report)    (Report)

945-210     945-210.RR                 Not mentioned.   "The randomization                                 No description of                         No description   No description on
                                                        code was generated                                 any attempt to                            on who was       who was blinded.
                                                        by Parke-Davis                                     conceal allocation.                       blinded.
                                                        Biometrics
                                                        Department. The block
                                                        size was 4."

945-210     Backonja                   Not mentioned.   "randomized"                                       No description of                         No description   No description on
            1997                                        "Following screening,                              any attempt to                            on who was       who was blinded.
                                                        165 patients with                                  conceal allocation.                       blinded.
                                                        symptoms of diabetic
                                                        neuropathy for 1 to 5
                                                        years and a
                                                        hemoglobin A1c !11%
                                                        were randomized to
                                                        placebo (N = 81) or
                                                        gabapentin (N = 84)."

945-210     Backonja                   Not mentioned.   "Patients who                                      No description of                         No description   No description on
            1998                                        remained eligible for                              any attempt to                            on who was       who was blinded.
                                                        the study were                                     conceal allocation.                       blinded.
                                                        randomized in a
                                                        double-blind fashion
                                                        (in blocks of 4
                                                        according to a
                                                        computer-generated
                                                        random code) to
                                                        receive either placebo
                                                        or gabapentin."
                                                                                                                                                                                      Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 79 of 195




NA = Not Applicable                                                     Neuropathic Pain - Table 6                                                            Sunday, August 10, 2008
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Study Publica- Random Random Method of                       Method of                 Conceal-     Conceal-     Method of             Double-    Double- Blinding:         Blinding:
number tion code allocation allocation allocation            allocation                ment of      ment of      allocation            blind      blind    Notes            Notes (Report)
                 (Protocol) (Report) (Protocol)              (Report)                  allocation   allocation   concealment           (Protocol) (Report) (Protocol)
                                                                                       (Protocol)    (Report)    (Report)

945-224     945-224. RR                Not mentioned.        Not mentioned.                                      No description of                         No description   No description on
                                                                                                                 any attempt to                            on who was       who was blinded.
                                       "The Clinical                                                             conceal allocation.                       blinded.
                                       Pharmaceutical
                                       Operations
                                       Department of
                                       Parke-Davis
                                       generates the
                                       randomization
                                       code, and then
                                       CPO or other
                                       desginated facility
                                       will provide
                                       medication
                                       assembled for
                                       each
                                       subject/patient
                                       based on a
                                       randomization
                                       code."

945-224     945-                       Not mentioned.        Not mentioned.                                      No description of                         No description   No description of
            224.Reckless                                                                                         any attempt to                            on who was       who was blinded.
            .Diabetic                  "The Clinical         "After a 1-week                                     conceal allocation.                       blinded.
            Medicine                   Pharmaceutical        screening phase,
                                       Operations            patients fulfilling the
                                       Department of         inclusion criteria were
                                       Parke-Davis           randomised to
                                       generates the         gabapentin 600 (n =
                                       randomization         82), 1200 (n = 82), or
                                       code, and then        2400 (n = 84) mg/day,
                                       CPO or other          or placebo (n = 77)
                                       desginated facility   (Table 2)."
                                       will provide
                                       medication
                                       assembled for
                                       each
                                       subject/patient
                                       based on a
                                       randomization
                                       code."
                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 80 of 195




NA = Not Applicable                                                           Neuropathic Pain - Table 6                                                            Sunday, August 10, 2008
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Study Publica- Random Random Method of                       Method of                 Conceal-     Conceal-     Method of             Double-    Double- Blinding:         Blinding:
number tion code allocation allocation allocation            allocation                ment of      ment of      allocation            blind      blind    Notes            Notes (Report)
                 (Protocol) (Report) (Protocol)              (Report)                  allocation   allocation   concealment           (Protocol) (Report) (Protocol)
                                                                                       (Protocol)    (Report)    (Report)

945-224     945-                       Not mentioned.        Not mentioned.                                      No description of                         No description   No description of
            224.Reckless                                                                                         any attempt to                            on who was       who was blinded.
            .Diabetologia              "The Clinical         "After a 1-week                                     conceal allocation.                       blinded.
                                       Pharmaceutical        screening phase,
                                       Operations            patients fulfilling the
                                       Department of         inclusion criteria were
                                       Parke-Davis           randomised to
                                       generates the         gabapentin 600 (n =
                                       randomization         82), 1200 (n = 82), or
                                       code, and then        2400 (n = 84) mg/day,
                                       CPO or other          or placebo (n = 77)
                                       desginated facility   (Table 2)."
                                       will provide
                                       medication
                                       assembled for
                                       each
                                       subject/patient
                                       based on a
                                       randomization
                                       code."

945-224     Backonja                   Not mentioned.        Not mentioned.                                      No description of                         No description   No description on
            2002.EFNS.A                                                                                          any attempt to                            on who was       who was blinded.
            bs.945-224                 "The Clinical                                                             conceal allocation.                       blinded.
                                       Pharmaceutical
                                       Operations
                                       Department of
                                       Parke-Davis
                                       generates the
                                       randomization
                                       code, and then
                                       CPO or other
                                       desginated facility
                                       will provide
                                       medication
                                       assembled for
                                       each
                                       subject/patient
                                       based on a
                                       randomization
                                       code."
                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 81 of 195




NA = Not Applicable                                                           Neuropathic Pain - Table 6                                                            Sunday, August 10, 2008
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Study Publica- Random Random Method of                       Method of               Conceal-     Conceal-     Method of             Double-    Double- Blinding:         Blinding:
number tion code allocation allocation allocation            allocation              ment of      ment of      allocation            blind      blind    Notes            Notes (Report)
                 (Protocol) (Report) (Protocol)              (Report)                allocation   allocation   concealment           (Protocol) (Report) (Protocol)
                                                                                     (Protocol)    (Report)    (Report)

945-224     Backonja                   Not mentioned.        Not mentioned.                                    No description of                         No description   No description on
            2003 Review                                      "Patients were                                    any attempt to                            on who was       who was blinded.
            of 945-224                 "The Clinical         randomized to receive                             conceal allocation.                       blinded.
                                       Pharmaceutical        gabapentin 600, 1200,
                                       Operations            or 2400 mg/d, or
                                       Department of         placebo."
                                       Parke-Davis
                                       generates the
                                       randomization
                                       code, and then
                                       CPO or other
                                       desginated facility
                                       will provide
                                       medication
                                       assembled for
                                       each
                                       subject/patient
                                       based on a
                                       randomization
                                       code."
                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 82 of 195




NA = Not Applicable                                                         Neuropathic Pain - Table 6                                                            Sunday, August 10, 2008
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Study Publica- Random Random Method of                        Method of                  Conceal-     Conceal-     Method of             Double-    Double- Blinding:         Blinding:
number tion code allocation allocation allocation             allocation                 ment of      ment of      allocation            blind      blind    Notes            Notes (Report)
                 (Protocol) (Report) (Protocol)               (Report)                   allocation   allocation   concealment           (Protocol) (Report) (Protocol)
                                                                                         (Protocol)    (Report)    (Report)

945-271     945-271. RR                "The                   "Prior to the start of                               No description of                         No description   No description on
                                       randomisation          the study, the project                               any attempt to                            on who will be   who was blinded.
                                       scheme has been        statistician approved a                              conceal allocation.                       blinded.
                                       done by the            randomization
                                       Clinical               procedure including a                                "The double-blind
                                       Pharmaceutical         block of 6."                                         supplies were
                                       Operations in          "The randomization list                              identical in
                                       Freiburg. The          was generated by the                                 physical
                                       patients has been      Clinical                                             appearance and
                                       randomly allocated     Pharmaceutical                                       were provided to
                                       to commence the        Operation Center in                                  the investigator in
                                       first treatment with   Freiburg. The number                                 bottles containing
                                       either gabapentin      serial begain with 5001                              randomization
                                       or placebo and         and continued in a                                   numbers and
                                       after the wash-out     consecutively order.                                 indicating visit
                                       period to continue     The centers received                                 number."
                                       treatment with the     medication in blocks of                              "A sealed code
                                       other medication."     six."                                                envelope, one for
                                                                                                                   each patient, was
                                                              "At the screening visit,                             provided with the
                                                              visit 1, the patients                                supplies, which
                                                              were allocated a 4-digit                             allowed the
                                                              screening number. At                                 investigator to
                                                              visit 2, patients found                              break the code
                                                              eligible for inclusion                               for an individual
                                                              were randomized to                                   subject in the
                                                              one of the treatment                                 event of an
                                                              sequences                                            emergency."
                                                              gabapentin - placebo                                 "The sponsor also
                                                              or placebo -                                         had a copy of the
                                                              gabapentin in the ratio                              envelope."
                                                              1:1, and assigned a
                                                              randomization number,
                                                              in a consecutive
                                                              manner at each
                                                              center."
                                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 83 of 195




NA = Not Applicable                                                            Neuropathic Pain - Table 6                                                             Sunday, August 10, 2008
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Study Publica- Random Random Method of                     Method of                Conceal-      Conceal-     Method of             Double-    Double- Blinding:         Blinding:
number tion code allocation allocation allocation          allocation               ment of       ment of      allocation            blind      blind    Notes            Notes (Report)
                 (Protocol) (Report) (Protocol)            (Report)                 allocation    allocation   concealment           (Protocol) (Report) (Protocol)
                                                                                    (Protocol)     (Report)    (Report)

945-271     945-                       "The                 Not mentioned.                                     No description of                         No description   No description on
            271.Addndm-                randomisation                                                           any attempt to                            on who will be   who was blinded.
            B.RR                       scheme has been                                                         conceal allocation.                       blinded.
                                       done by the
                                       Clinical
                                       Pharmaceutical
                                       Operations in
                                       Freiburg. The
                                       patients has been
                                       randomly allocated
                                       to commence the
                                       first treatment with
                                       either gabapentin
                                       or placebo and
                                       after the wash-out
                                       period to continue
                                       treatment with the
                                       other medication."

945-271     Gordh 2002                 "The                 NA³                                                NA³                                       No description   NA³
                                       randomisation                                                                                                     on who will be
                                       scheme has been                                                                                                   blinded.
                                       done by the
                                       Clinical
                                       Pharmaceutical
                                       Operations in
                                       Freiburg. The
                                       patients has been
                                       randomly allocated
                                       to commence the
                                       first treatment with
                                       either gabapentin
                                       or placebo and
                                       after the wash-out
                                       period to continue
                                       treatment with the
                                       other medication."
                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 84 of 195




NA = Not Applicable                                                          Neuropathic Pain - Table 6                                                           Sunday, August 10, 2008
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Study Publica- Random Random Method of                Method of                  Conceal-     Conceal-     Method of             Double-    Double- Blinding:       Blinding:
number tion code allocation allocation allocation     allocation                 ment of      ment of      allocation            blind      blind    Notes          Notes (Report)
                 (Protocol) (Report) (Protocol)       (Report)                   allocation   allocation   concealment           (Protocol) (Report) (Protocol)
                                                                                 (Protocol)    (Report)    (Report)

945-276     945-276.RR                 Protocol not   "The random code has                                 No description of                         Protocol not   No description on
                                       available.     been prepared by                                     any attempt to                            available.     who was blinded.
                                                      Parke-Davis                                          conceal allocation.
                                                      Pharmaceutical                                                                                                "The study
                                                      Research, Division of                                                                                         medications were
                                                      Warner-Lambert                                                                                                indistinguishable."
                                                      Company (Clinical
                                                      Pharmacy Operations
                                                      [CPO]."

945-276     Caraceni                   Protocol not   "Patients were                                       "Study                                    Protocol not   "All study
            2004                       available.     randomly assigned to                                 medications were                          available.     participants were
                                                      placebo or gabapentin                                provided as                                              blinded to
                                                      with a 1:2 ratio. A                                  identical capsules                                       allocation
                                                      nonstratified, block-of-                             containing 300                                           sequence."
                                                      three randomization                                  mg of gabapentin
                                                      list was used."                                      or placebo in
                                                                                                           numbered
                                                                                                           containers and
                                                                                                           allocated in
                                                                                                           random sequence
                                                                                                           by the pharmacy
                                                                                                           department of the
                                                                                                           sponsor's
                                                                                                           laboratories. All
                                                                                                           study participants
                                                                                                           were blinded to
                                                                                                           allocation
                                                                                                           sequence."
                                                                                                                                                                                     Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 85 of 195




NA = Not Applicable                                                     Neuropathic Pain - Table 6                                                            Sunday, August 10, 2008
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Study Publica- Random Random Method of                       Method of                  Conceal-     Conceal-     Method of             Double-    Double- Blinding:         Blinding:
number tion code allocation allocation allocation            allocation                 ment of      ment of      allocation            blind      blind    Notes            Notes (Report)
                 (Protocol) (Report) (Protocol)              (Report)                   allocation   allocation   concealment           (Protocol) (Report) (Protocol)
                                                                                        (Protocol)    (Report)    (Report)

945-306     945-306.RR                 "The Clinical         "Medication was                                      No description of                         No description   No description on
                                       Pharmaceutical        randomised in block                                  any attempt to                            on who was       who was blinded.
                                       Operations (CPO)      sizes of four, with each                             conceal allocation.                       blinded.
                                       Department of         patient number being
                                       Parke-Davis (or       unique. Patient
                                       biometrics            numbers were
                                       department            assigned sequentially
                                       locally) generates    and this determined
                                       the randomization     the treatment the
                                       code, and then        patient would receive."
                                       CPO or other
                                       designated facility
                                       will provide
                                       medication
                                       assembled for
                                       each
                                       subject/patient
                                       based on a
                                       randomization
                                       code."

945-306     Serpell 2002               "The Clinical         "Using a centrally held,                             No description of                         No description   No description on
                                       Pharmaceutical        computer generated                                   any attempt to                            on who was       who was blinded.
                                       Operations (CPO)      randomisation list,                                  conceal allocation.                       blinded.
                                       Department of         patients were
                                       Parke-Davis (or       randomised
                                       biometrics            sequentially to
                                       department            gabapentin or placebo
                                       locally) generates    in a 1:1 ratio, in block
                                       the randomization     sizes of four."
                                       code, and then
                                       CPO or other
                                       designated facility
                                       will provide
                                       medication
                                       assembled for
                                       each
                                       subject/patient
                                       based on a
                                       randomization
                                       code."
                                                                                                                                                                                             Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 86 of 195




NA = Not Applicable                                                           Neuropathic Pain - Table 6                                                             Sunday, August 10, 2008
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Study Publica- Random Random Method of                       Method of               Conceal-      Conceal-     Method of             Double-    Double- Blinding:         Blinding:
number tion code allocation allocation allocation            allocation              ment of       ment of      allocation            blind      blind    Notes            Notes (Report)
                 (Protocol) (Report) (Protocol)              (Report)                allocation    allocation   concealment           (Protocol) (Report) (Protocol)
                                                                                     (Protocol)     (Report)    (Report)

945-306     Serpell                    "The Clinical         Not mentioned.                                     No description of                         No description   No description on
            2002.Conf.                 Pharmaceutical                                                           any attempt to                            on who was       who was blinded.
            Abs                        Operations (CPO)                                                         conceal allocation.                       blinded.
                                       Department of
                                       Parke-Davis (or
                                       biometrics
                                       department
                                       locally) generates
                                       the randomization
                                       code, and then
                                       CPO or other
                                       designated facility
                                       will provide
                                       medication
                                       assembled for
                                       each
                                       subject/patient
                                       based on a
                                       randomization
                                       code."

945-411     945-411.RR                 Not mentioned.        Not mentioned.                                     No description of                         Open-label       "open label"
                                       "The Clinical                                                            any attempt to                            trial.
                                       Pharmaceutical                                                           conceal allocation.
                                       Operations (CPO)
                                       Department of
                                       Parke-Davis (or
                                       biometrics
                                       department
                                       locally) generates
                                       the randomization
                                       code, and then
                                       CPO or other
                                       designated facility
                                       will provide
                                       medication
                                       assembled for
                                       each
                                       subject/patient
                                       based on a
                                       randomization
                                       code."
                                                                                                                                                                                           Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 87 of 195




NA = Not Applicable                                                           Neuropathic Pain - Table 6                                                           Sunday, August 10, 2008
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Study Publica- Random Random Method of                       Method of               Conceal-      Conceal-     Method of             Double-    Double- Blinding:      Blinding:
number tion code allocation allocation allocation            allocation              ment of       ment of      allocation            blind      blind    Notes         Notes (Report)
                 (Protocol) (Report) (Protocol)              (Report)                allocation    allocation   concealment           (Protocol) (Report) (Protocol)
                                                                                     (Protocol)     (Report)    (Report)

945-411     Gomez-                     Not mentioned.        Not mentioned.                                     No description of                         Open-label    "open-label"
            Perez                      "The Clinical                                                            any attempt to                            trial.
            2002.Conf.                 Pharmaceutical                                                           conceal allocation.
            Abs                        Operations (CPO)
                                       Department of
                                       Parke-Davis (or
                                       biometrics
                                       department
                                       locally) generates
                                       the randomization
                                       code, and then
                                       CPO or other
                                       designated facility
                                       will provide
                                       medication
                                       assembled for
                                       each
                                       subject/patient
                                       based on a
                                       randomization
                                       code."
                                                                                                                                                                                       Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 88 of 195




NA = Not Applicable                                                           Neuropathic Pain - Table 6                                                          Sunday, August 10, 2008
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Study Publica- Random Random Method of                       Method of                 Conceal-     Conceal-     Method of             Double-    Double- Blinding:      Blinding:
number tion code allocation allocation allocation            allocation                ment of      ment of      allocation            blind      blind    Notes         Notes (Report)
                 (Protocol) (Report) (Protocol)              (Report)                  allocation   allocation   concealment           (Protocol) (Report) (Protocol)
                                                                                       (Protocol)    (Report)    (Report)

945-411     Gomez-                     Not mentioned.        Not mentioned.                                      No description of                         Open-label    Not applicable.
            Perez 2004                 "The Clinical         "At visit 2 (week 0), a                             any attempt to                            trial.        Open-label trial.
                                       Pharmaceutical        total of 339 eligible                               conceal allocation.
                                       Operations (CPO)      subjects entered the
                                       Department of         treatment phase and
                                       Parke-Davis (or       were randomised into
                                       biometrics            two treatment groups."
                                       department
                                       locally) generates
                                       the randomization
                                       code, and then
                                       CPO or other
                                       designated facility
                                       will provide
                                       medication
                                       assembled for
                                       each
                                       subject/patient
                                       based on a
                                       randomization
                                       code."
                                                                                                                                                                                             Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 89 of 195




NA = Not Applicable                                                           Neuropathic Pain - Table 6                                                           Sunday, August 10, 2008
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Study Publica- Random Random Method of                        Method of                   Conceal-     Conceal-     Method of             Double-    Double- Blinding:         Blinding:
number tion code allocation allocation allocation             allocation                  ment of      ment of      allocation            blind      blind    Notes            Notes (Report)
                 (Protocol) (Report) (Protocol)               (Report)                    allocation   allocation   concealment           (Protocol) (Report) (Protocol)
                                                                                          (Protocol)    (Report)    (Report)

A945-1008   A945-                      "The                   "Subjects were                                        No description of                         No description   No description on
            1008.Final                 randomization          assigned at the site, in                              any attempt to                            on who was       who was blinded.
            Study Report               code will be           the order in which they                               conceal allocation.                       blinded.
                                       prepared by the        were enrolled into the
                                       Biometrics             study, to receive their
                                       department."           allocated treatment
                                                              sequence, in a 1:1
                                       "Patients will be      manner, according to a
                                       randomized in a        computer-generated
                                       1:1 ratio to receive   randomization scheme
                                       either placebo or      prepared by Pfizer
                                       gabapentin. Each       prior to the start of the
                                       individual should      study."
                                       be assigned a
                                       patient number in      "The study was
                                       sequence with the      randomized with a
                                       lowest available       block size of 4;
                                       subject number         therefore, any centers
                                       being assigned         with fewer than 3
                                       first."                subjects that
                                                              completed the study
                                                              may not have had all
                                                              treatment groups
                                                              represented in the
                                                              primary analysis."

Unavailable Dallocchio                 Protocol not           "Patients were                                        No description of                         Protocol not     "open-label"
-Dallocchio 2000                       available.             randomly allocated to                                 any attempt to                            available.
                                                              therapy with either                                   conceal allocation.
                                                              GBP [gabapentin] or
                                                              AMI [amitryptiline]."
                                                                                                                                                                                               Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 90 of 195




NA = Not Applicable                                                             Neuropathic Pain - Table 6                                                             Sunday, August 10, 2008
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Study Publica- Random Random Method of                  Method of                 Conceal-     Conceal-     Method of          Double-    Double- Blinding:         Blinding:
number tion code allocation allocation allocation       allocation                ment of      ment of      allocation         blind      blind    Notes            Notes (Report)
                 (Protocol) (Report) (Protocol)         (Report)                  allocation   allocation   concealment        (Protocol) (Report) (Protocol)
                                                                                  (Protocol)    (Report)    (Report)

Unavailable Draft Gorson               Not mentioned.   "Patients were                                      "Placebo                               No description   "The initial low
-Gorson     to Magistro                                 randomly assigned                                   capsules                               on who was       dosage of
            1997                                        using a random                                      appeared                               blinded.         gabapentin was
                                                        numbers table to                                    identical to the                                        chosen to
                                                        gabapentin (300 mg                                  active drug and                                         minimize adverse
                                                        capsules initially) or                              allocation                                              effects,
                                                        placebo for six weeks                               concealment was                                         particularly
                                                        (Phase I) followed by a                             maintained                                              sedation, that
                                                        three week washout                                  throughout the                                          might
                                                        period and then                                     trial."                                                 compromise
                                                        crossover (Phase II)."                                                                                      blinding."

                                                                                                                                                                    "Clinical
                                                                                                                                                                    evaluators and
                                                                                                                                                                    patients were
                                                                                                                                                                    blinded to the
                                                                                                                                                                    order of treatment
                                                                                                                                                                    assignment."

Unavailable Draft                      Not mentioned.   "Patients were                                      "Placebo                               No description   "The initial low
-Gorson     Magistro                                    randomly assigned                                   capsules                               on who was       dosage of
            Internal 1998                               using a random                                      appeared                               blinded.         gabapentin was
                                                        numbers table to                                    identical to the                                        chosen to
                                                        gabapentin (300 mg                                  active drug and                                         minimize adverse
                                                        capsules initially) or                              allocation                                              effects,
                                                        placebo for six weeks                               concealment was                                         particularly
                                                        (Phase I) followed by a                             maintained                                              sedation, that
                                                        three week washout                                  throughout the                                          might
                                                        period and then                                     trial."                                                 compromise
                                                        crossover (Phase II)."                                                                                      blinding."

                                                                                                                                                                    "Clinical
                                                                                                                                                                    evaluators and
                                                                                                                                                                    patients were
                                                                                                                                                                    blinded to the
                                                                                                                                                                    order of treatment
                                                                                                                                                                    assignment."
                                                                                                                                                                                    Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 91 of 195




NA = Not Applicable                                                      Neuropathic Pain - Table 6                                                         Sunday, August 10, 2008
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Study Publica- Random Random Method of                  Method of                  Conceal-     Conceal-     Method of             Double-    Double- Blinding:         Blinding:
number tion code allocation allocation allocation       allocation                 ment of      ment of      allocation            blind      blind    Notes            Notes (Report)
                 (Protocol) (Report) (Protocol)         (Report)                   allocation   allocation   concealment           (Protocol) (Report) (Protocol)
                                                                                   (Protocol)    (Report)    (Report)

Unavailable Gorson 1998                Not mentioned.   Not mentioned.                                       No description of                         No description   No description on
-Gorson                                                 "Patients were                                       any attempt to                            on who was       who was blinded.
                                                        randomly assigned to                                 conceal allocation.                       blinded.
                                                        gabapentin (900
                                                        mg/day) or placebo for
                                                        6 weeks (Phase I),
                                                        followed by a 3 week
                                                        washout period and
                                                        then crossover (Phase
                                                        II)."

Unavailable Gorson 1999                Not mentioned.   Not mentioned.                                       No description of                         No description   No description on
-Gorson                                                                                                      any attempt to                            on who was       who was blinded.
                                                        "Nineteen patients                                   conceal allocation.                       blinded.
                                                        were randomised to
                                                        the active drug and 21
                                                        to placebo during the
                                                        first treatment period."
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NA = Not Applicable                                                       Neuropathic Pain - Table 6                                                            Sunday, August 10, 2008
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                                                      Neuropathic Pain
                                 Table 7 - Primary Outcome and Number of Patients Assessed
 Study Publication                Primary outcome                     Primary outcome                   Number             Number          Number       Definitions for study population for
number    code                        (protocol)                          (Report)                    randomized         analyzed per    analyzed per             analysis (Report)
                                                                                                       per group       group - Primary    group for
                                                                                                        (Report)       outcome (Report) safety (Report)

945-210     945-210.RR       "The primary efficacy parameter     "The primary efficacy parameter     84 Gabapentin /   82 Gabapentin / 80   84 Gabapentin /   Efficacy evaluable population:
                             will be the weekly mean pain        was pain, as measured by the        81 Placebo        Placebo.             81 Placebo.       "The evaluable population for efficacy
                             score from the daily pain diary."   patient in a daily diary on a 11-                                                            evaluation, as defined by the protocol,
                                                                 point Likert scale. Each morning                                                             comprised all patients with at least 7 days of
                             "The mean will be computed for      on arising, the patient evaluated                                                            double-blind treatment and at least 4 days of
                             the screening phase (the 7 days     his/her pain for the previous 24                                                             daily pain diary during both the 1-week
                             preceding Visit 2) and for each     hours by circling the number on                                                              screening phase and the double-blind
                             week during the double-blind        the scale that best descr bed                                                                treatment phase."
                             treatment phase. The final          his/her pain."
                             weekly mean pain score will be                                                                                                   Intent-to-treat population:
                             defined as the mean pain score      "To evaluate reduction in pain,                                                              "The intent-to-treat (ITT) population was
                             from the 7 days preceding           the baseline pain score was                                                                  defined as all patients randomized to treatment
                             Week 8, or the last 7 days on       compared with the score from                                                                 who received at least 1 dose of study
                             study medication for patients       the end of treatment (endpoint).                                                             medication."
                             who do not complete the study."     The baseline score was
                                                                 obtained from the last 7                                                                     "However, since blinded review of the data
                                                                 available scores during the                                                                  indicated that the evaluable and ITT
                                                                 screening phase, including the                                                               populations differed by only 2 patients, the
                                                                 day study medication was first                                                               analyses were conducted on data from the ITT
                                                                 taken."                                                                                      population only. See Appendix D.1, IAP
                                                                                                                                                              [Inferential Analysis Plan], and amendment, for
                                                                 "The endpoint score was                                                                      additional information."
                                                                 obtained from the last 7
                                                                 available scores while on study                                                              Safety analysis population:
                                                                 medication, up to and including                                                              "All patients who were randomized to treatment
                                                                 the day after the last dose, ie,                                                             and received study medication were evaluated
                                                                 the last observation carried                                                                 for safety."
                                                                 forward (LOCF) for patients who
                                                                 did not complete the study."                                                                 "Day 0 was defined as the first day of treatment
                                                                                                                                                              with study medication. Days prior to this were
                                                                                                                                                              assigned consecutive negative numbers
                                                                                                                                                              starting with -1 (Day -1 = day before the
                                                                                                                                                              administration of study medication)."

                                                                                                                                                              "Screening was defined as the period before
                                                                                                                                                              study medication was taken including Day 0
                                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 93 of 195




NA = Not Applicable                                                                      Neuropathic Pain - Table 7                                                     Sunday, August 10, 2008
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 Study Publication               Primary outcome                    Primary outcome                  Number             Number          Number       Definitions for study population for
number    code                       (protocol)                         (Report)                   randomized         analyzed per    analyzed per             analysis (Report)
                                                                                                    per group       group - Primary    group for
                                                                                                     (Report)       outcome (Report) safety (Report)

                                                                                                                                                           before study medication was taken when final
                                                                                                                                                           baseline values for efficacy parameters were
                                                                                                                                                           obtained."

                                                                                                                                                           "Double-blind was defined as Day 0 through
                                                                                                                                                           the last day double-blind medication was
                                                                                                                                                           taken."

945-210     Backonja 1997 "The primary efficacy parameter      "The primary efficacy              84 Gabapentin /   Not mentioned.       Not mentioned.    Not mentioned.
                          will be the weekly mean pain         measurement was pain,              81 Placebo.
                          score from the daily pain diary."    recorded by the patient in a
                                                               daily pain diary on a 11-point
                             "The mean will be computed for    Likert scale (0 = no pain, 10 =
                             the screening phase (the 7 days   worst possible pain)."
                             preceding Visit 2) and for each
                             week during the double-blind
                             treatment phase. The final
                             weekly mean pain score will be
                             defined as the mean pain score
                             from the 7 days preceding
                             Week 8, or the last 7 days on
                             study medication for patients
                             who do not complete the study."

945-210     Backonja 1998 "The primary efficacy parameter      "The primary efficacy parameter    84 Gabapentin /   82 Gabapentin / 80   84 Gabapentin /   Intent-to-treat population:
                          will be the weekly mean pain         was a pain severity rating,        81 Placebo.       Placebo.             81 Placebo.       "All analyses were conducted using the intent-
                          score from the daily pain diary."    recorded by patients in daily                                                               to-treat population, defined as all randomized
                                                               diaries using an 11-point L kert                                                            patients who received at least 1 dose of study
                             "The mean will be computed for    scale (0, no pain; 10, worst                                                                medication. Patients with no data recorded for
                             the screening phase (the 7 days   possible pain)."                                                                            a particular parameter were automatically
                             preceding Visit 2) and for each                                                                                               excluded from the analyses of that parameter."
                             week during the double-blind
                             treatment phase. The final
                             weekly mean pain score will be
                             defined as the mean pain score
                             from the 7 days preceding
                             Week 8, or the last 7 days on
                             study medication for patients
                             who do not complete the study."
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NA = Not Applicable                                                                    Neuropathic Pain - Table 7                                                    Sunday, August 10, 2008
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 Study Publication                Primary outcome                     Primary outcome                   Number               Number          Number       Definitions for study population for
number    code                        (protocol)                          (Report)                    randomized           analyzed per    analyzed per             analysis (Report)
                                                                                                       per group         group - Primary    group for
                                                                                                        (Report)         outcome (Report) safety (Report)

945-224     945-224. RR      "The primary efficacy parameter     "The primary efficacy criterion     [per Table 4]: 82   [per Table 9]: 82 each   [per Table 31]: 82   Intent-to-treat population:
                             will be the weekly mean pain        was the weekly mean pain            each in gabapetin   in gabapentin 600 mg     each in gabapetin    "The primary and secondary efficacy criteria
                             score from the daily pain diary."   score from the patient's daily      600 mg and          and gabapentin 1200      600 mg and           and quality of life for the double-blind phase
                                                                 diary during the double-blind       gabapentin 1200     mg groups; 83 in         gabapentin 1200      were analyzed on the intent-to-treat (ITT)
                             "The mean will be computed for      treatment period."                  mg groups; 84 in    gabapentin 2400 mg       mg groups; 84 in     population. The ITT population was defined as
                             the baseline phase (the last 7      "Pain was measured on an 11-        gabapentin 2400     group and 77 in          gabapentin 2400      all patients randomized who received at least 1
                             pain diary entries preceding        point Likert scale ranging from 0   mg group; and 77    placebo group.           mg group; and 77     dose of study medication in the double-blind
                             Visit 2) and for each week          (no pain) to 10 (worst possible     in placebo group.                            in placebo group.    phase. Patients who had neither observations
                             during the double-blind             pain)."                                                                                               for the primary efficacy parameter at baseline
                             treatment phase. The final                                                                                                                nor during the study were to be excluded from
                             weekly mean pain score (end         "To evaluate reduction in pain                                                                        the ITT population."
                             point) is defined as the mean       during the double-blind
                             pain score from the last 7 days     treatment phase, the pain score                                                                       Safety population:
                             preceding visit 5 or the last 7     from the screening period was                                                                         "The safety analysis of the double-blind phase
                             days on study medication for        compared with the score from                                                                          was based on the safety (S) population. The
                             patients who do not complete        the end of double-blind                                                                               safety population was defined as all patients
                             the study."                         treatment (endpoint). The                                                                             who received at least 1 dose of study
                                                                 screening score was obtained                                                                          medication in the double-blind phase."
                                                                 from the last 7 available scores
                                                                 before taking study medication,                                                                       Open-label study:
                                                                 including the day study                                                                               "For the open-label phase, 2 populations were
                                                                 medication was first taken. The                                                                       defined. The open-label total (OL) population
                                                                 endpoint score was obtained                                                                           was defined as all patients who entered the
                                                                 from the last 7 available scores                                                                      open-label phase and who received at least 1
                                                                 while on double-blind study                                                                           dose of study medication in the open-label
                                                                 medication, up to and including                                                                       phase. The open-label per protocol (OLPP)
                                                                 the day after the last dose."                                                                         population included all patients who entered
                                                                                                                                                                       the fixed dose period of the open-label phase."

                                                                                                                                                                       "The efficacy criteria and quality of life for the
                                                                                                                                                                       open-label phase were analyzed on the open-
                                                                                                                                                                       label per protocol (OLPP) population. The
                                                                                                                                                                       safety analysis of the open-label phase was
                                                                                                                                                                       based on the open-label total population."
                                                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 95 of 195




NA = Not Applicable                                                                      Neuropathic Pain - Table 7                                                               Sunday, August 10, 2008
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 Study Publication                Primary outcome                   Primary outcome                  Number               Number          Number       Definitions for study population for
number    code                        (protocol)                        (Report)                   randomized           analyzed per    analyzed per             analysis (Report)
                                                                                                    per group         group - Primary    group for
                                                                                                     (Report)         outcome (Report) safety (Report)

945-224     945-          "The primary efficacy parameter      "The primary efficacy criterion    "Of 432 screened    "Only 1 randomised         [per Table 5]: 82    Intent-to-treat population:
            224.Reckless. will be the weekly mean pain         was the weekly mean pain           patients, 325       patient was excluded       each in gabapentin   "All efficacy analyses were performed on the
            Diabetic      score from the daily pain diary."    score from the patient's daily     were randomised     from the intent-to-treat   600 mg/day and       intent-to-treat population (patients who were
            Medicine                                           diary. Pain was measured on an     and received        analysis (no value for     1200 mg/day          randomised, had received at least 1 dose of
                          "The mean will be computed for       11-point Likert scale ranging      study medication:   the primary efficacy       groups, 84 in        study medication, and had undergone at least 1
                          the baseline phase (the last 7       from 0 (no pain) to 10 (worst      gabapentin 600      outcome)."                 gabapentin 2400      observation for the primary outcome)."
                          pain diary entries preceding         possible pain)."                   mg/day (n = 82),                               mg/day group and
                          Visit 2) and for each week           "The primary endpoint was          1200 mg/day (n =    [per Table 3]: 82 each     77 in placebo        Safety population:
                          during the double-blind              defined as the mean of the last    82), or 2400        in gabapentin 600          group.               "The safety analysis was based on all patients
                          treatment phase. The final           7 available pain scores while on   mg/day (n = 84),    mg/day and 1200                                 who received at least 1 dose of study
                          weekly mean pain score (end          study medication."                 or placebo (n =     mg/day groups, 83 in                            medication."
                          point) is defined as the mean        "All efficacy analyses were        77)."               gabapentin 2400
                          pain score from the last 7 days      performed on the intent-to-treat                       mg/day group, and 77
                          preceding visit 5 or the last 7      population (patients who were                          in placebo group.
                          days on study medication for         randomised, had received at
                          patients who do not complete         least 1 dose of study
                          the study."                          medication, and had undergone
                                                               at least 1 observation for the
                                                               primary outcome)."

945-224     945-          "The primary efficacy parameter      "The primary efficacy criterion    "Of 432 screened    "Only 1 randomised         [per Table 5]: 82    Intent-to-treat population:
            224.Reckless. will be the weekly mean pain         was the weekly mean pain           patients, 325       patient was excluded       each in gabapentin   "All efficacy analyses were performed on the
            Diabetologia  score from the daily pain diary."    score from the patient's daily     were randomised     from the intent-to-treat   600 mg/day and       intent-to-treat population (patients who were
                                                               diary. Pain was measured on an     and received        analysis (no value for     1200 mg/day          randomised, had received at least 1 dose of
                             "The mean will be computed for    11-point Likert scale ranging      study medication:   the primary efficacy       groups, 84 in        study medication, and had undergone at least 1
                             the baseline phase (the last 7    from 0 (no pain) to 10 (worst      gabapentin 600      outcome)."                 gabapentin 2400      observation for the primary outcome)."
                             pain diary entries preceding      possible pain)."                   mg/day (n = 82),                               mg/day group and
                             Visit 2) and for each week        "The primary endpoint was          1200 mg/day (n =    [per Table 3]: 82 each     77 in placebo        Safety population:
                             during the double-blind           defined as the mean of the last    82), or 2400        in gabapentin 600          group.               "The safety analysis was based on all patients
                             treatment phase. The final        7 available pain scores while on   mg/day (n = 84),    mg/day and 1200                                 who received at least 1 dose of study
                             weekly mean pain score (end       study medication."                 or placebo (n =     mg/day groups, 83 in                            medication."
                             point) is defined as the mean     "All efficacy analyses were        77)."               gabapentin 2400
                             pain score from the last 7 days   performed on the intent-to-treat                       mg/day group, and 77
                             preceding visit 5 or the last 7   population (patients who were                          in placebo group.
                             days on study medication for      randomised, had received at
                             patients who do not complete      least 1 dose of study
                             the study."                       medication, and had undergone
                                                               at least 1 observation for the
                                                               primary outcome)."
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NA = Not Applicable                                                                    Neuropathic Pain - Table 7                                                               Sunday, August 10, 2008
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number    code                        (protocol)                          (Report)                     randomized         analyzed per    analyzed per             analysis (Report)
                                                                                                        per group       group - Primary    group for
                                                                                                         (Report)       outcome (Report) safety (Report)

945-224     Backonja     "The primary efficacy parameter         "The primary efficacy in all         Not mentioned.    ITT: 247 Gabapentin /   Not mentioned.   Not mentioned.
            2002.EFNS.Ab will be the weekly mean pain            studies was the daily pain score                       77 Placebo
            s.945-224    score from the daily pain diary."       from patient-maintained pain
                                                                 diaries. Patients rated pain daily
                             "The mean will be computed for      using an 11-point Likert numeric
                             the baseline phase (the last 7      scale ranging from 0 (no pain)
                             pain diary entries preceding        to 10 (worst poss ble pain)."
                             Visit 2) and for each week
                             during the double-blind
                             treatment phase. The final
                             weekly mean pain score (end
                             point) is defined as the mean
                             pain score from the last 7 days
                             preceding visit 5 or the last 7
                             days on study medication for
                             patients who do not complete
                             the study."

945-224     Backonja         "The primary efficacy parameter     "The primary efficacy end point      Did not mention   Not mentioned.          Not mentioned.   Not mentioned.
            2003 Review      will be the weekly mean pain        was change in weekly mean            numbers
            of 945-224       score from the daily pain diary."   pain score, measured on the 11-      randomized per
                                                                 point Likert scale."                 group.
                             "The mean will be computed for                                           "325"
                             the baseline phase (the last 7
                             pain diary entries preceding
                             Visit 2) and for each week
                             during the double-blind
                             treatment phase. The final
                             weekly mean pain score (end
                             point) is defined as the mean
                             pain score from the last 7 days
                             preceding visit 5 or the last 7
                             days on study medication for
                             patients who do not complete
                             the study."
                                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 97 of 195




NA = Not Applicable                                                                       Neuropathic Pain - Table 7                                                      Sunday, August 10, 2008
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 Study Publication                Primary outcome                    Primary outcome                   Number              Number          Number       Definitions for study population for
number    code                        (protocol)                         (Report)                    randomized          analyzed per    analyzed per             analysis (Report)
                                                                                                      per group        group - Primary    group for
                                                                                                       (Report)        outcome (Report) safety (Report)

945-271     945-271. RR      "The primary efficacy variable     "In this study the Mean Pain        61 Gabapentin-     Intention-to-treat    61 Gabapentin-     "The analyses were performed both according
                             will be the mean pain intensity    Intensity Score was the primary     Placebo arm / 59   population:           Placebo arm / 59   to the intention-to-treat (ITT) principle and per
                             score (VAS) during the last        efficacy variable."                 Placebo-           48 Gabapentin-        Placebo-           protocol (PP)."
                             week of each treatment period."                                        Gabapentin arm.    Placebo arm / 50      Gabapentin arm.
                                                                "The Mean Pain Intensity Score                         Placebo-Gabapentin.                      "A planned bona-fide non-parametric analysis
                             "Mean pain intensity score from    was calculated based on the                                                                     of the primary efficacy variable was not
                             14 measurements during the         last 14 pain assessments during                        Per Protocol                             performed."
                             last week of the fixed dose        each of the following periods;                         population:
                             period, using a twice-daily pain   Run-in, Treatment 1, Washout,                          43 Gabapentin-                           Intention-to-treat population:
                             diary (VAS), adjusted for the      and Treatment 2. For each of                           Placebo arm / 42                         "The ITT-population consists of all randomized
                             corresponding mean during the      these periods, at least 10 out of                      Gabapentin-Placebo                       patients completing both treatment periods,
                             last week of baseline before the   the requested 14 registrations                         arm.                                     n=98 (Gaba=Pl/48, Pl-Gaba/50)."
                             start of titration."               were required for the primary
                                                                outcome."                                                                                       Per-protocol population:
                             "The patient will use an           [In italics]: "Note: this was                                                                   "The PP-population consists of all patients in
                             electronic diary (Clinitrac®) to   changed to 9 out of 14                                                                          the ITT-population with no major protocol
                             enter his/her score on the         registrations before the                                                                        deviation; 43 patients in the Gaba-Pl arm, and
                             present intensity of pain on a     analyses of the data."                                                                          42 in the Pl-Gaba arm."
                             visual analogue scale of 0- 100.
                             Zero reflects "no pain" and 100                                                                                                    "Allocation of each patient to PP- and/or ITT-
                             "worst possible pain". The                                                                                                         population was done prior to code breaking."
                             patients describe their instant
                             pain twice daily (on awakening                                                                                                     Safety population:
                             and evening)."                                                                                                                     "The safety analysis was based on all patients
                                                                                                                                                                randomized and who had taken at least one
                                                                                                                                                                dose of gabapentin or placebo, 61 patients in
                                                                                                                                                                the Gaba-Pl arm and 59 in the Pl-Gaba arm."
                                                                                                                                                                                                                    Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 98 of 195




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 Study Publication                Primary outcome                    Primary outcome                    Number             Number          Number       Definitions for study population for
number    code                        (protocol)                         (Report)                     randomized         analyzed per    analyzed per             analysis (Report)
                                                                                                       per group       group - Primary    group for
                                                                                                        (Report)       outcome (Report) safety (Report)

945-271     945-             "The primary efficacy variable     "The three variables of primary      17 Gabapentin-    14 Gabapentin-          "No safety           "Contrary to what is stated in the Study
            271.Addndm-      will be the mean pain intensity    interest in the Sub-study were       Placebo / 15      Placebo / 12 Placebo-   evaluation was       Protocol, the analyses were performed on the
            B.RR             score (VAS) during the last        tactile allodynia, cold allodynia,   Placebo-          Gabapentin.             done for this Sub-   ITT-population only."
                             week of each treatment period."    and pin-prick-evoked                 Gabapentin.                               study. Please see
                                                                hyperalgesia."                                                                 Main Report"         "The ITT-population consists of all randomized
                             "Mean pain intensity score from                                                                                                        patients completing both treatment periods and
                             14 measurements during the                                                                                                             with data available for both treatment periods,
                             last week of the fixed dose                                                                                                            n=26 (Gaba-Pl/14, Pl-Gaba/12)."
                             period, using a twice-daily pain
                             diary (VAS), adjusted for the
                             corresponding mean during the
                             last week of baseline before the
                             start of titration."

                             "The patient will use an
                             electronic diary (Clinitrac®) to
                             enter his/her score on the
                             present intensity of pain on a
                             visual analogue scale of 0- 100.
                             Zero reflects "no pain" and 100
                             "worst possible pain". The
                             patients describe their instant
                             pain twice daily (on awakening
                             and evening)."
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NA = Not Applicable                                                                       Neuropathic Pain - Table 7                                                          Sunday, August 10, 2008
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number    code                        (protocol)                          (Report)                   randomized         analyzed per    analyzed per             analysis (Report)
                                                                                                      per group       group - Primary    group for
                                                                                                       (Report)       outcome (Report) safety (Report)

945-271     Gordh 2002       "The primary efficacy variable     NA³                                 NA³               NA³                  NA³
                             will be the mean pain intensity
                             score (VAS) during the last
                             week of each treatment period."

                             "Mean pain intensity score from
                             14 measurements during the
                             last week of the fixed dose
                             period, using a twice-daily pain
                             diary (VAS), adjusted for the
                             corresponding mean during the
                             last week of baseline before the
                             start of titration."

                             "The patient will use an
                             electronic diary (Clinitrac®) to
                             enter his/her score on the
                             present intensity of pain on a
                             visual analogue scale of 0- 100.
                             Zero reflects "no pain" and 100
                             "worst possible pain". The
                             patients describe their instant
                             pain twice daily (on awakening
                             and evening)."

945-276     945-276.RR       Protocol not available.            "Primary efficacy parameter is      80 Gabapentin /   76 Gabapentin / 39   79 Gabapentin /   Intent-to-treat population:
                                                                the mean Pain Rating Scale          41 Placebo        Placebo              41 Placebo        "A primary efficacy analysis has been planned
                                                                Score, "11-point L kert scale" on                                                            in the protocol on valid Intent-to-treat (ITT)
                                                                the last day at the minimal                                                                  population."
                                                                effective dose versus pain on
                                                                the first day."                                                                              "Patients evaluable for the primary efficacy ITT
                                                                                                                                                             analysis must have at least 3 days of
                                                                "A primary efficacy analysis has                                                             evaluation on diary and have taken at least one
                                                                been planned in the protocol on                                                              dose of study drug."
                                                                valid Intent-to-treat (ITT)
                                                                population."                                                                                 Safety population:
                                                                                                                                                             "All patients randomized who took at least one
                                                                                                                                                             dose of study drug have been evaluated for
                                                                                                                                                             safety analysis."
                                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 100 of 195




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 Study Publication               Primary outcome         Primary outcome                   Number             Number          Number       Definitions for study population for
number    code                       (protocol)              (Report)                    randomized         analyzed per    analyzed per             analysis (Report)
                                                                                          per group       group - Primary    group for
                                                                                           (Report)       outcome (Report) safety (Report)

945-276     Caraceni 2004 Protocol not available.   "The aim of the study was to        80 Gabapentin /   ITT analysis: 79         79 Gabapentin /   Intent-to-treat population:
                                                    compare the two groups for          41 Placebo.       Gabapentin / 41          41 Placebo.       "The main analysis was performed on the
                                                    average response to treatment                         Placebo.                                   intent-to-treat ((ITT) population (all patients
                                                    over the whole follow-up period;                                                                 who received at least one study medication),
                                                    therefore, the primary efficacy                       Modified ITT analysis:                     imputing missing longitudinal data with the
                                                    variable was defined as the                           76 Gabapentin / 39                         average of the observed data." [Omitted
                                                    average follow-up pain score."                        Placebo.                                   citation to reference in original text].

                                                    "The main analysis was                                                                           "All of the remaining analyses were conducted
                                                    performed on the intent-to-treat                                                                 on a modified ITT set of data, defined as all
                                                    (ITT) population (all patients                                                                   patients who received at least one study
                                                    who received at least one study                                                                  medication and compiled at least 3 days of the
                                                    medication), imputing missing                                                                    diary. The choice was made to have the
                                                    longitudinal data with the                                                                       minimum treatment duration be 3 days,
                                                    average of observed data."                                                                       allowing for an eventual maximum gabapentin
                                                    [Omitted citation to reference in                                                                dose of 1,800 mg per day."
                                                    original text].
                                                                                                                                                     Modified intent-to-treat:
                                                                                                                                                     "The modifed ITT analysis of efficacy was
                                                                                                                                                     performed on 115 patients because five
                                                                                                                                                     patients (two in the placebo group and three in
                                                                                                                                                     the gabapentin group) had less than 3 days of
                                                                                                                                                     follow-up."

                                                                                                                                                     Safety population:
                                                                                                                                                     "Safety data analysis was performed on the ITT
                                                                                                                                                     population, and frequency distr butions were
                                                                                                                                                     used to present the results."
                                                                                                                                                                                                       Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 101 of 195




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 Study Publication                Primary outcome                     Primary outcome                   Number              Number          Number       Definitions for study population for
number    code                        (protocol)                          (Report)                    randomized          analyzed per    analyzed per             analysis (Report)
                                                                                                       per group        group - Primary    group for
                                                                                                        (Report)        outcome (Report) safety (Report)

945-306     945-306.RR       "The primary efficacy parameter     "The primary efficacy parameter     154 Gabapentin /   [153 Gabapentin / 152   [153 Gabapentin /    Intent-to-treat population:
                             will be the change in mean          was the mean weekly pain            153 Placebo [per   Placebo]                152 Placebo]         "The study was analysed on an intention to
                             weekly pain score from baseline     score from the daily pain diary."   Figure 2]          "A total of 351         "All 305 patients    treat basis. The only exclusions from the
                             taken from the daily pain diary."                                                          patients were           who were             efficacy and safety populations were two
                                                                 "The daily pain diary consists of                      screened, of which      randomised into      patients who were randomised, but did not take
                             "The daily pain diary consists of   an 11-point Likert scale with 0                        307 were randomised     the study and took   any medication."
                             an 11-point L kert scale with 0     as "no pain" and 10 as "worst                          and 305 went on to      at least one dose
                             as "no pain" and 10 as "worst       possible pain"."                                       receive active          of study drug are    "All patients randomised to study treatment and
                             possible pain"."                    "Self-assessment was                                   treatment: 153          included in the      who took at least one dose of study medication
                                                                 performed daily on waking."                            patients were treated   safety evaluable     were used in the analysis of the study."
                             "Self-assessment is performed                                                              with gabapentin, and    population."
                             daily on waking."                   "The final weekly mean pain                            152 with placebo."                           "Data exclusions included diary assessments
                                                                 score (end point) was defined                          "The study was                               made after the cessation of study medication,
                             "The final weekly mean pain         as the mean pain score from                            analysed on an                               and baseline SF-36 questionnaires completed
                             score (end point) is defined as     the last 7 days preceding Visit 5                      intention to treat                           after the start of treatment. Patients with
                             the mean pain score from the        or the last 7 days on study                            basis. The only                              baseline diary scores of <2 for a symptom were
                             last 7 days preceding Visit 5 or    medication for patients who did                        exclusions from the                          excluded from analysis of that symptom."
                             the last 7 days on study            not complete the study."                               efficacy and safety
                             medication for patients who do                                                             populations were two                         Safety population:
                             not complete the study."            [Also reported]:                                       patients who were                            "All 305 patients who were randomised into the
                                                                 "Analysis of the pain diary from                       randomised, but did                          study and took at least one dose of study drug
                             "The population analysed will be    individual weeks showed that                           not take any                                 are included in the safety evaluable population."
                             all patients randomised to          this difference was detectable at                      medication."
                             treatment who received at least     week 1 and from weeks 3 to 6,
                             1 dose of study medication, and     but an improvement in the
                             have post randomisation data."      placebo group during the last
                                                                 two weeks of study led to the
                                                                 difference not reaching
                                                                 statistical significance in weeks
                                                                 7 and 8."

                                                                 "Hence a decision was made to
                                                                 perform a rank based analysis
                                                                 of the data using the same
                                                                 model as specified above.
                                                                 Comparisons were made
                                                                 comparing the gabapentin group
                                                                 with placebo."
                                                                                                                                                                                                                       Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 102 of 195




NA = Not Applicable                                                                       Neuropathic Pain - Table 7                                                           Sunday, August 10, 2008
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 Study Publication                Primary outcome                     Primary outcome                   Number               Number          Number       Definitions for study population for
number    code                        (protocol)                          (Report)                    randomized           analyzed per    analyzed per             analysis (Report)
                                                                                                       per group         group - Primary    group for
                                                                                                        (Report)         outcome (Report) safety (Report)

945-306     Serpell 2002     "The primary efficacy parameter     "The primary efficacy parameter     153 Gabapentin /    Not mentioned.         153 Gabapentin /   "Patients were regarded as evaluable in the
                             will be the change in mean          was the change in mean weekly       152 Placebo. [per                          152 Placebo [per   statistical analysis if, once randomised, they
                             weekly pain score from baseline     pain diary score from baseline      Fig. 2.]           "Patients were          Table 3]           took at least one dose of study medication, and
                             taken from the daily pain diary."   to the final study week."                              regarded as evaluable                      had both baseline and post-randomisation data
                                                                                                     "Of 351 patients   in the statistical                         available."
                             "The daily pain diary consists of   "On waking each morning,            screened, 307      analysis if, once
                             an 11-point L kert scale with 0     patients assessed the pain of       were randomised." randomised, they took                       "Additionally, patients with baseline diary
                             as "no pain" and 10 as "worst       the previous 24h, using an 11-                         at least one dose of                       scores <2 for any symptom were excluded from
                             possible pain"."                    point Likert scale with 0 as 'no    "Two patients with study medication, and                      analysis of that symptom."
                                                                 pain' and 10 as 'worst poss ble     drew after         had both baseline and
                             "Self-assessment is performed       pain'."                             randomisation,     post-randomisation
                             daily on waking."                                                       but prior to       data available."
                                                                 "The final weekly mean pain         receiving
                             "The final weekly mean pain         score (end point) was the mean      treatment." [per   "Two randomised
                             score (end point) is defined as     pain score from the last 7 days     legend             patients withdrew
                             the mean pain score from the        preceding visit 5, or the final 7   accompanying       before receiving any
                             last 7 days preceding Visit 5 or    days on study medication for        Figure 2.]         medication and 305
                             the last 7 days on study            patients who did not complete                          patients received
                             medication for patients who do      the study."                                            active treatment (153
                             not complete the study."                                                                   with gabapentin and
                                                                                                                        152 with placebo)."
                             "The population analysed will be    "The primary analysis was
                             all patients randomised to          based on a rank-based
                             treatment who received at least     ANCOVA, since the planned
                             1 dose of study medication, and     analysis using raw data did not
                             have post randomisation data."      satisfy the required statistical
                                                                 assumptions and this situation
                                                                 could not be resolved by
                                                                 transformation."
                                                                                                                                                                                                                     Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 103 of 195




NA = Not Applicable                                                                       Neuropathic Pain - Table 7                                                         Sunday, August 10, 2008
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 Study Publication                Primary outcome                    Primary outcome                  Number              Number          Number       Definitions for study population for
number    code                        (protocol)                         (Report)                   randomized          analyzed per    analyzed per             analysis (Report)
                                                                                                     per group        group - Primary    group for
                                                                                                      (Report)        outcome (Report) safety (Report)

945-306     Serpell          "The primary efficacy parameter     "The primary efficacy parameter   153 Gabapentin /   153 Gabapentin / 152 153 Gabapentin /      Not mentioned.
            2002.Conf.       will be the change in mean          was the change in mean            152 Placebo.       Placebo. [per Figure 1] 152 Placebo [per
            Abs              weekly pain score from baseline     endpoint (or final) weekly pain                                              Table 2]
                             taken from the daily pain diary."   diary score from baseline. Pain   "Of the total of
                                                                 was assessed on an 11-point       351 patients
                             "The daily pain diary consists of   Likert scale (0 = "no pain" and   screened, 307
                             an 11-point L kert scale with 0     10 = "worst possible pain")."     were randomised.
                             as "no pain" and 10 as "worst                                         Of these, 153
                             possible pain"."                                                      received GBP
                                                                                                   [gabapentin] and
                             "Self-assessment is performed                                         152 received
                             daily on waking."                                                     PBO [placebo]."

                             "The final weekly mean pain
                             score (end point) is defined as
                             the mean pain score from the
                             last 7 days preceding Visit 5 or
                             the last 7 days on study
                             medication for patients who do
                             not complete the study."

                             "The population analysed will be
                             all patients randomised to
                             treatment who received at least
                             1 dose of study medication, and
                             have post randomisation data."
                                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 104 of 195




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 Study Publication                Primary outcome                     Primary outcome                 Number             Number          Number       Definitions for study population for
number    code                        (protocol)                          (Report)                  randomized         analyzed per    analyzed per             analysis (Report)
                                                                                                     per group       group - Primary    group for
                                                                                                      (Report)       outcome (Report) safety (Report)

945-411     945-411.RR       "The primary efficacy parameter     "The primary analysis will        169 Gabapentin    ITT population: 169      169 Gabapentin    Intent-to-treat population:
                             will be the % reduction in weekly   compare the percent reduction     Titration / 170   Gabapentin Titration /   Titration / 170   "The intent-to-treat (ITT) population was
                             mean pain score (Likert Scale)      in final weekly mean pain score   Fixed dose        170 Fixed dose           Fixed dose        defined as population of patients that received
                             from the daily pain diary."         from baseline between the         gabapentin.       gabapentin.              gabapentin.       at least one dose of study medication and have
                                                                 treatment groups of the studied                                                                baseline data."
                             "To establish the baseline          population. The model for                           Evaluable population:
                             score, the mean Likert Pain         analysis will be Analysis of                        166 Gabapentin                             Evaluable population:
                             Score for each patient during       Variance (ANOVA), for mean                          Titration / 162 Fixed                      "Evaluable population (primary population), was
                             the Screening Week will be          percent reduction in pain                           dose gabapentin.                           defined as patients of ITT population which
                             computed (the last 7 pain diary     comparing between the study                                                                    fulifll the additional criteria:
                             entries preceding Visit 2). In      groups."
                             addition, the weekly mean pain                                                                                                     a. Patients whose status is completed,
                             score will be computed for each     "The primary efficacy paramter                                                                 withdrawn due to Lack of efficacy, or adverse
                             week during the treatment           was the percent reduction in                                                                   event. Patients who are withdrawn for other
                             phase. The final weekly mean        weekly mean pain score (L kert                                                                 reasons will not be included.
                             pain score (end point) will then    scale), and was calculated from                                                                b. Patients with mention of lack of compliance
                             be established, and is defined      the daily pain diary for each                                                                  will not be included.
                             as the mean pain score from         patient as follows:"                                                                           c. Patients with mention of "Protocol Violators"
                             the last 7 completed daily pain     [The formula: percent                                                                          as determined by Pfizer Study Group will not
                             diaries preceding (Visit 5). For    reduction={(T - B)/B * 100},                                                                   be included.
                             patients who do not complete        where T = endpoint mean score                                                                  d. Patients who are incorrectly randomized will
                             the study, the end point will be    and B = baseline mean pain                                                                     not be included."
                             the last 7 completed daily pain     score.]
                             diaries."                                                                                                                          Safety population:
                                                                                                                                                                "The safety population was also defined in the
                             "The population analyzed will be                                                                                                   statistical analysis plan as all patients that
                             intent-to-treat (ITT): this                                                                                                        receive at least one dose of drug study."
                             includes all patients who
                             received at least 1 dose of study
                             medication."
                                                                                                                                                                                                                   Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 105 of 195




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 Study Publication                Primary outcome                     Primary outcome                 Number               Number          Number       Definitions for study population for
number    code                        (protocol)                          (Report)                  randomized           analyzed per    analyzed per             analysis (Report)
                                                                                                     per group         group - Primary    group for
                                                                                                      (Report)         outcome (Report) safety (Report)

945-411     Gomez-Perez "The primary efficacy parameter          "Primary efficacy measure:        169 Titration-to-   Not mentioned.    169 Titration-to-   Intent-to-treat population:
            2002.Conf.  will be the % reduction in weekly        Percent reduction from baseline   clinical-effect                       clinical-effect     "Efficacy analyses (except responder rate)
            Abs         mean pain score (Likert Scale)           in final weekly mean pain score   gabapentin / 170                      gabapentin / 170    were conducted on an intent-to-treat (ITT)
                        from the daily pain diary."              (Likert scale)."                  Fixed-dose                            Fixed-dose          population, consisting of all randomized
                                                                                                   gabapentin                            gabepentin. [per    patients who received at least one dose of
                             "To establish the baseline                                                                                  Table 3]            study medication and for whom baseline data
                             score, the mean Likert Pain                                                                                                     were available."
                             Score for each patient during
                             the Screening Week will be                                                                                                      Evaluable population:
                             computed (the last 7 pain diary                                                                                                 "Responder rate was analyzed based on an
                             entries preceding Visit 2). In                                                                                                  "evaluable" population; this population included
                             addition, the weekly mean pain                                                                                                  those patients in the ITT cohort who had
                             score will be computed for each                                                                                                 sufficient baseline data, received !4 weeks of
                             week during the treatment                                                                                                       treatment with study medication, and had pain
                             phase. The final weekly mean                                                                                                    diary data. Protocol violators and patients who
                             pain score (end point) will then                                                                                                dropped out of the study due to lack of
                             be established, and is defined                                                                                                  compliance, randomization errors, or for
                             as the mean pain score from                                                                                                     reasons other than lack of efficacy or AEs were
                             the last 7 completed daily pain                                                                                                 not included in the evaluable population. By
                             diaries preceding (Visit 5). For                                                                                                definition, calculation of responder rate
                             patients who do not complete                                                                                                    required both baseline and treatment values."
                             the study, the end point will be
                             the last 7 completed daily pain
                             diaries."

                             "The population analyzed will be
                             intent-to-treat (ITT): this
                             includes all patients who
                             received at least 1 dose of study
                             medication."
                                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 106 of 195




NA = Not Applicable                                                                     Neuropathic Pain - Table 7                                                     Sunday, August 10, 2008
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 Study Publication                Primary outcome                     Primary outcome                   Number               Number          Number       Definitions for study population for
number    code                        (protocol)                          (Report)                    randomized           analyzed per    analyzed per             analysis (Report)
                                                                                                       per group         group - Primary    group for
                                                                                                        (Report)         outcome (Report) safety (Report)

945-411     Gomez-Perez "The primary efficacy parameter          "The primary efficacy measure       169 Titration-to-   169 Titration-to-       169 Titration-to-   Intent-to-treat population:
            2004        will be the % reduction in weekly        was the per cent reduction in       clinical-effect     clinical-effect         clinical-effect     "Efficacy analyses (except responder rate)
                        mean pain score (Likert Scale)           final weekly mean pain score        gabapentin / 170    gabapentin / 170        gabapentin / 170    were conducted on an ITT population
                        from the daily pain diary."              from baseline, based on an 11-      Fixed-dose          Fixed-dose gabapentin   Fixed-dose          consisting of all randomised subjects who
                                                                 point pain intensity L kert scale   gabapentin                                  gabapentin          received at least one dose of study medication
                             "To establish the baseline          (0 = 'no pain' to 10 = 'worst                                                                       and had baseline data."
                             score, the mean Likert Pain         possible pain')."
                             Score for each patient during                                                                                                           Evaluable population:
                             the Screening Week will be          "Efficacy analyses (except                                                                          "Responder rate was analysed based on an
                             computed (the last 7 pain diary     responder rate) were conducted                                                                      'evaluable' population, which included those
                             entries preceding Visit 2). In      on an ITT population consisting                                                                     subjects in the ITT cohort who had sufficient
                             addition, the weekly mean pain      of all randomised subjects who                                                                      baseline data, received ! 4 weeks of treatment
                             score will be computed for each     received at least one dose of                                                                       with study medication, and had pain diary data."
                             week during the treatment           study medication and had                                                                            "Protocol violators and subjects who dropped
                             phase. The final weekly mean        baseline data."                                                                                     out of the study due to lack of compliance,
                             pain score (end point) will then                                                                                                        randomisation errors, or for reasons other than
                             be established, and is defined                                                                                                          lack of efficacy or AEs were not included in the
                             as the mean pain score from                                                                                                             evaluable population."
                             the last 7 completed daily pain
                             diaries preceding (Visit 5). For                                                                                                        Safety population:
                             patients who do not complete                                                                                                            "The safety population included all subjects
                             the study, the end point will be                                                                                                        who received at least one dose of study
                             the last 7 completed daily pain                                                                                                         medication."
                             diaries."

                             "The population analyzed will be
                             intent-to-treat (ITT): this
                             includes all patients who
                             received at least 1 dose of study
                             medication."
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 Study Publication                Primary outcome                      Primary outcome                    Number              Number          Number       Definitions for study population for
number    code                        (protocol)                           (Report)                     randomized          analyzed per    analyzed per             analysis (Report)
                                                                                                         per group        group - Primary    group for
                                                                                                          (Report)        outcome (Report) safety (Report)

A945-1008   A945-            "The primary efficacy measure        "The primary efficacy measure        200 Gabapentin /   ITT population: 196     200 Gabapentin /   Intent-to-treat population:
            1008.Final       is mean weekly pain score at         was the endpoint weekly mean         189 Placebo.       Gabapentin / 187        189 Placebo.       "The intent-to-treat (ITT) population was
            Study Report     end of study. The mean               pain score based on the pain                            Placebo.                                   defined as all randomized subjects who
                             endpoint pain score will be          scores from the subject's daily                         Evaluable population:                      received at least 1 dose of study medication
                             obtained from the last 7             pain diary."                                            151 Gabapentin / 148                       and had at least 1 post treatment efficacy
                             available scores of the daily                                                                Placebo.                                   measurement. The primary efficacy analysis
                             pain diary while on study            "The weekly mean pain score                                                                        was based on the ITT population."
                             medication, up to and including      was computed for baseline (the
                             the day after the last dose, i.e.,   last 7 available pain diary                                                                        Evaluable population:
                             the last observation carried         entries up to and including Day                                                                    "The Evaluable population (for supplemental
                             forward (LOCF) for patients who      1) and for each visit during the                                                                   efficacy analysis) was defined as ITT subjects
                             did not complete the study."         double-blind treatment phase                                                                       who did not violate the following criteria:
                                                                  and endpoint."                                                                                     - received less than 4 weeks of treatment at
                             "The primary population to be                                                                                                           3600 or 1800 mg/day (beginning at Visit 3 post
                             analyzed will be the intent-to-      "The weekly mean pain score at                                                                     titration);
                             treat population (ITT). This         endpoint was defined as the                                                                        - had a clinically significant adverse event that
                             includes all randomized patients     mean pain score from the last 7                                                                    would have an impact on the pain data;
                             who received at least one dose       available pain diary entries after                                                                 - received a dose of study medication less than
                             of study medication."                Day 1, including the day after                                                                     the average daily target dose of 1800 mg/day;
                                                                  the last day of study medication.                                                                  - did not meet the diagnostic criteria for DPN
                                                                  Entries did not need to be                                                                         per protocol;
                                                                  consecutive. If 7 entries were                                                                     - taking prohibited medications at endpoint."
                                                                  not available, all available
                                                                  entries were used."                                                                                Safety population:
                                                                                                                                                                     "The Safety population (for safety analysis and
                                                                                                                                                                     all data listings) was defined as all randomized
                                                                                                                                                                     subjects who received at least 1 dose of study
                                                                                                                                                                     medication."

                                                                                                                                                                     "The study was randomized with a block size of
                                                                                                                                                                     4; therefore, any centers with fewer than 3
                                                                                                                                                                     subjects that completed the study may not
                                                                                                                                                                     have had all treatment groups represented in
                                                                                                                                                                     the primary analysis. To account for this,
                                                                                                                                                                     centers with 3 or fewer ITT subjects were
                                                                                                                                                                     pooled to form a larger center with 21 ITT
                                                                                                                                                                     subjects (gabapentin = 13 and placebo = 8) to
                                                                                                                                                                     be used for efficacy analysis."
                                                                                                                                                                                                                         Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 108 of 195




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number    code                        (protocol)                        (Report)                     randomized             analyzed per    analyzed per             analysis (Report)
                                                                                                      per group           group - Primary    group for
                                                                                                       (Report)           outcome (Report) safety (Report)

Unavailable Dallocchio       Protocol not available.           "The primary efficacy parameter      13 Gabapentin /       13 Gabapentin / 12         13 Gabapentin /     Not mentioned.
-Dallocchio 2000                                               was the pain score at the last       12 Amitryptiline.     Amitryptiline.             12 Amitryptiline.
                                                               visit."



Unavailable Draft Gorson     Not mentioned as primary          Not mentioned.                       53.                   40.                        Not mentioned.      Not mentioned.
-Gorson     to Magistro      efficacy measure.
            1997                                               "A "composite" VAS score was         "One hundred          "Nineteen patients
                             "Clinical Efficacy Measurements   determined by averaging the          and twenty six        were randomized to
                             As noted in the study             daily VAS scores in the first and    patients were         the active drug and 21
                             procedures above"                 last week of each treatment          screened and 53       to placebo during the
                                                               period."                             fulfilled the entry   first treatment period."
                             [Study procedures section lists                                        criteria and were
                             several parameters with no        "Present Pain Intensity (PPI)        randomized
                             distinction between primary and   was determined using a similar       (Figure. Mean
                             secondary efficacy parameters.]   0-10 scale ("Rate how much           age 64 years,
                                                               pain you have at this moment")       range 42-85
                                                               at the initial and final visits of   years; 40 men
                                                               each treatment period."              and 13 women)."

                                                               "Patients also complated the         "Thirteen dropped
                                                               McGill Pain Questionnaire            out (11 in phase I,
                                                               (MPQ) in which they selected         two in phase II).
                                                               words that best descr bed their      Eight withdrew
                                                               pain from a series of words in       due to adverse
                                                               various categories assigned          effects (four on
                                                               numerical values corresponding       placebo, four on
                                                               to increasing pain intensity."       active drug) and
                                                               [Omitted citation to references      five due to
                                                               in original text].                   noncompliance or
                                                                                                    personal reasons."
                                                               "At the end of each treatment
                                                               period patients provided a
                                                               global assessment of pain relief,
                                                               none, mild, moderate or
                                                               excellent, as compared to the
                                                               baseline level of pain preceding
                                                               the trial."
                                                                                                                                                                                                                  Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 109 of 195




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 Study Publication               Primary outcome                    Primary outcome                   Number                Number          Number       Definitions for study population for
number    code                       (protocol)                         (Report)                    randomized            analyzed per    analyzed per             analysis (Report)
                                                                                                     per group          group - Primary    group for
                                                                                                      (Report)          outcome (Report) safety (Report)

Unavailable Draft Magistro Not mentioned as primary            Not mentioned.                      Not mentioned.       40.                    Not mentioned.   Not mentioned.
-Gorson     Internal 1998 efficacy measure.
                                                               "VAS pain intensity was also        "Nineteen            "Table 2 shows the
                             "Clinical Efficacy Measurements   recorded at the same time each      patients were        patient's
                             As noted in the study             day in a pain diary during each     randomized to the    characteristics and
                             procedures above"                 treatment period."                  active drug and      the features of pain
                                                                                                   21 to placebo        from the 40 patients
                             [Study procedures section lists   "Present Pain Intensity (PPI,       during the first     who completed the
                             several parameters with no        "rate how much pain you have        treatment period."   trial."
                             distinction between primary and   at this moment," using a similar
                             secondary efficacy parameters.]   0-10 scale) and the McGill Pain
                                                               Questionnaire (MPQ), in which
                                                               patients selected words that
                                                               best described their pain from a
                                                               series of words in various
                                                               categories assigned numerical
                                                               values corresponding to
                                                               increasing pain intensity, were
                                                               recorded at the initial and final
                                                               visits of each treatment period."
                                                               [Omitted citation to reference in
                                                               original text].

                                                               "At the end of each treatment
                                                               period patients provided a
                                                               global assessment of pain relief:
                                                               none, mild, moderate, or
                                                               excellent, as compared to the
                                                               level of pain preceding each
                                                               treatment period."

Unavailable Gorson 1998      Not mentioned as primary          Not mentioned.                      40.                  Not mentioned.         Not mentioned.   Not mentioned.
-Gorson                      efficacy measure.

                             "Clinical Efficacy Measurements
                             As noted in the study
                             procedures above"

                             [Study procedures section lists
                             several parameters with no
                             distinction between primary and
                             secondary efficacy parameters.]
                                                                                                                                                                                                         Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 110 of 195




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 Study Publication               Primary outcome                    Primary outcome                    Number                Number          Number       Definitions for study population for
number    code                       (protocol)                         (Report)                     randomized            analyzed per    analyzed per             analysis (Report)
                                                                                                      per group          group - Primary    group for
                                                                                                       (Report)          outcome (Report) safety (Report)

Unavailable Gorson 1999      Not mentioned as primary          Not mentioned.                       Not applicable,      Not mentioned.    Not mentioned.   Not mentioned.
-Gorson                      efficacy measure.                 "At the beginning and end of         crossover trial.
                                                               each treatment period, patients
                             "Clinical Efficacy Measurements   rated their level of pain over the   "Nineteen
                             As noted in the study             preceding 24 hours on a 10 cm        patients were
                             procedures above"                 visual analogue pain scale           randomised to the
                                                               (VAS), ranging from 0 ("no           active drug and
                             [Study procedures section lists   pain") to 10 ("worst pain ever")."   21 to placebo
                             several parameters with no                                             during the first
                             distinction between primary and   "Present pain intensity (PPI,        treatment period."
                             secondary efficacy parameters.]   "rate how much pain you have
                                                               at this moment," using a similar
                                                               0-10 scale) and the McGill pain
                                                               questionnaire (MPQ) were
                                                               recorded at the initial and final
                                                               visits of each treatment period."
                                                               [Omitted citation to reference in
                                                               original text].

                                                               "At the end of each treatment
                                                               period patients provided a
                                                               global assessment of pain relief:
                                                               none, mild, moderate, or
                                                               excellent, as compared with the
                                                               level of pain preceding each
                                                               treatment period. The global
                                                               assessment of pain relief was
                                                               dichotomised (none/mild v
                                                               moderate/excellent) for
                                                               purposes of analysis."
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NA = Not Applicable                                                                     Neuropathic Pain - Table 7                                                   Sunday, August 10, 2008
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                           Table 8 - Comparison of Study Reports by Results and Conclusions
  Study       Publication Results of primary analysis (Report) Adverse events (Results section of Report) Conclusions in abstract & Conclusions Conclusions
 number          code                                                                                     discussion sections (Report) in discussion in abstract
                                                                                                                                         consistent  consistent
                                                                                                                                        with results with results
                                                                                                                                          (Report)     (Report)

945-210      945-210.RR          "The mean of the last 7 available pain scores      "Adverse events experienced by more than 5             Synopsis of report:
                                 while on study medication, up to and               patients in the gabapentin group are listed in Table   "Gabapentin produced rapid and
                                 including the day after the last dose, was         26 by decreasing frequency."                           clinically significant pain relief with
                                 analyzed using ANCOVA. The model                   [Table 26 lists the following adverse events per       relatively minor side effects."
                                 included main effects for treatment and            treatment group (percentages in parentheses)]:
                                 center with the screening mean pain score as       dizziness - gabapentin (23.8%), placebo (4.9%);        Discussion section of report:
                                 covariate."                                        somnolence - gabapentin (22.6%), placebo (6.2%);       "Gabapentin monotherapy proved
                                                                                    headache - gabapentin (10.7%), placebo (3.7%);         effective in decreasing pain
                                 "The primary analysis was performed on the         diarrhea - gabapentin (10.7%), placebo (8.6%);         associated with daibetic peripheral
                                 weekly pain score from the patient pain            confusion - gabapentin (8.3%), placebo (1.2%);         neuropathy."
                                 diaries."                                          nausea - gabapentin (8.3%), placebo (4.9%); "any
                                                                                    event" - gabapentin (83.3%), placebo (66.7%).]         "The magnitude of effect on pain
                                 "As seen in Table 10, gabapentin is                                                                       observed with gabapentin treatment
                                 significantly better than placebo in controlling   "Dizziness and somnolence were the two most            is similar to that reported in trials of
                                 pain associated with diabetic neuropathy (p =      frequent adverse events and were also the adverse      TCAs, and the onset of action is
                                 0.0004)."                                          events with the greatest difference in incidence       more rapid. By the first week (900
                                                                                    between the gabapentin and placebo groups."            mg/day) an improvement was
                                                                                                                                           observed in the mean sleep
                                                                                    "The third most frequent CNS adverse event was         interference scores (Figure 4), and
                                                                                    confusion, which may be of concern in this patient     by the second week (1800 mg/day)
                                                                                    population given the median age of 53 years. Seven     improvements were seen for all
                                                                                    gabapentin-treated patients and one placebo-treated    pain rating scales (Figures 2, 3, 7)."
                                                                                    patient experienced confusion during the study." [No
                                                                                    statistical comparison reported in Appendix E.6 for    "In this study, gabapentin appeared
                                                                                    this adverse event].                                   to be well-tolerated, with 56 of the
                                                                                                                                           84 patients achieving the forced
                                                                                    "Twelve patients, 7 gabapentin-treated and 5           maximum dosage of 3600 mg/day."
                                                                                    placebo-treated, withdrew because of an adverse        "The frequency of dizziness and
                                                                                    event. Most of the adverse events leading to           somnolence may be attributed in
                                                                                    withdrawal were considered associated with study       part to the high dose chosen for the
                                                                                    medication. Adverse events resulting in withdrawal     study. Since efficacy was achieved
                                                                                    of more than one gabapentin-treated patient were       before completion of the titration
                                                                                    dizziness and somnolence."                             phase of the study (Figures 2-5, 7,
                                                                                                                                           8), dose titration while observing
                                                                                                                                           the therapeutic response might
                                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 112 of 195




                                                                                                                                           reduce the incidence of dizziness

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                                                                                                                                          (Report)     (Report)

                                                                                                         and somnolence we observed."
                                                                                                         "Overall the adverse events
                                                                                                         observed in this study were very
                                                                                                         similar in nature and intensity to
                                                                                                         those seen during epilepsy trials."

                                                                                                         "It is unlikely that the occurrence of
                                                                                                         adverse events led to unblinding of
                                                                                                         the study and influenced the
                                                                                                         outcome of the study. Excluding the
                                                                                                         data from those patients who
                                                                                                         reported dizziness or those who
                                                                                                         reported somnolence did not
                                                                                                         negate the pain reduction by
                                                                                                         gabapentin."

                                                                                                         "Gabapentin is a promising new
                                                                                                         agent for use in patients with
                                                                                                         neuropathic pain when therapeutic
                                                                                                         options are limited, and offers
                                                                                                         advantages over currently available
                                                                                                         treatments as a first-line agent."

                                                                                                         [Conclusions section of report]: "- In
                                                                                                         patients with painful diabetic
                                                                                                         neuropathy, gabapentin produces
                                                                                                         significantly greater pain relief than
                                                                                                         placebo, as measured by daily pain
                                                                                                         and sleep interference diaries, and
                                                                                                         the Short-Form McGill sensory,
                                                                                                         affective, and total scores, visual
                                                                                                         analog scale, and present pain
                                                                                                         intensity scale."

                                                                                                         "- CNS symptoms, such as
                                                                                                         dizziness, somnolence, and
                                                                                                         confusion, occurred more
                                                                                                         frequently in gabapentin-treated
                                                                                                         than in placebo-treated patients but
                                                                                                         rarely led to withdrawal from the
                                                                                                         study."
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 number          code                                                                                     discussion sections (Report) in discussion in abstract
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                                                                                                                                          (Report)     (Report)

945-210      Backonja 1997       "Preliminary results indicate a mean pain         Not mentioned.                       "Gabapentin, a drug that has an
                                 score at screening of 6.5, and a mean (± SE)                                           excellent safety record in the
                                 decrease in mean pain score (from screening                                            treatment of epilepsy, also appears
                                 to final week) of 2.6 ± 0.3 for gabapentin and                                         to be effective in the treatment of
                                 1.3 ± 0.3 for placebo; this difference was                                             patients with painful diabetic
                                 statistically significant."                                                            neuropathy."

                                 "Final results, including weekly mean pain
                                 scores for the 8 weeks and Short Form-
                                 McGill Pain Questionnaire, will be available at
                                 time of presentation."
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  Study       Publication Results of primary analysis (Report) Adverse events (Results section of Report) Conclusions in abstract & Conclusions Conclusions
 number          code                                                                                     discussion sections (Report) in discussion in abstract
                                                                                                                                         consistent  consistent
                                                                                                                                        with results with results
                                                                                                                                          (Report)     (Report)

945-210      Backonja 1998       "Differences between gabapentin and              "A total of 7 gabapentin-treated patients (8%)         Abstract of report:
                                 placebo were significant at end point for the    withdrew from the study because of a total of 13       "Gabapentin monotherapy appears
                                 mean pain score, mean sleep interference         adverse events: dizziness and somnolence (2            to be efficacious for the treatment
                                 score, and total pain, VAS, and PPI scores of    patients each), abdominal pain, asthenia, body odor,   of pain and sleep interference
                                 the SF-MPQ (Table 2)."                           headache, diarrhea, abnormal thinking, nausea,         associated with diabetic peripheral
                                                                                  confusion and hypesthesia (1 patient each)."           neuropathy and exhibits positive
                                 "When each week's results were analyzed                                                                 effects on mood and quality of life."
                                 separately, there was a significant difference   "The most frequently reported adverse events are
                                 (P<.05) between the gabapentin and placebo       shown in Table 3."                                     Discussion section of report:
                                 groups in mean pain scores from week 2           [Table 3 lists the following adverse events with       "Gabapentin monotherapy proved
                                 through week 8."                                 percentage of patients in parentheses: dizziness -     effective in decreasing pain
                                                                                  gabapentin (23.8%) / placebo (4.9%); somnolence -      associated with diabetic peripheral
                                                                                  gabapentin (22.6%) / placebo (6.2%); headache -        neuropathy."
                                                                                  gabapentin (10.7%) / placebo (3.7%); diarrhea -
                                                                                  gabapentin (10.7%) / placebo (8.6%); confusion -       "Because the study end point was
                                                                                  gabapentin (8.3%) / placebo (1.2%); nausea -           subjective, we explored the
                                                                                  gabapentin (8.3%) / placebo (4.9%). Statistically      poss bility that the occurrence of
                                                                                  significant p-values were reported for dizziness (p    adverse events resulted in
                                                                                  "<.001") and for somnolence p = ".004".]               unblinding of the study, biasing the
                                                                                                                                         result of our efficacy analysis
                                                                                                                                         (Table 2)."

                                                                                                                                         "After excluding data from patients
                                                                                                                                         who reported dizziness, the mean
                                                                                                                                         pain score between groups differed
                                                                                                                                         by -1.19 (P = .002), favoring the
                                                                                                                                         gabapentin group (gabapentin [n =
                                                                                                                                         62] mean, 4.02; placebo [n = 75]
                                                                                                                                         mean, 5.21)."

                                                                                                                                         "After excluding data from patients
                                                                                                                                         who reported somnolence, the
                                                                                                                                         mean pain score between groups
                                                                                                                                         differed by -0.81 (P = 0.03), also
                                                                                                                                         favoring the gabapentin group
                                                                                                                                         (gabapentin [n = 63 mean, 4.19;
                                                                                                                                         placebo [n = 75] mean, 5.21)."

                                                                                                                                         "Thus, inclusion of patients who
                                                                                                                                         experienced these central nervous
                                                                                                                                         system adverse effects in the
                                                                                                                                         original analysis did not account for
                                                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 115 of 195




                                                                                                                                         the overall efficacy seen in the trial."

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                                                                                                         "In this study, gabapentin appeared
                                                                                                         to be well tolerated, with 56 (67%)
                                                                                                         of the 84 patients achieving the
                                                                                                         forced maximum dosage of 3600
                                                                                                         mg/d. The frequency of dizziness
                                                                                                         and somnolence may be attributed
                                                                                                         in part to the high dosage chosen
                                                                                                         for the study."

                                                                                                         "Since efficacy was achieved
                                                                                                         before completion of the titration
                                                                                                         phase of the study (Figure 2 and
                                                                                                         Figure 3), dose titration while
                                                                                                         observing the therapeutic response
                                                                                                         might reduce the incidence of
                                                                                                         dizziness and somnolence we
                                                                                                         observed."

                                                                                                         "Gabapentin is a promising new
                                                                                                         agent for use in patients with
                                                                                                         neuropathic pain when therapeutic
                                                                                                         options are limited and offers
                                                                                                         advantages over currently available
                                                                                                         treatments as a first-line agent."
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                                                                                                                                        with results with results
                                                                                                                                          (Report)     (Report)

945-224      945-224. RR         "The primary efficacy analysis did not show a      "More patients in the gabapentin groups (32.9% in          Synopsis of report:
                                 statistically significant difference between the   the 600 mg gabapentin group, 23.2% in the 1200             "Compared to placebo, none of the
                                 pooled 1200/2400 mg gabapentin group and           mg gabapentin group, 35.7% in the 2400 mg                  gabapentin treatment groups was
                                 the placebo group for the mean pain score for      gabapentin group) than in the placebo group                shown to be effective for the
                                 the last 7 days on study drug (p=0.1221,           (20.8%) had associated adverse events."                    treatment of painful diabetic
                                 Williams procedure)."                                                                                         neuropathy, if judged by the
                                                                                    "The next table [Table 35 in the original report]          primary outcome parameter of the
                                 "This means that in this study efficacy of the     descr bes adverse events which were evaluated as           double-blind treatment phase
                                 chosen doses of gabapentin in controlling          being associated to the study drug by the                  (weekly mean pain score from daily
                                 pain associated with diabetic neuropathy           investigators."                                            pain diary)."
                                 could not be proven."                              [Table 35 lists the following adverse events as
                                                                                    percentages in the following order: gabapentin 600         "The 1200 mg/day gabapentin
                                 "The mean pain score decreased in all              mg / gabapentin 1200 mg / gabapentin 2400 mg /             group showed statistically
                                 treatment groups in the course of the study,       placebo : body as a whole - 13.8 / 4.9 / 7.1 / 7.8;        significant results compared to
                                 however, there was no statistically significant    headache - 6.1 / 2.4 / 1.2 / 1.3; digestive system -       placebo for the responder rate, the
                                 difference between any of the gabapentin           12.2 / 6.1 / 11.9 / 6.5; nausea - 1.2 / 1.2 / 4.8 / 5.2;   weekly mean sleep interference
                                 groups and the placebo group at any time           nervous system - 12.2 / 12.2 / 22.6 / 7.8;                 score, the CGIC, and 5 domains of
                                 during the double-blind phase (p>0.05,             somnolence - 4.9 / 3.7 / 13.1 / 1.3; dizziness - 6.1 /     the SF-36, indicating an
                                 ANCOVA)."                                          3.7 / 7.1 / 2.6.]                                          improvement in the quality of life."

                                                                                    "With increasing doses of gabapentin, the frequency        "Gabapentin treatment was in
                                                                                    of associated adverse events in the nervous system         general well tolerated, the most
                                                                                    increased. For the other frequently occurring              frequent adverse events were
                                                                                    associated adverse events there was no dose                dizziness and somnolence
                                                                                    relationship."                                             (significant difference to placebo in
                                                                                                                                               2400 mg gabapentin group during
                                                                                    "In total, 30 patients withdrew due to adverse events      double-blind for somnolence). No
                                                                                    from the double-blind phase of the study.                  other safety concerns were
                                                                                    The highest incidence of withdrawals due to adverse        detected in this study during double-
                                                                                    events was found in the 2400 mg gabapentin group.          blind or open-label treatment."
                                                                                    In this group especially adverse events of the
                                                                                    nervous system resulted in withdrawal of the
                                                                                    patients. While 8 patients were withdrawn from the         Discussion section of report:
                                                                                    2400 mg gabapentin group due to adverse events of          "In this study, none of the tested
                                                                                    the nervous system, only 1 patient discontinued the        gabapentin doses was superior to
                                                                                    study due to adverse events of the nervous system          placebo on the primary endpoint
                                                                                    in the 600 and 1200 mg gabapentin group,                   weekly mean pain score; thus, a
                                                                                    respectively. In the placebo group there was no            minimally effective dose for the
                                                                                    adverse event leading to withdrawal that was               treatment of diabetic neuropathic
                                                                                    affecting the nervous system."                             pain was not identified."
                                                                                                                                               "However, 1200 and 2400 mg
                                                                                                                                               gabapentin were shown to be
                                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 117 of 195




                                                                                                                                               effective in improving sleep."

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                                                                                                                                        with results with results
                                                                                                                                          (Report)     (Report)

                                                                                                         "In addition, treatment with 1200
                                                                                                         mg gabapentin resulted in
                                                                                                         significantly higher responder rates
                                                                                                         (based on 50% pain reduction from
                                                                                                         baseline), significantly better
                                                                                                         assessment of patients' status by
                                                                                                         the investigators and significantly
                                                                                                         better quality of life for 5 out of 8
                                                                                                         items of the SF-36 compared to
                                                                                                         placebo."

                                                                                                         "The failure to demonstrate efficacy
                                                                                                         on the primary outcome parameter
                                                                                                         may be in part due to a high
                                                                                                         placebo effect in this study."
                                                                                                         "One reason for the higher placebo
                                                                                                         effect in this study may be that the
                                                                                                         positive results from 945-210 were
                                                                                                         published during the conduct of the
                                                                                                         study 945-224 and gave rise to high
                                                                                                         expectations concerning the
                                                                                                         analgesic effects of gabapentin."
                                                                                                         "That such a positive attitude on
                                                                                                         the part of the investigators may
                                                                                                         have let to a high placebo response
                                                                                                         is reflected in the remarkable
                                                                                                         placebo response observed in the
                                                                                                         CGIC: in study 945-210, only
                                                                                                         21.3% of the investigators rated
                                                                                                         their placebo patients as "very
                                                                                                         much or much improved" compared
                                                                                                         to 37.8% of clinicians in study 945-
                                                                                                         224."

                                                                                                         "Compared to study 945-210 the
                                                                                                         rate of all adverse events as well as
                                                                                                         of associated adverse events was
                                                                                                         much lower in study 945-224.
                                                                                                         Furthermore, the difference
                                                                                                         between the gabapentin groups
                                                                                                         and the placebo group was less
                                                                                                         pronounced in study 945-224 than
                                                                                                                                                                           Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 118 of 195




                                                                                                         in study 945-210."

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                                                                                                                                         consistent  consistent
                                                                                                                                        with results with results
                                                                                                                                          (Report)     (Report)


                                                                                                         "The higher incidence of adverse
                                                                                                         events in the 2400 mg/day
                                                                                                         gabapentin group may explain why
                                                                                                         the clinicians evaluated patients'
                                                                                                         status and the quality of life more
                                                                                                         positiviely in the 1200 mg/day
                                                                                                         group than in the 2400 mg/day
                                                                                                         group. These assessments are
                                                                                                         influenced by both the positive
                                                                                                         effect on pain and sleep and the
                                                                                                         negative effect of adverse events."
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                                                                                                                                         consistent  consistent
                                                                                                                                        with results with results
                                                                                                                                          (Report)     (Report)

945-224      945-            "The primary efficacy parameter, mean pain        "The most common adverse events considered by            Abstract of report:
             224.Reckless.Di score, decreased in all groups from baseline      the investigators to be possibly associated with         "While treatment with gabapentin
             abetic Medicine to endpoint (Table 3). However, there were no     study medication were those affecting the nervous        did not demonstrate significant
                             statistically significant differences among any   system (somnolence and dizziness, Table 5)."             effects on the primary endpoint of
                             of the gabapentin groups and the placebo          "The only statistically significant difference between   this study, statistically significant
                             group for endpoint mean pain score (P > 0.05      gabapentin and placebo in the double-blind phase         evidence for improvements in some
                             for each dose group vs placebo by ANCOVA;         was found for somnolence, with the 2400-mg dose          secondary endpoints demonstrates
                             P = 0.1221 using the Williams procedure for       of gabapentin group vs placebo (Fisher's exact test,     an overall benefit from gabapentin
                             pooled 1200 mg/2400 mg groups vs                  P < 0.005)."                                             for patients with painful diabetic
                             placebo)."                                                                                                 neuropathy."
                                                                               "Eight patients were withdrawn from the gabapentin
                                                                               2400-mg group due to nervous system adverse              Discussion section of report:
                                                                               events. In contrast, only 1 patients was withdrawn       "None of the gabapentin doses was
                                                                               for this reason in each of the 600-mg and 1200-mg        significantly more effective than
                                                                               gabapentin groups, and none in the placebo group."       placebo with regard to the primary
                                                                                                                                        outcome measure, weekly mean
                                                                                                                                        pain score from the daily pain diary.
                                                                                                                                        Therefore, the minimum effective
                                                                                                                                        dose of gabapentin could not be
                                                                                                                                        defined in this study."

                                                                                                                                        "However, gabapentin 1200 mg/day
                                                                                                                                        was significantly more effective
                                                                                                                                        than placebo as measured by
                                                                                                                                        several secondary endpoints:
                                                                                                                                        responder rate, 5 of the 8 domains
                                                                                                                                        of the SF-36 (indicating an
                                                                                                                                        improvement in quality of life),
                                                                                                                                        weekly mean sleep interference
                                                                                                                                        score, and the CGIC."

                                                                                                                                        "Thus, the evidence from
                                                                                                                                        secondary endpoints indicates that
                                                                                                                                        patients receiving the 1200-mg
                                                                                                                                        dose of gabapentin experience an
                                                                                                                                        overall benefit from treatment
                                                                                                                                        despite the lack of a signficant
                                                                                                                                        effect on pain diary scores."

                                                                                                                                        "The significant difference in
                                                                                                                                        responder rates (40.2% for
                                                                                                                                        gabapentin 1200 mg vs 24.7% for
                                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 120 of 195




                                                                                                                                        placebo, P = 0.0414) is particularly

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                                                                                                                                        with results with results
                                                                                                                                          (Report)     (Report)

                                                                                                         encouraging, as the percentage of
                                                                                                         patients obtaining at least 50% pain
                                                                                                         relief is now widely used as the
                                                                                                         standard measure of outcome in
                                                                                                         studies on pain therapy." [Omitted
                                                                                                         citation to reference in original
                                                                                                         study].

                                                                                                         "Also encouraging is the fact that
                                                                                                         several patients became totally
                                                                                                         pain free on gabapentin treatment
                                                                                                         (1 patient each with gabapentin 600
                                                                                                         and 1200 mg/day, and 4 patients
                                                                                                         with 2400 mg/day). No patients in
                                                                                                         the placebo group became totally
                                                                                                         pain free."

                                                                                                         "The lack of statistically significant
                                                                                                         pain relief as measured by the
                                                                                                         primary outcome, pain diary scores,
                                                                                                         is surprising in view of the
                                                                                                         significant benefits demonstrated in
                                                                                                         the US study by Backonja et al, in
                                                                                                         an apparently similar patient
                                                                                                         population." [Omitted citation to
                                                                                                         reference in original text].

                                                                                                         "However, the placebo effect in our
                                                                                                         trial was even higher than that in
                                                                                                         the comparable US study."
                                                                                                         [Omitted citation to reference in
                                                                                                         original text].

                                                                                                         "The positive results from the US
                                                                                                         trial were presented to the
                                                                                                         investigators at the pre-trial
                                                                                                         investigators' meeting for our study
                                                                                                         and were published during our
                                                                                                         study; these may therefore have
                                                                                                         raised the investigators'
                                                                                                         expectations, and in turn those of
                                                                                                         the patients." [Omitted citation to
                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 121 of 195




                                                                                                         reference in original text].

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number           code                                                                                     discussion sections (Report) in discussion in abstract
                                                                                                                                         consistent  consistent
                                                                                                                                        with results with results
                                                                                                                                          (Report)     (Report)


                                                                                                         "Thus, the overall findings of this
                                                                                                         study are consistent with previous
                                                                                                         trials establishing gabapentin as a
                                                                                                         useful and very well-tolerated
                                                                                                         treatment option for painful diabetic
                                                                                                         neuropathy."
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 number          code                                                                                     discussion sections (Report) in discussion in abstract
                                                                                                                                         consistent  consistent
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945-224      945-            "The primary efficacy parameter, mean pain        "The most common adverse events considered by            Abstract of report:
             224.Reckless.Di score, decreased in all groups from baseline      the investigators to be possibly associated with         "While treatment with gabapentin
             abetologia      to endpoint (Table 3). However, there were no     study medication were those affecting the nervous        did not demonstrate significant
                             statistically significant differences among any   system (somnolence and dizziness, Table 5)."             effects on the primary endpoint of
                             of the gabapentin groups and the placebo          "The only statistically significant difference between   this study, statistically significant
                             group for endpoint mean pain score (P > 0.05      gabapentin and placebo in the double-blind phase         evidence for improvements in some
                             for each dose group vs placebo by ANCOVA;         was found for somnolence, with the 2400-mg dose          secondary endpoints demonstrates
                             P = 0.1221 using the Williams procedure for       of gabapentin group vs placebo (Fisher's exact test,     an overall benefit from gabapentin
                             pooled 1200 mg/2400 mg groups vs                  P < 0.005)."                                             for patients with painful diabetic
                             placebo)."                                                                                                 neuropathy."
                                                                               "Eight patients were withdrawn from the gabapentin
                                                                               2400-mg group due to nervous system adverse              Discussion section of report:
                                                                               events. In contrast, only 1 patients was withdrawn       "None of the gabapentin doses was
                                                                               for this reason in each of the 600-mg and 1200-mg        significantly more effective than
                                                                               gabapentin groups, and none in the placebo group."       placebo with regard to the primary
                                                                                                                                        outcome measure, weekly mean
                                                                                                                                        pain score from the daily pain diary.
                                                                                                                                        Therefore, the minimum effective
                                                                                                                                        dose of gabapentin could not be
                                                                                                                                        defined in this study."

                                                                                                                                        "However, gabapentin 1200 mg/day
                                                                                                                                        was significantly more effective
                                                                                                                                        than placebo as measured by
                                                                                                                                        several secondary endpoints:
                                                                                                                                        responder rate, 5 of the 8 domains
                                                                                                                                        of the SF-36 (indicating an
                                                                                                                                        improvement in quality of life),
                                                                                                                                        weekly mean sleep interference
                                                                                                                                        score, and the CGIC."

                                                                                                                                        "Thus, the evidence from
                                                                                                                                        secondary endpoints indicates that
                                                                                                                                        patients receiving the 1200-mg
                                                                                                                                        dose of gabapentin experience an
                                                                                                                                        overall benefit from treatment
                                                                                                                                        despite the lack of a signficant
                                                                                                                                        effect on pain diary scores."

                                                                                                                                        "The significant difference in
                                                                                                                                        responder rates (40.2% for
                                                                                                                                        gabapentin 1200 mg vs 24.7% for
                                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 123 of 195




                                                                                                                                        placebo, P = 0.0414) is particularly

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                                                                                                         encouraging, as the percentage of
                                                                                                         patients obtaining at least 50% pain
                                                                                                         relief is now widely used as the
                                                                                                         standard measure of outcome in
                                                                                                         studies on pain therapy." [Omitted
                                                                                                         citation to reference in original
                                                                                                         study].

                                                                                                         "Also encouraging is the fact that
                                                                                                         several patients became totally
                                                                                                         pain free on gabapentin treatment
                                                                                                         (1 patient each with gabapentin 600
                                                                                                         and 1200 mg/day, and 4 patients
                                                                                                         with 2400 mg/day). No patients in
                                                                                                         the placebo group became totally
                                                                                                         pain free."

                                                                                                         "The lack of statistically significant
                                                                                                         pain relief as measured by the
                                                                                                         primary outcome, pain diary scores,
                                                                                                         is surprising in view of the
                                                                                                         significant benefits demonstrated in
                                                                                                         the US study by Backonja et al, in
                                                                                                         an apparently similar patient
                                                                                                         population." [Omitted citation to
                                                                                                         reference in original text].

                                                                                                         "However, the placebo effect in our
                                                                                                         trial was even higher than that in
                                                                                                         the comparable US study."
                                                                                                         [Omitted citation to reference in
                                                                                                         original text].

                                                                                                         "The positive results from the US
                                                                                                         trial were presented to the
                                                                                                         investigators at the pre-trial
                                                                                                         investigators' meeting for our study
                                                                                                         and were published during our
                                                                                                         study; these may therefore have
                                                                                                         raised the investigators'
                                                                                                         expectations, and in turn those of
                                                                                                         the patients." [Omitted citation to
                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 124 of 195




                                                                                                         reference in original text].

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                                                                                                                    "Thus, the overall findings of this
                                                                                                                    study are consistent with previous
                                                                                                                    trials establishing gabapentin as a
                                                                                                                    useful and very well-tolerated
                                                                                                                    treatment option for painful diabetic
                                                                                                                    neuropathy."
945-224      Backonja       "In four of the five trials, treatment with        Not mentioned.                       "CONCLUSIONS
             2002.EFNS.Abs. gabapentin at doses of 1800 to 3600 mg/day
             945-224        administered tid was found to be effective in                                           - Gabapentin, at doses of 1800 to
                            relieving neuropathic pain (Figure 3). The lack                                         3600 mg/day (tid dosing), provides
                            of statistical significance in the DPN II study                                         clinically and statistically significant
                            was due, in part, to a greater placebo effect in                                        relief from neuropathic pain due to
                            that study."                                                                            diabetic peripheral neuropathy,
                                                                                                                    postherpetic neuralgia, and mixed
                                                                                                                    neuropathic pain symptoms.

                                                                                                                    - Treatment with gabapentin can be
                                                                                                                    initiated over 3 days - one dose of
                                                                                                                    300 mg on day 1, two doses of 300
                                                                                                                    mg on day 2, and three doses of
                                                                                                                    300 mg on day 3 - and titrated
                                                                                                                    upward to a maximum of 3600
                                                                                                                    mg/day.

                                                                                                                    - Response to gabapentin
                                                                                                                    treatment is dose-related, with
                                                                                                                    rapid onset and sustained benefit."
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945-224      Backonja 2003       "Mean pain scores decreased from baseline       "The most frequent adverse events were dizziness       "On further analysis, the abnormally
             Review of 945-      to end point in all groups, but there were no   and somnolence, although only the difference in        high rate of placebo response and
             224                 significant differences between any treatment   somnolence between the gabapentin 2400-mg              the inconsistency in dose
                                 group and the placebo group (Table 1)."         group and the placebo group reached statistical        responses in this study stand out."
                                                                                 significance (13.0% vs 1.3%, respectively; P <
                                                                                 0.005)."                                               "It is likely that the high placebo
                                                                                                                                        response (27%) in this study
                                                                                 "Gabapentin was generally well tolerated, with 9% of   compared with the other studies
                                                                                 patients receiving gabapentin and 10% of patients      reviewed is a factor in the lack of
                                                                                 receiving placebo withdrawn due to adverse events."    significance for the gabapentin
                                                                                                                                        treatment groups."
                                                                                 "In the open-label extension, 24% of patients
                                                                                 experienced treatment-related adverse events, the      "In addition, some of the doses
                                                                                 most common being asthenia, dizziness and              used in this study were
                                                                                 somnolence."                                           considerably lower than those used
                                                                                                                                        in other studies, and, in fact, are
                                                                                                                                        outside the suggested dosing range
                                                                                                                                        for the treatment of PHN recently
                                                                                                                                        approved by the US Food and Drug
                                                                                                                                        Administration (FDA)."

                                                                                                                                        "In addition, although this study did
                                                                                                                                        not observe a significant difference
                                                                                                                                        in the primary efficacy parameter -
                                                                                                                                        weekly mean pain score - between
                                                                                                                                        gabapentin 600 to 2400 mg/d and
                                                                                                                                        placebo, it did show significant
                                                                                                                                        changes with gabapentin 1200
                                                                                                                                        mg/d on several secondary
                                                                                                                                        parameters, including response
                                                                                                                                        rates, 5 of 8 SF-QOL domains,
                                                                                                                                        weekly mean sleep interference
                                                                                                                                        score, and CGIC."

                                                                                                                                        "Based on the results of these
                                                                                                                                        studies - particularly the
                                                                                                                                        inconsistencies in the results of the
                                                                                                                                        PDN study by Reckless et al (data
                                                                                                                                        on file, Study 945-224, February 7,
                                                                                                                                        2000, Pfizer Inc) - the most
                                                                                                                                        efficacious dose for PDN was not
                                                                                                                                        entirely clear."
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                                                                                                         "To better identify the most
                                                                                                         effective dose of gabapentin in
                                                                                                         patients with PDN, an analysis was
                                                                                                         conducted on pooled data from the
                                                                                                         US PDN study, the multinational
                                                                                                         PDN study by Reckless et al, and
                                                                                                         patients with PDN from the mixed
                                                                                                         neuropathic pain study (Table V)."
                                                                                                         [Omitted citations to references in
                                                                                                         original text].
                                                                                                         "In that analysis, patients treated
                                                                                                         with gabapentin !1800 mg/d did
                                                                                                         statistically better (lower mean pain
                                                                                                         scores at end point; P <0.001) than
                                                                                                         patients who received placebo,
                                                                                                         whereas those who received
                                                                                                         gabapentin <1800 mg/d did not
                                                                                                         have a statistically different
                                                                                                         response from those who received
                                                                                                         placebo (data on file, studies 945-
                                                                                                         210, 945-224, 945-306, August
                                                                                                         2002, Pfizer Inc)."

                                                                                                         "On the basis of the reviewed trials,
                                                                                                         doses of up to 3600 mg/d may be
                                                                                                         used when required and tolerated,
                                                                                                         and can be achieved by week 4 of
                                                                                                         treatment (Table IV)."
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945-271      945-271. RR         "The reduction in mean pain score during the      "The number of AE reports and percentage of             Synopsis of report:
                                 first treatment period was similar in the two     patients reporting any AE was highest during            ""A number of secondary outcomes
                                 arms, 7.2 mm during gabapentin treatment          gabapentin treatment (n=241 and 75.8%,                  improved significantly during
                                 and 6.9 mm during placebo treatment."             respectively)."                                         gabapentin treatment comapred
                                                                                                                                           with placebo treatment, although
                                 "An analysis of covariance, adjusting for         "The most commonly reported Aes during the              gabapentin did not statistically
                                 baseline pain intensity, did not show any         gabapentin period were 'dizziness and vertigo', and     significantly reduce Mean Pain
                                 difference between the treatments, p=0.20."       'malaise and tiredness' reported by 32.5% and           Intensity Score compared with
                                                                                   25.8% of the patients, respectively, as compared        placebo"
                                 "The reduction in mean pain score during          with 7.5% and 14.2% during placebo treatment,
                                 gabapentin treatment was 8.1 mm in the            respectively."                                          "Gabapentin was superior to
                                 Gaba-Pl arm, and 4.7 mm in the Pl-Gaba                                                                    placebo in
                                 arm. During placebo treatment the                 "Also, "confusion" was more frequently reported         -reducing; Mean Sleep Interference
                                 corresponding figures were 0.7 mm in the          during gabapentin treatment than during placebo         Score
                                 Gaba-Pl arm and 7.1 mm in the Pl-Gaba arm.        treatment, reported in 13.3% vs. 1.7% of the            - improving certain dimensions of
                                 Thus no difference between the treatments         patients."                                              Sf-36
                                 could be seen, p=0.16."                                                                                   - give a better pain relief, including
                                                                                   "Headache was equally reported during gabapentin        reducing pain with at least half
                                 "No carry-over effect could be demonstrated       and placebo treatment, reported by 15.0% and            - improving the overall status of the
                                 but the period effect was statistically           16.7% of the patients, respectively."                   patient, both according to clinician
                                 significant. The statistical analyses have been                                                           and patient"
                                 performed in a way that is not influenced by      "'Dizziness and vertigo' were, with two exceptions in
                                 the period effect."                               the placebo group, always regarded as drug-reltaed,     "Thus it can be concluded that,
                                                                                   as well as 'confusion' and 'mouth dryness'. Also the    despite the lack of a statistically
                                                                                   majority of 'malaise and tiredness' events were         significant reduction in mean pain
                                                                                   regarded as drug-related."                              intensity score, patients with
                                                                                                                                           neuropathic pain may benefit from
                                                                                   "A total of 11 patients withdrew from the study due     gabapentin treatment."
                                                                                   to adverse events, 6 during gabapentin treatment
                                                                                   and 4 during placebo treatment, and one during          "In conclusion, this study indicates
                                                                                   washout following placebo."                             that gabapentin may be of benefit
                                                                                                                                           for patients with neuropathic pain."

                                                                                                                                           Discussion section of report:
                                                                                                                                           "This study indicates that
                                                                                                                                           gabapentin treatment may be of
                                                                                                                                           benefit for patients with neuropathic
                                                                                                                                           pain. Although the primary efficacy
                                                                                                                                           variable did not reveal any
                                                                                                                                           difference in pain reducing effect of
                                                                                                                                           gabapentin as compared with
                                                                                                                                           placebo, a variety of secondary
                                                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 128 of 195




                                                                                                                                           outcomes did so."

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                                                                                                         "More patients experienced a better
                                                                                                         pain relief during gabapentin
                                                                                                         treatment than during placebo
                                                                                                         treatment; more patients also
                                                                                                         reported that the pain had been
                                                                                                         reduced by at least half during
                                                                                                         gabapentin treatment than during
                                                                                                         placebo treatment."

                                                                                                         "This study shows that patients with
                                                                                                         neuropathic pain have a
                                                                                                         considerably lower health related
                                                                                                         quality of life than the Swedish
                                                                                                         general population. The
                                                                                                         improvement during the 5 weeks of
                                                                                                         gabapentin treatment was
                                                                                                         statistically better than during the
                                                                                                         placebo treatment, but the absolute
                                                                                                         improvement was small."

                                                                                                         "The results may be hampered by
                                                                                                         the study design. Although a
                                                                                                         crossover design requires fewer
                                                                                                         patients than a parallel-study
                                                                                                         design, it can be less valid if the
                                                                                                         disease intensity fluctuates."

                                                                                                         "The safety pattern found in this
                                                                                                         study corresponds well with what
                                                                                                         could be expected. More adverse
                                                                                                         events were reported during
                                                                                                         gabapentin treatment than during
                                                                                                         placebo treatment, approximately
                                                                                                         60% vs. 40% of all reports. The
                                                                                                         majority of adverse events occurred
                                                                                                         during the titration periods."

                                                                                                         "In conclusion, this study indicates
                                                                                                         that gabapentin may be of benefit
                                                                                                         for patients with neuropathic pain."
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945-271      945-                "The mean VAS value for Tactile Allodynia,       "No safety evaluation was done for this Sub-study.   Synopsis of report:
             271.Addndm-         by time point, is shown in Table 3. Only         Please see Main Report"                              "In conclusion, the results from this
             B.RR                patients fulfilling the 30 mm score                                                                   sub-study could not reveal any
                                 requirement are included."                                                                            difference between placebo and
                                                                                                                                       gabapentin, a finding that might be
                                 "In the Gaba-Pl group, a marked                                                                       wrong due to the low number of
                                 improvement in Tactile Allodynia was seen                                                             patients studied and the complexity
                                 during gabapentin treatment and a slight                                                              of the study. Large well-controlled
                                 deterioration during placebo treatment. In the                                                        studies are required for
                                 Pl-Gaba group no effect of either treatment                                                           confirmation or denial of the current
                                 could be seen. Statistically, no difference                                                           results."
                                 between treatments could be found, p=0.13."
                                                                                                                                       Discussion section of report:
                                 "Also in the Pl-Gaba group a mean                                                                     "Although the results from the main
                                 improvement in Cold Allodynia was seen                                                                study indicate that gabapentin
                                 during the first treatment period, the placebo                                                        treatment may be of benefit for
                                 treatment, and a limited improvement during                                                           patients with neuropathic pain, the
                                 gabapentin treatment. Statistically, no                                                               results from this sub-study cannot
                                 difference between treatments could be                                                                confirm these results."
                                 found, p=0.90."
                                                                                                                                       "One reason may be the limited
                                 "In both treatment groups an improvement of                                                           number of patients included and a
                                 approximately 10 mm was seen during                                                                   slight uncertainty regarding the
                                 gabapentin treatment but not during placebo                                                           data quality."
                                 treatment. However, statistically, no
                                 difference between treatments could be                                                                "No SDV was performed, and the
                                 found, p=0.35."                                                                                       methodology differed to some
                                                                                                                                       extent between the participating
                                 "Overall, no clear-cut difference in effect                                                           clinics. The techniques used are
                                 between gabapentin and placebo could be                                                               also very sophisticated, and maybe
                                 seen in any of the tested variables."                                                                 not the most appropriate to use in a
                                                                                                                                       multi-center study."

                                                                                                                                       "In conclusion, the results from this
                                                                                                                                       sub-study could not reveal any
                                                                                                                                       difference between placebo and
                                                                                                                                       gabapentin, a finding that might be
                                                                                                                                       misleading due to the low number
                                                                                                                                       of patients studied and the
                                                                                                                                       complexity of the study. Large well-
                                                                                                                                       controlled studies are required for
                                                                                                                                       confirmation or denial of the current
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                                                                                                                                       results."

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945-271      Gordh 2002          NA³                           NA³                                       NA³
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945-276      945-276.RR          "The mean value of daily pain global score       "Serious adverse events occurred in 13 patients, 7       Synopsis of report:
                                 from diary is 4.8±1.8 SD in gabapentin vs        in gabapentin group and 6 in placebo group."             "The data of this study on cancer
                                 5.9±2.1 in placebo group (p=0.0257)."                                                                     neuropathic pain confirm the
                                                                                  "9 patients dropped out due to adverse events, 6 in      analgesic activity of gabapentin
                                 "The same analysis performed on ranked           gabapentin group and 3 in placebo group. One             previously reported in non-
                                 score confirms a significant p value in favour   patient of gabapentin group required a dose              neoplastic neuropathic pain
                                 of gabapentin (p=0.0265)."                       reduction due to adverse events."                        syndromes. Compared to placebo,
                                                                                                                                           in our experience as add-on
                                 "The two other analyses on ranked scores,        "There were 17 serious adverse events, 9 in              therapy to conventional opioid
                                 considering the WORST case and the LOCF          gabapentin group and 8 in placebo."                      drugs, gabapentin significantly
                                 method (approaches for replacing the missing                                                              relieved global pain, shooting pain,
                                 values) on diary data, confirm the principal     [Table 12.2-1-1 lists the following adverse events       dysesthesia and nearly significantly
                                 analysis results (p=0.0304 and p=0.0527,         and percentages: autonomic nervous system                decreased the use of
                                 respectively)."                                  (gabapentin 1.27% / placebo 0%); cardiovascular          analgesics/opioids."
                                                                                  (gabapentin 3.80% / placebo 0%); central and
                                                                                  peripheral nervous system (gabapentin 13.92% /           "The safety profile of the product
                                                                                  placebo 0%); psychiatric (22.78% / 9.76%). No tests      was also good. gabapentin-related
                                                                                  of significance reported for these comparisons].         adverse events occurred in 30.4%
                                                                                                                                           patients. They mainly have
                                                                                  "The adverse events related to gabapentin treatment      concerned the psychiatric/central
                                                                                  were 34 in 24/79 (30.4%). They mainly concerned          nervous system (somnolence and
                                                                                  the psychiatric/central nervous system (17 cases of      vertigo) and were in general mild
                                                                                  somnolence, 21.5%, 8 cases of vertigo, 10.1%, 1          and transient."
                                                                                  case each of headache and tremor) and the
                                                                                  gastrointestinal apparatus (2 cases of vomiting,         Discussion section of report:
                                                                                  2.5%, and 1 case of diarrhoea)."                         "Compared to placebo, in our
                                                                                                                                           experience as add-on therapy to
                                                                                  "Among the treatment-related events there was only       conventional opioid drugs
                                                                                  one serious event: the patient died, being affected      gabapentin significantly relieved
                                                                                  by advanced prostate cancer and under a complex          global pain, shooting pain,
                                                                                  pharmacological regimen.                                 dysesthesia and nearly significantly
                                                                                  All the other fatal cases reported during the study (8   decreased the use of
                                                                                  cases, 5 in gabapentin group and 3 in placebo            analgesic/opioid doses."
                                                                                  group) were not treatment related."
                                                                                                                                           "The evaluation of global
                                                                                                                                           improvement was also significantly
                                                                                                                                           better in gabapentin group in
                                                                                                                                           respect to placebo."

                                                                                                                                           "The safety profile of the product
                                                                                                                                           was also favourable. Gabapenti-
                                                                                                                                           related ADR occurred in 30.4%
                                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 132 of 195




                                                                                                                                           patients. They mainly concerned

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                                                                                                         the central nervous system
                                                                                                         (somnolence and vertigo) and were
                                                                                                         in general mild and transient."

                                                                                                         "Gabapentin confirmed in our trial
                                                                                                         the favourable safety profile already
                                                                                                         known by the clinical experience in
                                                                                                         1800 volunteers and patients
                                                                                                         (mainly epileptic patients)."
                                                                                                         [Omitted citation to reference in
                                                                                                         original text].
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945-276      Caraceni 2004       "The mean (model adjusted) follow-up global      "Drug safety was assessed by evaluation of the          Abstract of report:
                                 pain score (ITT population = 120 patients)       type, frequency, and intensity of any reported          "Gabapentin is effective in
                                 was lower for patients taking gabapentin (pain   adverse event, and by reporting changes on              improving analgesia in patients with
                                 score = 4.6) than for patients receiving         physical examination." [Omitted citation to original    neuropathic cancer pain already
                                 placebo (pain score = 5.4; ANCOVA, P =           text].                                                  treated with opioids."
                                 .0250; Table 3)."
                                                                                  "Six patients in the gabapentin group and three in      Discussion section of report:
                                 Sensitivity analysis showed that the result      the placebo group discontinued treatment due to         "Our results showed a difference in
                                 was obtained was robust when different           adverse events (Table 4)."                              mean pain intensity and
                                 criteria were used for missing data imputation                                                           dysesthesia scores, but this
                                 (P = .0527 using last observation carried        "In four of the patients who discontinued gabapentin,   information can be considered of
                                 forward imputation, and P = .0304 with worst     the adverse events were probably related to the         limited clinical value."
                                 value imputed)."                                 drug."
                                                                                                                                          "In general, side effects were mild
                                 "Also the analysis on the modified ITT set       "Most frequent side effects, not leading to drug        in most cases, with the exception of
                                 confirmed this result (P = .0257)."              discontinuation, were mild to moderate somnolence       four patients who discontinued the
                                                                                  and dizziness which were more common in the             drug."
                                                                                  gabapentin group than in the placebo group."
                                                                                                                                          "Our conclusion is that the
                                                                                  [Table 4 lists the following: somnolence: gabapentin    association 300 mg gabapentin to
                                                                                  (22.8%), placebo (9.7%); dizziness: gabapentin          the opioid drug regimen is usually
                                                                                  (8.8%), placebo (0%)].                                  safe, but in frail patients with high
                                                                                                                                          opioid doses and complex drug
                                                                                                                                          regimens, especially including
                                                                                                                                          benzodiazepines, a more cautious
                                                                                                                                          titration schedule is
                                                                                                                                          recommendable."

                                                                                                                                          "Our study could demonstrate a
                                                                                                                                          limited role of gabapentin as
                                                                                                                                          adjuvant to opioids for neuropathic
                                                                                                                                          cancer pain, although significant
                                                                                                                                          benefit could be seen in some
                                                                                                                                          patients."

                                                                                                                                          "Certainly better study design, and
                                                                                                                                          more efficacious drugs for
                                                                                                                                          neuropathic pain, are needed to
                                                                                                                                          improve the control of advanced
                                                                                                                                          cancer pain."
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945-306      945-306.RR          "The primary efficacy measure, final 7 days    "The following events were reported by >5% of           Synopsis of report:
                                 from LOCF measures of daily pain diary,        gabapentin treated patients (placebo incidence in       "This study has demonstrated the
                                 showed significant (P=0.048) improvements      paranthesis):                                           effectiveness of gabapentin in a
                                 for gabapentin compared to placebo."           Dizziness 24.2% (7.9%)                                  broad range of neuropathic pain
                                                                                Somnolence 14.4% (5.3%)                                 syndromes, ranging from chronic
                                 "Mean scores from LOCF measures are            Infection 9.2% (12.5%)                                  neuropathic back pain syndromes
                                 presented in Appendix C.2 - Table 1, along     Headache 9.2% (13.8%)                                   to the more classical Complex
                                 with P-values. The mean change in              Nausea 9.2% (9.2%)                                      Regional Pain Syndrome."
                                 gabapentin treated patients was -1.5 (-21%)    Flu syndrome 7.2% (4.6%)
                                 compared to -1.0 (-14%) in placebo treated     Abdominal pain 6.5% (3.9%)                              Discussion section of report:
                                 patients. This difference was statistically    Accidental injury 5.9% (5.3%)                           "This study represents the first
                                 significant (P=0.048, rank based Ancova)."     Diarrhoea 5.2% (3.9%)"                                  randomised, placebo controlled
                                 "The corresponding P-value from the analysis                                                           study in a wide range of
                                 of raw data was P=0.06."                       "All reported occurrences of dizziness started during   syndromes, from chronic
                                                                                titration, 86% of reports were mild or moderate in      neuropathic back pain to more
                                 "Analysis of the mean pain interference        intensity and 46% resolved prior to withdrawal."        traditional syndromes such as
                                 scores on a week by week basis shows that      "91% of somnolence reports started during titration,    Complex Regional Pain Syndrome
                                 the difference between the treatment groups    82% of reports were mild or moderate in intensity       and is one of the largest studies
                                 and placebo was not present at baseline, but   and 36% resolved prior to withdrawal."                  conducted in neuropathic pain in
                                 was detectable as statistically significant                                                            the UK and Ireland."
                                 (P<0.05) at weeks 1, 3, 4, 5 and 6. At weeks   "24 (15.7%) patients were withdrawn from
                                 7 and 8 the gabapentin scores remained         gabapentin treatment due to adverse events, and 25      "The results demonstrate a
                                 constant whilst there was an improvement in    (16.4%) from the placebo group."                        statistically significant improvement
                                 the mean placebo scores resulting in a non-                                                            in the primary efficacy parameter of
                                 significant difference."                       "Seven patients withdrew from gabapentin treatment      overall pain. Tis effect on overall
                                                                                on account of dizziness, compared to 5 withdrawing      pain was apparent during the first
                                                                                from placebo. Four patients withdrew from               week of treatment while all patients
                                                                                gabapentin and two from placebo on account of           were on the 900 mg per day dose.
                                                                                somnolence. Two further patients withdrew from          Similarly there was a statistically
                                                                                gabapentin reportin gboth dizziness and                 significant effect on overall pain at
                                                                                somnolence."                                            weeks 3 and 4 before any of the
                                                                                                                                        patients had been titrated up to
                                                                                                                                        2400mg per day. This confirms the
                                                                                                                                        efficacy of gabapentin within the
                                                                                                                                        licensed dose range."
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945-306      Serpell 2002        "The primary efficacy variable, change in            "The most commonly reported adverse events            Abstract of report:
                                 average daily pain score from baseline to the        (reported by >5% of gabapentin-treated patients),     "This study shows that gabapentin
                                 final week, showed significant differences           are shown in Table 3."                                reduces pain and improves some
                                 between the gabapentin and placebo groups            [Table 3 lists the following: dizziness (gabapentin   quality-of-life measures in patients
                                 (Fig. 3). In gabapentin treated patients the         24.2% / placebo 7.9%); somnolence (gabapentin         with a wide range of neuropathic
                                 mean pain diary score decreased by 1.5               14.4% / placebo 5.3%); infection (gabapentin 9.2% /   pain syndromes."
                                 (21%) from 7.1 to 5.6. In placebo-treated            placebo 12.5%); headache (gabapentin 9.2% /
                                 patients it decreased by 1.0 (14%), from 7.3         placebo 13.8%); nausea (gabapentin 9.2% / placebo     Discussion section of report:
                                 to 6.3. There was a significant difference           9.2%); flu syndrome (gabapentin 7.2% / placebo        "This double-blind, randomised,
                                 between the treatments (P = 0.048, rank-             4.6%); abdominal pain (gabapentin 6.5% / placebo      placebo-controlled multicentre
                                 based ANCOVA)."                                      3.9%); accidental injury (gabapentin 5.9% / placebo   study indicates that gabapentin at
                                                                                      5.3%); diarrhoea (gabapentin 5.2% / placebo 3.9%).]   doses up to 2400 mg/day reduces
                                 "Analysis of the mean pain scores on a week-                                                               pain in patients with a wide range of
                                 by-week basis showed that the difference             "Overall, the percentage of withdrawals due to        neuropathic pain syndromes,
                                 between the treatment groups was                     adverse events was similar (at 16%) in the two        selected on the basis of specific
                                 statistically significant at weeks 1, 3, 4, 5, and   treatment groups (Table 3). Seven patients withdrew   symptoms."
                                 6 (P < 0.05 for weeks 1, 3, 5 and 6; P = 0.01        from gabapentin and two from placebo because of
                                 for week 4)."                                        somnolence. Two additional patients withdrew from     "There was no evidence that
                                                                                      gabapentin, reporting both dizziness and              treatment effect differed according
                                 "At weeks 7 and 8 the gabapentin scores              somnolence."                                          to pain syndrome."
                                 remained constant and there was an
                                 improvement in the mean placebo scores,                                                                    "For ethical reasons, the study
                                 resulting in a non-significant difference."                                                                excluded patients who had
                                                                                                                                            previously failed to respond to
                                                                                                                                            gabapentin at 900 mg/day or to
                                                                                                                                            gabapentin at any dose due to side
                                                                                                                                            effects."

                                                                                                                                            "In addition, exclcuding patients
                                                                                                                                            already known to be non-
                                                                                                                                            responders to a proposed
                                                                                                                                            treatment regimen reflects the
                                                                                                                                            reality of clinical practice."

                                                                                                                                            "However, it is important to note
                                                                                                                                            that the clinical benefits of
                                                                                                                                            gabapentin were apparent early in
                                                                                                                                            treatment, before the dose had
                                                                                                                                            been titrated up to the maximal
                                                                                                                                            level. The effect on overall pain
                                                                                                                                            was significant during the first
                                                                                                                                            week, while all patients in the
                                                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 136 of 195




                                                                                                                                            gabapentin-treatment group

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                                                                                                         received only 900 mg/day."
                                                                                                         "There was also a statistically
                                                                                                         significant effect on overall pain at
                                                                                                         weeks 3 and 4. This confirms the
                                                                                                         efficacy of gabapentin within the
                                                                                                         licensed dose range (up to 1800
                                                                                                         mg/day in the UK)."

                                                                                                         "One reason pain scores did not
                                                                                                         further improve after week 6 may
                                                                                                         be that patients might have
                                                                                                         become more active toward the
                                                                                                         end of the study."

                                                                                                         "Although the reduction in mean
                                                                                                         pain scores and the response rates
                                                                                                         obtained with gabapentin in this
                                                                                                         study were modest, the refractory
                                                                                                         nature of the pain and its duration
                                                                                                         should be borne in mind."

                                                                                                         "Perhaps as important as the
                                                                                                         efficacy outcome in this study,
                                                                                                         however, is its innovative design. It
                                                                                                         aimed to reflect the real-life
                                                                                                         management of neuropathic pain
                                                                                                         by including patients with a broad
                                                                                                         spectrum of both common and
                                                                                                         uncommon neuropathic pain
                                                                                                         syndromes, included on the basis
                                                                                                         of their symptomatology."
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945-306      Serpell        "The following changes in mean final week             "The most common adverse events in the GBP           Conclusions section of abstract:
             2002.Conf. Abs pain score from baseline were noted: a                [gabapentin] group, dizziness and somnolence, were   - Gabapentin, at doses up to 2400
                            decrease of 1.5 points (21%), from 7.1 to 5.6,        predominantly mild to moderate in intensity,         mg/day, reduced pain in difficult-to-
                            in the GBP [gabapentin] group and a 1-point           occurred early during treatment, and tended to       treat patients with a variety of
                            decrease (14%), from 7.3 to 6.3, in the PBO           resolve with continued treatment (Table 2). The      resistant neuropathic pain
                            [placebo] group. Significant difference               percentage of withdrawals due to adverse events      syndromes, such as complex
                            between GBP and PBO were observed using               (16%) was similar in the two treatment groups."      regional pain syndrome (28%),
                            7-day last observation carried forward                                                                     postherpetic neuralgia (14%), other
                            methodology (P = .048, based on ANCOVA                                                                     post-surgical pain (9%),
                            of ranks; Figure 1)."                                                                                      radiculopathy (9%), and
                                                                                                                                       postlaminectomy pain (7%). The
                                 "The differences in mean pain scores                                                                  majority of these patients (97%)
                                 between the GBP and PBO groups reached                                                                had pain that was refractory to
                                 statistical significance during weeks 1, 3, 4,                                                        other treatments.
                                 and 5 (P < .05, weeks 1, 3, 5; P = .01, week
                                 4; Figure 1). A trend toward significance was                                                         - Both patients and clinicians rated
                                 observed at week 6 (P = .05)."                                                                        significantly more patients in the
                                                                                                                                       gabapentin group as "very much" or
                                                                                                                                       "much improved" compared with
                                                                                                                                       patients in the placebo group.

                                                                                                                                       - Patients in the gabapentin group
                                                                                                                                       experienced significantly greater
                                                                                                                                       improvements in outcome
                                                                                                                                       measures reflecting quality of life.

                                                                                                                                       - Except for dizziness and
                                                                                                                                       somnolence, adverse events were
                                                                                                                                       comparable in the treatment and
                                                                                                                                       placebo groups. Dizziness and
                                                                                                                                       somnolence, when they occurred,
                                                                                                                                       were generally mild to moderate
                                                                                                                                       and transient."
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945-411      945-411.RR          "Percent reduction in pain score is -44.025 for      [Synopsis of report]:                                    [Synopsis of report]:
                                 fixed dose and -56.795 for titration dose with       "Sixteen patients withdrew due to adverse events.        "In patients with painful diabetic
                                 significant difference." [This analysis used         Adverse events in this open-label study were             neuropathy, gabapentin titrated
                                 data from the ITT population]                        consistent with known side effects of gabapentin,        dose produced statistically and
                                                                                      the most common being somnolence and dizziness."         clinically superior pain relief
                                                                                                                                               compare with fixed dose."
                                                                                                                                               "There were no deaths during the
                                                                                                                                               study, and the adverse events were
                                                                                                                                               consistent with known side effects
                                                                                                                                               of gabapentin."

                                                                                                                                               [There was no discussion section in
                                                                                                                                               the research report.]
945-411      Gomez-Perez    "Primary efficacy outcome                                 "- Gabapentin was well tolerated. The types and          "CONCLUSION"
             2002.Conf. Abs - Titration of gabapentin to clinical effect              incidences of AEs were similar in the two groups,        "- Titration of gabapentin to clinical
                            produced a significantly greater percent                  although dizziness and somnolence were slightly          effect may be more appropriate
                            reduction in final weekly mean pain score                 more common in the titration-to-clinical-effect group    than a fixed-dose regimen in the
                            from baseline than did fixed-dose gabapentin              (Table 3)."                                              management of patients with pain
                            (ITT: 53.6% vs 43.3%; P = .009).                                                                                   associated with diabetic
                                                                                      - Of the 339 patients in the safety population, 16       neuropathy."
                                 - Weekly mean pain scores were lower in the          (4.7%) withdrew from the study due to AEs (seven in
                                 titration-to-clinical-effect group than the fixed-   the titration-to-clinical-effect group and nine in the   "SUMMARY"
                                 dose group beginning at week 2, and this             fixed-dose group)."                                      "- Gabapentin was effective in
                                 difference was magnified over time (ITT: P =                                                                  treating pain associated with DPN.
                                 .002 at week 7; Figure 1).
                                                                                                                                               - Titration of gabapentin to clinical
                                 - The mean final dose in the titration-to-                                                                    effect (up to 3600 mg/day) provided
                                 clinical-effect group was 1936 mg/day."                                                                       significantly superior pain relief
                                                                                                                                               than a commonly used fixed-dose
                                                                                                                                               regimen (900 mg/day), with similar
                                                                                                                                               tolerability.

                                                                                                                                               - In the titration group, the mean
                                                                                                                                               final daily dose was 1936 mg/day
                                                                                                                                               and the mean effective daily dose
                                                                                                                                               in responders was 1686 mg/day.

                                                                                                                                               - Titration of gabapentin also
                                                                                                                                               significantly improved sleep
                                                                                                                                               compared with the fixed-dose
                                                                                                                                               regimen."
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945-411      Gomez-Perez         "Gabapentin produced a significantly greater        "The types and incidences of AEs were comparable            Abstract of report:
             2004                reduction in final weekly mean pain scores          between the two treatment groups."                          Titration to clinical effect offered
                                 from baseline when titrated to clinical effect (!                                                               superior efficacy in treating PDN
                                 50% reduction in pain at doses of 900-3,600         "The most common AEs in the titration-to-clinical-          compared to a low fixed-dose
                                 mg/day) than when administered as a fixed-          effect and fixed-dose groups were somnolence                treatment."
                                 dose regimen (900 mg/day) (ITT: 53.6% vs.           (20.1% vs. 15.3%, respectively) and dizziness
                                 43.3%; p=0.009)."                                   (16.6% vs. 13.5%, respectively)."                           Discussion section of report:
                                                                                                                                                 "The results of this trial are
                                 "Weekly mean pain scores were lower in the          "Seven subjects taking study medication                     significant in demonstrating that
                                 titration-to-clinical-effect group than in the      experienced a serious AE of which four were in the          titration of gabapentin to clinical
                                 fixed-dose group beginning at week 2 and            titration-to-clinical-effect group and three were in the    effect using doses within the range
                                 this difference increased over time (ITT:           fixed-dose group."                                          of 900-3,600 mg/day offered
                                 p=0.002 at week 7) (figure 1)."                                                                                 superior efficacy and clinical
                                                                                     "Of the 339 subjects in the safety population, 16           outcomes without compromising
                                                                                     (4.7%) withdrew from the study due to AEs (seven            safety or tolerability when
                                                                                     of 169 in the titration-to-clinical-effect group and 9 of   compared to that of a commonly
                                                                                     170 in the fixed-dose group)."                              used low fixed-dose treatment
                                                                                                                                                 algorithm."
                                                                                     "Five (1.47%) patients of all randomised patients
                                                                                     that received at least one dose of study drug               "Subjects in the titration to clinical
                                                                                     withdrew from the study because of lack of efficacy         effect treatment group in this trial
                                                                                     and six (1.77%) of these patients withdrew from the         achieved a mean dose of 1,936
                                                                                     study for other reasons."                                   mg/day (approximately 645 mg
                                                                                                                                                 TID), compared with 900 mg/day in
                                                                                     "All AEs leading to withdrawal were mild or                 the fixed dose arm."
                                                                                     moderate in intensity, except for severe dizziness in
                                                                                     one subject receiving fixed-dose gabapentin and             "The data presented here suggest
                                                                                     severe sciatic nerve pain in one subject receiving          that most Latin American subjects
                                                                                     gabapentin titrated to clinical effect."                    with PDN currently may not be
                                                                                                                                                 receiving adequate doses of
                                                                                                                                                 gabapentin to achieve full analgesic
                                                                                                                                                 potential."

                                                                                                                                                 "Previous studies have shown
                                                                                                                                                 gabapentin is well tolerated,
                                                                                                                                                 superior to placebo, and equivalent
                                                                                                                                                 to amitryptiline in the treatment of
                                                                                                                                                 neuropathic pain." [Citation to
                                                                                                                                                 references in original text for this
                                                                                                                                                 statement, not listed here, do not
                                                                                                                                                 include all relevant trials].
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                                                                                                                                                 "Gabapentin also has limited

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                                                                                                         effects on cognition when
                                                                                                         compared to traditional AEDs. This
                                                                                                         implies that a wide range of doses
                                                                                                         may be used, based on individual
                                                                                                         subject needs, without significant
                                                                                                         limitation from dose-dependent side
                                                                                                         effects. Indeed, gabapentin titrated
                                                                                                         to clinical effect had a favourable
                                                                                                         side effect profile in this study and
                                                                                                         was well tolerated by subjects."
                                                                                                         [Omitted citation to references in
                                                                                                         original text].

                                                                                                         Adverse events reported here were
                                                                                                         consistent with known side effects
                                                                                                         of gabapentin, with only marginally
                                                                                                         and non-significant higher rates of
                                                                                                         somnolence and dizziness in
                                                                                                         subjects receiving gabapentin
                                                                                                         titrated to effect."

                                                                                                         "In summary, the present controlled
                                                                                                         trial demonstrated that titration of
                                                                                                         gabapentin to clinical effect (! 50%
                                                                                                         reduction in pain) provides
                                                                                                         significantly superior pain reduction
                                                                                                         in subjects with painful diabetic
                                                                                                         neuropathy compared with
                                                                                                         conventional fixed dosing."
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A945-1008    A945-               "These results are summarized for the ITT         "There was a difference of at least 5% in the          [Synopsis of report]:
             1008.Final          population in Table 13.5.2.2 and the following    proportion of subjects in the gabapentin group         "Gabapentin showed statistically
             Study Report        table."                                           compared with the placebo group reporting asthenia     significant improvement in mean
                                                                                   (11.0% and 4.2%, respectively), headache (10.0%        pain scores, responder rates and
                                 [Table on page 45 with "Source: Table             and 3.2%, respectively), peripheral edema (16.5%       pain-related sleep interference
                                 13.5.2.2" indicates that least squares mean       and 3.7%, respectively), dizziness (19.0% and 7.9%,    compared to placebo. Gabapentin
                                 adjusted mean (standard error) was 4.01           respectively), somnolence (15.5% and 4.2%,             was generally well-tolerated when
                                 (0.17) for gabapentin and 4.78 (0.18) for         respectively) and respiratory tract infections (9.0%   used in diabetic subjects with DPN
                                 placebo. The p-value for the difference was       and 3.7%, respectively)."                              at a dose of up to 3600 mg/day."
                                 0.0008."
                                                                                                                                          [Summary and Conclusions section
                                 "An analysis of change from baseline to                                                                  of report]:
                                 endpoint in weekly mean pain scores showed                                                               "Subjects receiving gabapentin had
                                 similar results to the primary analysis for the                                                          significant improvement in their
                                 ITT and Evaluable populations (Tables                                                                    mean pain scores at endpoint
                                 13.5.2.3 and 13.5.2.3A)."                                                                                compared to placebo (p=0.0008)."

                                                                                                                                          "In conclusion, gabapentin showed
                                                                                                                                          significant improvement in mean
                                                                                                                                          pain scores, responder rates and
                                                                                                                                          pain-related sleep interference
                                                                                                                                          compared to placebo. Gabapentin
                                                                                                                                          was generally well tolerated when
                                                                                                                                          used in diabetic subjects with DPN
                                                                                                                                          at a dose of up to 3600 mg/day."
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                                                                                                                                        with results with results
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Unavailable- Dallocchio 2000 "In the GBP [gabapentin] and AMI                    "Four patients in the GBP group reported side         Abstract of report:
Dallocchio                   [amitryptiline] groups, the mean final pain         effects (two dizziness, one somnolence, and one       "Gabapentin produced greater
                             scores were 1.0 (1.9 lower than baseline            ataxia) comapred with 11 patients in the AMI group    improvements than amitryptiline in
                             value, Wilcoxon test, P < 0.01) and 1.5 (1.3        (somnolence, dizziness, and dry mouth were the        pain and paresthesia associated
                             below baseline, Wilcoxon test, P< 0.01),            most common). The difference in frequency of side     with diabetic neuropathy.
                             respectively."                                      effects between the two therapies was statistically   Additionally, gabapentin was better
                                                                                 significant (Fisher's exact test: P = 0.003)."        tolerated than amitryptiline. Further
                                 "The efficacy of GBP in reducing pain score                                                           controlled trials are needed to
                                 was significantly superior in comparison with                                                         confirm these preliminary results."
                                 AMI (Mann-Whitney U-Test, P = 0.026)."
                                                                                                                                       Discussion section of report:
                                                                                                                                       "In this open-label comparison
                                                                                                                                       between GBP [gabapentin] and
                                                                                                                                       AMI [amitryptiline] in the treatment
                                                                                                                                       of patients with painful diabetic
                                                                                                                                       neuropathy, both drugs were shown
                                                                                                                                       to be effective, but GBP was
                                                                                                                                       statistically better than AMI in
                                                                                                                                       relieving pain and paresthesia."

                                                                                                                                       "In addition, AMI caused
                                                                                                                                       statistically more side effects than
                                                                                                                                       GBP. Side effects of AMI, such as
                                                                                                                                       dry mouth and orthostatic
                                                                                                                                       hypotension, are particularly poorly
                                                                                                                                       tolerated by elderly patients, who
                                                                                                                                       often would rather accept a residual
                                                                                                                                       pain than continue taking AMI."

                                                                                                                                       "The results of this trial cannot be
                                                                                                                                       considered conclusive because of
                                                                                                                                       the small sample size and lack of
                                                                                                                                       blinding. However, poss ble biases
                                                                                                                                       due to lack of blinding were
                                                                                                                                       reduced by the use of
                                                                                                                                       randomization."

                                                                                                                                       "Moreover the trial was performed
                                                                                                                                       in 1997, when GBP had been
                                                                                                                                       available in Italy for the treatment of
                                                                                                                                       epilepsy just for 1 year and
                                                                                                                                       neurologists had not yet used the
                                                                                                                                                                                                           Case 1:04-cv-10981-PBS Document 1457-20 Filed 10/06/08 Page 143 of 195




                                                                                                                                       new drug for pain. Therefore,

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                                                                                                                                         consistent  consistent
                                                                                                                                        with results with results
                                                                                                                                          (Report)     (Report)

                                                                                                         neither physicians nor patients had
                                                                                                         biases toward which drug might be
                                                                                                         better."

                                                                                                         "Regardless, the results from this
                                                                                                         study are preliminary and need to
                                                                                                         be confirmed in a larger, double-
                                                                                                         blind trial."
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                                                                                                                                         consistent  consistent
                                                                                                                                        with results with results
                                                                                                                                          (Report)     (Report)

Unavailable- Draft Gorson to     "There was a substantial reduction in all pain   "Sixteen patients reported adverse effects from       Abstract of report:
Gorson       Magistro 1997       scores during treatment with gabapentin,         gabapentin compared to five from placebo (p = 0.01,   "Gabapentin, at a dose of 900
                                 however, there was also significant              Fisher's exact test)."                                mg/day, is probably no more
                                 improvement in the composite VAS during                                                                effective than placebo in the
                                 treatment with placebo."                         "The most common side effects from gabapentin         treatment of painful diabetic
                                                                                  were drowsiness (six patients), fatigue (four), and   neuropathy."
                                 "The mean reduction in the MPQ score was         imbalance (three)."
                                 8.9 points with gabapentin compared to 2.2                                                             Discussion section of report:
                                 points with placebo (p = 0.03)."                 "Diarrhea, tremulousness, ankle swelling and          "The results of this study suggest
                                                                                  cramps were reported by two patients each."           that gabapentin is probably
                                 "There were no differences between the                                                                 ineffective or is only minimally
                                 mean change in the composite VAS or PPI          "One patient each reported dizziness, slurred         effective for the treatment of painful
                                 scores (Table 3)."                               speech, nausea, and impaired memory."                 diabetic neuropathy at a dosage of
                                                                                                                                        900 mg/day."
                                 "Seventeen patients reported moderate to         "All adverse effects resolved promptly after
                                 excellent pain relief with gabapentin            discontinuation of the drug."                         "The borderline improvement in the
                                 compared to nine with placebo (p = 0.11,                                                               MPQ score is consistent with the
                                 McNemar test)."                                                                                        lack of improvement in the other
                                                                                                                                        scales and suggests that the
                                                                                                                                        poss bility of at Type II error (not
                                                                                                                                        detecting a benefit when one is
                                                                                                                                        present) is small."

                                                                                                                                        "Nonetheless, a substantial number
                                                                                                                                        of patients (16 of 40, 40%)
                                                                                                                                        completing the study reported side
                                                                                                                                        effects, most commonly sedation,
                                                                                                                                        and four others dropped out
                                                                                                                                        because of adverse effects. This
                                                                                                                                        may have practical implications for
                                                                                                                                        the design of future studies of
                                                                                                                                        gabapentin; higher doses might
                                                                                                                                        produce greater analgesia but dose
                                                                                                                                        escalation may be limited by side
                                                                                                                                        effects."

                                                                                                                                        "The beneficial effect of the
                                                                                                                                        medication in some patients in our
                                                                                                                                        study and the borderline
                                                                                                                                        improvement in the McGill Pain
                                                                                                                                        Questionnaire score suggest that
                                                                                                                                        gabapentin may be effective in
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                                                                                                                                        higher doses and support the need

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                                                                                                         for further study of high-dose
                                                                                                         gabapentin (up to 3600 mg/day) in
                                                                                                         the treatment of painful diabetic
                                                                                                         neuropathy."
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                                                                                                                                        with results with results
                                                                                                                                          (Report)     (Report)

Unavailable- Draft Magistro      "There was a substantial reduction in all pain   "Sixteen patients reported adverse effects from       Abstract of report:
Gorson       Internal 1998       scores during treatment with gabapentin,         gabapentin compared to five from placebo (p = 0.01,   "Gabapentin may be effective in the
                                 however, there was also significant              Fisher's exact test)."                                treatment of painful diabetic
                                 improvement in the VAS score during                                                                    neuropathy. Our results suggest
                                 treatment with placebo."                         "The most common side effects from gabapentin         that further studies evaluating
                                                                                  were drowsiness (six patients), fatigue (four), and   higher dosages of gabapentin are
                                 "The mean reduction in the MPQ score was         imbalance (three)."                                   warranted."
                                 8.9 points with gabapentin compared to 2.2
                                 points with placebo (p = 0.03)."                 "Diarrhea, tremulousness, ankle swelling and          Discussion section of report:
                                                                                  cramps were reported by two patients each."           "This study suggests that
                                 "There were no differences in the mean                                                                 gabapentin may be effective for the
                                 change of the VAS or PPI scores between          "One patient each reported dizziness, slurred         treatment of painful diabetic
                                 gabapentin and placebo (Table 4)."               speech, nausea, and impaired memory."                 neuropathy. There was statistically
                                                                                                                                        significant improvement in the
                                 "Seventeen patients reported moderate to         "All adverse effects resolved promptly after          MPQ, VAS and PPI scores
                                 excellent pain relief with gabapentin            discontinuation of the drug."                         between baseline and the end of
                                 compared to nine with placebo (p = 0.11,                                                               the treatment within the gabapentin
                                 McNemar test)."                                                                                        group. We also observed
                                                                                                                                        significant improvement in the
                                                                                                                                        maen change in one of the three
                                                                                                                                        pain scales, the MPQ score, with
                                                                                                                                        gabapentin compared to placebo."

                                                                                                                                        "In our study the mean change of
                                                                                                                                        the VAS and PPI scales and the
                                                                                                                                        patient's global assessment of pain
                                                                                                                                        relief were not significanlty different
                                                                                                                                        from placebo. The lack of
                                                                                                                                        improvement in these pain scales
                                                                                                                                        may be related to methodological
                                                                                                                                        limitations of the study."

                                                                                                                                        "We used a crossover design
                                                                                                                                        because of its statistical efficiency,
                                                                                                                                        but the MPQ and VAS scores did
                                                                                                                                        not return to baseline after
                                                                                                                                        crossover in patietns who received
                                                                                                                                        gabapentin in phase I (the washout
                                                                                                                                        period was inadequate), and there
                                                                                                                                        was a treatment order effect for the
                                                                                                                                        PPI score; therefore we may have
                                                                                                                                        underestimated improvement with
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                                                                                                                                        gabapentin in the VAS and PPI

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                                                                                                         scales that may have been
                                                                                                         detected using a parallel group
                                                                                                         design with a larger number of
                                                                                                         patients."

                                                                                                         "In addition, the substantial number
                                                                                                         of patients (nine of 40, 23%)
                                                                                                         reporting moderate or excellent
                                                                                                         pain relief and the significant
                                                                                                         improvement in the mean VAS with
                                                                                                         placebo underscores, as others
                                                                                                         have pointed out, the importance of
                                                                                                         the placebo response in treating
                                                                                                         painful diabetic neuropathy."
                                                                                                         [Omitted citation to reference in
                                                                                                         original text].

                                                                                                         "We used a low, stable dosage of
                                                                                                         gabapentin to avoid unblinding and
                                                                                                         adverse effects that occur
                                                                                                         frequently with chronic analgesics
                                                                                                         and did not titrate the drug to
                                                                                                         highest tolerated dosage as was
                                                                                                         done in other studies of painful
                                                                                                         diabetic neuropathy. Nonetheless,
                                                                                                         a number of patients (16 of 40,
                                                                                                         40%) completing the study reported
                                                                                                         side effects from gabapentin, most
                                                                                                         commonly sedation, and four
                                                                                                         others dropped out because of
                                                                                                         adverse effects."

                                                                                                         "The beneficial effect of the
                                                                                                         medication in many patients in our
                                                                                                         study suggests that gabapentin
                                                                                                         should be studied in higher doses
                                                                                                         in the treatment of painful diabetic
                                                                                                         neuropathy."
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 number          code                                                                                     discussion sections (Report) in discussion in abstract
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                                                                                                                                        with results with results
                                                                                                                                          (Report)     (Report)

Unavailable- Gorson 1998         [No clear distinction between primary and          Not mentioned.                                          "Gabapentin may be effective in the
Gorson                           secondary efficacy parameters.]                                                                            treatment of painful diabetic
                                                                                                                                            neuropathy. Our results suggest
                                 "There was substantial reduction in the mean                                                               that further studies evaluating
                                 MPQ (P < 0.005), AS (p = 0.001) and PPI (p                                                                 higher doses of gabapentin are
                                 = 0.008) scores in patients treated with                                                                   warranted."
                                 placebo."

                                 "There was a mean reduction of 8.9 points in
                                 the MPQ score with gabapentin compared to
                                 2.2 points with placebo (p = 0.03)."

                                 "The mean change of the VAS (drug, 1.8
                                 points; placebo, 1.4 points; p = 0.42) and PPI
                                 (drug, 1.2; placebo, 0.3; p = 0.2) and the
                                 number of patients who reported pain relief as
                                 moderate or excellent (drug, 17 of 40;
                                 placebo, 9 of 40; p = 0.1) were similar."
Unavailable- Gorson 1999         Not mentioned.                                     "Adverse events were significantly more common          "The results of this study suggest
Gorson                                                                              with gabapentin (12 patients) compared with             that gabapentin is probably
                                 "There was statistical improvement in only         placebo (four patients, p<0.001, McNemar's test)."      ineffective or only minimally
                                 one of four end points, the MPQ score, with                                                                effective for the treatment of painful
                                 gabapentin compared with placebo." [Table          "The most common side effects of gabapentin were        diabetic neuropathy at a dosage of
                                 reports p-value for this comparison as 0.03].      drowsiness (six patients), fatigure (four), imbalance   900 mg/day."
                                                                                    (three). All adverse events resolved promptly after
                                 "The mean change of the VAS and PPI                discontinuation of the drug."                           "Because of the heterogeneous
                                 scales and the patient's global assessment of                                                              nature of neuropathic pain in our
                                 pain relief were not statistically significantly                                                           study patients, we may not have
                                 different from placebo."                                                                                   identified a subset of patients who
                                                                                                                                            improved with gabapentin."

                                                                                                                                            "Alternatively, the dosage of
                                                                                                                                            gabapentin may have been too low
                                                                                                                                            to induce analgesia in patients with
                                                                                                                                            painful diabetic neuropathy,
                                                                                                                                            although similar regimens have
                                                                                                                                            been reported to be effective in
                                                                                                                                            patients with other painful
                                                                                                                                            conditions." [Omitted citation to
                                                                                                                                            references in original text].
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                              Appendix B

                      List of Documents Reviewed
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List of Documents Reviewed


Publications
      1.       Wessely P, Baumgartner C, Klingler D, et al. Preliminary results of a
               double-blind study with the new migraine prophylactic drug Gabapentin.
               Cephalalgia 1987; 7(suppl 6).
      2.       Mathew NT, Rapoport A, Saper J et al. Efficacy of Gabapentin in Migraine
               Prophylaxis. Headache 2001; 41:119-128.
      3.       Gorson KC, Schott C, Rand WM, et al. Gabapentin in the Treatment of
               Painful Diabetic Neuropathy: A Placebo-Controlled, Double-Blind,
               Crossover Trial. J Neurol Neurosurg Psychiatry. 1999; 66:251-252.
      4.       Backonja M, Beydoun A, Edwards KR, et al. Gabapentin for the
               Symptomatic Treatment of Painful Neuropathy in Patients with Diabetes
               Mellitus. A Randomized Controlled Trial. JAMA 1998; 280:1831-6.
      5.       Backonja M, Glanzman RL. Gabapentin Dosing for Neuropathic Pain:
               Evidence from Randomized, Placebo-Controlled Clinical Trials. Clinical
               Therapeutics 2003; 25:81-104.
      6.       Rowbotham M, Harden N, Stacey B, et al. Gabapentin for the Treatment
               of Postherpetic Neuralgia: A Randomized Controlled Trial. JAMA 1998;
               280:1837-42.
      7.       Caraceni A, Zecca E, Bonezzi C, et al. Gabapentin for Neuropathic
               Cancer Pain: A Randomized Controlled Trial From the Gabapentin Cancer
               Pain Study Group. J Clin Oncol 2004; 22:2909-17.
      8.       Rice AS, Maton S, Postherpetic Neuralgia Group. Gabapentin in
               postherpetic neuralgia: a randomized, double blind, placebo controlled
               study. Pain 2001; 94:215-24.
      9.       Serpell MG, Neuropathic Pain Study Group. Gabapentin in neuropathic
               pain syndromes: a randomised, double-blind, placebo-controlled trial. Pain
               2002; 99:557-66.




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     10.   Gómez-Pérez FJ, Perez-Monteverde A, Nascimento O, et al. Gabapentin
           for the treatment of painful diabetic neuropathy: dosing to achieve optimal
           clinical response. British Journal of Diabetes and Vascular Disease 2004;
           4:173-8.
     11.   Dallocchio C, Buffa C, Mazzarello P, et al. Gabapentin vs. Amitriptyline in
           Painful Diabetic Neuropathy: An Open-Label Pilot Study, Journal of Pain
           and Symptom Management 2000; 20:280-5.
     12.   Morello C, Leckband SG, Stoner CP, et al. Randomized Double-blind
           Study Comparing the Efficacy of Gabapentin With Amitriptyline on
           Diabetic Peripheral Neuropathy Pain. Arch Intern Med 1999;
           13;159:1931-7.
     13.   Vieta E, Goikolea JM, Martínez-Arán A, et al. A Double-Blind,
           Randomized, Placebo-Controlled, Prophylaxis Study of Adjunctive
           Gabapentin for Bipolar Disorder. J Clin Psychiatry 2006; 67:473-7.
     14.   Pande AC, Davidson JRT, Jefferson JW. Treatment of Social Phobia With
           Gabapentin : A Placebo-Controlled Study. J Clin Psychopharmacology
           1999 ; 19:341-8.
     15.   Pande AC, Pollack MH, Crockatt J, et al. Placebo-Controlled Study of
           Gabapentin Treatment of Panic Disorder. J Clin Psychopharmacology
           2000; 20:467-71.


Research Reports
     1.    Research Report 4301-00066
     2.    Research Report 995-00074
     3.    Research Report 995-00085
     4.    Research Report 720-03908
     5.    Research Report 720-04130
     6.    Research Report 995-00070
     7.    Research Report 430-00124
     8.    Research Report 430-00125

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    9.      Research Report 720-04378
    10.     Research Report 720-04479
    11.     Research Report 720-30044
    12.     Research Report 720-04481
    13.     Research Report 720-004455
    14.     Research Report 720-004483
    15.     Research Report 720-004471
    16.     Research Report 720-04174
    17.     Research Report 945-291
    18.     Final Study Report 945-291
    19.     Research Report 720-03850
    20.     Research Report 720-03851


Documents
    1.      16792.pdf from Neurontin Intranet Site\ICNep
    2.      16887.pdf from Neurontin Intranet Site\ICNep
    3.      16888.pdf from Neurontin Intranet Site\ICNep
    4.      16888.pdf from Neurontin Intranet Site\ICNep
    5.      16889.pdf from Neurontin Intranet Site\ICNep
    6.      1998 Gorson Neurology.pdf
    7.      FAL_0007867
    8.      FAL_0007867
    9.      FAL_0007867
    10.     GorsonLetterToEditor.pdf
    11.     MAC_0001296
    12.     MAC_0001691
    13.     MAC_0002919
    14.     MAC_0003664
    15.     MAC_E_0051950
    16.     MDL_SM_01136
    17.     MDL_SM_01136

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  18.   MDL_SM_01136
  19.   Pfizer documents relating to 945-291
  20.   PFIZER_AFANNON_0012222
  21.   PFIZER_APANDE_0003413
  22.   PFIZER_APANDE_0005005
  23.   PFIZER_APANDE_0005027
  24.   PFIZER_APANDE_0005031
  25.   PFIZER_APANDE_0005049
  26.   PFIZER_APANDE_0005049
  27.   PFIZER_APANDE_0005053
  28.   PFIZER_APANDE_0005053
  29.   PFIZER_APANDE_0005055
  30.   PFIZER_BPARSONS_0030122
  31.   PFIZER_CGROGAN_0012128
  32.   PFIZER_CTAYLOR_0004655
  33.   PFIZER_CTAYLOR_0033400 (Excerpted from Pfizer_CTaylor_0032941)
  34.   PFIZER_CWOHLHUTER_0010658
  35.   PFIZER_DPROBERT_0007525
  36.   PFIZER_DPROBERT_0007533
  37.   PFIZER_DPROBERT_0007538
  38.   PFIZER_DPROBERT_0007543
  39.   PFIZER_DPROBERT_0007548
  40.   PFIZER_DPROBERT_0007559
  41.   PFIZER_DPROBERT_0007581
  42.   PFIZER_EDUKES_0000057
  43.   PFIZER_JSU_0022591
  44.   PFIZER_LCASTRO_0002678
  45.   PFIZER_LCASTRO_0002678
  46.   PFIZER_LCASTRO_0002971
  47.   PFIZER_LCASTRO_0005618
  48.   PFIZER_LCASTRO_0008182

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  49.   PFIZER_LCASTRO_0010377
  50.   PFIZER_LCASTRO_0012434
  51.   PFIZER_LCASTRO_0012442
  52.   PFIZER_LCASTRO_0026332
  53.   PFIZER_LCASTRO_0027113
  54.   PFIZER_LCASTRO_0043325
  55.   PFIZER_LESLIETIVE_0006923
  56.   PFIZER_LESLIETIVE_0020631
  57.   PFIZER_LESLIETIVE_0020631
  58.   PFIZER_LESLIETIVE_0020834
  59.   PFIZER_LESLIETIVE_0020835
  60.   PFIZER_LESLIETIVE_0020840
  61.   PFIZER_LESLIETIVE_0020880
  62.   PFIZER_LESLIETIVE_0020922
  63.   PFIZER_LESLIETIVE_0020949
  64.   PFIZER_LESLIETIVE_0020985
  65.   PFIZER_LESLIETIVE_0033161
  66.   PFIZER_LESLIETIVE_0033286
  67.   PFIZER_LESLIETIVE_0035819
  68.   PFIZER_LESLIETIVE_0076418
  69.   PFIZER_LESLIETIVE_0091354
  70.   PFIZER_LESLIETIVE_0091354
  71.   PFIZER_LKNAPP_0006623
  72.   PFIZER_LKNAPP_0006960
  73.   PFIZER_LKNAPP_0021706
  74.   PFIZER_LKNAPP_0029367
  75.   PFIZER_LKNAPP_0050385
  76.   PFIZER_LKNAPP_0053962
  77.   PFIZER_LKNAPP_0062214
  78.   PFIZER_LKNAPP_0071019
  79.   PFIZER_LKNAPP_0071188

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  80.   PFIZER_LKNAPP_0071199
  81.   PFIZER_LKNAPP_0071575
  82.   PFIZER_LKNAPP_0072109
  83.   PFIZER_LKNAPP_0098666
  84.   PFIZER_LKNAPP_0104674
  85.   PFIZER_LKNAPP_0107849
  86.   PFIZER_LKNAPP_0112244
  87.   PFIZER_LKNAPP_0112829
  88.   PFIZER_LKNAPP_0115499
  89.   PFIZER_LKNAPP_0115557
  90.   PFIZER_LKNAPP_0116131
  91.   PFIZER_LKNAPP_0138244
  92.   PFIZER_LKNAPP_0142441
  93.   PFIZE_LLAMOREAUX_0025272
  94.   PFIZER_MDL_0000452
  95.   PFIZER_MDL_0000452
  96.   PFIZER_MDL_0000452
  97.   PFIZER_MDL_0002957
  98.   PFIZER_MDL_0002978
  99.   PFIZER_MGARCIA_0002894
  100. PFIZER_MPATEL_0203692
  101. PFIZER_MPIERCE_0000798
  102. PFIZER_MYODER_0000926
  103. PFIZER_RGLANZMAN_0001383
  104. PFIZER_RGLANZMAN_0019867
  105. PFIZER_RGLANZMAN_0019903
  106. PFIZER_RGLANZMAN_0035995
  107. PFIZER_RGLANZMAN_0040034
  108. PFIZER_RGLANZMAN_0044634
  109. PFIZER_RGLANZMAN_0053506
  110. PFIZER_RGLANZMAN_0140655

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  111. PFIZER_RGLANZMAN_0146211
  112. PFIZER_RGLANZMAN_0146213
  113. PFIZER_SPIRON_0006057
  114. PFIZER_TMF_CRF_006783
  115. PFIZER_TMF_CRF_015313
  116. PFIZER_TMF_CRF_061889
  117. PFIZER_WSIGMUND_0000241
  118. WLC_CBU_030410
  119. WLC_CBU_037489
  120. WLC_FRANKLIN_0000016608
  121. WLC_FRANKLIN_0000047735
  122. WLC_FRANKLIN_0000052703
  123. WLC_FRANKLIN_0000053030
  124. WLC_FRANKLIN_0000080002
  125. WLC_FRANKLIN_0000081254
  126. WLC_FRANKLIN_0000081976
  127. WLC_FRANKLIN_0000081976
  128. WLC_FRANKLIN_0000088375
  129. WLC_FRANKLIN_0000088375
  130. WLC_FRANKLIN_0000088375
  131. WLC_FRANKLIN_0000088375
  132. WLC_FRANKLIN_0000089332
  133. WLC_FRANKLIN_0000100237
  134. WLC_FRANKLIN_0000100237
  135. WLC_FRANKLIN_0000100237
  136. WLC_FRANKLIN_0000100239
  137. WLC_FRANKLIN_0000100239
  138. WLC_FRANKLIN_0000100239
  139. WLC_FRANKLIN_0000100272
  140. WLC_FRANKLIN_0000100272
  141. WLC_FRANKLIN_0000100272

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  142. WLC_FRANKLIN_0000100273
  143. WLC_FRANKLIN_0000100273
  144. WLC_FRANKLIN_0000100273




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                              Appendix C

                     Kay Dickersin’s Curriculum Vitae
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                                                                                         1

                                     Curriculum Vitae

                                   Kay Dickersin, Ph.D.
                                         Professor
                                Department of Epidemiology
                       Johns Hopkins Bloomberg School of Public Health

PERSONAL DATA

Home address:                             Office address:

1402 Bolton Street                        Center for Clinical Trials
Baltimore, MD. 21217                      Room W5010 (mail)
Tel: 410-523-4749                         Baltimore, Md 21205
                                          Tel: 410-502-4421
                                          Fax: 410-502-4621
                                          Email: kdickers@jhsph.edu

EDUCATION AND TRAINING

1969 - 1971      Bennington College, Bennington, Vermont.
1974 B.A.        University of California, Berkeley. Zoology.
1975 M.A.        University of California, Berkeley. Zoology (cell biology).
1989 Ph.D.       The Johns Hopkins University, School of Hygiene and Public Health.
                     Epidemiology.
1999   M.A.      (ad eundem) Brown University.

PROFESSIONAL EXPERIENCE

Academic Appointments
2005 - present  Director, Center for Clinical Trials, Johns Hopkins Bloomberg School of
                   Public Health.
2005 - present  Professor, Department of Epidemiology, Johns Hopkins Bloomberg School of
                   Public Health.
2005 - present  Adjunct Professor, Medical Science, Brown University.
2002 - 2005     Professor, Medical Science, Brown University.
2000 - present  Adjunct Professor, Division of Clinical Care Research, Department of
                   Medicine, Tufts University School of Medicine.
1998 - present  Adjunct faculty, Department of Epidemiology and Preventive Medicine,
                   University of Maryland School of Medicine.
1998 - 2005     Director, Center for Clinical Trials and Evidence-based Health Care, Brown
                   University.
1998 - 2002     Associate Professor, Medical Science, Brown University.
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Kay Dickersin, PhD                                                                           2

PROFESSIONAL EXPERIENCE (cont’d)

Academic Appointments
1996 - 1998     Associate Professor (with tenure), Department of Epidemiology and
                   Preventive Medicine, University of Maryland School of Medicine.
                   (Primary appointment).
1996 - 1998     Associate Professor, Department of Ophthalmology, University of Maryland
                   School of Medicine.
1996 - 1998     Appointment, Program in Oncology, University of Maryland Medical System.
1991 - 2005     Lecturer, Department of Epidemiology, The Johns Hopkins University,
                   Bloomberg School of Public Health. Faculty, Center for Clinical Trials.
1991 - 1998     Graduate faculty, University of Maryland School of Medicine.
1989 - 1996     Assistant Professor, Department of Epidemiology and Preventive Medicine.
                   University of Maryland, School of Medicine. (Primary appointment
                   1992 - 1996).
1989 - 1996     Assistant Professor, Department of Ophthalmology, University of Maryland,
                   School of Medicine. (Primary appointment 1989 - 1992).
1989 - 1992     Director, Clinical Trials-Epidemiology Unit, Department of Ophthalmology,
                   University of Maryland School of Medicine.

Other Appointments
2002 - present  Director, US Cochrane Center, Providence, R.I. (2002-2005), Baltimore, Md
                   (2005-present).
1998 - 2002     Co-Director, New England Cochrane Center, Providence, R.I.
1993 - 1998     Director, Baltimore Cochrane Center, Baltimore, Md.

PROFESSIONAL ACTIVITIES

Society Membership and Leadership
Society for Clinical Trials. President (2008). Program Committee, 2001, 2005. Publications
   Committee, 2001- 2003. Board of Directors, 1997- 2000. Nominating Committee 1999, 2000
   (Chair). Student Scholarship Committee: 1984 - 1987.
Society for Epidemiologic Research.
Society for Research Synthesis Methodology.
American Association for the Advancement of Science.
American Epidemiological Society (elected 1999).

Participation on Advisory Panels

International
1991 - 1995      International Working Group on Registries of Clinical Trials, Steering
                     Committee. 1991 - 1995 (merged with Cochrane Collaboration Registries
                     of Clinical Trials Methods Working Group 1995).
1993 - 1996      Cochrane Collaboration, Steering Committee.
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Kay Dickersin, PhD                                                                           3

PROFESSIONAL ACTIVITIES (cont’d)

Participation on Advisory Panels
International
1996 - 1998       Cochrane Collaboration, Trials Registers Development Group, Co-convener.
                      (reconvened as Cochrane Controlled Trials Register/Central Advisory
                      Group 1998).
1996 - present    QUOROM (Quality of Reporting of Meta-analyses) Group.
1998 - 2005       Cochrane Collaboration, Cochrane Controlled Trials Register/CENTRAL
                      Advisory Group (to Steering Group), Convenor.
1999 - 2000       Cochrane Collaboration, Colloquium Policy Group. Co-convenor.
2002 - present    Cochrane Cancer Network Charity (UK), Senior Advisor.
2002 - present    Current Controlled Trials, International Advisory Group.
2002 - 2006       Cochrane Collaboration Thomas C. Chalmers, MD Award Committee (Chair,
                      2002-2003).
2003 - present    The Trial Bank Project, Advisory Group.
2003 - 2005       Cochrane Collaboration, Information Management Steering Group.
2003 - present    International Advisory Board. Important Achievements of Clinical Trials
                      (Project IMPACT).
2004 -2005        Consultant to Task Force on Knowledge Sharing and Access. World Health
                      Organization.
2005 - present    Co-Chair. Scientific Advisory Group. World Health Organization (WHO)
                      International Clinical Trials Registry Platform (ICTRP).
2005 - present    Reference Group, Concomitant Chemoradiation for Cervical Cancer. UK
                      Medical Research Council Clinical Trials Unit Meta-Analysis Group.
2005 - present    Investigator, Australian Clinical Trials Registry Enabling Grant

National
1991 - 2001      National Breast Cancer Coalition. Board of Directors, 1991 - 1994. Co-chair,
                    Research Task Force, 1991 - 1999. NBCC Clinical Trials Advisory
                    Committee, 1997 - 2000. NBCC Quality of Care Advisory Committee,
                    2000 - 2001; Beyond the Guidelines 2007 - present.
1994 - 2000      National Cancer Advisory Board (NCAB) (6 year appointment by President
                    William Jefferson Clinton).
1999 - 2001      Association of American Medical Colleges, Better_health 2010 Advisory
                    Board.
1999             Association for Health Services Research, Technical Advisory Group.
2001 - 2004      American Academy of Ophthalmology, Ophthalmic Technology Assessment
                    Committee, Pediatric Panel Methodologist.
2004 - 2008      Task Force on Community Services, Centers for Disease Control and
                    Prevention.
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PROFESSIONAL ACTIVITIES (cont’d)

Participation on Advisory Panels
Regional and Local
1987 - 1996       Arm-in-Arm, Co-Founder and Co-Director, 1987 - 1992. Vice-President, 1992
                     - 1996.
1990 - 1991       Maryland State Department of Health and Mental Hygiene, Maryland Cancer
                     Consortium for Data-Based Interventions, Breast Cancer Committee:
                     Screening Followup Subcommittee. Cancer Data Subcommittee.
1992 - 1993       Maryland Women’s Health Coalition, Board of Directors.
1994 - 1997       Telesonic Breast Cancer Information Project, Advisory Board, Annapolis, Md.
2000 - 2005       Rhode Island Breast Cancer Coalition, Board of Directors.

Data and Safety Monitoring Committees
1994 - 2007      ATLAS (Adjuvant Tamoxifen - Longer Against Shorter) Trial, UK.
1994 - 1996      National Surgical Adjuvant Breast Program Therapy Trials, National Cancer
                    Institute.
1994 - 1996      PORT II - Trial of the Value of Medical Testing Prior to Cataract Surgery.
                    Agency for Health Care Policy Research.
1995 - 1998      Phase III Multinational, Open-Label Study of Intravenous Recombinant
                    Humanized Anti-p185HER2 onoclonal Antibody (rhuMAb HER2) in Patients
                    with HER2/neu Overexpression and Metastatic Breast Cancer. Genentech,
                    Inc.
1997 - 2001      Naltrexone in the Treatment of Alcoholism. Veterans’ Administration
                    Cooperative Studies Program.
2004 - 2006      Rare Disease Clinical Research Network. National Institutes of Health.
2004 - 2007      DITPA, A Thyroid Hormone Analog to Treat Heart Failure: Phase II Trial.
                    Veterans’ Administration Cooperative Studies Program.
2007 - present   Risperidone Treatment for Military Service Related to Chronic Post-Traumatic
                    Stress Disorder. Veterans’ Administration Cooperative Studies Program.

Grants Reviewed/Site Visit Teams
International
1995             Medical Research Council, UK, Special Grant Review.
1997             National Health Service, UK National Cancer Research and Development
                     Programme, Special Grant Review
1997             Medical Research Council, UK, Special Grant Review.
1999             Medical Research Council, UK, Annual Clinical Trials Competition Grant
                     Review.
2000             Medical Research Council, UK, Health Services and Public Health Research
                     Board, Programme Grant Review.
2000             Medical Research Council, UK, Annual Clinical Trials Competition Grant
                     Review.
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PROFESSIONAL ACTIVITIES (cont’d)

Grants Reviewed/Site Visit Teams
International
2004             National Health Service, UK Research Methodology Programme Grant
                     Review.
2006             Swiss National Science Foundation. Special Grant Review.

National
1991             Agency for Health Care Policy and Research, Review Committee for
                    Development of Clinical Guidelines on Stroke Rehabilitation.
1992             Agency for Health Care Policy and Research, Cardiac Rehabilitation Review
                    Group.
1992             National Institutes of Health, National Heart Lung and Blood Institute, Special
                    Emphasis Review Group.
1993             New York Academy of Sciences, Special Conference Grant Review.
1994             Agency for Health Care Policy and Research, Grantsmanship Workshop for
                    Minority Health Care Centers.
1994             Agency for Health Care Policy and Research, Minority Health Care Center site
                    visit consultant.
1995, 1996       National Institutes of Health, National Eye Institute, Special Review
                    Committee.
1998, 1999       National Institutes of Health, National Eye Institute, Special Review
                    Committee.
1993 - 1996      Department of Defense Breast Cancer Research Program, Department of the
                    Army, United States Army Medical Research and Development.
                    Integration Panel.
1996             Agency for Health Care Policy and Research, Low Back Pain Special
                    Emphasis Panel.
1999             Department of Defense Breast Cancer Research Program. Ad hoc member
                    Integration Panel, Clinical Translational Research, Preliminary Peer Review
                    Panel.
2000             National Institutes of Health, National Institute of Mental Health, Center for
                    Scientific Review, Special Emphasis Panel.
2000             Massachusetts Department of Public Health, Breast Cancer Research Program,
                    Grant Review Committee
2000, 2002       Association of Teachers of Preventive Medicine (ATPM), Preventive Medicine
                    and Public Health Training Program, Fellowship Program, Reviewer.
2001             National Institutes of Health, National Cancer Institute, Center for Scientific
                    Review, Special Emphasis Panel.
2002             National Institutes of Health, National Institute of Child Health and Human
                    Development, Special Emphasis Panel.
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PROFESSIONAL ACTIVITIES (cont’d)

Grants Reviewed/Site Visit Teams
National
2003             National Cancer Institute, Scientific Review Group, Site Visit Team.
2003             National Institutes of Health, National Eye Institute, Special Review Group.
2004             National Institutes of Health, National Institute of Dental and Craniofacial
                     Research, Special Emphasis Panel.
2005 - present   Chair, National Eye Institute External Protocol Review Committee for the
                     Diabetic Retinopathy Clinical Research Network (DRCRnet).

Other Federal Service
1990 - 1993      Agency for Health Care Policy and Research, Guidelines Development for
                     Management of Cataract, Director of Literature Review.
1991             Centers for Disease Control, National Center for Health Statistics, and the
                     Office of Program Planning and Evaluation, Communicating Medical
                     Findings: Evaluation of Reporting Mechanisms Used for NHANES III
                     Participants.
1993 - 1995      National Cancer Institute, Division of Cancer Treatment, Breast Cancer
                     Working Group (subcommittee of Board of Scientific Counselors).
1993 - 1999      Department of Health and Human Services, National Action Plan on Breast
                     Cancer. Planning Committee, Co-Chairs Committee 1993 - 1994. Co-
                     Chair, Information Superhighway Planning Group 1994. Co-Chair,
                     Recruitment to Clinical Trials Working Group 1994 - 1999. Executive
                     Committee 1995 - 1996. Steering Committee 1995 - 1996.
1994             National Institutes of Health Consensus Development Conference Panel, Total
                     Hip Replacement. Office of Medical Applications of Research, Bethesda,
                     Md.
1994             National Institutes of Health, National Cancer Institute, Panel to Review
                     NSABP-06 Protocol.
1995             United States General Accounting Office, Technology Assessment Advisory
                     Panel.
1996 - 1997      National Cancer Institute, Clinical Trials Review Group.
1997 - 1998      National Cancer Institute Clinical Trials Information System Design Steering
                     Committee.
1997 - present   National Cancer Institute, PDQ Screening and Prevention Advisory Committee
                     Board.
1999             National Heart, Lung, and Blood Institute, Working Group on Adherence to
                     Medical and Lifestyle Interventions.
2000 - 2003      Food and Drug Administration, Oncologic Drugs Advisory Committee, Quality
                     of Life Subcommittee.
2000             Health Resources and Services Administration, Maternal and Child Health
                     Bureau, Expert Invitational Meeting on Women’s Health.
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PROFESSIONAL ACTIVITIES (cont’d)

Other Federal Service
2000             National Institutes of Health, Consensus Development Conference Panel,
                     Osteoporosis. Office of Medical Applications of Research, Bethesda, Md.
2000 - present   National Institutes of Health, Office of Medical Applications of Research
                     Discussion Group.
2000 - 2002      National Institutes of Health, National Eye Institute, Advisory Committee for
                     the Glaucoma Surgical Outcomes Pilot Study.

National Academy of Sciences/Institute of Medicine/National Research Council
1992 - 1993     Institute of Medicine, National Academy of Sciences, Vaccine Safety
                    Committee.
1993            Institute of Medicine, National Academy of Sciences, Committee to Advise the
                    Department of Defense on its FY 1993 Breast Cancer Program.
1993 - 1994     Institute of Medicine, National Academy of Sciences, Forum on Drug
                    Development.
1995            Institute of Medicine, National Academy of Sciences, Committee on Defense
                    Women’s Health Research.
1996 - 1997     Institute of Medicine, National Academy of Sciences, Committee to Review
                    the Department of Defense’s Breast Cancer Research Program.
1998 - 1999     Institute of Medicine, National Academy of Sciences, Committee to Study the
                    Reimbursement of Routine Patient Care Costs for Medicare Patients
                    Enrolled in Clinical Trials.
2001 - 2002     Institute of Medicine, National Academy of Sciences, Committee to Assess the
                    System for Protecting Human Research Subjects, Advisory Consultant.
2001 - 2004     National Research Council, National Academy of Sciences, Committee on
                    Research in Education.
2005 - 2007     Institute of Medicine, National Academy of Sciences, Committee on The
                    Review of Evidence on High Clinical Value Services.

EDITORIAL ACTIVITIES

Peer Review Activities
Reviewer (selected, last five years)
   American Journal of Epidemiology                JAMA
   Annals of Internal Medicine                     Journal of Clinical Epidemiology
   Archives of Ophthalmology                       J Women’s Health Gender-based Medicine
   BioMed Central                                  Lancet
   BMJ                                             New England Journal of Medicine
   Controlled Clinical Trials                      Ophthalmology
   Epidemiology                                    Science
   International Journal of Epidemiology           Statistics in Medicine
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Kay Dickersin, PhD                                                                               8

EDITORIAL ACTIVITIES (cont’d)

Peer Review Activities
Reviewer
Institute of Medicine, National Academy of Sciences, Reviewer for various reports. 1992, 1993,
    1996.
Office of Technology Assessment, Reviewer for various reports. 1993, 1994.
National Information Center on Health Services Research, Testing of HSRProj Database. 1994.
Maryland Science Center, Prototype national exhibit on women’s health. 1996.
Thomas C. Chalmers MD. Award Committee, Cochrane Collaboration. 2000 - 2006.
Society for Clinical Trials, abstract selection for Annual Meeting. 2001.
International Congress on Peer Review in the Biomedical Literature, abstract selection for
    meeting. 2001, 2005.
The Johns Hopkins University School of Medicine, IRB guidelines for determining an adequate
    and comprehensive literature search. 2001.
Department of Defense Breast Cancer Research Program, consumer abstract selection for Era of
    Hope meeting. 2002, 2005, 2008.
Milbank Memorial Fund, Milbank Report on Evaluating Health Services. 2004.
C2 Mosteller Award selection Committee. 2005; 2006.
MEDNET 2006, abstract selection for annual meeting. 2006.
Our Bodies, Ourselves: Menopause. 2006.
Cochrane Colloquium Workshop Selection, 2007.

Editorial Board Membership
1991 - 1998      Associate Editor, Online Journal of Current Clinical Trials.
1991 - 1993      Column Editor, Controlled Clinical Trials.
1994 - 1999      Associate Editor, Controlled Clinical Trials.
1996             Guest Editor Special Section: “Quality of the Medical Evidence: Is it Good
                    Enough?” Int J Health Care Technol Assess, 12:187-287, 1996.
1997 - present   Editorial Board, Health Expectations: An International Journal of Public
                    Participation in Health Care and Health Policy.
1997 - present   Editor, Cochrane Eyes and Vision Group.
2001 - present   Epidemiology Advisor, BioMed Central.
2003 - present   Editorial Board, Clinical Trials: Journal of the Society for Clinical Trials.
2005 - 2007      Advisory Board, PloS Clinical Trials.
2005 - present   Advisory Group, Trials.
2006 - present   Editorial Advisory Board, BMJ.

HONORS AND AWARDS

1971              Howard Hughes Fellowship in Medical Research, Harvard Medical School.
1980 - 1981       Public Health Traineeship, Johns Hopkins University, School of Hygiene and
                     Public Health.
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Kay Dickersin, PhD                                                                            9

HONORS AND AWARDS (cont’d)

1981              Selected for Student Workshop, Society for Epidemiology Research.
1993 - 1997       Frohlich Fellowship, New York Academy of Sciences.
1994              “Woman of Excellence,” National Association of Women Business Owners,
                      Baltimore Regional Chapter.
1995              Archie Cochrane Memorial Lecturer, Society for Social Medicine, UK.
1995              Ellen Barnett Memorial Award, Susan B. Komen Foundation Race for the
                      Cure.
1996              Women’s Hall of Fame, Baltimore City Commission for Women.
1998, 2006        “Maryland’s Top 100 Women,” Daily Record.
1998              MAMM magazine’s “50 Who Made a Difference.”
1999              Elected to membership, American Epidemiological Society.
2000              “Exceptional Advocate,” National Breast Cancer Coalition.
2007              “Contributions and enduring commitment to the eradication of cancer”,
                      American Association for Cancer Research
2007              Elected to membership, Institute of Medicine.

PUBLICATIONS

Journal Articles - Conventional Authorship
1. Sloboda R, Dickersin K. Protein composition of the cytoskeleton of nucleated
        erythrocytes. J Cell Biol 87:170-179, 1980.
2. Dickersin K, Hewitt P, Mutch L, Chalmers I, Chalmers TC. Comparison of MEDLINE
        searching with a perinatal clinical trials database. Controlled Clin Trials 6:306-317,
        1985.
3. Chalmers I, Hetherington J, Newdick M, Mutch L, Enkin E, Dickersin K. The Oxford
        Database of Perinatal Trials: Developing a register of published reports of controlled
        trials. Controlled Clin Trials 7:306-324, 1986
4. Dickersin K, Chan S, Chalmers TC, Sacks HS, Smith H, Jr. Publication bias and clinical
        trials. Controlled Clin Trials 8:343-353, 1987.
5. Dickersin K for the Panel. Report from the Panel on The Case for Registers of Clinical
        Trials. Controlled Clin Trials 9:76-81, 1988.
6. Hetherington J, Dickersin K, Chalmers I, Meinert C. Retrospective and prospective
        identification of unpublished controlled trials: Lessons from a survey of obstetricians
        and pediatricians. Pediatrics 84:374-380, 1989.
7. Chalmers I, Adams M, Dickersin K, Hetherington J, Tarnow-Mordi W, Meinert C,
        Tonascia S, Chalmers TC. A cohort study of summary reports of controlled trials.
        JAMA 263:1401-1405, 1990.
8. Dickersin K. The existence of publication bias and risk factors for its occurrence. JAMA
        263:1385-1389, 1990.
9. Dickersin K, Higgins K, Meinert C. Identification of meta-analysis: The need for standard
        terminology. Controlled Clin Trials 11:52-66, 1990.
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Kay Dickersin, PhD                                                                            10

PUBLICATIONS (cont’d)

Journal Articles - Conventional Authorship
10. Dickersin K, Min Y-I, Meinert CL. Factors influencing publication of research results:
        Followup of applications submitted to two institutional review boards. JAMA 267:374-
        378, 1992.
11. Dickersin K. Why register clinical trials? - Revisited. Controlled Clin Trials 13:170-177,
        1992.
12. Dickersin K, Garcia-Lopez F. Regulatory process effects clinical trial registration in Spain.
        Controlled Clin Trials 13:507-512, 1992.
13. Dickersin K, Berlin J. Meta-analysis: State-of-the-science. Epidemiol Rev 14:154-176,
        1992.
14. Dickersin K, Min Y-I. NIH clinical trials and publication bias. Online J Curr Clin Trials
        1993 April 28 (Doc No 50): [4967 words. 53 paragraphs].
15. O’Day DM, Steinberg EP, Dickersin K. Systematic literature review for clinical practice
        guideline development. Trans Am Ophthalmol Soc 91:421-438, 1993.
16. Scherer R, Dickersin K, Langenberg P. Full publication of results initially presented in
        abstracts: A meta-analysis. JAMA 272:158-152, 1994. Correction JAMA 272:1410,
        1994.
17. Dickersin K. Sobre la existencia y los factores de riesgo del sesgo de publicacion. Bol
        Oficina Sanit Panam 116:435-445, 1994 (reprinted from Dickersin K. JAMA
        263:1385-1389, 1990).
18. Dickersin K, Scherer R, Lefebvre C. Identification of relevant studies for systematic
        reviews. Br Med J 309:1286-1291, 1994.
19. Dickersin K, Herxheimer A. Introduction: The quality of the medical evidence: Is it good
        enough? Int J Health Care Technol Assess 12:187-189, 1996.
20. Kim N, Stanton B, Li X, Dickersin K, Galbraith J. Effectiveness of 36 adolescent AIDS
        risk-reduction interventions: A quantitative review. J Adolescent Health 20:204-215,
        1997.
21. Dickersin K. How important is publication bias? A synthesis of available data. AIDS Edu
        Prevention 9 (suppl A):15-21, 1997.
22. Crawley B, Scherer R, Langenberg P, Dickersin K. Participation in the Ischemic Optic
        Neuropathy Decompression Trial: Sex, race, and age. Ophthalmic Epidemiol 4:157-
        173, 1997.
23. Rossetti L, Chaudhuri J, Dickersin K. Is medical therapy effective in preventing and
        treating cystoid macular edema? The results of a meta-analysis. Ophthalmology
        105:397-405, 1997.
24. Lilenbaum RC, Langenberg P, Dickersin K. Single agent versus combination
        chemotherapy in advanced non-small cell lung cancer: meta-analysis of response,
        toxicity, and survival. Cancer 82:116-126, 1998.
25. Dickersin K, Manheimer E. The Cochrane Collaboration: Evaluation of health care and
        services using systematic reviews of the results of randomized clinical trials. Clin
        Obstet Gynecol 41:315-331, 1998.
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Kay Dickersin, PhD                                                                            11

PUBLICATIONS (cont’d)

Journal Articles - Conventional Authorship
26. Dickersin K, Fredman L, Flegal K, Scott JD, Crawley B. Is there a sex bias in choosing
        journal editors? Epidemiology journals as an example. JAMA 280:260-264, 1998.
27. Dickersin K, Manheimer E, Li T. Surgery for nonarteritic anterior ischemic optic
        neuropathy. Cochrane Database of Systematic Reviews 1999; updated 2006, Issue 1.
        Art. No.: CD001538. DOI: 10.1002/14651858.CD001538.pub2.
28. Cangialose CB, Blair, AE, Ades TB, Bennett CL, Dickersin K, Emanuel LL, Gesme DH,
        Henderson IC, McGinnis LS, Mooney K, Mortenson LE, Sperduto P, Winkenwerder W,
        Ballard DJ. Purchasing oncology services: Summary recommendations. Cancer
        88:2876-2886, 2000.
29. Dickersin K. Evolution of a clinical trial: The STOP-DUB experience. Menopause
        Management 10:10-15, 29, 2001.
30. Dickersin K, Braun L, Mead M, Millikan R, Wu AM, Pietenpol J, Troyan S, Anderson B,
        Visco F. Development and implementation of a science training course for breast cancer
        activists: Project LEAD (Leadership, Education and Advocacy Development). Health
        Expectations 4:213-220, 2001.
31. Wells J, Marshall P, Crawley B, Dickersin K. Newspaper reporting of screening
        mammography. Ann Intern Med 135:1029-1037, 2001.
32. Dickersin K, Manheimer E, Wieland LS, Robinson KA, Lefebvre C, McDonald S and the
        CENTRAL Development Group. Development of The Cochrane Collaboration’s
        CENTRAL Register of Controlled Clinical Trials. Eval Health Professions 25:38-64,
        2002.
33. Robinson K, Dickersin K. Development of a highly sensitive search strategy for the
        retrieval of controlled trials using PubMed. Int J Epidemiol 31:150-153, 2002.
34. Dickersin K. Systematic reviews in epidemiology: Why are we so far behind? Int J
        Epidemiol 31:6-12, 2002.
35. Andejeski Y, Bisceglio IT, Dickersin K , Johnson JE, Robinson SI, Smith HS, Visco FM,
        Rich I. Quantitative impact of including consumers in the scientific review of breast
        cancer research proposals. J Womens Health Gender Based Med 11:379-388, 2002.
36. Olson CM, Rennie D, Cook D, Dickersin K, Flanagin A, Hogan J, Zhu Q, Reiling J, Pace
        B. Publication bias in editorial decision making. Assessment of reports of controlled
        trials. JAMA 287:2825-2828, 2002.
37. Dickersin K, Olson CM, Rennie D, Cook D, Flanagin A, Zhu Q, Reiling J, Pace B.
        Association between time interval to publication and statistical significance: Reports of
        controlled trials published in JAMA. JAMA 287:2829-2831, 2002.
38. Dickersin K, Scherer R, Suci EST, Gil-Montero M. Problems with indexing and citation of
        articles with group authorship. JAMA 287:2772-2774, 2002.
39. Newman N, Scherer RS, Langenberg P, Kelman SE, Kaufman D, Feldon S, Dickersin K
        for the Ischemic Optic Neuropathy Decompression Trial Research Group. The fellow
        eye in NAION: Report from the Ischemic Optic Neuropathy Decompression Trial
        Followup Study. Am J Ophthalmol 134:317-328, 2002.
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Kay Dickersin, PhD                                                                             12

PUBLICATIONS (cont’d)

Journal Articles - Conventional Authorship
40. Scherer R, Zhu Q, Langenberg P, Feldon S, Kelman S, Dickersin K for the Ischemic Optic
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41. Feldon S, Scherer R, Hooper F, Kelman S, Baker RS, Granadier RJ, Kosmorsky GS, Seiff
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        Hinestrosa C, Hubbard R, Johnson P, Missmer SA, Norsigian J, Pearson C, Rosenberg
        L, Rosenkrantz B, Seaman B, Sonnenschein C, Soto AM, Thornton J, Weisz G.
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        of the Ischemic Optic Neuropathy Decompression Trial Research Group. Development
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Kay Dickersin, PhD                                                                          13

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Journal Articles - Conventional Authorship
51. Dickersin K, Ssemanda E, Mansell C, Rennie D. What Do JAMA Editors Say When They
        Discuss Manuscripts That They Are Considering For Publication? Developing A
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52. Dickersin K, Munro MG, Clark MA, Langenberg P, Scherer R, Frick K, Zhu Q, Hallock L,
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Journal Articles - Corporate Authorship
53. The Glaucoma Laser Trial Research Group. The Glaucoma Laser Trial (GLT): 3.
        Design and Methods. Controlled Clin Trials 12:504-524, 1991.
54. The Glaucoma Laser Trial Research Group. The Glaucoma Laser Trial (GLT): 5.
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56. Ischemic Optic Neuropathy Decompression Trial Research Group (Writing
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60. Ischemic Optic Neuropathy Decompression Trial Research Group. (Writing
        Committee). The clinical profile of nonarteritic anterior ischemic optic neuropathy
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61. Ischemic Optic Neuropathy Decompression Trial Research Group. (Chair of Writing
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Kay Dickersin, PhD                                                                            14

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Journal Articles - Corporate Authorship
63. Ischemic Optic Neuropathy Decompression Trial Research Group (Writing
        Committee). Ischemic Optic Neuropathy Decompression Trial: Twenty-four month
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        Epidemiology (MOOSE) Group. Meta-analysis of observational studies in
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        of including consumer reviewers in the scientific merit review of breast cancer research.
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Monographs
1. An Overview of Ultrasound: Theory, Measurement, Medical Applications, and Biological
       Effects. Contributor: Human Effects. U.S. Department of HHS, FDA, Bureau of
       Radiological Health, PB FDA 82-8190, July, 1982.
2. Communicating Medical Findings: Evaluation of Reporting Mechanisms Used for NHANES
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       Statistics, and the Office of Program Planning and Evaluation. Chapter 2. Overview of
       other health study reporting mechanisms. March, 1992.
3. Committee to Advise the Department of Defense on its Fiscal Year 1993 Breast
       Cancer Program. Strategies for Managing the Breast Cancer Research Program: A
       Report to the US Army Medical Research and Development Command. Institute of
       Medicine. Washington, D.C.: National Academy Press, 1993.
4. Vaccine Safety Committee. Adverse events Associated with Childhood Vaccines.
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       Academy Press, 1994.
5. Committee on Defense Women’s Health Research. Recommendations for Research on
       the Health of Military Women. Institute of Medicine. Washington, D.C.: National
       Academy Press, 1995.
6. Dickersin K and Herxheimer A (guest editors). The Quality of the Medical Evidence: Is it
       Good Enough? Int J Health Care Technol Assess 2:187-287, 1996.
7. Committee to Review the Department of Defense’s Breast Cancer Research Program.
       A Review of the Department of Defense’s Program for Breast Cancer Research.
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Kay Dickersin, PhD                                                                          15

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Monographs
8. Committee on Routine Patient Care Costs in Clinical Trials for Medicare
       Beneficiaries. Extending Medicare Reimbursement in Clinical Trials. Institute of
       Medicine. Washington, D.C.: National Academy Press, 2000.
9. Committee on Assessing the System for Protecting Human Research Subjects.
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10. Committee on Assessing the System for Protecting Human Research Participants.
       Responsible Research. A Systems Approach to Protecting Research Participants.
       Institute of Medicine. Washington, D.C.: National Academy Press, 2002.
11. Committee on Research in Education. Towne L, Hilton M (eds). Implementing
       Randomized Field Trials in Education. Report of a Workshop. National Research
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12. Committee on Research in Education. Towne L, Fletcher JM, Wise LL (eds).
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       National Research Council. Washington, DC: National Academy Press, 2004.
13. Committee on Research in Education. Towne L, Wise LL, Winters TM (eds).
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       DC: National Academy Press, 2005.

Editorials, Book Reviews, and Letters
1. Dickersin K, Hewitt P. Look before you quote. Br Med J 293:1000-1002, 1986.
2. Dickersin K. Reference bias in reports of drug trials (letter). Br Med J 295:1066-1067,
         1987.
3. Dickersin K. Discussion of the paper by Begg and Berlin. J Roy Stat Soc, Series A, 151
         (part 3) 453, 1988.
4. Hewitt P, Dickersin K, Chalmers TC. More on MEDLINE searches (letter). Controlled
         Clin Trials 9:85-87, 1988.
5. Dickersin K. Sexism and ageism (letter). Br Med J 296:502, 1988.
6. Dickersin K. Confusion about “negative” studies (letter). N Engl J Med 322:1084, 1990.
7. Dickersin K. Review of Methodological Errors in Medical Research, Andersen B. Oxford:
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8. Scott JD, Steinwachs DM, Dickersin K, Selker HP. Preserving the health services research
         team: Uncertainty and instability in new investigator funding (editorial). SGIM News,
         14(6): 1 and 6, 1991.
9. Dickersin K, Meinert CL, Min YI, Publication bias and the editorial process (letter).
         JAMA 267:2891-2892, 1992.
10. Chalmers I, Collins R, Dickersin K. Why is there so much disagreement among orthopaedic
         surgeons? (editorial). J Bone Joint Surg [Br] 267:2891-2892, 1992.
11. Chalmers I, Dickersin K, Chalmers TC. Getting to grips with Archie Cochrane’s agenda
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Editorials, Book Reviews, and Letters
12. Dickersin K. Review of Meta-analysis for Explanation: A Casebook, Cook TD, Cooper H,
         Cordray DS, Hartmann H, Hedges LV, Light RJ, Louis TA, Mosteller F (eds). New
         York: Russell Sage Foundation, 1992. Br Med J 306:594-595, 1993.
13. Dickersin K. Mishandling misconduct: The NSABP lumpectomy trial (letter). JAMA
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14. Dickersin K. Thomas C. Chalmers (1917-1995). JAMA 276:656-658, 1996.
15. Rossetti L, Dickersin K. Prevention and treatment of CME after cataract surgery. Reply
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16. Dickersin K. Breast screening in women 40-49: What next? (editorial) Lancet 353:1896-
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17. Dickersin K. Breast screening in women 40-49. Reply Lancet 354: 947, 1999.
18. Lefebvre C, Lusher A, Dickersin K, Manheimer E. Literature searches (letter). Lancet
         359; 896, 2002.
19. Dickersin K, Rennie D. Registering clinical trials - Reply (letter). JAMA 290:2546, 2003.
20. Antes G, Dickersin K. Trials registration to prevent duplicate publication. JAMA
         291:2432, 2004.
21. Dickersin K, Goodman S. The long and creative arm of the drug industry. Lancet 365:
         656, 2005.
22. Gülmezoglu M, Pang T, Dickersin K. WHO facilitates international collaboration in setting
         standards for clinical trial registration. Lancet 365:1829-31, 2005.
23. Shapiro B, Dickersin K, Lietman, T. Trachoma, antibiotics and randomised controlled
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24. Straus S, Haynes B, Glasziou P, Dickersin K, Guyatt G. Misunderstandings,
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25. Dickersin K, Straus S, Bero L. Evidence-based medicine: Increasing, not dictating, choice.
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26. Hinestrosa MC, Dickersin K, Klein P, Mayer M, Noss K, Slamon D, Sledge G, Visco F.
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         Nature Rev 7:309-15, 2007.
27. Johnson RT, Dickersin K. Publication bias against negative results from clinical trials.
         Three of the deadly sins. Nat Clin Pract Neurol 2007; 3:590-1.

Book Chapters
28. Dickersin K. Pharmacological control of pain during labor. In: Chalmers I, Enkin M,
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       University Press, 1989.
29. Dickersin K. The existence of publication bias and risk factors for its occurrence. In:
       Council of Biology Editors (eds). Peer Review in Scientific Publishing. Chicago:
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Book Chapters
Dickersin K, Min N. Publication bias: The problem that won’t go away. In: Warren KS,
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30. Dickersin K. Research registers. In: Hedges L, Cooper H (eds). The Handbook of
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         fraction of all studies in a field. Philosophical, ethical and practical aspects of editing
         refereed science journals. In: Weeks RA, Kinser DL (eds). Editing the Refereed
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32. Goodman SN, Dickersin K. Meta-analysis: Nuisance or new science? In: Health and
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33. Dickersin K, Scherer R, Lefebvre C. Identification of relevant studies for systematic
         reviews. In: Chalmers I, Altman DG (eds). Systematic Reviews. London: BMJ
         Publishing Group, 1995.
34. Dickersin K, Schnaper L. Reinventing medical research. In: Moss K (ed). Man-Made
         Medicine: Women’s Health, Public Policy and Reform. Durham: Duke University
         Press, 1996.
35. Dickersin K. Publication bias. In: Hoffmeister H, Szklo M, Thamm M (eds).
         Epidemiological Practices in Research on Small Effects, New York: Springer-Verlag,
         1998.
36. Godlee F, Dickersin K. Bias, subjectivity, chance, and conflict of interest in editorial
         decisions. In: Godlee F, Jefferson T (eds). Peer Review in Health Sciences. London:
         BMJ Books, 1999 (see also below).
37. Dickersin K, LeMaire G. Hysterectomy. In: Goldman M, Hatch M (eds). Women and
         Health. San Diego: Academic Press, 2000.
38. Egger M, Dickersin K, Davey Smith G. Problems and limitations in conducting systematic
         reviews. In: Egger M, Davey Smith G, Altman D (eds). Systematic Reviews in Health
         Care: Meta-analysis in Context. London: BMJ Books, 2001.
39. Dickersin K. Finding the evidence. In: Wormald R, Smeeth L, Henshaw K (eds).
         Evidence-based Ophthalmology. London: BMJ Books, 2003.
40. Godlee F, Dickersin K. Bias, subjectivity, chance, and conflict of interest in editorial
         decisions. In: Godlee F, Jefferson T (eds). Peer Review in Health Sciences. London:
         BMJ Books, 2nd Edition, 2003.
41. Dickersin K. Publication bias: Recognizing the problem, understanding its origins and
         scope, and preventing harm. In: Rothstein H, Sutton A, Borenstein M (eds).
         Publication Bias in Meta-analysis: Prevention, Assessment, and Adjustments. London:
         John Wiley and Sons, Ltd. 2005.
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                                                                                            18

                                  CURRICULUM VITAE
                                     Kay Dickersin
                                       PART II

TEACHING

Advisees
University of Maryland Medical School, Department of Epidemiology and Preventive Medicine
     Matthew Reynolds (1996 - 1997), Doctoral student.
     Anand Chokkalingam (1997 - 1998), Doctoral student.

Brown Medical School, Department of Community Health
    Eric Manheimer (1999-2002), Doctoral student.
    Curt LaFrance (2004-2005), MPH student.
    Susan Wieland (2002-2004), Doctoral student.
    Judy Jang (2005), Master’s student.
    Tianjing Li (2004-2005), Doctoral student.
    Julia DeBello (2004-2005), Doctoral student.

Johns Hopkins Bloomberg School of Public Health, Department of Epidemiology
     Tianjing Li (2005 - present), Doctoral student.
     Matthew Seftel (2006-present), MPH student.
     Ta-Ya Lee (2006-present), MPH student.
     Elizabeth Ssemanda (2007-present), Doctoral student.
     Swaroop Vedula (2007-present), Doctoral student.
     Bonnie Swenor (2007- present), MPH student.

Thesis Committee Membership
1993 - 1994     Maura Smith (Master’s student), Department of Epidemiology and Preventive
                    Medicine, University of Maryland (did not complete degree).
1994            Jerome Stern (Master’s student), University of Sydney, Sydney, Australia.
1997 - 1998     Aynur Unalp (Doctoral student), Department of Epidemiology, The John
                    Hopkins University.
1998 - 1999     Antje Timmer (Master’s student), Department of Community Health Sciences,
                    University of Calgary, Calgary, Alberta, Canada.
2000 - 2001     Alexa Gallagher (Bachelor’s student), Department of Community Health,
                    Brown University.
2004 - present  Karsten Juhl Jørgensen (Doctoral student), University of Copenhagen,
                    Denmark.
2004 - present  Lisa Susan Wieland (Doctoral student), Department of Community Health,
                    Brown University.
2004 - present  Christen O’Haire (Doctoral student), Department of Community Health,
                    Brown University.
2004 - 2005     Judy Jang (Master’s student), Brown Medical School.
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TEACHING (cont’d)

Thesis Committee Membership
2004 - 2005     Elizabeth Ssemanda (Bachelor’s student), Department of Community Health,
                    Brown University.
2004            Jocelyn Gravel (Master’s student), McGill University, Montreal, Canada.
2005            Donald Minckler (master’s student), University of Southern California, Los
                    Angeles, California.

Preliminary Doctoral Oral Examination Participation
1994             Tarek Hammond, Department of Epidemiology and Preventive Medicine,
                     University of Maryland.
1997             Julia Rhodes, Department of Epidemiology and Preventive Medicine,
                     University of Maryland.
1997             Denis Nash, Department of Epidemiology and Preventive Medicine, University
                     of Maryland.
1997, 1998       Dimitri Pryblyski, Department of Epidemiology and Preventive Medicine,
                     University of Maryland.
2005             Susan Wieland, Department of Community Health, Brown University.
2005             Meghan Arnold, Program in Clinical Investigation, Johns Hopkins Bloomberg
                     School of Public Health.
2006             Lea Drye, Department of Epidemiology, Johns Hopkins Bloomberg School of
                     Public Health.
2007             Carol Christensen, Department of Epidemiology, Johns Hopkins Bloomberg
                     School of Public Health.

Final Oral Examination Participation
1998            Antje Timmer (MSc) Department of Community Health Sciences, University
                    of Calgary, Calgary, Alberta, Canada.
2006            Simon Liu, (PhD), Department of Epidemiology, Bloomberg School of Public
                    Health.
2007            Nancy Wilczynski (Doctoral student), McMaster University, Hamilton,
                    Ontario.

Classroom Instruction

Within University
1974 - 1975      Introductory Biology, Cell Biology (Teaching Assistant). University of
                     California, Department of Zoology, Berkeley, Calif. 1974 - 1975.
1976             Human Biology, Animal Biology, Current Concepts in Biology (Instructor).
                     West Valley College, Department of Biology, Saratoga, Calif.
1976 - 1977      Introductory Biology, (Instructor). Fullerton College, Department of Biology,
                     Fullerton, Calif.
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TEACHING (cont’d)

Classroom Instruction
Within University
1978             Introductory Biology, Cell Biology (Teaching Assistant). Dartmouth College,
                      Department of Biology.
1982 - 1984      Reproductive Epidemiology (Co-Instructor), Epidemiology (Small Group
                      Leader). Boston University School of Public Health, Department of
                      Epidemiology and Biostatistics.
1989 - 1998      \Methods of Health Risk Assessment. Epidemiologic Methods for Health
                      Services Research, Clinical Trials, and other courses (Lecturer). The Johns
                      Hopkins University, School of Hygiene and Public Health.
1990 - 1998       Introduction to Epidemiology (Year II Group Leader). University of Maryland
                      School of Medicine, Department of Epidemiology and Preventive
                      Medicine.
1991 - 1993       Clinical Trials (Lecturer). University of Maryland School of Medicine,
                      Department of Epidemiology and Preventive Medicine.
1994              Ambulatory Medicine (Year IV Preceptor). University of Maryland School of
                      Medicine, Department of Epidemiology and Preventive Medicine.
1995, 1997        Clinical Trials (Co-coursemaster). University of Maryland School of Medicine,
                      Department of Epidemiology and Preventive Medicine.
1995, 1997        Meta-analysis (Co-coursemaster).The Johns Hopkins University School of
                      Hygiene and Public Health.
1996 - 1998       Health Care Organization (Year II Group Leader). University of Maryland
                      School of Medicine, Department of Epidemiology and Preventive
                      Medicine.
1999 - 2003       Clinical Trials [BC 234]; Lecturer 1999. Course Director 2001, 2003. Brown
                      University, Department of Community Health.
2000 - 2002       Epidemiology for the Practice of Medicine [BI 372] (Course Director). Brown
                      Medical School.
2000              Skin Deep (Facilitator). Freshman Orientation, Brown University.
2001 - 2005       Clinical Clerkship in Community Health (Lecturer). Brown Medical School.
2002                  Leadership Alliance (Lecturer). Brown University.
2004              Development of a Research Proposal for Public Health [BC 285] (Course
                      Director), Brown University, Department of Community Health.
2006              Meta-analysis [360.606](Guest Lecturer), Johns Hopkins Bloomberg School of
                      Public Health.
2006, 2007        Introduction to Clinical Trials [340.645.01 (East Baltimore) and 340.645.81
                      (Online)] (Guest Lecturer), Johns Hopkins Bloomberg School of Public
                      Health.
2006, 2007        Principles of Epidemiology [340.601] (Laboratory Instructor), Johns Hopkins
                      Bloomberg School of Public Health.
2007 - present    Systematic Reviews and Meta-analysis [340.606] (Course Director), Johns
                      Hopkins Bloomberg School of Public Health.
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TEACHING (cont’d)

Other Significant Teaching
Online Courses
2007 -            Understanding Evidence-based Healthcare: A Foundation for Action. Online
                     course co-developed with Musa Mayer.

Courses - Outside University
1994 - 1998      Goucher College Mentoring Program (mentor), Baltimore.
1995 - 2004      Project LEAD (Leadership, Education, and Advocacy Development), National
                    Breast Cancer Coalition Fund: curriculum design and implementation. Core
                    faculty for a national science program for breast cancer activists. Lectures
                    on cohort studies, case control studies, clinical trials, meta-analysis,
                    screening, critical appraisal. 1995: Los Angeles, Calif., Minneapolis,
                    Minn., Washington D.C., Nashville, Tenn., 1996: Chicago, Ill., Phoenix,
                    Ariz., Washington D.C., New Orleans, La. 1997: Los Angeles Calif.,
                    Washington D.C., Washington D.C. (refresher). 1998: Durham, N.C.,
                    Philadelphia, Pa., Dallas, Tex. 1999: Washington D.C. (refresher),
                    Cincinnati, Ohio. 2004: Madrid, Spain. 2007: San Diego, California.
1996, 98, 2000 Fundamental Issues in Vision Research: Molecular and Cell Biological
                    Approaches. Clinical Trials. Marine Biology Laboratory, Woods Hole,
                    Mass.
2000 - 2006      How to Practice Evidence-based Health Care. Annual Rocky Mountain
                    Workshop. Vail, Colo. (2000); Keystone, Colo. (2001, 2002, 2003, 2004,
                    2005); Vail, Colo. (2006); Colorado Springs, Colo (2007).
2000             Cochrane Training Program for Consumers from Developing Countries.
                    Cochrane Colloquium. Cape Town, South Africa.
2000             Cochrane Handsearch Training for Breast Cancer Review Group Consumers.
                    Baltimore, Md.
2001, 2002       Cochrane Training Program for Consumers. Cochrane Colloquium. Lyon,
                    France (2001); Stavanger, Norway (2002).
2003-2005        Peer Review in the Biomedical Literature. Providence, RI (2003); American
                    Glaucoma Society, Sarasota, Fl. (2004). Providence, RI (2005).
2003             Development of a Protocol for a Cochrane Systematic Review (Workshop).
                    Providence, RI.
2003, 2004       Evidence-based Ophthalmology (Workshop). American Academy of
                    Ophthalmology. Anaheim, Ca. (2003); The Association for Research in
                    Vision and Ophthalmology. Ft. Lauderdale, Fl. (2004).
2003, 2006       Evidence-based Optometry (Workshop). American Academy of Optometry.
                    Dallas, Tx. (2003), Denver (2006). Association of Vision Science
                    Librarians. Dallas, Tx. (2003), Denver (2006).
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TEACHING (cont’d)

Other Significant Teaching
Courses - Outside University
2004 - 2007       Completing a Cochrane Systematic Review (Workshop). Sarasota, Fl (2004,
                      2005, 2006, 2007). Woods Hole, Ma (2004), Providence, RI (2005),
                      Atlanta, Ga (2006), Baltimore, Md (2007).
2004 - 2006       Quality Care Project LEAD (4-day workshop). Medical evidence and clinical
                      research. The art and practice of research. National Breast Cancer
                      Coalition Fund. Core faculty for a national health sciences program for
                      breast cancer activists. Albuquerque, NM (2004); Alexandria, Va. (2005);
                      San Jose, Ca (2006); Washington, DC (2007).
2004              Finding and using the best evidence for healthcare practice. U. S. Cochrane
                      Center Pre-Institute Workshop. San Antonio, Tx.
2004              When untested therapies become accepted practice: Evidence-based
                      healthcare issues for consumers. XII Cochrane Colloquium. Ottawa,
                      Canada.
2005              Critical appraisal skills for consumer advocates: assessing a new online course.
                      XIII Cochrane Colloquium. Melbourne, Australia.

Graduate Research Assistants Supported
1996 - 1997        Matthew Reynolds (Doctoral student), Department of Epidemiology and
                           Preventive Medicine, University of Maryland.
1997 - 1998        Pamela Hornbeck (Doctoral student), Department of Epidemiology and
                           Preventive Medicine, University of Maryland.
1997 - 1999        Anand Chokkalingam (Doctoral student), Department of Epidemiology and
                           Preventive Medicine, University of Maryland.
1998 - 1999        Chien-Hsun Li (Doctoral student), Department of Community Health,
                           Brown University.
1999 - 2002        Eric Manheimer (Doctoral student), Department of Community Health,
                           Brown University.
2001 - 03, 2005    Lisa Susan Wieland (Doctoral student), Department of Community Health,
                           Brown University.
2001 - 2003        Eunike Suci (Doctoral student), Department of Sociology, Brown
                           University.
2001 - 2003        Ning Wu (Doctoral student), Department of Community Health, Brown
                           University.
2002 - 2003        Leo Beletsky (MPH student), Department of Community Health, Brown
                           University.
2004 - 2005        Laura Burleson (Doctoral student), Department of Community Health,
                           Brown University.
2004 - present     Tianjing Li (Doctoral student), Department of Community Health, Brown
                           University (2004-5); Johns Hopkins Bloomberg School of Public
                           Health (2005 - present).
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TEACHING (cont’d)

Graduate Research Assistants Supported
 2007 - present    Swaroop Vedula (Doctoral student), Johns Hopkins Bloomberg School of
                           Public Health (2007 - present).
 2007 - present    Elizabeth Ssemanda (Doctoral student), Johns Hopkins Bloomberg School
                           of Public Health (2007 - present).
2007 - present     Derek Ng (Master’s student), Johns Hopkins Bloomberg School of Public
                           Health (2007 - present).

Research Mentor
Summer Research Assistantships/Other (supervisor)
1997            Phillip Marshall, University of Maryland Medical School.
1997            Pamela Davis, University of Maryland Medical School.
1999            Stephanie Thompson, Brown University Medical School.
2004            Darren Smith, Community Health Clerkship, Brown Medical School.
2005            Elizabeth Ssemanda, Brown University.

RESEARCH GRANT PARTICIPATION - (Since 1996. Limited to grants and contracts
with Kay Dickersin as Principal Investigator)

Ongoing
The Cochrane Eyes and Vision Group: US coordination of contributors. National Eye Institute.
      2002 -2009. $5,381,920.
Training for US Cochrane contributors and others. Agency for Healthcare Research and Quality
      (AHRQ). 2002-2007 (no cost extension pending). $2,383,838.
Using Practice Guidelines to determine review priorities: A pilot project. Cochrane
      Collaboration. USD $69,587.
Large conference grant: The US Cochrane Center. Agency for Healthcare Research and Quality
      (AHRQ). 2007-10. $100,000.
Translating evidence to quality care: Getting the message to your constituency. Agency for
      Healthcare Research and Quality (AHRQ). 2007-8. $43, 117.

Completed
Retagging of Randomized Clinical Trials and Controlled Clinical Trials in MEDLINE. Cochrane
      Collaboration. 2005 - present. $35,953.
Surgical Treatments Outcomes Project for Dysfunctional Uterine Bleeding (STOP-DUB): Public
      use dataset. Agency for Healthcare Policy and Research (AHRQ U01HS09506-6A). 2003
      - 2005. $150,000.
Development of the Cochrane Central Register of Controlled Trials. The Cochrane Collaboration.
      2001- 2005. $75,000.
Identification of randomized controlled trials by searching the biomedical literature. National
      Library of Medicine. 1998 - 2004. $290,000.
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RESEARCH GRANT PARTICIPATION (cont’d)

Completed
 Surgical Treatments Outcomes Project for Dysfunctional Uterine Bleeding (STOP-DUB).
      Agency for Healthcare Policy and Research (AHCPR U01 HS09506). 1996 - 2004.
      $6,703,776.
Ischemic Optic Neuropathy Decompression Trial (IONDT) Followup Study - Coordinating
      Center (NIH U10 EY09608) National Institutes of Health/National Eye Institute. 1997 -
      2004. $2,109,233.
Ischemic Optic Neuropathy Decompression Trial (IONDT) - Coordinating Center (NIH U10
      EY09608) National Institutes of Health/National Eye Institute. 1992 - 1996. $2,644,026.
Frohlich Fellow, New York Academy of Sciences. 1993 - 1996. $100,000.
Project LEAD (Leadership, Education, and Advocacy Development). National Breast Cancer
      Coalition. 1994 - 1998. $30,638.
Specialized register of clinical trials for sexually transmitted diseases. Maryland Department of
      Health and Mental Hygiene/Centers for Disease Control and Prevention. 1995 - 1998.
      $150,000.
Development of a Cochrane Collaboration Field in Child Health. Packard Foundation. 1996 -
      1997. $108,000.
Pilot study comparing hand and electronic searching for reports of clinical trials. National Library
      of Medicine. 1996 - 1997. $50,000.
Support for Cochrane Collaboration reviewers in child health. Packard Foundation. 1997 - 1998.
      $50,000.
Evidence-based Practice Center: Management of new onset atrial fibrillation in the elderly.
      Agency for Health Care Policy and Research (Subcontract to Kay Dickersin. Neil Powe, PI
      of overall contract). 1997 - 1998. $31,304.
Identification of randomized controlled trials in the biomedical literature through electronic
      searching of MEDLINE and hand searching of the biomedical literature. National Library of
      Medicine. 1997-1998. $50,000.
Evidence for Action: Sixth Annual International Cochrane Colloquium:
      Agency for Health Care Policy and Research. (AHCPR R13 HS09818). 1998 - 1999.
          $50,000.
      Robert Wood Johnson Foundation. 1998. $50,000.
      Janssen Pharmaceutica. 1998. $20,000.
      Bristol-Myers Squibb Oncology. 1998. $20,000.
      Pfizer US Pharmaceuticals. 1998. $15,000.
      Merck & Co, Inc. 1998. $10,000.
      Milbank Memorial Fund. 1998. $5,000.
      The Lancet/Elsevier. 1998. $5,000.
      PCS HealthSystems. 1998. $5,000.
      U.S. Surgical Corporation. 1998. $500.
Funding for consumer stipends, Seventh Annual International Cochrane Colloquium:
      Merck & Co., Inc. 1999. $5,000.
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RESEARCH GRANT PARTICIPATION (cont’d)

Completed
Funding for consumer stipends, Eighth Annual International Cochrane Colloquium:
     Merck & Co., Inc. 2000. $5,000.
     Milbank Memorial Fund. 2000. $5,000.
Funding for consumer stipends: Ninth Annual International Cochrane Colloquium:
     Merck & Co., Inc. 2001. $5,000.
     Milbank Memorial Fund. 2001. $2,500.
     Janssen Pharmaceutica, Inc 2001, $5,000.

ACADEMIC SERVICE

Organization/Planning of University Symposia
University of Maryland at Baltimore, Women’s Health Research Group. Women and the
     Hormones in Their Lives - Premenarche to Postmenopause. 1994.
University of Maryland at Baltimore, Law and Health Care Program. Breast Cancer:
     Controversies and Challenges. Understanding the Medical, Legal, Ethical and Policy Issues.
     1995.
University of Maryland at Baltimore, Women’s Health Research Group. Women and
     Psychological Conditions Across the Lifespan: Health, Heredity, Hormones or Hype? 1995.
University of Maryland at Baltimore, Women’s Health Research Group. Women’s Health and
     Genetic Research: Panacea or Pandora’s Box? 1996.

University Committees
1976            Affirmative Action Officer, West Valley College, Saratoga, CA.
1987            Childcare Study Committee (East Baltimore campus), The Johns Hopkins
                    University.
1993 - 1994     Unified Medical Language System, Searching Workstation Project Advisory
                    Panel, Health Sciences Library, University of Maryland at Baltimore.
1993 - 1994     New Building Advisory Committee, Health Sciences Library, University of
                    Maryland at Baltimore.
1997 - 1998     Library Faculty Development Committee, University of Maryland at Baltimore.
2002 - 2005     University Resources Committee (formerly Advisory Committee on University
                    Planning). Brown University. Vice Chair 2004 - 2005.

Interschool Committees
2006            Older Americans Independence Centers(OAIC) Leadership Administrative
                    Council. Johns Hopkins Medical Institutions.
2006            Welch Center for Prevention, Epidemiology, and Clinical Research Review
                    Committee. Johns Hopkins Medical Institutions.
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ACADEMIC SERVICE (cont’d)

School Committees
1979 - 1981     Day Care Planning Committee (student committee), The Johns Hopkins
                   University, School of Hygiene and Public Health, 1979 - 1981.
                   Chairperson, 1979 - 1980.
1979 - 1981     Committee for Course Evaluation, The Johns Hopkins University, School of
                   Hygiene and Public Health, 1979 - 1981. Chairperson, 1979 - 1980.
1987 - 1988     Committee on Human Volunteers, The John Hopkins University, School of
                   Hygiene and Public Health.
1992 - 1993     Independent Study - Informatics Subcommittee, Steering Committee for
                   Curriculum, University of Maryland School of Medicine. 1992 - 1993.
1993 - 1996     Short Term Research Training Programs Committee, University of Maryland
                   School of Medicine.
1997 - 1998     Committee on Admissions (interviewer), University of Maryland School of
                   Medicine.
1996 - 1998     Executive Committee, Marlene and Stewart Greenebaum Cancer Center,
                   University of Maryland School of Medicine.
2000 - 2001     Search Committee, Director of Cancer Center, Brown Medical School.
2002 - 2003     Search Committee, Director, Division of Rheumatology, Brown Medical
                   School.
2004 - 2005     Public Health Expansion Committee, Brown Medical School.
2006            Ad hoc committee of the Appointments and Promotions Committee, Johns
                   Hopkins Bloomberg School of Public Health.
2006            Dean’s Committee on Informatics, Johns Hopkins Bloomberg School of Public
                   Health.
2007 -present   Appointments and Promotions Committee, Johns Hopkins Bloomberg School
                   of Public Health.

Department Committees
Department of Ophthalmology, University of Maryland School of Medicine
1990 - 1992    Standing Committee on Computing (Chair).
1990 - 1992    Journal Club Coordinator.
1991 - 1992    Search Committee for Director of Oculoplastics Service.

Department of Epidemiology and Preventive Medicine, University of Maryland School of
     Medicine
1992 - 1993     Admissions Task Force Subcommittee of the Graduate Program Review
                   Committee.
1993 - 1995     Co-coordinator, Seminar Series. 1993 - 1995.
1994 - 1998     Women’s Health Research Planning Group.
1995 - 1998     Graduate Program Committee.
1995            Ph.D. Qualifying Examination Committee.
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ACADEMIC SERVICE (cont’d)

Department Committees
Department of Epidemiology and Preventive Medicine, University of Maryland School of
     Medicine
1995 - 1997     Research Services Advisory Committee.
1997            Ph.D. Comprehensive Exam Committee.
1997 - 1998     Strategic Planning Committee.

Department of Community Health, Brown University School of Medicine
1998 - 2001     Graduate Program Working Group.
1999 - 2005     Epidemiology Program Working Group.
1998 - 2005     Medical School Program Working Group (Community Health).
1999 - 2003     Co-Coordinator, Seminar Series.
1999 - 2000     Core Faculty Committee.
1999 - 2005     Department Curriculum Committee (Chair).
2001 - 2003     MPH Program Curriculum Committee.
2001 - 2003     Coordinator, graduate student journal club.

Search Committees, Brown University Department of Community Health
1998 - 1999     Search Committee for Assistant Professor in Statistics (tenure track).
1998 - 1999     Search Committee for Assistant Professor in Statistics (research).
1999            Chair, Search Committee for Assistant Professor in Infectious Disease
                    Epidemiology (research).
1999 - 2000     Chair, Search Committee for Assistant Professor in Epidemiology (tenure
                    track).
1999 - 2000     Search Committee for the Director of the Center for Alcohol and Addiction
                    Studies.
2001 - 2002     Chair, Preliminary Search Committee for Professor in Community Health.
2003 - 2004     Chair, Search Committee for Two Assistant Professors in Epidemiology
                    (research).
2004 - 2005     Search Committee for a Section Head and an Assistant Professor in
                    Epidemiology (tenure track).
2004 - 2005     Search Committee for a Professor and an Assistant Professor in Biostatistics
                    (tenure track).

Department of Epidemiology, Johns Hopkins School of Public Health
2005 - present  Department of Epidemiology Curriculum Committee.

Search Committees, Johns Hopkins Bloomberg School of Public Health Department of
     Epidemiology
2006 - 2007     Search Committee for tenure track faculty, Department of Epidemiology,
                    Center for Clinical Trials.
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PRESENTATIONS/SCIENTIFIC MEETINGS

Organization/Planning of International and National Symposia
Workshop on Developing Strategies to Search the Medical Literature, Oxford, UK. November 8,
      1992.
National Heart Lung and Blood Institute, National Institutes of Health, Planning Committee for
      Meta-analysis Workshop. Bethesda, Md. September 28, 1993.
National Institutes of Health/Office of Medical Applications of Research, Planning Committee for
      an Evidence-based Health Care System: The Case for Clinical Trials Registries. Bethesda,
      Md. December 6-7, 1993.
U.S. Department of Health and Human Services, Planning Committee, Secretary’s Conference to
      Establish a National Action Plan for Breast Cancer. Bethesda, Md. December 14-15, 1993.
The Challenge of Breast Cancer. Patients’ role in research (plenary session). Sponsored by The
      Lancet. Brugge, Belgium. April 22, 1994.
American College of Epidemiology. Workshop: “Systematic evaluation of the literature and
      meta-analysis.” Baltimore, Md. September 8, 1996.
Purchasing Oncology Services. Methods and Models in the Marketplace. Planning Task Force.
      Chicago, Ill. September 11-12, 1997.
Cochrane 6. Systematic Reviews: Evidence for Action. Conference Chair, The Sixth Annual
      International Cochrane Colloquium. Baltimore, Md. October 22-26, 1998.
Fifty Years of Clinical Trials: Past, Present, and Future (conference Co-Chair). Sponsored by the
      British Medical Journal. London, UK. October 29-30, 1998.
Second World Conference on Breast Cancer Advocacy -- Influencing Change. Organizing
      Committee. Brussels, Belgium. March 11-14, 1999.
The Seventh Annual International Cochrane Colloquium. Cochrane International Advisory
      Committee. Rome, Italy. October 5 - October 9, 1999.
Registration of Clinical Trials. Conference Organizer. Chicago, Ill. April 13-14, 2000.
The Eighth Annual International Cochrane Colloquium. International Advisory Group. Cape
      Town, South Africa. October 25 - October 29, 2000.
The Ninth Annual International Cochrane Colloquium. International Advisory Committee. Lyon,
      France. October 9 - October 13, 2001.
Department of Defense Breast Cancer Research Program, Era of Hope 2002, Consumer
      Committee. Washington, D.C. September 25-28, 2002.
The Eleventh Annual International Cochrane Colloquium. Scientific Committee. Barcelona,
      Spain. October 25 - November 1, 2003.
U.S. Cochrane Collaboration Conference. Building the Foundation. Creating Better Awareness
      and Use of Evidence-based Healthcare Conference Chair. Providence, RI. April 1-2, 2004.
The Twelfth Annual International Cochrane Colloquium. Sponsorship Committee. Toronto,
      Canada. October 2-6, 2004.
Midyear Meetings of Cochrane Collaboration Steering Group, Center Directors, and US
      Cochrane Center Consumer Coalition. Providence, RI. March 31-April 4, 2004.
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PRESENTATIONS/SCIENTIFIC MEETINGS (cont’d)

Organization/Planning of International and National Symposia
Department of Defense Breast Cancer Research Program, Era of Hope 2005, Technical Planning
      Committee. Philadelphia, Pa. June 8-11, 2005.
Fifth International Congress on Biomedical Peer Review and Scientific Publication Advisory
      Board, Chicago, Ill. September 2005.
U.S. Cochrane Collaboration Conference. North American Conference on Systematic Reviews:
      Encompassing Diversity in Systematic Reviews, Baltimore, MD. July 13-14, 2006.
Introduction to Evidence-based Healthcare: A Foundation for Action. Inaugural Summit.
      Consumers United for Evidence-based Healthcare (CUE). Washington, DC. July 17, 2007.
Fifteenth Cochrane Colloquium. Scientific Committee. São Paolo, Brazil. October 21-26, 2007.
Sixth International Congress on Peer Review and Biomedical Publication. Advisory Board.
      Vancouver, British Columbia, Canada. September 10-12, 2009.

INVITED PRESENTATIONS

Keynote Speaker
1. The health care gender gap. Harford County Commission for Women. Bel Air, Md.
        October 9, 1993.
2. Consumer involvement in research. Archie Cochrane Memorial Lecture. Society for Social
        Medicine. London, UK. September 13, 1995.
3. Publication bias: How important is it? Systematic Reviews: Beyond the Basics. Oxford,
        UK. January 6, 1999.
4. How to utilize evidence-based health care in the training of future physicians. Evidence-
        based Medicine Workshop. Brown University School of Medicine. Providence, RI.
        October 13, 1999.
5. Evidence-based health care. Yesterday, today, and tomorrow. Massachusetts Health
        Sciences Library Network. University of Massachusetts School of Medicine.
        Worcester, MA. May 25, 2000.
6. Consumer advocacy, global collaboration, access to information, and influence on evidence-
        based healthcare. Cancer on the Internet. New York, New York. September 14, 2004.

International (last five years)
7. Assessing trial quality. Second Asian-Pacific Conference on Evidence-based Medicine.
         Chengdu, Sichuan, China. April 9, 2002.
8. Biased reporting of research evidence. Conference on Beating Biases in Therapeutic
         Research: Historical Perspectives. Oxford, UK. September 6, 2002.
9. The mammography debate: A crisis for evidence-based medicine? Fourth Symposium on
         Evidence-based Medicine. Freiburg, Germany. March 15, 2003.
10. Publication bias: History and some recent data. Institut Gustave-Roussy, Villejuif, France.
         May 13, 2003.
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INVITED PRESENTATIONS (cont’d)

International
11. Systematic reviews in epidemiology. Institut Universitaire de Médecine Sociale et
         Préventive, Université de Lausanne. Lausanne, Switzerland. May 28, 2003.
12. The Cochrane Collaboration and evidence-based medicine. Institut Gustave-Roussy,
         Villejuif, France. June 26, 2003.
13. The National Breast Cancer Coalition’s Project LEAD. Evidence-based healthcare and the
         Cochrane Collaboration. Milan, Italy. February 27, 2004.
14. A global clinical trials register. MRC/Wellcome Trust/WHO Partners Forum Meeting on
         Research and Knowledge for Health Systems Development. London, UK. April 27,
         2004.
15. WHO’s global clinical trials register: Why is it needed? World Health Organization, Geneva,
         Switzerland. July 5, 2004.
16. Improving access to information: Global trial registration. Ministerial Summit on Health
         Research. Mexico City, Mexico. November 18, 2004.
17. Towards global registration of clinical trials. European Clinical Research Infrastructure
         Network. Brussels, Belgium. February 14, 2005.
18. Supporting the review process with study-based registers. A vision for the Cochrane
         Collaboration. XIII Cochrane Colloquium. Melbourne Australia. October 26, 2005.
19. Overview of the Cochrane Collaboration. Thai Cochrane Network Workshop. Promoting
         Systematic Reviews in Optimising Healthcare Decision Making and Practice. Khon
         Kaen, Thailand. April 22, 2006.
20. Systematic reviews in epidemiology: Why are we so far behind? Reading and Writing
         Review Articles in Occupational Epidemiology. Lo-Skolen, Helsingør, Denmark,
         August 28, 2007.

National (last five years)
21. The Cochrane Collaboration: An introduction. Annual Advocacy Training Conference.
        National Breast Cancer Coalition. Washington, DC. April 28, 2002.
22. Early detection: When does it really make a difference? Annual Advocacy Training
        Conference. National Breast Cancer Coalition. Washington, DC. April 28, 2002.
23. US participation in the Cochrane Eyes and Vision Group: Preparing Cochrane Systematic
        Reviews for Eyes and Vision. Association for Research in Vision and Ophthalmology.
        Fort Lauderdale, Fla. May 7, 2002.
24. Publication bias: New data on the origins of the problem. Statistical Challenges for Meta-
        analysis of Medical and Health Policy Data. Mathematical Sciences Research Institute
        Workshop. Berkeley, Ca. May 9, 2002.
25. Evidence-based medicine An overview. The Drug Information Association. 38th Annual
        Meeting. Chicago, Ill. June 17, 2002.
26. Finding the evidence. Introduction to evidence-based healthcare. Department of
        Epidemiology, Yale School of Medicine. New Haven, Ct. September 24, 2002.
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INVITED PRESENTATIONS (cont’d)

National (last five years)
27. Epidemiology overview: Burden of breast cancer for pre-menopausal women. Era of Hope.
        Orlando, Fla. September 27, 2002.
28. How epidemiologists do studies. Era of Hope. Orlando, Fla. September 27, 2002.
29. Finding the evidence. Introduction to Evidence-based Healthcare. Department of
        Epidemiology,Yale School of Medicine. New Haven, Ct. September 23, 2003.
30. Mammography. Controversies in Women’s Cancer. Mamm Magazine. Sixth Anniversary
        Symposium. New York, NY. September 30, 2003.
31. Evidence-based medicine. Boon or bane? (Debate). Department of Epidemiology, Columbia
        University Mailman School of Public Health, New York, NY. October 18, 2002.
32. Systematic reviews in epidemiology. Centers for Disease Control and Prevention (electronic
        conferencing). November 6, 2003.
33. Minimizing bias in systematic reviews. First International Conference on Evidence-based
        Dentistry. Atlanta, Ga. November 8, 2003.
34. The Cochrane Collaboration and Cochrane Eyes and Vision Group. Ophthalmic
        Technology Assessment Committee (OTAC). Annual Meeting. Anaheim, Ca.
        November 16, 2003.
35. The Cochrane Eyes and Vision Group (CEVG). Separate the Facts from the Fiction:
        Ophthalmic Technology Assessment and Systematic Reviews. OTAC Symposium.
        American Academy ofOphthalmology 2003 Annual Meeting. Anaheim, Ca. November
        17, 2003.
36. The Cochrane Eyes and Vision Group US Project: Potential for partnerships. The Johns
        Hopkins University, Bloomberg School of Public Health, Baltimore, Md. February 4,
        2004.
37. The Cochrane Collaboration, The US Cochrane Center, and the Cochrane Library. Global
        Information Dissemination and Management Focus on Health. 37th Annual Meeting of
        the Association for Population/Family Planning Library and Information Centers -
        International. Boston, Ma. March 30, 2004.
38. Implementing randomized field trials in education. Improving Scientific Research In
        Education: Recent Activities of the National Research Council. American Educational
        Research Association, Presidentially Invited Symposium. San Diego, Ca. April 16,
        2004.
39. Introduction to clinical trials. Clinical Trials Minisymposium. The Society for Investigative
        Dermatology. Providence, RI. April 30, 2004.
40. Which study design is appropriate for which clinical question? Sixth Rocky Mountain
        Workshop on Evidence-based Healthcare. Keystone, Colorado. August 8, 2004
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INVITED PRESENTATIONS (cont’d)

National (last five years)
41. Working through the numbers. Sixth Rocky Mountain Workshop on Evidence-based
        Healthcare. Keystone, Co. August 8, 2004.
42. Distortion of the scientific record. Sixth Rocky Mountain Workshop on Evidence-based
        Healthcare. Keystone, Colorado. August 12, 2004.
43. Trial registration. Engaging the Public in Clinical Research. Clinical Research Roundtable
        Meeting, The National Academies of Science, Institute of Medicine. Washington, DC.
        September 2, 2004.
44. Finding the evidence. Introduction to Evidence-based Healthcare. Department of
        Epidemiology, Yale School of Medicine. New Haven, Ct. September 21, 2004.
45. The Cochrane Collaboration: What is it, how does it relate to evidence-based healthcare,
        and how can I access its output? Tulane School of Public Health and Tropical Medicine,
        New Orleans, La. October 21, 2004.
46. The Cochrane Collaboration: What is it, how does it relate to evidence-based healthcare,
        and how can I access its output? Boston University School of Medicine, Boston, Ma.
        November 30, 2004.
47. The ethics of research in advocacy. Sarah Lawrence Health Advocates in Research
        Conference. Bronxville, N.Y. January 13-14, 2005.
48. Clinical trial design and small studies: A coordinating center perspective. Uterine
        Leiomyoma. Food and Drug Administration/National Institutes of Health. Washington,
        DC. February 25, 2005.
49. The systematic review as a research tool. Symposium on Systematic Reviews in Dental and
        Craniofacial Research. International Association for Dental Research. Baltimore, Md.
        March 12, 2005.
50. Getting the big picture. Association of Health Care Journalists. 6th National Conference.
        Chapel Hill, NC. April 3, 2005.
51. Why we need uniform, comprehensive, registration of clinical trials. Annual Meeting of the
        Pediatric Academic Societies. Washington, DC. May 15, 2005.
52. The basic science of systematic reviews. Cochrane Symposium. American
        Gastroenterological Association. Digestive Diseases Week. Chicago, Ill. May 16, 2005.
53. Epidemiology methods: Screening. Refresher and What’s New in the Field. National Breast
        Cancer Coalition Annual Advocacy Conference. Washington, DC. May 21, 2005.
54. Why we need a comprehensive register of clinical trials. Breast Cancer Research: Your Tax
        Dollars Who Benefits? National Breast Cancer Coalition Annual Advocacy
        Conference. Washington, DC. May 21, 2005.
55. Constructing an Internet training course for multicenter clinical trials (workshop). 26th
        Annual Meeting of the Society for Clinical Trials. Portland, Or. May 22, 2005
56. Forum on making/influencing public policy. 26th Annual Meeting of the Society for Clinical
        Trials. Portland, Or. May 24, 2005.
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INVITED PRESENTATIONS (cont’d)

National (last five years)
57. How do we investigate the effect of a risk factor on breast cancer? Era of Hope.
        Department of Defense Breast Cancer Research Program Meeting. Philadelphia, Pa.
        June 9, 2005.
58. What is evidence-based medicine and what can it do for you? The Challenge of Reporting
        on Medical Research. Medicine and the Media. National Institutes of Health. Bethesda,
        Md. June 26, 2005.
59. Clinical trials registration: Overdue and still elusive. Rocky Mountain Workshop on
        Evidence-based Healthcare. Keystone, Co. August 2, 2005.
60. Rocky Mountain Workshop on Evidence-based Healthcare. Keystone, Co. August 2, 2005
61. The Cochrane Collaboration and Cochrane Reviews. Workshop on Developing Evidence-
        based Guidelines. The Cystic Fibrosis Foundation. Columbia, Md. August 18, 2005.
62. Rethinking publication bias. Developing a schema for classifying editorial discussion.
        International Congress on Peer Review and Biomedical Publication. Chicago, Ill. Sept
        17, 2005.
63. Supporting the review process with study-based registers. A vision for the Cochrane
        Collaboration. XIII Cochrane Colloquium. Melbourne Australia. October 26, 2005.
64. The Center for Clinical Trials and its work. Department of Epidemiology Mini-retreat. Johns
        Hopkins Bloomberg School of Public Health. Baltimore, Md. November 22, 2005.
65. Developing evidence-based guidelines in vision care: Can the promise become the practice?
        Monroe J. Hirsch Memorial Research Symposium. American Academy of Optometry.
        San Diego, Ca. December 11, 2005.
 66. Negative results and the failure to publish: Consequences and solutions. Special Libraries
        Association meeting. Reporting Negative Results of Clinical Trials. Baltimore, Md. June
        12, 2006.
67. Why consumer activists need scientist-partners and vice versa. North American Congress of
        Epidemiology. Seattle, Wa. June 23, 2006.
68. Assuring quality training: Is there a gold standard and if so, how do we ensure it? North
        American Conference in Systematic Reviews. Baltimore, Md. 14 July 2006.
69. Reporting on the risks and benefits of clinical trials. Reporting on consumer health risks and
        benefits. Foundation for American Communication (FACS). McLean, Va. Nov 15,
        2006.
70. Reporting on the risks and benefits of clinical trials. Reporting on consumer health risks and
        benefits. Foundation for American Communication (FACS). New York, NY Nov 16,
        2006.
71. Flawed evidence: A challenge to evidence-based healthcare. Essex South District Winter
        Meeting. Massachusetts Medical Society. Beverly, Ma. Jan 17, 2007
72. Evidence and its synthesis in current practice (panel). Judging the Evidence: Standards for
        Determining Clinical Effectiveness. Institute of Medicine Roundtable on Evidence-based
        Healthcare. Washington DC: Feb 5, 2007.
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INVITED PRESENTATIONS (cont’d)

National (last five years)
73. The Cochrane Collaboration in the US: Strategies for success and the challenges ahead.
        Maternal and Child Health Systematic Reviews. Tulane School of Public Health and
        Tropical Medicine. New Orleans, March 1, 2007
74. Evidence-based healthcare: What is it and what do we need to get it? Annual Advocacy
        Training Conference. National Breast Cancer Coalition. April 29, 2007
75. The WHO International Clinical Trials Registry Platform. 2nd Annual Forum on Clinical
        Trial Registries and Results Databases. Center for Business Intelligence (CBI).
        Washington, DC. May 1, 2007.
76. Using systematic reviews to inform practice. ARVO Special Interest Group. Fort
        Lauderdale, Fl. May 9, 2007.
77. Key role of the Cochrane Collaboration in quality and safety. 2007 Summer Institute on
        Evidence-based Practice. Quality and Safety. San Antonio, Tx. July 12, 2007.
78. Introducing Understanding Evidence-based Healthcare: A Foundation for Action.
        Consumers United for Evidence-based Healthcare, Consumers United for Evidence-
        based Healthcare (CUE) Advocacy Summit. July 17, 2007.
79. The US Cochrane Center’s new online course for consumer advocates: Understanding
        Evidence-based Healthcare: A Foundation for Action. Rocky Mountain Workshop on
        Evidence-based Healthcare. Colorado Springs, Co. Aug 5, 2007
80. Clinical trials. The National Breast Cancer Coalition’s Project LEAD Institute. San Diego,
        Ca: August 22, 2007.
81. Systematic reviews and meta-analysis. The National Breast Cancer Coalition’s Project
        LEAD Institute. San Diego, Ca: August 23, 2007.
82. Screening. The National Breast Cancer Coalition’s Project LEAD Institute. San Diego, Ca:
        August 23, 2007.
83. History of EBHC and Methods Used to Summarize the Evidence
        Making More Effective Use of Research. Reforming States & The Milbank Memorial
        Fund. Sept 19 2007.
84. Systematic reviews and meta-analysis: A primer. Annual Biostatistics Conference. Glaxo
        Smith Kline. Collegeville, Pa. September 26, 2007.
85. Reporting on the risks and benefits of clinical trials (publicly and freely available tele-
        seminar). Foundation for American Communications (FACS). October 3, 2007.
86. Consensus vs evidence: What is most helpful to the practitioner? World Ophthalmology
        Leaders Forum in Education. Guidelines for Developing Guidelines. New Orleans, La.
        November 12, 2007.
87. The value and limits of evidence. National Breast Cancer Coalition Quality Care LEAD.
        Washington, DC. November 15, 2007

Local (last five years)
88. The mammography debate. Rhode Island Breast Cancer Coalition. Providence, RI. March
         19, 2002.
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INVITED PRESENTATIONS (cont’d)

Local (last five years)
89. Controversies in women’s cancer screening. Primary Care Update. Rhode Island Academy
         of Family Physicians. Newport, RI. May 3, 2002.
90. The development and implementation of Project LEAD. Early Identification Program.
         Brown University, Providence, RI. June 14, 2002.
91. The Cochrane Collaboration. What it is, how it works, and how it can be useful to you.
         Women & Infants’ Hospital. Providence, RI. July 30, 2002.
92. Evidence-based healthcare and the Cochrane Collaboration. Women & Infants’ Hospital.
         Providence, RI. July 30, 2003.
93. How should one decide whether to publish two short articles or one longer one?
         Preparation of publications. Developing Your Research/Academic Career Workshop.
         Brown University Medical School. Providence, RI. March 10, 2004.
94. Evidence-based healthcare and the Cochrane Collaboration. Fundamentals of Geriatrics
         Lecture Series. Rhode Island Hospital and the Miriam Hospital, Providence, RI. May
         6, 2004.
95. Evidence-based healthcare and The Cochrane Collaboration. Grand Rounds, Department of
         Pediatrics, Rhode Island Hospital. May 14, 2004.
96. Introduction to The Cochrane Library. Electronic Resources Workshop, Brown University
         Medical School. Providence, RI. June 9, 2004.
97. Evidence-based Healthcare and the Cochrane Collaboration. Fellows’ Workshop in Clinical
         Research Design, Department of Obstetrics and Gynecology, Women and Infants’
         Hospital, Providence, RI. July 19, 2004.
98. The Cochrane Library: How to get the most out of this important resource for evidence-
         based healthcare. Grand Rounds, Beth Israel Deaconess Hospital, Department of
         OB/Gyn. Boston, Ma. September 1, 2004.
99. The Cochrane Collaboration. Clinical Research Training Program (CREST), Department of
         Clinical Epidemiology Research and Training. Boston University, Boston, Ma.
         November 20, 2004.
100. The Cochrane Collaboration: What is it, how does it relate to evidence-based healthcare,
         and how can I access its output? Fundamentals of Geriatrics Lecture Series. Rhode
         Island Hospital and the Miriam Hospital, Providence, RI. December 16, 2004.
101. Workshop on having a career in public health, International Women’s Day, Lincoln School,
         Providence, RI. March 8, 2005.
102. Failure to publish as scientific misconduct. Symposium on Ethics and Integrity at Brown
         University. Providence, RI. April 18, 2005.
103. Clinical trials registration: Overdue but still elusive. Johns Hopkins Bloomberg School of
         Public Health. Baltimore, Md. July 1, 2005.
104. Clinical trials: Opportunities for education and collaboration. Department of Surgery. Johns
         Hopkins School of Medicine. Baltimore, Md. January 7, 2006.
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INVITED PRESENTATIONS (cont’d)

Local (last five years)
105. The Cochrane Collaboration and the Cochrane Eyes and Vision Group. Department of
         Ophthalmology. Johns Hopkins Medical School. Baltimore, Md. January 10, 2006.
106. Rethinking publication bias. Developing a schema for editorial discussion. Grand Rounds.
         Welch Center, Johns Hopkins Medical Institutions. February 8, 2006.
107. Evidence-based vision care. Department of Ophthalmology, Johns Hopkins School of
         Medicine. Baltimore, Md. February 27, 2006.
108. Rah-rah evidence-based healthcare. But, which evidence? Center on Aging and Health
         Johns Hopkins University. Baltimore, Md. February 22, 2006.
109. The intersection between clinical trials and meta-analysis. Johns Hopkins Bloomberg School
         of Public Health. Baltimore, Md. May 3, 2006.
110. Wilmer Eye Institute. Patient-oriented Research Seminars. Evidence-based Guidelines and
         Clinical Practice in Ophthalmology: A Realistic Goal or Distant Ideal? Baltimore, Md.
         June 30, 2006.
111. The intersection between clinical trials and systematic reviews. Johns Hopkins Summer
         Institute of Epidemiology and Biostatistics. Baltimore, Md. July 7, 2006.
112. How the US Cochrane Center can help you. Department of Surgery Retreat on Clinical
         Trials and Outcomes Research. Department of Surgery, Johns Hopkins School of
         Medicine, Baltimore, Md. January 6, 2007.
113. Flawed Evidence: A challenge to evidence-based healthcare. Dean’s Lecture. Johns
         Hopkins Bloomberg School of Public Health. Baltimore, Md. Jan 10, 2007.
114. The Cochrane Library and rapid research on the web. Annual Meeting of the Maryland
         Chapter of the American College of Physicians. Ellicott City, Md. February 9, 2007.
115. Critical appraisal of the healthcare literature. Evidence-based Healthcare: A Workshop on
         Finding, Synthesizing, and Applying Clinical Evidence. MedChi, The Maryland State
         Medical Society, Baltimore, Md. September 7, 2007.
116. Evidence-based healthcare: What is it and what do we need to get it? Medicine in Action: A
         Special Course in Advanced Medical Writing. Johns Hopkins University. Baltimore, Md.
         October 2, 2007.
117. Cancer findings and the Cochrane Collaboration. LunchLearnLink Seminar Series. Cancer
         Prevention and Control. Johns Hopkins Bloomberg School of Public Health. Baltimore,
         Md. December 13, 2007.

Revised January 5, 2008
